Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 1 of 145




                EXHIBIT JJ
              Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 2 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.

   1                        IN THE UNITED STATES DISTRICT FOR THE
   2                            EASTERN DISTRICT OF PENNSYLVANIA
   3

   4       LISA BARBOUNIS,                                   )
                                                             )
   5                             Plaintiff,                  )
                                                             )      Civil Action
   6       v.                                                )      No. 2:19-cv-05030
                                                             )
   7       MIDDLE EASTERN                                    )
           FORUM, et al.,                                    )
   8                                                         )
                                                             )
   9                             Defendants.                 )
 10

 11

 12                         Deposition of MATTHEW BENNETT taken
 13        via remote videoconferencing of all
 14        participants, pursuant to notice, beginning
 15        at 11:11 a.m., on Tuesday, November 10, 2020,
 16        before Eleanor J. Schwandt, Registered Merit
 17        Reporter and Notary Public.
 18

 19

 20

 21

 22

 23

 24

 25

                                          Everest Court Reporting LLC                                       Page: 1 (1)
                                   215-341-3616 transcripts@everestdepo.com
              Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 3 of 145
Deposition of Matthew Bennett                                        Lisa Barbounis v. Middle Eastern Forum, et. al.

   1       APPEARANCES:
   2                   SETH D. CARSON, ESQ.
                       DEREK SMITH LAW GROUP, PLLC
   3                     1835 Market Street
                         Suite 2950
   4                     Philadelphia, Pennsylvania                                  19103
                         215.391.4790
   5                     Seth@dereksmithlaw.com
                         for the Plaintiff
   6
                       DAVID J. WALTON, ESQ.
   7                   LEIGH ANN BENSON, ESQ.
                       COZEN O'CONNER
   8                     One Liberty Place
                         1650 Market Street
   9                     Suite 2800
                         Philadelphia, Pennsylvania                                  19103
 10                      215.665.5547
                         dwalton@cozen.com
 11                      for the Defendants
 12                    SIDNEY L. GOLD, ESQ.
                       WILLIAM RIESER, ESQ.
 13                    SIDNEY L. GOLD & ASSOCIATES, P.C.
                         1835 Market Street
 14                      Suite 515
                         Philadelphia, Pennsylvania 19103
 15                      215.569.1999
                         SGold@DiscrimLaw.net
 16                      for the Deponent
 17
           ALSO PRESENT:                JENNIFER LUU,
 18                                     Everest Court Reporting,
                                        Video Specialist
 19
                                        GREGG ROMAN
 20                                     DANIEL PIPES
 21                                - - - - - - - -
 22

 23

 24

 25

                                       Everest Court Reporting LLC                                       Page: 2 (2)
                                215-341-3616 transcripts@everestdepo.com
              Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 4 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 3                                                        Page 5
 1            THE VIDEO SPECIALIST: We are               1   here to rule on any objection today so a
 2   now on the record. Today's date is                  2   judge will do that later. So kind of the
 3   Tuesday, November 10th, 2020, and the time          3   order is like I ask the question, no
 4   is 11:11 a.m. Eastern Standard Time. This           4   objection, you answer. I ask a question,
 5   is the recorded video deposition of Matthew         5   objection, you answer, and unless you are
 6   Bennett in the matter of Lisa Barbounis             6   instructed not to by your lawyer.
 7   versus Middle Eastern Forum, et al., in the         7             And we will try to keep the
 8   United States District for the Eastern              8   record clear that way so we try not to
 9   District of Pennsylvania, Case No.                  9   interrupt each other. It is hard for our
10   2:19-CV-05030.                                     10   court reporter to type two people talking
11            My name is Jennifer Luu from              11   at the same time. I take it with Zoom it
12   Everest Court Reporting, and I'm the video         12   is even harder because Zoom like cuts off
13   specialist. The court reporter today is            13   the microphone and only hears the person
14   Eleanor Schwandt, also from Everest Court          14   talking or whatever. So, yes, do me a
15   Reporting.                                         15   favor, try to let me finish my question,
16            All counsel appearing today               16   I'll let you try to finish your answer. We
17   will be noted on the stenographic record.          17   will mess it up a few times today. But
18   Will the court reporter please swear in the        18   does that sound okay?
19   witness.                                           19     A. Yep.
20              MATTHEW BENNETT,                        20     Q. The next thing is try to keep all
21     the witness herein, having first been            21   your answers verbal. Nods and shrugs and
22     duly sworn on oath, was examined and             22   mm-hmms and uh-uhs don't really have a lot
23     testified as follows:                            23   of meaning on the record. So if I prompt
24                                                      24   you and say, yes or no, or whatever, I'm
25                                                      25   not being aggressive or argumentative. I'm
                                               Page 4                                                         Page 6
 1              EXAMINATION                              1   just trying to keep the record clear.
 2 BY MR. CARSON:                                        2   Okay?
 3   Q. Good morning, Mr. Bennett. My name               3     A. Okay.
 4 is Seth Carson. I am Lisa Barbounis'                  4     Q. Say yes.
 5 attorney. And we are here today to take               5     A. Yeah.
 6 your, to conduct the deposition in the                6     Q. Or if you don't understand
 7 matter of Lisa Barbounis versus the Middle            7   something I'm saying, tell me to rephrase
 8 East Forum, Daniel Pipes and Gregg Roman.             8   it or let me know, and I'll explain it and
 9           To make things go smooth today              9   give you more.
10 I'll just start by giving a couple ground            10            I guess that comes to my third,
11 rules or suggestions. Have you ever done a           11   my third suggestion is that I might ask a
12 deposition before?                                   12   bad question today, a crappy question
13   A. No.                                             13   today. If I do, I'll rephrase it. Just
14   Q. So it is a question and answer                  14   say you don't understand the question, and
15 session. I'll ask questions. You provide             15   I'll rephrase it or I'll try to think of
16 answers. You can say yes, no, I don't                16   another way we can get to the information
17 know, I don't remember. You can say                  17   we are talking about. Okay?
18 whatever other response that you think is            18     A. Okay.
19 appropriate. And we are going to try to              19     Q. You understand that your testimony
20 keep a record clear, where I ask a                   20   today has the same force and effect as if
21 question, your lawyer might enter an                 21   you were testifying in a courtroom, with a
22 objection. Unless your lawyer says                   22   judge and jury. So you have been sworn,
23 objection and then directs you not to                23   you are under oath, and so you have to tell
24 answer the question, he is just putting the          24   the truth today. You have to answer all
25 objection on the record. There is no judge           25   the questions truthfully, to the best of
                                          Everest Court Reporting LLC                                   Page: 3 (3 - 6)
                                   215-341-3616 transcripts@everestdepo.com
              Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 5 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 7                                                        Page 9
 1   your knowledge. Right?                              1     Q. So like I asked you to describe
 2    A. Yes.                                            2   your position at two different jobs. I
 3    Q. Okay. Can you please state your                 3   guess since we are here today to talk about
 4   full name for the record.                           4   the Middle East Forum, it is kind of
 5    A. Matthew Phillip Bennett.                        5   relegated to the Middle East Forum, like a
 6    Q. And where do you live, Mr. Bennett?             6   description of your job while you were
 7    A. You want the full address?                      7   there.
 8    Q. Yes, please.                                    8     A. So the question is what is a
 9    A. 4 Mercer Lane, Manalapan, New                   9   description of my job at the Middle East
10   Jersey.                                            10   Forum?
11    Q. Manalapan?                                     11     Q. Yes. Thank you. Better way to
12    A. Yes.                                           12   state it.
13    Q. How long have you been there for?              13     A. Okay. I was hired as the director
14    A. Seven months.                                  14   of special projects, I believe that was in
15    Q. What was your address before that?             15   June or July 2015. And in that role I
16    A. 236 East 47th Street, Apartment                16   launched a young adult division, was
17   37C, New York, New York. I forget the zip          17   responsible for writing some news letters,
18   code.                                              18   help out with fund raising, coordinating
19    Q. No problem. How long were you at               19   meetings. Development I believe was about
20   the house in New York for?                         20   33 percent of my portfolio, and, you know,
21    A. It was an apartment. And just                  21   was sort of a all-around, wearing different
22   under a year. When COVID began, we left            22   hats position. I would help out with
23   the city. My wife were was pregnant.               23   whatever may be needed.
24    Q. Congratulations.                               24     Q. What does that mean, development is
25    A. Thank you.                                     25   33 percent of your portfolio? What is that
                                               Page 8                                                        Page 10
 1    Q. And were you working in New York at             1   33 percent? What do you do?
 2   the time? Is that why you were living in            2     A. Fund raising, assisting with
 3   New York?                                           3   organizing, donor meetings, travel, events,
 4    A. Yes. I accepted a position in                   4   anything that would be related to the
 5   Manhattan and I moved nearby to that                5   eventual solicitation and receival of
 6   office.                                             6   contributions from donors.
 7    Q. What was that position? Where was               7     Q. Developing relationships with
 8   that?                                               8   people who ultimately give the Forum money;
 9    A. That was at the Zionist                         9   is that kind of what it was?
10   Organization of America, and I was the             10     A. Not just money. It is also, you
11   national director of development.                  11   know, reach, influence. The goal is to
12    Q. What is the national director of               12   influence policy, and, obviously, to do
13   the development, is that similar to your           13   that you have to have a following and
14   position when you worked with the Middle           14   audience, so there has to be newsletters,
15   East Forum?                                        15   subscribers, people reading, attending
16    A. Yes.                                           16   events, etcetera. So money is part of it.
17    Q. Did you basically do the same type             17   It is not all of it.
18   of work?                                           18     Q. What, tell me what the Middle East
19    A. Yes.                                           19   Forum's mission was. What was your, what
20    Q. Can you describe that work? And I              20   was the goal of the organization?
21   guess since we are here today to talk about        21     A. Promote U.S. interests,
22   the Middle East Forum, if there is any             22   domestically and abroad. That could fall
23   differences, resolving what you did when           23   under a wide range of different projects
24   you were at the Middle East Forum.                 24   and activities.
25    A. What was that, the second part?                25     Q. So from a U.S. interest, was it in
                                          Everest Court Reporting LLC                                  Page: 4 (7 - 10)
                                   215-341-3616 transcripts@everestdepo.com
              Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 6 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 11                                                       Page 13
 1   a specific given field or area? So in the            1    Q. And the entire time between
 2   Middle East? Is it relegated to the Middle           2   sometime around June 2015 and March 2019
 3   East?                                                3   did you remain in that role as director of
 4     A. Sure. I mean, there is Middle East              4   development?
 5   and there is also Islamism, you know, which          5    A. No. I stated previous, I started
 6   is not defined by geographic area. It can            6   as director of special projects. I was
 7   be different topics. There are, you know,            7   promoted to the director of development at
 8   the campus project, Campus Watch, the,               8   some point at the end of that first, first
 9   maybe professors at universities who are             9   year, so I guess about five or six months.
10   not acting in good faith or according to            10   And then I remained as director of
11   how a professor may be expected to teach.           11   development until, until I left.
12   So there is different initiatives. Campus           12    Q. So was there any time like, for
13   Watch would be one of them. Islamist                13   instance, after Mr. Roman stopped working
14   Watch. There is, you know, it is all on             14   at the office when your responsibilities
15   the website.                                        15   increased?
16     Q. And you said you began your                    16    A. Sorry, say that again.
17   position with the Middle East Forum, was it         17    Q. Was there any time when your
18   in June of 2015?                                    18   responsibilities increased and you did more
19     A. I believe so. I don't remember the             19   than just, when you maybe did the job as
20   exact time or the exact month or day.               20   the director for the Middle East Forum, did
21     Q. Is it fair to say sometime around              21   that ever happen?
22   2015?                                               22    A. No.
23     A. Yeah, maybe it was -- actually, it             23    Q. Let's go back to the beginning of
24   might have been '16. I was there for just           24   your employment at the Middle East Forum.
25   under three years and I left in --                  25   Who hired you?
                                               Page 12                                                        Page 14
 1     Q. Someone doesn't have their thing                1     A. I interviewed initially with Thelma
 2   muted. Sorry about that.                             2   Prosser, invited me for an interview. I
 3     A. Yeah, I was there for just under                3   was interviewed then by Gregg Roman, I
 4   three years and I left in March of 2018.             4   believe twice, and then Daniel Pipes a
 5   So whatever 33 months is, you know, before           5   third time.
 6   that.                                                6     Q. When Thelma Prosser invited you for
 7     Q. You were employed with the Middle               7   an interview, do you remember what her
 8   East Forum for about 33 months?                      8   position was at that time?
 9     A. Yeah, I believe so, I mean.                     9     A. I believe office manager, if I'm
10     Q. And your employment with the Middle            10   not mistaken.
11   East Forum ended in March of 2019?                  11     Q. At the time that Thelma Prosser
12     A. '18.                                           12   invited you for a position, do you remember
13     Q. I'm sorry. '18?                                13   what Gregg Roman's position was at that
14     A. Right? No, no, I'm sorry. I'm                  14   time?
15   getting confused. Yeah, '19, '19.                   15     A. A director.
16     Q. Yeah. So I think an event that                 16     Q. Did he hold any other positions
17   happened at the Middle East Forum that we           17   with the Middle East Forum?
18   might use as like a marker to try to gauge          18     A. I don't understand the question.
19   time might be November 4th of 2018 when you         19     Q. So I think I have seen a hierarchy
20   had this group meeting where everyone --            20   where there is a board of governors. Is
21     A. Yeah. Sorry. Messing up the                    21   Gregg Roman on the board of governors?
22   dates. But, yeah, that's right, November            22     A. You mean as secretary?
23   4th, 2018. I left in March of 2019.                 23     Q. Is that your knowledge, that Gregg
24     Q. Okay.                                          24   Roman was the secretary on the board of
25     A. Yeah.                                          25   governors?
                                           Everest Court Reporting LLC                                 Page: 5 (11 - 14)
                                    215-341-3616 transcripts@everestdepo.com
              Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 7 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 15                                                       Page 17
 1     A. No. But, I mean, at that time, I                1    Q. Who runs the organization,
 2   don't recall. I don't know what his -- I             2   generally? Or actually let's say
 3   mean, I didn't remember what the -- if it            3   specifically for Middle East Forum.
 4   happened, maybe now, or it may be before.            4           Strike that. Let's back up.
 5   I checked the website a couple months ago            5   So do you know who was on the board of
 6   and I think I saw it there.                          6   governors when you were the director of
 7     Q. Do you know when he was given that              7   development for the Middle East Forum?
 8   title as secretary of the board of                   8    A. I mean, I believe there was about
 9   governors?                                           9   40 different people. But to recall
10     A. I don't even know what that is. I              10   specific names, no, I don't. I mean,
11   don't even know what the secretary of the           11   again, I've had to remember another 80
12   board of governors entails.                         12   board members since I have left there.
13     Q. Do you know what the board of                  13   But, I mean, it is all on the website. I'm
14   governors is?                                       14   sure that --
15     A. Yes, yes.                                      15    Q. Fair enough. So going back to your
16     Q. What is the board of governors?                16   interview, you said you interviewed twice
17     A. The group of people who are                    17   with Daniel -- I'm sorry -- with Gregg
18   responsible for the governance of, you              18   Roman and then once with Daniel Pipes; is
19   know, they are contributors, and there is           19   that correct?
20   board meetings, there is annual meetings,           20    A. Yes, I believe so.
21   to which they are briefed on the ongoings           21    Q. And during that interview process,
22   of the organization.                                22   when did you find out that you were going
23     Q. And do you know who sits on the                23   to be offered a position with the Middle
24   board of governors today?                           24   East Forum?
25     A. No. I have been with two other                 25    A. I guess it was in the weeks or
                                               Page 16                                                        Page 18
 1   organizations since, and, you know, I have           1   months following my final interview.
 2   my own board of governors to keep track of.          2     Q. Do you know if it was like weeks or
 3   I don't, I don't know who currently sits on          3   months? Was it months after the final
 4   the board of governors, no.                          4   interview? Or was it like not long after
 5     Q. In general, is the board of                     5   that?
 6   governors, so not related to the Middle              6     A. I, I --
 7   East Forum, but since you deal with board            7     Q. If you remember.
 8   of governors today, in general what is a             8     A. I don't recall. I don't recall. I
 9   board of governors?                                  9   mean, it was obviously some time between
10     A. Well, it is called different things            10   the time I interviewed and the time that I
11   at different places. It can be board of             11   began.
12   directors, board of governors. Just a               12     Q. That's right. I think that's fair
13   board, board members. But they are a group          13   to say.
14   of donors who take interest in the                  14           So when you actually started,
15   organization, sometimes, most often they            15   that would be the date that you gave me,
16   are contributors that can be invited to             16   some time around June 2015, that's when you
17   take on like a lay leadership-type role,            17   actually began --
18   where they can attend events and be asked           18     A. I believe. It could be May, June,
19   to invite friends to events to help                 19   July of, yeah, of 2016. I believe it was
20   increase the awareness of and the reach of          20   '16, not '15.
21   the organization. So they are just people           21     Q. 2000 --
22   from every walk of life.                            22     A. 2015 I was --
23     Q. Are they the people who actually               23     Q. '17, '18, '19, yeah.
24   run the organization?                               24     A. '15 I was the director of Jewish
25     A. Run the organization? No.                      25   Community Relations and the Israel Center
                                           Everest Court Reporting LLC                                 Page: 6 (15 - 18)
                                    215-341-3616 transcripts@everestdepo.com
              Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 8 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 19                                                       Page 21
 1   for the Jewish Federation of Atlantic and           1   office. Judy Goodrobb. You know, all of
 2   Cape May Counties.                                  2   the various project directors that may be
 3     Q. Did you work with Gregg Roman when             3   based elsewhere but would come to and from
 4   you were at the Jewish Federation?                  4   the office when needed.
 5     A. Did I work with him? No. We had                5     Q. Samantha Mandeles, was she there
 6   met, after having not seen each other for a         6   back then?
 7   number of years, at a JCPA conference in            7     A. I mean, she worked there. But I
 8   Chicago. And we spoke there for the first           8   don't remember. She didn't work in the
 9   time in I don't remember how long. But he           9   office, no. And I don't know if she was
10   was not at the Middle East Forum at that           10   employed at the time that I began. But I
11   time. He was at, he was the director of            11   know at some point she was employed there.
12   Jewish Community Relations for Pittsburgh,         12     Q. How about, was there someone named
13   in Pittsburgh.                                     13   Laura Frank?
14     Q. Is that the same Jewish Federation            14     A. You asked when I began working
15   or are there different Jewish Federations          15   there, who were the people that were
16   situated in different areas of the state or        16   working there, right?
17   country?                                           17     Q. Yeah. So if she wasn't there when
18     A. There is, it is like every city,              18   you started working there, I guess you can
19   state has their own Jewish Federation. I           19   just say no. I'm asking about when you
20   think there is 11 in the State of New              20   first started.
21   Jersey. There is one in Philadelphia, one          21     A. Oh. So when I first started
22   in New York. Various, you know, every              22   working there, no, Laura Frank was not
23   city, I think there is -- I don't know how         23   there. And again, Samantha Mandeles, I
24   many there are today, but --                       24   don't know when she began her tenure.
25     Q. Are they all connected? Are they              25     Q. Laura Frank. I'm told there was
                                              Page 20                                                        Page 22
 1   like independent organizations?                     1   another employee named Lara who worked
 2     A. No, they are independent                       2   there around the same time that Laura Frank
 3   organizations. It is like your local, you           3   worked there. Are you familiar with her?
 4   know, community center has, you know, it            4     A. Yes.
 5   could be local, JCRC, local food bank,              5     Q. Do you know what Lara's last name
 6   etcetera.                                           6   is?
 7     Q. And so when you first started at               7     A. It began with an S and had some
 8   the Middle East Forum, did you report to            8   funny spelling. Sort of like Scott, but I
 9   the Philadelphia offices, located on I              9   know it is not Scott. I'm not sure exactly
10   believe it is Market Street in                     10   what it was or is.
11   Philadelphia, Pennsylvania?                        11     Q. We can call her Lara Scott today
12     A. When I first started working there            12   with the understanding that that is
13   did I work at the office on Market Street?         13   probably not it.
14     Q. Yes, yes.                                     14           So at the time you started,
15     A. Yes.                                          15   Gregg Roman, he was the director of the
16     Q. And who worked at that office when            16   Middle East Forum, correct?
17   you first started working there?                   17     A. Yes.
18     A. Let me see, like go around the horn           18     Q. And what was his role as the
19   so to speak. It was Tiffany Lee, Marnie            19   director of the Middle East Forum when you
20   Meyer or Marnie O'Brien, Gary Gambill, Eman        20   started?
21   Patel, Thelma Prosser.                             21     A. Day-to-day operations, fund
22           Occasionally there would be                22   raising, content, you know, development,
23   others, you know, that weren't necessarily         23   marketing. He oversaw the, ran the
24   based in the office, but that was, you             24   organization, operationally.
25   know, they would be in and out of the              25     Q. Was there any position higher than
                                          Everest Court Reporting LLC                                 Page: 7 (19 - 22)
                                   215-341-3616 transcripts@everestdepo.com
              Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 9 of 145
Deposition of Matthew Bennett                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                Page 23                                                       Page 25
 1   director?                                             1    Q. And do you know how long, do you
 2    A. Was there any position higher than                2   know when Tiffany Lee's employment with the
 3   director? Among the other people that you             3   Middle East Forum ended?
 4   just mentioned? I mean --                             4    A. Yeah, I want to say probably
 5    Q. No, among everybody.                              5   December of, maybe November/December of the
 6    A. I mean, Daniel Pipes is the                       6   same year that I began.
 7   president of the organization, so if that's           7    Q. That's November/December 2016,
 8   what you are asking.                                  8   correct?
 9    Q. President, as president, that's                   9    A. Yes.
10   not, -- president is his title as an                 10    Q. And is the reason you are aware of
11   officer among the board of governors,                11   that date is because you became the
12   correct?                                             12   director of development after her
13    A. I don't know exactly what the -- I               13   employment ended?
14   don't know what the question is. I don't             14    A. Yeah, I remember that after
15   know what -- you are asking if Daniel is             15   approximately five to six months at the
16   higher ranked than Gregg in the                      16   beginning I was promoted to the director of
17   organization?                                        17   development. So I'm estimating five or six
18    Q. I'm asking if there is any employee              18   months from the time that I began to, you
19   with a higher rank than Gregg Roman, the             19   know, for which I believe is December.
20   director, at that time?                              20    Q. And you replaced Tiffany Lee after
21    A. Well, if there was, it would be                  21   she left, correct?
22   Daniel. I'm not sure if you are                      22    A. Yes, I took that, I took on that
23   considering that Daniel is a board member            23   role.
24   or considering that he is a employee of the          24    Q. Do you know why her employment with
25   organization.                                        25   the Middle East Forum ended?
                                                Page 24                                                        Page 26
 1     Q. Other than Daniel, is there anybody              1     A. She, well, she failed at doing the
 2   else? Is there any other position?                    2   job that, raising money, developing
 3     A. Not that I know of.                              3   content, at organizing events, managing
 4     Q. Let's talk about Tiffany Lee for a               4   other employees in the office who said she
 5   moment, please. You said Tiffany Lee                  5   was terrorizing them.
 6   started, or, I'm sorry, was already an                6            Me personally, she would ask me
 7   employee of the Middle East Forum when you            7   to, you know, to carry out assignments that
 8   first began your employment; is that                  8   I didn't believe Daniel or Gregg knew
 9   correct?                                              9   about. And I asked her constantly, please
10     A. Yes.                                            10   put that in writing to make sure I'm
11     Q. Do you know what her position was               11   working on something that, you know, that
12   at that time?                                        12   my boss is aware of that you are assigning
13     A. Director of development.                        13   me to do.
14     Q. So is director of special projects              14            One day she was screaming at a
15   and director of development, are those               15   janitor inside of the office. You know, I
16   parallel positions, like neither one is the          16   mean, I would say biggest reason, the
17   supervisor of the other? They are two                17   number one reason is that she, besides the
18   different departments, I guess is a way to           18   fact that other employees I believe had
19   say it?                                              19   complained about her, is that she was
20     A. Sort of. When I said previously                 20   delinquent in her responsibilities to raise
21   that my portfolio included a percentage of           21   funds and to successfully promote the
22   development work, that would be the 33               22   interests of the organization.
23   percent of my time Tiffany Lee would, you            23     Q. Do you know if that's the reasons
24   know, direct me on what to do. The rest I            24   why she was terminated? Or, well, tell me
25   would report to Gregg.                               25   your knowledge related to the reasons why
                                            Everest Court Reporting LLC                                 Page: 8 (23 - 26)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 10 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 27                                                       Page 29
 1   she was actually terminated. Strike that.            1   Q. Take your time.
 2            Do you know whether she was                 2   A. I don't remember who told me. I
 3   terminated or whether she resigned when it           3 just remember that she said, I don't know,
 4   ended?                                               4 she had felt -- that she claimed something
 5     A. No, I was never -- I remember, I                5 or alleged something, which I had no
 6   wasn't in the office the day that it                 6 knowledge of.
 7   happened. I think it was Halloween, maybe,           7   Q. Do you remember what the
 8   now that I remember. It may have been                8 allegations were?
 9   Halloween, because I remember Marnie told            9         MR. GOLD: Asked and answered.
10   me that she had, that she was the one who           10         THE COURT REPORTER: I'm sorry,
11   had escorted her out of the office, and             11 who spoke, please?
12   Tiffany was demanding to take papers and            12         MR. GOLD: Mr. Gold. I'm
13   files out of her office, and Marnie                 13 representing Mr. Bennett here today.
14   prevented her from doing that.                      14         THE COURT REPORTER: Thank you.
15            And then in recounting that                15         MR. GOLD: The question has
16   story to me, I knew that, you know, she had         16 been asked and answered already. Move on.
17   left. I don't know what -- maybe she                17         THE WITNESS: I believe that it
18   resigned before that and then they asked            18 was after she had been -- after she had
19   her to go, or if she was terminated.                19 parted ways with the organization, then at
20     Q. Do you know whether she ever                   20 some point something came up. There was --
21   reported any issues related to sexual               21 I definitely, while she was there, had no
22   harassment during her employment?                   22 knowledge or I don't believe anything was
23     A. During her employment, no. I                   23 ever claimed or whatever.
24   believe after she said that she was                 24 BY MR. CARSON:
25   discriminated against or felt that because          25   Q. You don't know anything about a
                                               Page 28                                                        Page 30
 1   she was a woman or something. It was at              1   couch that Gregg Roman and Tiffany had sex
 2   that point that I, I made it known that I            2   on during the --
 3   felt that she had harassed me, to come to            3    A. What was that?
 4   my office in a short skirt, crossing,                4    Q. I asked you if you know anything
 5   uncrossing her legs in front of me, saying,          5   about a couch that they had sex on in the
 6   Matt, will you please do this for me, or,            6   Philadelphia office, Gregg Roman and
 7   Matt, can you do that for me, then, you              7   Tiffany Lee?
 8   know, things that I believe that had been            8    A. I'm sorry, I don't mean to laugh.
 9   assigned to her. And she was partially my            9   No, definitely, definitely not.
10   boss.                                               10    Q. You are allowed to laugh. The
11            And at the time, before I had              11   court reporter will write down you are
12   asked her to put, you know, things in               12   smiling. You can --
13   writing that I believe demonstrated she was         13    A. No, I definitely do not know of
14   not fit to be in that role, which I was             14   anything about the couch and no relations
15   hesitant to do because I knew that it would         15   between the two of them.
16   look as if I was, you know, aiming for              16    Q. Did you ever see Gregg Roman act
17   that, for her, for her job.                         17   inappropriately toward her?
18    Q. Do you know if she ever reported                18    A. No.
19   any issues of sexual harassment related to          19    Q. Did you ever tell Patricia McNulty
20   Gregg Roman?                                        20   that you saw Gregg Roman acting
21    A. There was a story that I believe                21   inappropriately toward her?
22   she had said, which I had no knowledge of.          22    A. No, I don't believe I did.
23   And --                                              23    Q. So is Patricia McNulty lying when
24    Q. How did you hear about it?                      24   she testifies that you told her that?
25    A. I'm trying to remember.                         25    A. Yeah, I believe so. I believe so.
                                           Everest Court Reporting LLC                                 Page: 9 (27 - 30)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 11 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 31                                                       Page 33
 1    Q. And have you ever seen Gregg Roman              1   things. And in a meeting which I believe
 2   act inappropriately to any female employee?         2   was November 5th of 2018, you know, when
 3    A. No.                                             3   those things were being outed or claimed or
 4    Q. Have you ever seen Gregg Roman                  4   whatever about Gregg, Marnie and Lisa
 5   sexually harass any female employee?                5   proceeded to call me a pussy and said they
 6    A. Have I ever seen Gregg harass                   6   would never trust me because I did not
 7   anybody, no.                                        7   demand to have Daniel fire Gregg
 8    Q. Have you ever seen Gregg -- that                8   immediately, during that meeting. And that
 9   wasn't my question. My question was: Have           9   was the beginning of a ridiculous time at
10   you ever seen Gregg Roman sexually harass          10   MEF.
11   any female employee who worked at the              11     Q. You don't believe that those things
12   Middle East Forum?                                 12   happened today?
13    A. No, definitely not.                            13     A. I have no way to know. I have
14    Q. Have you ever said that you saw                14   never visually, physically seen anything.
15   Gregg Roman sexually harass a female               15   All I have is, was -- were things people
16   employee at the Middle East Forum?                 16   told me after the fact, sometimes weeks or
17    A. Have I ever said that I saw, is                17   months after. And at this point, I don't
18   that the question?                                 18   -- I have no way to -- I have no way to
19    Q. Yes.                                           19   tell -- I mean, based on the ridiculous
20    A. No.                                            20   things that I saw that were written about
21    Q. You never told Daniel Pipes that               21   me, I, I have no way to give credit to
22   Gregg Roman acted inappropriately toward           22   anything that was said about Gregg. I have
23   female employees at the Middle East Forum?         23   no -- never saw anything, never witnessed
24    A. Well, we are going to have to back             24   anything, no.
25   up timeline-wise to understand that.               25     Q. Do you think you sound credible
                                              Page 32                                                        Page 34
 1            But I was told or there were               1  right now?
 2   several rumors by other people that things          2    A. Do I think I sound credible?
 3   had happened, and at the time I believed            3    Q. Yeah. Do you think you sound
 4   them because I had no reason not to.                4 credible right now?
 5            So, yes. And then at some                  5    A. I don't think, I don't think it
 6   point I believe I told Daniel, after                6 matters.
 7   November the 5th or whatever this meeting           7          MR. WALTON: Objection,
 8   took place, or following a letter that was,         8 argumentative. That's Dave Walton for MEF.
 9   that Marnie and Lisa and Tricia penned to           9 I just want to place an objection that's
10   Daniel, following that.                            10 argumentative. But you can answer, Mr.
11     Q. What did you say?                             11 Bennett.
12     A. I don't even, I don't remember.               12          MR. CARSON: I think he
13     Q. Well, why did you say that at the             13 answered.
14   time you believed them, that you had no            14          MR. WALTON: Then move on.
15   reason not to?                                     15          MR. CARSON: I'm happy to move
16     A. Well, it was, it was alarming that,           16 on.
17   I don't know, that people that I work with         17          THE WITNESS: Where do I start?
18   every day all of a sudden had all these            18 BY MR. CARSON:
19   allegations that I believe as like a friend        19    Q. Okay. So sitting here today, you
20   that would have made, they would have made         20 have no reason to disbelieve or believe?
21   aware to me, you know, prior to the point          21 You have no knowledge related to any of the
22   where it came out in like an explosive             22 allegations that any of the people, that
23   manner.                                            23 Lisa Barbounis made against Gregg Roman?
24            So, you know, at first I                  24          MR. GOLD: Asked and answered.
25   didn't, I didn't believe some of the               25 The next question. Don't answer.

                                          Everest Court Reporting LLC                                Page: 10 (31 - 34)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 12 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 35                                                       Page 37
 1     A. I don't know what allegations                  1   believed, but today you don't; is that your
 2   specifically you are referring to.                  2   testimony?
 3           MR. GOLD: Matt, if I tell you               3     A. I don't even remember what I was
 4   not to answer a question, don't answer a            4   aware of at that point. I was showed
 5   question.                                           5   screen shots of messages that were sent and
 6           MR. CARSON: You can't tell him              6   then deleted. I think it was before that.
 7   not to answer that question.                        7            But to answer your question, on
 8           MR. GOLD: Absolutely, I can.                8   November the 4th, yeah, I was riled up by
 9   I can direct him not to answer a question.          9   what I had been told. There was a letter
10           MR. CARSON: We are going to                10   written, and I was mentioned in that
11   stop and call Judge Wolson.                        11   letter, and I didn't know in what context
12           MR. GOLD: Call him.                        12   and for what reason, and on November, yeah,
13           MR. CARSON: Yeah. No. We are               13   whatever it was, the 5th, I believe, or the
14   going to stop and call him if you direct           14   4th, whatever the date of that meeting was,
15   him not to answer the question.                    15   I was trying to -- sorry, hold on one
16           MR. GOLD: He answered the                  16   second. I'm sorry, is it okay if the dog
17   question. He said he has no personal               17   sits on my lap? She is barking.
18   knowledge and you asked the question again.        18     Q. I don't have any objection to that.
19   One more question. Go ahead. Repeat the            19     A. Okay. Sorry, will you remind me
20   question.                                          20   where we were?
21           MR. CARSON: It is not going to             21     Q. You were testifying about whether
22   be one more.                                       22   or not on November 4th, 2018, you indicated
23           MR. GOLD: All right. Well, go              23   that you believed these women's allegations
24   ahead.                                             24   of sexual harassment related to Gregg
25                                                      25   Roman?
                                              Page 36                                                        Page 38
 1 BY MR. CARSON:                                        1     A. Yeah. They had took it to a level
 2   Q. We will start with the question:                 2   that would make it difficult to believe
 3 Sitting here today, do you believe the                3   that that was not the case. So, I mean,
 4 allegations that Lisa has made in her                 4   you know, put everybody else's employment
 5 lawsuit?                                              5   on the line or in jeopardy. Yeah, it was
 6   A. Can you -- what allegations?                     6   at a level that why would anybody do that
 7   Q. Do you believe Lisa Barbounis was                7   unless it was true.
 8 sexually harassed by Gregg Roman?                     8     Q. Okay. So you believed them then,
 9   A. No.                                              9   and you don't believe them now; is that
10   Q. Do you believe Patricia McNulty was             10   your testimony?
11 sexually harassed by Gregg Roman?                    11     A. I would say, yeah, I don't believe
12   A. No.                                             12   them now. I mean, I believe that they were
13   Q. But you said you believe they were              13   saying things that they had never said
14 on November 4th, 2018, correct?                      14   before. And, look, at the time I was -- I
15   A. Yeah.                                           15   broke my foot, then I had double pink eye.
16         MR. GOLD: Objection. That's                  16   I used my vacation time to work a
17 not an accurate representation of his                17   conference in California.
18 testimony. But you can answer. Go ahead,             18            My wife was pregnant. We were
19 Matt.                                                19   told that the baby had a genetic disease,
20   Q. Well, you said you believed they                20   and we had to terminate the pregnancy, and
21 were on November 4th, 2018, correct?                 21   we did terminate the pregnancy. I was
22   A. They took it to a level that would              22   struggling personally to cope with my
23 make it difficult for anyone not to                  23   personal life, and work was the one place
24 believe.                                             24   that I would be able to feel that I have
25   Q. So on November 4th, 2018, you                   25   like a stable environment, as my personal
                                          Everest Court Reporting LLC                                Page: 11 (35 - 38)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 13 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 39                                                       Page 41
 1   life was deteriorating.                              1   baby-sat my daughter, Catriona and Delany
 2           So when the people that I, you               2   wanted to rent my house. I mean, these are
 3   know, Tricia and Lisa and my colleagues in           3   my friends.
 4   the office, they were the people I sent the          4            I have a picture of us sitting
 5   ultrasound of my baby to, to say, guys,              5   at Continental Midtown, the day before I
 6   look, first people I told I was pregnant.            6   left, going away, and all of a sudden then
 7   They were my best friends there. They were           7   two months later I get a paper that says
 8   my best friends in life, Gregg and all of            8   that I'm some horrible person, and that
 9   them. All I had was my work life. I was              9   their whatever is gone, their employment
10   dedicated to that.                                  10   after I had left was somehow -- I'm
11           And when all of a sudden they               11   responsible for, or that I didn't report
12   came out saying these things, then, you             12   something, which they say that I should
13   know, I'm in a position, I have all these           13   have reported or did something.
14   friendships, I have life hanging heavy on           14            I mean, these are my friends.
15   my head, and I believed it, yeah.                   15   We went out drinking. We went out every
16     Q. And you don't believe them today,              16   week, every month, phone calls.
17   correct?                                            17            I hung out with Lisa's husband.
18     A. I have reason -- I mean, when                  18   He we got beers at the bar, and wings,
19   someone had the, had the not -- said things         19   watched the Eagles game. I mean, like
20   that I believe are lies about myself or             20   these were, these were people who I
21   that are lies about myself, and other               21   socialized with on a daily, weekly, monthly
22   things that they recalled that I know are           22   basis for the entire time that they were
23   not true, or I recall them very                     23   employed there. Up to the day that I left
24   differently, then, yes, it leads me to cast         24   they were my friends.
25   a doubt on anything and everything that             25            They called, they called my
                                               Page 40                                                        Page 42
 1   they said or were their reasons for even             1   wife, we are worried about Matt, he hasn't
 2   saying them.                                         2   been to work, what is going on. And then
 3     Q. Well, give me an example. What are              3   all of a sudden now I'm enemy of the state.
 4   these things that, let's relegate it to              4     Q. Well --
 5   Lisa since you are here today to testify             5     A. What happened between the time that
 6   about Lisa's case.                                   6   I left and the time that all of a sudden I
 7     A. Okay.                                           7   became persona non grata, un-friended on
 8     Q. So what has Lisa said about you                 8   Facebook? What did I do in the two months
 9   that you know not to be true?                        9   that I didn't talk to them that made that
10     A. I mean, it has been awhile since I             10   happen?
11   was delivered this, the packet by the               11     Q. Well, what has Lisa Barbounis said
12   process server or whatever.                         12   about you that's not true? Has she said
13     Q. I can put it in front of you if it             13   anything about you that's not true?
14   will help.                                          14     A. I'm not going to -- put it on the
15     A. If you could just tell me and then             15   screen or read it to me, and then we will
16   I'll respond to it.                                 16   go through one by one.
17     Q. Well, it is a 60-page complaint so             17     Q. All right. So I would be happy to
18   I think I would show it you.                        18   do that. Is the document you are referring
19     A. Exactly, so somebody who makes a               19   to her complaint?
20   60-page complaint, after they threw me a            20     A. I don't remember. It is whatever
21   going away party on the day before I left,          21   the thing that was delivered to my house
22   I attended Lisa's son's birthday party and          22   probably over a year ago at this point,
23   sat a table with her parents, she and her           23   whatever.
24   husband attended my daughter's first                24     Q. I want to put a complaint on the
25   birthday party with my parents, Tricia              25   screen. You do know that you are not, you
                                           Everest Court Reporting LLC                                Page: 12 (39 - 42)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 14 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 43                                                       Page 45
 1   are not a defendant in Lisa's case, right?           1    A. I mean, I don't know what the
 2     A. I believe I was at some point, and              2   difference is, to be honest with you, I
 3   now, then, now I'm not. Is that a correct            3   don't know what the difference is between
 4   understanding of it?                                 4   whatever those documents were that were
 5     Q. You were dismissed from her case,               5   delivered and whatever is going on now. I
 6   right? Did you know that?                            6   don't know what the -- what was removed,
 7     A. No, to be honest with you. I'm                  7   added, agreed upon, the details, no. I
 8   trying to stay -- look, I have a newborn             8   don't.
 9   baby at home. I just bought a house. I               9            So I don't know what -- I
10   just had to flee New York City with a               10   remember reading things in a set of
11   pregnant wife in a pandemic. I'm trying to          11   documents, which were ridiculous, and
12   keep toxic things out of my life. So, no            12   thinking how could, how could people I
13   I'm not aware of what is going on.                  13   called my friends do this to me or say this
14           But if you put it up on the                 14   about me. And then, I don't know what is
15   screen and I read it, then I can recount to         15   there now. So, no.
16   what I do remember at that time.                    16    Q. But you don't remember any specific
17     Q. Well, do you know that you were                17   things? Because the reason, and I'll tell
18   dismissed from Lisa's case pursuant to an           18   you the reason I'm asking is because you
19   agreement that Lisa made with, with you,            19   said this is the reason you have changed
20   to--                                                20   your mind. This is the reason you testify
21     A. An agreement?                                  21   that you believed them on November 4th,
22     Q. Yeah, it's called a stipulation.               22   2018, but you don't believe them now,
23   Did you know that you were dismissed from           23   because of these things you read. So
24   the case pursuant to a stipulation?                 24   that's the only reason I'm trying to
25     A. You are saying that she made an                25   identify what you read that caused you to
                                               Page 44                                                        Page 46
 1   agreement with me?                                   1   dramatically change your mind.
 2    Q. Yeah, through your lawyers, to                   2     A. Well, I don't know specifically who
 3   dismiss you from the case.                           3   said what, but if they are saying that I
 4    A. Oh, oh. Yeah. I thought you were                 4   was supposed to -- that some things, the
 5   insinuating or claiming I had some contact           5   instance on the Israel trip, that I was
 6   with her between the time, whatever, and             6   supposed to be the person to go on, and I
 7   now. Yes.                                            7   didn't go on that trip, and that I believe
 8    Q. Were you aware that that -- I'm                  8   they said a complaint was made to me about
 9   sorry to interrupt. Were you aware that              9   it, and that I didn't report it.
10   that is the reason you are no longer part           10            I'm not sure who said that or
11   of her case?                                        11   what case or whatever it was in. But my
12    A. Yes, yes. I don't know all the                  12   specific recollection of that is Lisa came
13   details, but, yes, I'm aware that there was         13   back, we were having lunch downstairs
14   an agreement and that I was -- that I am no         14   underneath in the cafeteria place, talked
15   longer a party to it.                               15   about the trip, and she said: Gregg was
16    Q. Do you know that the reason why the             16   acting like a dork on the couch.
17   stipulation was agreed to is because she            17            And I remember she said the
18   made no allegations concerning you in her           18   word "dork," which I thought was strange,
19   complaint? Are you aware of that?                   19   because I don't know she uses that word.
20    A. Sorry, repeat that again.                       20   But then later she had felt that or alleged
21    Q. Are you aware that she made no                  21   that, I don't know, what was obviously much
22   allegations concerning you and harassment           22   more than that, and then I was shown text
23   in her complaint?                                   23   messages that said she was --
24    A. Well, I would hope not. Like what?              24     Q. Sorry, but there is some sort of
25    Q. Right.                                          25   clicking. I'm not sure what that is.
                                           Everest Court Reporting LLC                                Page: 13 (43 - 46)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 15 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 47                                                       Page 49
 1    A.  It is not me.                                   1   etcetera.
 2          THE VIDEO SPECIALIST: Can we                  2           I had intimate knowledge of the
 3 go off the record.                                     3   inner-workings of the organization, so I
 4          (Discussion off the record.)                  4   would be able to relay, relay that back to
 5          THE VIDEO SPECIALIST: Back on                 5   whatever department or project would have
 6 the record.                                            6   then made use of that, so, you know,
 7 BY MR. CARSON:                                         7   California, Florida.
 8   Q. Sorry about that, Mr. Bennett.                    8     Q. My only question --
 9   A. That's okay.                                      9     A. Chicago.
10   Q. So since you brought it up, let's                10     Q. -- was whether he sent you an
11 just talk about the Israel trip for a                 11   e-mail asking you to go?
12 minute. So you just mentioned that someone            12     A. I mean, if there is, I'm sure it is
13 alleged that you were supposed to go on               13   in some, in some MEF e-mails. But I don't
14 that trip. You were never supposed to go              14   recall an e-mail or text message.
15 on that trip, correct?                                15     Q. You haven't read any e-mails or
16   A. No, I was. And at the time that my               16   texts where he mentioned asking you to go
17 wife had either just given birth or was               17   to the Israel trip, correct?
18 about to give birth, and I told Gregg, I              18     A. When?
19 said, I can't, I can't leave her, you know,           19     Q. Ever?
20 take somebody else.                                   20     A. No, I don't recall.
21          I believe he asked maybe                     21     Q. In your life?
22 Marnie. And then I don't think Marnie --              22           MR. GOLD: Asked and answered.
23 obviously, Marnie didn't go. And then I               23   He said he didn't recall.
24 believe Lisa went.                                    24     Q. It is your testimony, right, you
25   Q. Do you know why Marnie wouldn't go?              25   have never read, you have never seen any
                                               Page 48                                                        Page 50
 1     A. I don't know. I mean, I would                   1  e-mail, text message, electronic
 2   have, I would have been glad to go. I'm              2  communication of any kind where Gregg Roman
 3   not sure why she didn't go.                          3 asked you to go on that this trip, correct?
 4     Q. Did Gregg send you any text                     4          MR. GOLD: Matt, don't answer
 5   messages where he asked you to go on this            5 that. Matt, don't answer that. Just let
 6   Israel trip?                                         6 me place my objection.
 7     A. Text message?                                   7          Seth, he said he doesn't recall
 8     Q. Yes.                                            8 any. He said it about three different
 9     A. I don't believe so. I mean, it was              9 times. He didn't say he never read one.
10   probably either discussion in the office or         10 He said he didn't recall.
11   -- no, I don't remember, I don't recall any         11          MR. CARSON: Okay.
12   text messages saying come with me to Israel         12          MR. GOLD: He said it three
13   or whatever.                                        13 different times.
14     Q. Is there any e-mails --                        14          MR. CARSON: That's why I said
15     A. But we -- on all of Gregg's fund               15 "correct" at the end. It was a question.
16   raising trips, in travel, and work, you             16          MR. GOLD: I know, but you have
17   know, I was the logical person to go                17 prior --
18   because I had knowledge of the content of           18 BY MR. CARSON:
19   the work being done by the organization. I          19   Q. Have you read any of these text
20   had the ability to sit in on meetings and           20 messages, have you ever read a text
21   process high-level information and relate           21 message, e-mail, electronic communication
22   that to the strategy of the organization,           22 where Gregg Roman asked you to go on this
23   how we are best able to leverage                    23 Israel trip?
24   relationships with vendors, key people, you         24          MR. GOLD: Objection, asked and
25   know, promote our interests and influence,          25 answered. You can answer again.

                                           Everest Court Reporting LLC                                Page: 14 (47 - 50)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 16 of 145
Deposition of Matthew Bennett                                          Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 51                                                       Page 53
 1   A. I don't recall.                                 1            MR. WALTON: Asked and
 2   Q. So you don't recall ever reading?               2   answered.
 3 You didn't read one any time recently,               3     A. On this, on this specific trip
 4 correct?                                             4   there weren't any details. It was, there
 5   A. No, definitely not.                             5   is the Israel trip, and I said I can't go
 6          A VOICE: Yo, I'm in this dep,               6   on it because of my wife and the baby.
 7 man. What is up?                                     7   That was it. But every other trip, you
 8          (Discussion off the record.)                8   know, it was accommodations as normal, that
 9          MR. CARSON: Guys, I got to                  9   I would go on.
10 take a break. Go off the record for a               10     Q. What does that mean? What is
11 second. Thank you, Jason.                           11   normal accommodations?
12          THE VIDEO SPECIALIST: We are               12     A. Whatever we were able to find at
13 off the record.                                     13   the last minute. If it was -- if we looked
14          (Recess taken.)                            14   long in advance and there wasn't a problem,
15          THE VIDEO SPECIALIST: We are               15   then wouldn't be an issue getting two rooms
16 back on the record.                                 16   in the same hotel for like a normal cost.
17 BY MR. CARSON:                                      17   If it was a problem, we would share a room,
18   Q. All right. So, sorry for that                  18   or an Airbnb, or whatever that other thing
19 short break. When we left we were talking           19   is called that you book stays in.
20 about the Israel trip, and I think you said         20     Q. Airbnb?
21 that Mr. Roman asked Marnie Meyer to go on          21     A. Yeah, Airbnb.
22 the trip; is that correct?                          22     Q. Do you think it is appropriate for
23   A. I know that there was someone that             23   Gregg to share an Airbnb with another
24 was asked after me. Then, at least that's           24   female employee on the trip to Israel?
25 what I remember. Then, that Lisa...                 25     A. I guess it depended on the nature
                                             Page 52                                                        Page 54
 1    Q. And that someone who was asked                 1  of the, you know, the place.
 2   after you was Marnie Meyer, right?                 2   Q. What do you mean by that?
 3    A. To the best of my recollection,                3   A. Well, if it is a studio apartment,
 4   yes.                                               4 I guess it would be odd. If there was, if
 5    Q. Do you know why she said no?                   5 there was ample, you know, space and room
 6    A. I do not.                                      6 for privacy, then it should be fine.
 7    Q. Do you know if she said no?                    7   Q. If there was one bathroom in the
 8            MR. WALTON: Object.                       8 middle of the kitchen, would that be odd?
 9    A. I do not.                                      9   A. One bathroom --
10    Q. Do you know whether or not she                10          MR. GOLD: Objection to form.
11   turned Gregg down because Gregg forced her,       11 But you can answer.
12   said, if you go you have to share a room          12   A. To share a bathroom? I mean I
13   with me?                                          13 stayed at Airbnbs with other jobs that
14            MR. WALTON: Objection.                   14 would only be one bathroom. But I guess,
15   Assumes facts not in evidence. But go             15 no, it wouldn't be odd if that was -- you
16   ahead.                                            16 know, unless they were in the bathroom at
17    A. I definitely did not know that.               17 the same time together, you know.
18   And, no, I don't.                                 18   Q. You think that's appropriate?
19    Q. Did Gregg tell you that you were              19          MR. GOLD: Asked and answered.
20   going to be sharing a room with him if you        20 Now, come on, Seth, you are wasting time.
21   went on the trip?                                 21          MR. CARSON: I think your
22            MR. WALTON: Objection.                   22 objections are wasting time, but I'm going
23    A. No.                                           23 to ask my question again.
24    Q. Did Gregg tell you that you could             24 BY MR. CARSON:
25   have your own hotel room if you went?             25   Q. Do you think that's appropriate?
                                         Everest Court Reporting LLC                                Page: 15 (51 - 54)
                                  215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 17 of 145
Deposition of Matthew Bennett                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                Page 55                                                       Page 57
 1     A. Appropriate to whom? Would my wife               1   Israel?
 2   have a problem with it? Probably. If --               2     A. No, I don't recall that.
 3   but many times I had to stay places and she           3     Q. Do you know whether he asked Lisa
 4   wasn't happy about it, and that's just the            4   to hide it from anyone?
 5   way it is. That was the nature of -- at               5     A. No. I would have no way to know
 6   another job I had to share, I had to share            6   that, no.
 7   a small hotel room with a 55-year-old gay             7     Q. When did you find out that Lisa
 8   man, and that was -- wasn't happy about               8   went to Israel with Gregg?
 9   that, but I had to do it because that was             9     A. I mean, probably just before the
10   the nature of the job, because there were            10   trip, I guess.
11   no other hotel rooms.                                11     Q. You knew that they were there while
12           So I mean, you know, it is not               12   they were there; is that your testimony?
13   like we are in high school here. Everybody           13     A. At the time I had, I used time to
14   is a big kid. And if there is an                     14   fly to California to attend the Google
15   uncomfortable situation, then leave.                 15   conference. If it was at the same time --
16     Q. Did you ever share a hotel room                 16   I mean, at this point I obviously know that
17   with another woman on a trip?                        17   they were there. I don't remember when I
18     A. Have I? No.                                     18   found out that they were there, if it
19     Q. Yes. Right. So when was this trip               19   was -- most likely I knew before they left,
20   to Israel scheduled; do you remember?                20   I would say.
21     A. It is probably somewhere in the                 21     Q. So I know it is tough because there
22   vicinity of, my daughter was born in --              22   is things you know after the fact because
23     Q. If I said it was around April of                23   of the case.
24   2018, does that sound right to you?                  24     A. Well, yes. I mean to remember when
25     A. Yeah, that makes sense. My                      25   I learned of it is --
                                                Page 56                                                        Page 58
 1   daughter was born end of February. And                1     Q. So I'm not trying to be like, I'm
 2   then, yeah, yeah, in April, we were                   2   not trying to be aggressive or
 3   pregnant, then the drama with the baby.               3   argumentative right now.
 4     Q. Did Gregg tell you that you                      4     A. Okay.
 5   shouldn't tell anyone you were going to               5     Q. I'm just trying to make that
 6   Israel if you went?                                   6   distinction, if your knowledge is based
 7     A. Did he tell me that I shouldn't                  7   upon information you learned after or what
 8   tell anyone?                                          8   you knew then. So I guess my question is
 9     Q. Yeah.                                            9   then, like, when did you find out in
10     A. That I was going to Israel?                     10   realtime? Was it before the trip or after
11     Q. Right. When he asked you, did he                11   the trip?
12   say: Don't tell anyone that you are going            12     A. Again, I don't recall. I cannot
13   to go?                                               13   say for sure. Most likely before the trip.
14     A. No. I told him right away that I                14     Q. But why do you say "most likely"?
15   can't go.                                            15     A. I was dealing with like a personal
16     Q. Did he say: Don't tell anyone that              16   drama with the baby, and I was trying to
17   I asked you?                                         17   use my vacation time to work a second job,
18     A. I don't recall that.                            18   to make extra money. I went to the Google
19     Q. Do you recall him trying to hide                19   conference in San Francisco.
20   the fact that he asked you in any way, from          20           So whether or not I found out
21   anybody?                                             21   when I came back from that conference, all
22            MR. GOLD: Objection.                        22   I can say is most likely, because I worked
23     A. Do I recall that he asked me what?              23   in the office every day, and if she was
24     Q. Whether he asked you to hide the                24   going, then I would say other people in the
25   fact that he had invited you to go to                25   office would know and it would be common
                                            Everest Court Reporting LLC                                Page: 16 (55 - 58)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 18 of 145
Deposition of Matthew Bennett                                          Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 59                                                       Page 61
 1  knowledge.                                          1   characterizing it as sexual harassment.
 2   Q. Is that all hypothetical, or do you             2     Q. When did you first find out about
 3 have knowledge that other people told you            3   Lisa's claims regarding the trip to Israel?
 4 she was there?                                       4     A. She had told me that Gregg was
 5   A. It is all hypothetical. I mean, it              5   acting like a dork on the couch probably
 6 is just, we were all close, we had lunch             6   the day she -- when we first saw each other
 7 together, we went out together. So, yeah,            7   after I came back, or she came back, over
 8 it is hypothetical, but it seems unlikely            8   lunch, I believe it was downstairs in the
 9 that I wouldn't find out until they got              9   cafeteria, around, close to where the
10 back.                                               10   office was.
11   Q. Do you know who Leah Merville is?              11     Q. So where were you when Lisa first
12   A. Yes.                                           12   told you that Gregg acted like a dork on
13          THE COURT REPORTER: I'm sorry?             13   the couch?
14          MR. CARSON: I'm sorry about                14     A. I was sitting across from her at a
15 that. Do you know who Leah Merville is?             15   table. I think I was eating pizza, maybe.
16 L-E-A-H, M-E-R-V-I-L-L-E. Leah Merville.            16     Q. You were at a restaurant?
17          THE COURT REPORTER: Thank you.             17     A. In the cafeteria underneath, in the
18          THE WITNESS: Yes.                          18   subterranean, whatever it is called there,
19 BY MR. CARSON:                                      19   where all the food court is, around 16th
20   Q. Who is she?                                    20   and Market.
21   A. An intern I believe from Marseille             21     Q. And what else did she say?
22 or somewhere in France.                             22     A. That was it, I mean. In that
23   Q. And do you know where Leah Merville            23   particular conversation, they went to a lot
24 was in April of 2018?                               24   of meetings, then at night on the couch he
25   A. I'm going to -- for sure, no. But              25   was acting like a dork.
                                             Page 60                                                        Page 62
 1  to guess, based on, again, after-the-fact           1    Q.   Who told you to say that?
 2  type stuff, I'm going to say Israel.                2    A.   I remember the word, "dork."
 3   Q. Okay. And you can make those                    3    Q.   Who told you to say that?
 4 distinctions any time you think it is                4    A.   Who told me to say that?
 5 appropriate today. So during this trip to            5           MR. WALTON: Wait a second.
 6 Israel, my client has alleged that certain           6 Stop. Objection. Who told him to say
 7 inappropriate conduct of a sexual nature             7 what?
 8 occurred, so my question to you is: When             8  Q. Who told you to say that, that my
 9 did you find out that she was making those           9 client told you that Gregg acted like a
10 allegations? When did you first find out            10 dork?
11 that she was making those allegations?              11           MR. WALTON: Nobody told him to
12   A. As soon as --                                  12 say it.
13          MR. WALTON: Seth, objection.               13  Q. Who directed you to say that?
14 Wait, Matt. Seth, can you be more specific          14  A. Come on. Who --
15 about, can you be more specific about what          15           MR. WALTON: Don't answer that.
16 you mean by the allegations?                        16           MR. CARSON: You can answer it.
17 BY MR. CARSON:                                      17           MR. WALTON: No, it is not.
18   Q. Sure. When did you first find out              18 That's, that's accusing him of fraud.
19 that Lisa Barbounis had claimed to have             19           MR. CARSON: I am accusing him
20 experienced sexual misconduct during the            20 of fraud.
21 trip to Israel by Gregg Roman?                      21 BY MR. CARSON:
22          MR. GOLD: Objection. Assumes               22  Q. You are lying right now, aren't
23 facts not in evidence. Also, there is a             23 you?
24 conclusion of law. Why don't you ask him            24           MR. WALTON: Objection. Don't
25 what facts he knows rather than                     25 answer that.

                                         Everest Court Reporting LLC                                Page: 17 (59 - 62)
                                  215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 19 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                  Page 63                                                      Page 65
 1   A. Definitely not. Lisa and I had                       1   Roman graphically explained how he had sex
 2  lunch downstairs, underneath the office, in              2   with Leah Merville?
 3 the cafeteria. We talked about the trip.                  3     A. I remember talking about that. Not
 4 She said: Gregg was acting like a dork on                 4   me and her. I remember there was talking
 5 the couch.                                                5   about that. But in that conversation when
 6   Q. Is that funny that she said that?                    6   I first learned that whatever took place on
 7   A. No. It is funny that you are                         7   a couch that you are describing now, no, in
 8 insinuating --                                            8   that conversation, there was no mention of
 9         MR. WALTON: It is funny that                      9   that.
10 you are accusing him of lying.                           10     Q. When did you first learn that Gregg
11         MR. CARSON: Dave, if you are                     11   Roman had sex with Leah Merville?
12 not going to get sworn in you need to stop               12     A. I believe it was probably at AIPAC,
13 and just enter your objection.                           13   Marnie said Gregg had told her that, or
14         MR. WALTON: No. You need to                      14   Marnie said that it had happened, or there
15 stop your argumentative and abusive                      15   was a rumor that it had happened.
16 questions.                                               16             I mean, you are asking me to
17 BY MR. CARSON:                                           17   remember something that I have heard of
18   Q. I'm going to continue my                            18   after the fact, and then when I heard it
19 examination. So did she tell you that she                19   the first time. So to the best of --
20 slept with a knife under her pillow?                     20     Q. Did Gregg --
21   A. No, she did not tell me that. I                     21     A. Sorry.
22 saw text messages, I saw screen shots that               22     Q. Did Gregg ever tell you he had sex
23 were e-mailed to me, I believe, that she                 23   with Leah Merville?
24 had sent to someone else, and then deleted,              24     A. No. He told me he had met Leah
25 but the other person saved them. I believe               25   Merville to give her a paper, in Israel,
                                                  Page 64                                                       Page 66
 1   it was Tricia. And I guess Tricia gave her              1   because she was there and she needed a
 2   back the screen shots of the messages,                  2   paper.
 3   which I saw, which said that thing about                3            And then later when I found out
 4   the knife under the pillow.                             4   that this was, you know, I guess being said
 5     Q. Those text messages were sent in                   5   about him, I was worried or nervous that if
 6   realtime, right?                                        6   that did happen, and I was the one who, you
 7     A. I would --                                         7   know, brought her, my name was on her
 8     Q. While she was in Israel?                           8   internship papers, whatever, I became angry
 9     A. Again, I was showed screen shots of                9   at Gregg, for, if that happened, having put
10   messages that were apparently sent and                 10   me in the situation. Or like --
11   deleted, that I never -- I don't know what             11     Q. What is this paper that you were
12   was time stamped or whatever. I assume                 12   testifying about? What was that?
13   that they were in Israel. That's what the              13     A. I think it was a document that she
14   logical assumption is, is that she was                 14   needed about, to complete her internship or
15   texting them in realtime.                              15   something. I don't know.
16     Q. Did Lisa Barbounis tell you that                  16     Q. So who told you about that paper?
17   Gregg told her that he needed release and              17     A. I believe, I'm not sure if -- who
18   suggested that she give him a blow job?                18   was still working in the office. But
19     A. No, definitely didn't, wasn't                     19   whoever was coordinating after the
20   graphic in that, in that depiction or                  20   follow-up of her internship said that there
21   description. She said he was acting -- she             21   was some document, depending on what time
22   said something like he said he was very                22   it was, it could have been Eman Patel who
23   stressed, but she didn't say that he had               23   was corresponding with -- whoever was
24   asked her to give him a blow job, no.                  24   corresponding with all the intern people at
25     Q. Okay. Did she tell you that Gregg                 25   the time then informed me there is a
                                           Everest Court Reporting LLC                                  Page: 18 (63 - 66)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 20 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 67                                                       Page 69
 1   document, there is a thing needed to be             1   the record that the defendant in this case
 2   filled out and signed and returned to her           2   is going on the record and instructing the
 3   for internship.                                     3   witness what to say.
 4     Q. So what does that have to do with              4            MR. WALTON: No, he is not, he
 5   Gregg Roman having sex with her?                    5   didn't instruct the witness. If that was
 6     A. I didn't say it had anything to do             6   Gregg, there was no instruction to the
 7   with that.                                          7   witness for what the witness to say.
 8     Q. When I asked you about Gregg Roman             8            MR. CARSON: So we are going to
 9   having sex with her, you brought up a piece         9   put Gregg Roman down next to the person who
10   of paper. So do you have any knowledge of          10   said, "It didn't happen," okay? That's how
11   the way that the piece of paper that she           11   we are going to record that.
12   needed signed related to a sexual encounter        12            MR. GOLD: That's not okay.
13   between them?                                      13            MR. CARSON: Well, who said it?
14     A. Well, the allegation is or the                14   Did you say it, Sidney? We can ask
15   story is, is that, that, yes, that happened        15   everyone who is on this call right or else
16   when she came to get the paper.                    16   I'm going to call Judge Wolson.
17     Q. Is that appropriate?                          17            MR. GOLD: I'll take a voice
18           A VOICE: It didn't happen.                 18   test. It is not me.
19     A. Is what appropriate?                          19            MR. CARSON: I'm calling the
20           MR. CARSON: Who just said                  20   judge. That's fine.
21   that?                                              21            MR. WALTON: Let's go off the
22           THE WITNESS: Making the                    22   record.
23   allegation?                                        23            MR. CARSON: That's fine. We
24           MR. CARSON: Who just said, "It             24   will just call the judge and ask him.
25   didn't happen"?                                    25            MR. WALTON: Let's go off the
                                              Page 68                                                        Page 70
 1           Who just said, "It didn't                   1   record and see if we can resolve it, Seth.
 2   happen"? The court reporter needs to                2           MR. CARSON: What is there to
 3   record their voice, who has made that               3   resolve? We are going to either properly
 4   statement. So we are going to wait while            4   record the person who made the statement on
 5   we figure that out right now.                       5   the record, or we are not.
 6           Is anyone going to say who said             6           MR. WALTON: Seth, I asked you
 7   that?                                               7   if we could go off the record.
 8           I'm going to ask the court                  8           MR. CARSON: We can go off the
 9   reporter, you just recorded someone saying,         9   record.
10   "It didn't happen," correct?                       10           THE VIDEO SPECIALIST: We are
11           THE COURT REPORTER: I reported             11   off the record.
12   that as "a voice" because I didn't know who        12           (Discussion off the record.)
13   it was.                                            13           MR. CARSON: We are going to
14           MR. CARSON: Yeah. So the                   14   properly identify Gregg Roman as the person
15   person who said that needs to make                 15   who made that statement, correct?
16   themselves known right now.                        16           MR. WALTON: Correct.
17           I guess I'll give you guys like            17           MR. GOLD: Gregg --
18   another two minutes or I'm going to call           18           THE COURT REPORTER: Counsel.
19   the Court.                                         19           MR. GOLD: This is Mr. Gold. I
20           MR. WALTON: Go ahead and call              20   represent Mr. Roman. Mr. Roman thought he
21   the Court, I guess.                                21   was on mute. That was his voice we heard
22           MR. CARSON: I am going to call             22   on the record saying, "I didn't do it," or
23   the Court. Because Gregg Roman just said           23   whatever the comment was, and we can
24   that, and that's totally inappropriate.            24   attribute it to Mr. Roman on the record.
25   And the court reporter needs to put down on        25           MR. CARSON: Sure. Now, there
                                          Everest Court Reporting LLC                                Page: 19 (67 - 70)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 21 of 145
Deposition of Matthew Bennett                                         Lisa Barbounis v. Middle Eastern Forum, et. al.
                                            Page 71                                                       Page 73
 1   is two people telling lies for Gregg today.       1   not in evidence, misleading question.
 2            MR. GOLD: So --                          2           MR. CARSON: Correct?
 3            MR. WALTON: What?                        3           MR. GOLD: Rephrase the
 4            MR. CARSON: Two people. It is            4   question. I'm not going to allow him to
 5   okay. I'll continue my examination.               5   answer that question. Now you can call the
 6            MR. WALTON: No, no, no. Wait,            6   Court.
 7   wait a second. Wait a second. Did you             7           And save that question, Ms.
 8   just accuse Sid of lying?                         8   Stenographer. We are going to read that
 9            MR. CARSON: Yes, I did.                  9   back to the judge.
10            MR. WALTON: So you --                   10           MR. CARSON: Your objection is
11            MR. GOLD: Now what --                   11   noted, correct?
12            THE COURT REPORTER: Excuse me.          12           MR. GOLD: I direct you not to
13   I'm having trouble because multiple people       13   answer the question.
14   are talking.                                     14           MR. CARSON: You can't direct
15            MR. GOLD: What is the lie you           15   him.
16   are accusing me of?                              16           MR. GOLD: I already said, read
17            MR. CARSON: He didn't think             17   the question back, because the question is
18   his phone was on mute. That's nonsense.          18   not stated, you said --
19            MR. GOLD: Are you a mind                19           MR. CARSON: That's not a valid
20   reader?                                          20   reason to tell someone not to answer the
21            MR. CARSON: Nonsense.                   21   question.
22            MR. GOLD: Reading people's              22           MR. GOLD: Can I hear the
23   minds will get far in this case.                 23   question again.
24            MR. CARSON: I'm sure telling            24           (The record was read back:
25   lies that have no credibility is going to        25           Q. So you were testifying
                                            Page 72                                                        Page 74
 1  get you guys far.                                  1  about Gregg Roman luring Leah Merville to a
 2         MR. GOLD: Watch your                        2  hotel room by using a piece of paper that
 3 commentary because I will report that to            3 she needed to have signed to have sex with
 4 the Court.                                          4 her?)
 5         MR. CARSON: You do what you                 5          MR. GOLD: I direct you not to
 6 got to do.                                          6 answer the question. Misstates his
 7         MR. GOLD: I'll do what I have               7 testimony.
 8 to do. Go ahead. You've had enough                  8 BY MR. CARSON:
 9 sanctions asserted against you already in           9   Q. Is that correct? Is that what you
10 this case. Go ahead. Let's go.                     10 were testifying about?
11         MR. CARSON: It doesn't bother              11   A. No.
12 me. You can keep asserting --                      12   Q. So explain how the piece of paper
13         MR. GOLD: Oh, it doesn't. Go               13 that Leah Merville needed to have signed
14 ahead.                                             14 relates to Gregg Roman and her sexual
15         MR. CARSON: Keep asserting                 15 encounter.
16 privilege sanctions against me until you           16   A. I was not in Israel in April. I do
17 guys are blue in the face. That's fine.            17 not know if, or if a paper was ever given
18 I'm going to continue now.                         18 to Leah or what -- I know that at some
19 BY MR. CARSON:                                     19 point she needed something after her
20   Q. Okay. So you were testifying about            20 internship, and that's it. And there was a
21 Gregg Roman luring Leah Merville to a hotel        21 rumor that he had -- that someone, I
22 room by using a piece of paper that she            22 believe, else started that, that that had
23 needed signed to have sex with her?                23 taken place or that something had taken
24         MR. GOLD: Objection. Direct                24 place.
25 the witness not to answer. Assumes facts           25          Again, I have no knowledge if
                                        Everest Court Reporting LLC                                Page: 20 (71 - 74)
                                 215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 22 of 145
Deposition of Matthew Bennett                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                   Page 75                                                       Page 77
 1   something had taken place. I didn't                      1           I was asked to meet at a
 2   witness anything. Leah never told me                     2   Starbucks, on the way to work I got a text
 3   anything. I never saw a piece of paper.                  3   message, come meet us here. And then I get
 4   I'm telling you what was common knowledge                4   to the Starbucks, Marnie and Lisa are
 5   in the office at the time that I left the                5   there. They said: We told Daniel
 6   office and between the time that all of                  6   everything, and we just want, and we want
 7   this chaos broke out.                                    7   you to know so you know what you are
 8     Q. When did it become common knowledge                 8   walking into.
 9   in the office?                                           9           And I said: "What is
10     A. It could have been at some point                   10   everything? What do you mean?"
11   around the holiday party when we were all               11           And she showed me on her phone,
12   drinking and Marnie was asking me, imagine              12   which was like about this big (indicating),
13   Gregg's dick in Leah's mouth, over and over             13   of a picture of a letter that looks like
14   again.                                                  14   was sent. I don't know if the actual
15     Q. What year? What holiday party?                     15   letter was sent. Whatever. But I saw the
16   When was this?                                          16   picture.
17     A. The last one that I attended in,                   17           I said: "I can't read this.
18   whatever it was, the end of 2018.                       18   Tell me, like tell me what is going on."
19     Q. Didn't you testify that you had a                  19   And the implication was that I was
20   conversation with Marnie Meyer about it                 20   mentioned in it or that they made me look
21   during the AIPAC conference in March of                 21   guilty in some way to Daniel, that I had
22   2018?                                                   22   done something or not done something.
23     A. She told me that, she told me that                 23           I think the words "you are with
24   then. She said, Did you know Leah needed a              24   us or against us," or something like that,
25   paper, or something like that. And I said,              25   were said to me, because that, I was
                                                   Page 76                                                        Page 78
 1   "Yes." And then she told me that Gregg                   1   rattled going into the office that day.
 2   told her or she said that Gregg told her                 2   And that was when my concern began of
 3   that.                                                    3   whatever this, of this story, of this
 4     Q. And then Lisa told you about it                     4   whatever.
 5   too, correct?                                            5     Q. You are testifying that your
 6     A. Lisa told me that about Leah?                       6   concern into what began at that time?
 7     Q. Right.                                              7     A. My concern was that there was
 8     A. I don't recall Lisa being the one                   8   something that was said to me, to my boss,
 9   to inform me of that. But I believe --                   9   or about me to my boss that I didn't know
10     Q. Go ahead. You can finish.                          10   what it was, me knowing that I'm not guilty
11     A. I believe it was, I believe it was                 11   of anything.
12   at AIPAC, I believe Marnie told me that at              12            I even said on the spot: I
13   AIPAC. And I was almost like surprised                  13   think my work will speak for itself. I'm
14   that I wouldn't know if that happened, if               14   good at what I do. I didn't do anything
15   it did happen, that's why I remember her                15   wrong, so I don't know why you are telling
16   telling me there.                                       16   me that you wrote a letter and put my name
17     Q. Were you concerned after you found                 17   in it, and then gave it all to a person,
18   this out?                                               18   like, the implication was you might get
19     A. Not in the moment. But as months                   19   fired now.
20   went by, then, or at the time that -- no, I             20     Q. Didn't you have a conversation with
21   was concerned when, when I was shown a                  21   Lisa and Tricia in your office about it?
22   screen shot of a yellow paper that was                  22     A. About Leah Merville?
23   apparently sent to Daniel, and told we --               23     Q. Yes.
24   you are in this, and you're -- you know, we             24     A. No, I don't, I don't recall a
25   are just giving you a heads-up.                         25   conversation about Leah Merville, no.
                                            Everest Court Reporting LLC                                   Page: 21 (75 - 78)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 23 of 145
Deposition of Matthew Bennett                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                   Page 79                                                       Page 81
 1    Q. So you might have had a                              1   Catriona, then make it known now, or
 2   conversation in your office about it; is                 2   something like that, or at least it is the
 3   that correct?                                            3   best I can remember of saying something
 4    A. I said I don't recall a                              4   like that.
 5   conversation about Leah Merville in my                   5            The point is, is that I'm not
 6   office.                                                  6   an idiot. If someone was going to make a
 7    Q. Tricia sat in the chair, Lisa was                    7   complaint, and then I'm not going to report
 8   on the floor, and they were talking to you               8   it, then obviously I did something wrong.
 9   about what happened in Israel, correct?                  9   If I'm going to make a complaint, my
10    A. Incorrect. I don't remember --                      10   natural response to anything would have
11   about -- no, I don't.                                   11   been, put it in writing, just like I did
12    Q. About Gregg Roman sexually                          12   with Tiffany Lee, just like I did with Lara
13   harassing female employees at the Middle                13   and Laura when they demonstrated
14   East Forum, correct? You had a                          14   incompetency in performing their tasks. I
15   conversation about that in your office?                 15   said: Send me the e-mail, send me the
16    A. No. If a conversation was ever                      16   e-mail, send me the e-mail, put it in
17   brought to me in that regard, or somebody               17   writing.
18   had a legitimate gripe, I would have done               18     Q. When Lara and Laura accused Gregg
19   the same thing I did when Tiffany Lee was               19   Roman of sexual harassment, you told them
20   destroying the organization, and I would                20   to put it in writing?
21   have said: Put it in writing and e-mail it              21     A. They never said anything to me
22   to me, so that I had proof, so that I                   22   about sexual harassment or anything about
23   wouldn't be responsible.                                23   Gregg Roman.
24           My biggest fear was losing my                   24     Q. They never told you that Gregg
25   job, not being able to pay the mortgage and             25   Roman was inappropriate with them?
                                                   Page 80                                                        Page 82
 1   support the family that I had just begun                 1   A. Definitely not. Definitely not.
 2   creating. If I was at any point having had               2  Lara and Laura?
 3   to sign a document that said I would know                3   Q. Yes.
 4   of some, as a manager or supervisor, and                 4   A. Definitely not.
 5   someone said I have a claim that I am, I                 5   Q. Yeah. Isn't that why they got
 6   feel this way or I want to do something, I               6 fired, is because they were talking about
 7   would have said: Put it in writing, we                   7 Gregg Roman's sexually inappropriate
 8   will take, you know, logical course of                   8 behavior, and Gregg Roman found out about
 9   action.                                                  9 it and made sure that they were fired?
10     Q. You told Lisa McNulty -- sorry --                  10          MR. GOLD: Objection. Assumes
11   Lisa Barbounis and Patricia McNulty that,               11 facts not in evidence. Nobody was fired.
12   you told them that you were worried about               12 What are you talking about?
13   Catriona coming on full-time with Gregg                 13 BY MR. CARSON:
14   Roman in the office, correct?                           14   Q. Isn't that why they were fired?
15     A. At some point -- no, I didn't say I                15   A. I don't know if they were -- I
16   was worried about Catriona coming on. I                 16 don't know if anybody was fired, or
17   said at some point, they were talking about             17 anybody, what agreements anybody had, if
18   -- I don't know if they were talking about              18 they left or if they resigned, except for
19   who one of them was sleeping with or                    19 myself, I know that I resigned.
20   something, but when the -- it was like,                 20          Lara was, demonstrated that she
21   more like gossip talk than anything, like               21 was incompetent or unable to handle the
22   what, all the drama that was going on or                22 workload of all the travel, the domestic
23   all the -- everybody's personal business.               23 travel. For that reason Catriona, who was
24            And I said, if there is a                      24 an intern, assisted me in organizing dozens
25   problem with Gregg, then before I hire                  25 and hundreds of meetings. Before Lisa and

                                            Everest Court Reporting LLC                                   Page: 22 (79 - 82)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 24 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 83                                                       Page 85
 1   Tricia were ever hired, Catriona, as an             1   alright, I got to go to Marnie because
 2   intern, was better able to do Lara's job            2   that's the HR person.
 3   than Lara was, as someone with a master's           3     Q. In fact, you did try to talk Lisa
 4   degree and an interest in Middle East               4   into reporting the sexual harassment to
 5   foreign policy.                                     5   Daniel Pipes, correct?
 6            So when Lara demonstrated her              6     A. You cut out for a second. What was
 7   inability to carry out her tasks, I asked           7   the question?
 8   to hire Catriona to help with, instead,             8     Q. In fact, you did try to talk Lisa
 9   that maybe we should bring on Catriona.             9   into reporting sexual harassment to Daniel
10            I don't know, I don't think               10   Pipes, right, Gregg's sexual harassment?
11   that's the reason that Lara left, because I        11     A. I don't remember doing that, but if
12   asked or that I said Catriona will be able         12   it occurred, it would have been at a point
13   to carry out the responsibility of a               13   where I started to hear that Delaney
14   development associate. But it was very             14   brought pepper spray to a meeting, and
15   clear that she couldn't. And so Lara's             15   everybody was suddenly afraid of Gregg,
16   workload fell on my desk, the same way that        16   that he was large, intimidating. And then
17   Laura's workload fell on my desk. She              17   saying, well, you have these gripes, then,
18   misspelled the names of universities. She          18   fine.
19   misspelled things in news releases that            19            After Marnie said, "I'll never
20   would go out. And Daniel would say: Why            20   trust you again," and Lisa called me a
21   would there be these stupid mistakes in            21   pussy to my face, right in the middle of
22   publications being sent out? And then I            22   Tir na nOg at 16th and Arch, and I realize
23   would have to double check and reread              23   I no longer had the support or friendship
24   everything that she was doing, or made sure        24   of anybody in the office, I was left with
25   that work was being carried out.                   25   one alternative, it was either rise up and
                                              Page 84                                                        Page 86
 1           So the challenge was not to                 1   take Gregg out, which she obviously wanted
 2   have that work fall on my desk. And it did          2   me to do at the November 5th meeting, or
 3   for both of them. And that prevents me to           3   start looking for another job.
 4   promote the mission of the organization,            4            And I did both at the same
 5   raise money, organize more events,                  5   time, and I found another job before,
 6   etcetera, etcetera.                                 6   first, and things took their natural
 7           So, no, neither of them                     7   conclusion.
 8   certainly ever told me that Gregg was               8     Q. When did you start looking for
 9   sexually inappropriate with them.                   9   another job?
10     Q. How many women told you that Gregg            10     A. Probably, I could look up when I
11   was sexually inappropriate with them during        11   started sending resumes and stuff, it was
12   your employment with the Middle East Forum?        12   probably -- well, it could have been after
13     A. None. None.                                   13   I realized that, that none of them were
14     Q. Not one?                                      14   actually my friends or that I had none of
15     A. No. At some point Tricia said                 15   their respect, they didn't really want me
16   something happened at AIPAC, and then Lisa         16   to be their manager or leader.
17   said something happened in Israel. And all         17     Q. When was that?
18   I had was -- and I remember saying to              18     A. It increased between November 2018
19   Tricia, who I thought was close to a               19   and the time that I left in March.
20   friend: Well, why wouldn't you tell me             20     Q. So it is your testimony that when
21   that? I had no idea. She didn't.                   21   you were confronted with all these reports
22           Lisa at the time didn't come               22   of sexual harassment, you had two choices,
23   back from Israel and say I was sexually            23   either take Gregg Roman out or get another
24   assaulted, I was sexually harassed. If she         24   job; is that your testimony?
25   had done it, I would have said, like,              25     A. I wasn't confronted with any
                                          Everest Court Reporting LLC                                Page: 23 (83 - 86)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 25 of 145
Deposition of Matthew Bennett                                          Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 87                                                       Page 89
 1   reports of sexual harassment. Again, no            1   accuse Gregg of sexual harassment or
 2   one --                                             2   sexually inappropriate conduct of any sort?
 3     Q. Ever?                                         3            MR. WALTON: This is Dave
 4     A. -- said Gregg harassed me, no. No             4   Walton.
 5   one said Gregg harassed me or I feel               5            THE WITNESS: If I received --
 6   uncomfortable. And if they did, I would            6            MR. WALTON: Wait, Matt. Wait,
 7   have said: Let's write something about it,         7   Matt.
 8   or why didn't you come to me sooner.               8            MR. CARSON: Mr. Walton is
 9           It was like either months later            9   going to say: Objection, asked and
10   or, or one day it was suddenly something          10   answered. And then you can answer.
11   that was like traumatic.                          11            MR. WALTON: No, Seth, please
12           On one hand it was, well,                 12   let me state my objection. I'm trying to
13   nothing happened, it wasn't a big deal.           13   do it slow for the court reporter. Okay.
14   And then later on, it was a big deal.             14            MR. CARSON: Go ahead.
15   Everyone was saying it.                           15            MR. WALTON: Seth, you keep
16     Q. Did Gregg Roman offer you money for          16   badgering the witness. His --
17   your testimony today?                             17            MR. CARSON: His last answer
18     A. That's absurd.                               18   was not responsive.
19     Q. Well, it is not absurd since there           19            MR. WALTON: Please let me
20   is evidence that --                               20   finish, Seth. Please let me finish. His
21     A. No, no.                                      21   last answer was not nonresponsive. You
22     Q. -- that --                                   22   just don't like the answer.
23     A. No, no, he did not. No, he did               23            MR. CARSON: No, I'm fine with
24   not.                                              24   the answer.
25           MR. GOLD: Objection.                      25            MR. WALTON: I said objection
                                             Page 88                                                        Page 90
 1   Objection, again argumentative, states             1   for --
 2   facts not in evidence.                             2            MR. CARSON: It is
 3     Q. Okay. So I'll ask this one more               3   nonresponsive.
 4   time and then I won't ask it again. In             4            MR. WALTON: If you were fine
 5   your entire career at the Middle East              5   with the answer you wouldn't be acting like
 6   Forum, from the first day of your                  6   this. Just let me finish my objection.
 7   employment to the last day of your                 7            MR. CARSON: No, Mr. Walton,
 8   employment, has any woman ever complained          8   his answer was if someone would have came
 9   that Gregg Roman was sexually inappropriate        9   to me, this is what I would have done. I
10   to you?                                           10   didn't ask if someone would have came to
11           MR. WALTON: This is Dave                  11   you, what would you done. I said: Did
12   Walton. Objection, asked and answered.            12   anyone ever come to you? So his answer was
13   You can answer again.                             13   nonresponsive. We are going to be here --
14     Q. Yes or no?                                   14            MR. WALTON: He gave responses.
15     A. If anyone would have come to me at           15   His answer was not nonresponsive. He
16   any point, man or woman, and said Gregg was       16   answered the question 20 different times,
17   sexually inappropriate to me, my answer           17   and you keep trying to get him to answer it
18   would have been: Write it in an official          18   in a different way.
19   e-mail so that we could carry things out to       19            MR. CARSON: I just want him to
20   the natural conclusion.                           20   state no so we can move on.
21     Q. Nonresponsive.                               21            MR. WALTON: I'm going to place
22           I'm asking you a simple yes or            22   my objection. I'm going to place my
23   no question. From the first day of your           23   objection to asked and answered numerous
24   employment to the last day of your                24   times.
25   employment, have you ever heard any woman         25            MR. CARSON: Got it.
                                         Everest Court Reporting LLC                                Page: 24 (87 - 90)
                                  215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 26 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 91                                                       Page 93
 1           MR. WALTON: He can answer                    1             MR. CARSON: That's all you are
 2   subject to the objection.                            2   doing. You are just blabbering on the
 3           MR. CARSON: Mr. Walton, don't                3   record. Like I don't need --
 4   you think your objection is a little                 4             MR. WALTON: Stop calling
 5   long-winded right now? Is it appropriate             5   people --
 6   for you to take five minutes to make a               6             MR. CARSON. -- that on the
 7   simple objection, asked and answered. Five           7   record. You don't need to sit and explain
 8   minutes.                                             8   what your client -- like, you have a right
 9           MR. WALTON: Well, Seth, it                   9   to make objections today. Your objections
10   wouldn't have taken five minutes if you             10   need to be short and concise. Anything
11   didn't interrupt me 20 times.                       11   else you say on the record is
12           MR. CARSON: All you got to do               12   inappropriate. And therefore --
13   is say: Objection, asked and answered.              13             MR. WALTON: Seth --
14   You don't have to say --                            14             MR. CARSON: -- telling me that
15           MR. WALTON: Ah --                           15   I -- telling me that we should take a
16           THE COURT REPORTER: Counsel,                16   break. Like, stop, just stop.
17   counsel, excuse me. I can't report you              17             MR. WALTON: Seth, Seth, you
18   both at once.                                       18   stop. Please, please --
19           MR. WALTON: Okay. Seth --                   19             MR. CARSON: Are you done now?
20           MR. CARSON: So we are not                   20             MR. WALTON: No, I'm not done.
21   going to do speaking objections today.              21   I'm not done.
22   That's not going to happen.                         22             MR. CARSON: I'll wait for you
23           MR. WALTON: Seth. Seth.                     23   to be done. Go ahead.
24   Seth, you are --                                    24             MR. WALTON: Well, then, are
25           MR. CARSON: Are you going to                25   you going to interrupt me again or are you
                                               Page 92                                                        Page 94
 1   say -- if you have another objection to              1   going to let me finish?
 2   make, make it. If not, I don't need to               2           MR. CARSON: I mean, are you
 3   hear anything else from you guys.                    3   going to make another nonsensical, totally
 4            MR. WALTON: Seth, I will say                4   inappropriate, speaking objection?
 5   whatever I want on the record.                       5           MR. WALTON: You are completely
 6            MR. CARSON: You will not.                   6   out of control right now. I'm going to ask
 7            MR. WALTON: You are being                   7   you to tone it down, be civil, stop
 8   abusive. You are out of control right now.           8   accusing people of lying, so we can go
 9   I suggest that you take a break.                     9   forward with this deposition.
10            MR. CARSON: We are not going               10           This is completely
11   to take a break.                                    11   inappropriate, the way you are acting.
12            MR. WALTON: Take a deep                    12           MR. CARSON: I agree that there
13   breath. And then come back. Because you             13   is something very inappropriate.
14   are out of control.                                 14           MR. WALTON: Now, you can, now,
15            MR. CARSON: We are not taking              15   Mr. Bennett, you can answer the question
16   a break.                                            16   for the umpteenth time. Objection, asked
17            MR. WALTON: Just relax.                    17   and answered.
18   Finish the deposition. Stop lobbing                 18           MR. CARSON: Right. How long
19   accusations at me. Stop lobbing                     19   did that take Mr. Walton to do? What was
20   accusations at your --                              20   that? Five minutes?
21            MR. CARSON: Dave, you are just             21           MR. WALTON: Seth, you are the
22   wasting time. You are just speaking for             22   one who is --
23   the record.                                         23           MR. CARSON: What was that?
24            MR. WALTON: Stop calling                   24   Five minutes?
25   people --                                           25           MR. WALTON: Seth, you are the
                                           Everest Court Reporting LLC                                Page: 25 (91 - 94)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 27 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                 Page 95                                                       Page 97
 1  one who is continuing this with these                   1     Q. Wasn't that doing something about
 2  snarky comments. And you interrupted me,                2   it?
 3 you've interrupted me fifty different                    3     A. Well, doing something about it is
 4 times.                                                   4   taking action. Action would be reporting.
 5         MR. CARSON: Okay. Here we go                     5   I'm not sure if it is taking action.
 6 again.                                                   6   Whatever you want to say.
 7         MR. WALTON: And your behavior                    7           But if someone comes to me and
 8 right now is sophomoric and juvenile. Now,               8   said, Matt, I have a complaint to make, no.
 9 knock it off.                                            9   No one ever came to me and said, Matt, I
10         MR. CARSON: Take your time.                     10   would like to make a complaint. Zero
11 Anything else you need to say?                          11   times. Not one person. Never.
12         MR. WALTON: Go ahead.                           12     Q. Is it your testimony that --
13         MR. CARSON: Is there anything                   13     A. Everything that I know was either
14 else you would like to put on the record,               14   told to me after it happened by someone
15 Mr. Walton?                                             15   else that was making the accusations. I
16         MR. WALTON: Every time I say                    16   never saw anything firsthand, no. Like
17 I'm done then you come back with a snarky               17   over and over again, a resounding no.
18 comment. I'm done.                                      18     Q. Did you tell your wife about it?
19         MR. CARSON: Okay.                               19     A. About what?
20         MR. WALTON: I told him he can                   20     Q. Gregg Roman's sexual harassment?
21 answer the question.                                    21           MR. WALTON: Objection to form.
22 BY MR. CARSON:                                          22     A. I don't know. I don't understand
23   Q. What is your answer?                               23   the question.
24   A. Frankly, I don't remember what the                 24     Q. Did you ever tell your wife about
25 question was, but the whole line of                     25   all the women in the office who reported
                                                 Page 96                                                        Page 98
 1   questioning --                                         1   sexual harassment?
 2     Q. I asked if any woman, from the                    2            MR. WALTON: Objection to form
 3   first day of your employment to the last               3   and that misstates his testimony. You can
 4   day of your employment, ever reported                  4   answer.
 5   sexual misconduct with regard to Gregg                 5     A. First of all, I don't know whether
 6   Roman, ever?                                           6   spousal privilege applies here. But she
 7     A. Define "reported."                                7   knew that there was drama breaking out at
 8     Q. Told you about.                                   8   the office, and she said -- and she
 9     A. No, no. Was it mentioned in                       9   didn't--
10   passing in a casual way, amongst other                10            MR. GOLD: Objection. I'm
11   people? Yes.                                          11   going to direct you not to mention any
12            Did I ask: Is this something                 12   conversations you had with your wife.
13   that is serious? No. It was either,                   13   Okay.
14   either it happened months ago, or some                14     Q. Yeah, except for the ones that were
15   screen shots of it.                                   15   waived because he told other people about
16            If anyone had come to me, my                 16   them, those ones you have to testify about.
17   natural response would have been: Put it              17   Did your wife tell you she was extremely
18   in writing.                                           18   disappointed in you for the way you handled
19     Q. Yeah. You would have done                        19   it?
20   something about it, right?                            20            MR. GOLD: The better question
21     A. Well, I wouldn't have done                       21   is: What did you tell other people about
22   something about it. I don't know what                 22   what your wife told you.
23   authority I have. I would have passed it              23     Q. Thank you for the advice. I can go
24   on to HR, or Daniel, or in-house counsel,             24   with Sidney's question. What did you tell
25   or whatever.                                          25   other people about what your wife told you?
                                            Everest Court Reporting LLC                                 Page: 26 (95 - 98)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 28 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 99                                                      Page 101
 1  A. I don't, I don't recall.                          1   that, yes, she was disappointed in me or
 2  Q. Okay.                                             2   that I was disappointed. I don't recall.
 3  A. But it sounds like you know, so, I                3   I don't recall. But if you had that
 4 mean, you could tell me and ask me if I               4   exhibit, just let's get it over with.
 5 remember, but I don't recall.                         5     Q. We will get to the exhibits in a
 6  Q. Did your wife ever express                        6   moment.
 7 disappointment in you for the way you                 7     A. Okay.
 8 handled the entire situation with regard to           8     Q. You were ashamed of yourself for
 9 the women at MEF who were subjected to                9   the way you handled all these women's
10 sexual harassment?                                   10   reports, correct?
11         MR. GOLD: Objection. I direct                11     A. Again, I never received any reports
12 you not to answer. It is a matter of                 12   of anything.
13 privilege.                                           13     Q. So why were you ashamed?
14         MR. CARSON: It is not a matter               14     A. No one said: I have a report. No
15 of privilege.                                        15   one said: I have a complaint. No one
16         MR. GOLD: You asked: What did                16   said: I have -- I want to do something
17 you tell your wife.                                  17   about something.
18         MR. WALTON: Seth, I think you                18     Q. So is it your testimony that a
19 need to ask him, did you ever tell anybody           19   female needs to use certain magic words in
20 that your wife said X, Y, Z, that's the way          20   order to report discrimination or
21 you need to ask it.                                  21   harassment in the workplace?
22 BY MR. CARSON:                                       22            MR. GOLD: He is not going to
23  Q. I mean, I'll get to the exhibit in               23   respond to --
24 a minute. But my question is: Were you               24     A. No. There is a handbook that says,
25 ever --                                              25   if you have a complaint, this is the way to
                                             Page 100                                                       Page 102
 1           MR. WALTON: Your sound cut                  1   go about it.
 2   out.                                                2    Q. So if a female employee, for
 3         THE COURT REPORTER: Can't hear                3   instance, complains about her supervisor
 4  you. Cannot hear you.                                4   asking for a blow job, but doesn't say I
 5         THE WITNESS: Oh, not just me.                 5   want to make a report, that's not -- she
 6         MR. WALTON: Seth.                             6   didn't --
 7         THE VIDEO SPECIALIST: Seth, we                7            MR. GOLD: Objection.
 8 lost you.                                             8   Objection. Direct you not to answer.
 9         MR. CARSON: Hello? Can you                    9   Don't answer the question. It is a
10 hear me now?                                         10   hypothetical question.
11         MR. WALTON: Yes. Seth, can                   11    A. She, she -- here is my answer --
12 you hear us?                                         12            MR. GOLD: Don't answer the
13         MR. CARSON: Yep, I can hear                  13   question.
14 you guys.                                            14    A. All the women in the office
15 BY MR. CARSON:                                       15   routinely talked about their affairs, their
16   Q. Did you ever express disappointment             16   dating, Marnie was sucking big, black dick,
17 in yourself for the way you handled all              17   Lisa hurt her eye having sex. That's was
18 these women's allegations?                           18   what was going on in the office. That was
19   A. I believe maybe I said at some                  19   daily conversation.
20 point that I was disappointed for not                20            Delaney dated a transvestite or
21 knowing, or something along those lines.             21   a transgender person. Tricia was on Bumble
22         I mean, look, I lost a kid. I                22   and whatever it was. It was swiping and
23 was at the lowest point in my life. I was            23   dating people, one of which happened to be
24 drinking more than I should have been. I             24   a doctor friend of mine, who they were
25 don't remember if I -- I probably said               25   embarrassed I actually knew. This was
                                          Everest Court Reporting LLC                              Page: 27 (99 - 102)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 29 of 145
Deposition of Matthew Bennett                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 103                                                      Page 105
 1   every day in the office. Every single day,            1   Lisa was in Israel, or after or whatever.
 2   who they were dating, who they were                   2   That's it.
 3   banging.                                              3           There was conversations all the
 4            When they would argue Lisa                   4   time about, about people's personal lives,
 5   would call Marnie white trash and that she            5   my own included.
 6   was sucking big, black dicks. And then                6           Lisa said: If I wanted to bang
 7   Marnie would say Lisa is a nuance and she             7   Gregg Roman, I'll do it on my desk. She
 8   needs to go. There would be slamming                  8   said: I'll fuck Daniel Pipes on my desk.
 9   doors, be yelling. That was it.                       9   Or something like that. Or I had a crush
10            I didn't inject any of those                10   on Daniel Pipes, he has a big brain,
11   conversations. That was being mentioned              11   something like that.
12   outside of my door on a daily basis.                 12           Tricia was surprised Lisa told
13            At some point did somebody say,             13   me that she had hit her eye on a table
14   oh, whatever happened with Leah and                  14   while banging some guy in London.
15   whatever happened with Tricia, whatever              15           Like, I didn't ask, oh, well,
16   with happened Lisa, yeah, all that stuff in          16   who did you guys sleep with at this weekend
17   passing.                                             17   or that weekend, whatever. I didn't pull
18            Did anybody come to me and say:             18   this information out of people. This was
19   I would like to make a complaint, or I feel          19   ongoing, daily discussions in the office,
20   a certain way? No. If they would have, I             20   that people brought their personal lives
21   would have done something about it.                  21   there.
22            That's what I'm disappointed                22           My personal life was the birth
23   in, that maybe I was thinking to myself,             23   of my child, which subsequently we had
24   well, should I have been -- should I have            24   lost, and that, asked whatever else I was
25   not been focused on the death of my child,           25   sharing about, playing poker or sports,
                                               Page 104                                                       Page 106
 1   should I have not been focused on the                 1   whatever. I don't know.
 2   struggles I was having in my marriage, or             2           But your line of questioning
 3   just been better able to read somebody's              3   here is obviously implying that I knew
 4   mind and saying, oh, they are having an off           4   something, somebody told me something, I
 5   day, maybe I should just give them a third            5   didn't do anything about it. And it is
 6   degree until they come forward with                   6   completely false. It is completely false.
 7   whatever.                                             7     Q. What about this yellow piece of
 8            No, no one came to me. No,                   8   paper that you testified to, you said that
 9   none of that ever took place.                         9   at some point in time someone showed you a
10     Q. So what does female employees                   10   yellow piece of paper on a phone; is that
11   talking about their dating life have to do           11   correct?
12   with sexual harassment?                              12     A. Probably about a couple days before
13     A. I didn't say it had anything to do              13   the November, whatever, 5th meeting, I
14   with it.                                             14   received a text message while I was in an
15     Q. Well, what are you talking about                15   Uber, on the way to work, so I'm sure phone
16   right now?                                           16   records will show for whoever, can you meet
17     A. I'm saying these are conversations              17   before you go into the office. I said,
18   that were ongoing all the time, and among            18   "Yes." I went to the Starbucks at --
19   those conversations was, well, what about            19     Q. Well, just let me slow down,
20   Gregg and Leah, and what about -- and then           20   because I want to understand what you are
21   after months had gone by after AIPAC, well,          21   testifying. So --
22   there was -- something happened at AIPAC.            22           MR. WALTON: I just want to
23   And then months after Israel, something in           23   make sure he was finished his testimony.
24   Israel, or the screen shots of the text              24   This is Dave Walton.
25   messages that were from exchanges while              25     Q. Go ahead. You can finish. I just
                                            Everest Court Reporting LLC                             Page: 28 (103 - 106)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 30 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 107                                                      Page 109
 1   think it might be easier if you let me ask          1   the letter is that, well, I knew something
 2   the questions.                                      2   had happened and I didn't do anything about
 3     A. Well, I showed up there, and Marnie            3   it. The same one that you are making now.
 4   showed me her phone with a screen shot of a         4     Q. Is it your testimony that that is
 5   yellow piece of paper, and said: This was           5   the first time you ever were confronted
 6   written, sent to Daniel, you are mentioned          6   with any of the allegations that were
 7   in it. Are you with us or against us?               7   raised at the November 4th, 2018 meeting?
 8   Just want you to know what you are walking          8     A. No. Again, they were said in
 9   into. Let's go to work.                             9   passing, and/or a dumbed-down version of
10     Q. Okay. So when is the first time               10   them, or a casual version of them by
11   you saw this yellow piece of paper? Just           11   saying: Gregg was being a dork on the
12   give me a date, please.                            12   couch.
13     A. I never saw the paper. I only saw             13            When I first heard that Tricia
14   the screen shot of the paper.                      14   was unhappy about or disturbed by something
15     Q. Fine.                                         15   that happened in AIPAC I said, "Well, why
16     A. Until this day, until this day, I             16   didn't you tell me? Why didn't you say
17   still don't even know what was in this             17   something to me?"
18   letter.                                            18            No one ever said anything to me
19     Q. Fine. When is the first time you              19   about this stuff until the point came where
20   saw this screen shot of the piece of paper?        20   it was like, all right, Matt, here's --
21     A. Well, if the meeting was November,            21   everybody has a complaint.
22   early November of 2018, it would have to be        22     Q. And that was --
23   the day before, two days before, three days        23     A. With --
24   before.                                            24     Q. And that was the yellow piece of
25     Q. Where were you when you first saw             25   paper day, right?
                                             Page 108                                                       Page 110
 1   this yellow piece of paper or the screen            1     A. No. I don't know what was in the
 2   shot of the yellow piece of paper?                  2   piece of paper.
 3     A. At a Starbucks at 16th and Arch.               3            At that meeting, when everybody
 4     Q. Who was present at the Starbucks               4   went around the table telling Daniel all
 5   when you first saw the screen shot of the           5   the horrible stuff about Gregg, that's when
 6   yellow piece of paper?                              6   stuff was being thrown into the air.
 7     A. Marnie and Lisa.                               7     Q. So then the first time you heard
 8     Q. Was it only Marnie, Lisa and you               8   about any of the allegations was at the
 9   that were present?                                  9   November 4th, 2018 meeting?
10     A. Yes.                                          10     A. You are referring, you are saying
11     Q. Is it your testimony that that is             11   allegations. What allegations? Which one
12   the first time that you ever heard about           12   specifically?
13   any allegations that any of these women            13     Q. That Gregg Roman sexually harassed
14   were making?                                       14   Patricia McNulty, Marnie Meyer and Lisa
15     A. No, no one ever told me that there            15   Barbounis?
16   was allegations in the paper. I don't know         16     A. Yes. And none of them ever said:
17   what was written in the note. I was told,          17   Gregg sexually harassed me. No one ever
18   I was told: You are mentioned, and we want         18   said: I want to make -- I have a problem,
19   you to know what you are walking into.             19   I felt uncomfortable, I have a report on
20            And I said, "Mentioned for                20   misconduct by a supervisor, manager or
21   what?"                                             21   whatever.
22            And they said: Because you                22     Q. No one ever said that until the
23   knew about Leah.                                   23   November 4th, 2018 meeting, is that your
24            And I said, "I knew what about            24   testimony, yes or no?
25   Leah?" And the implication that is made in         25     A. No, it is not. I feel like we are
                                          Everest Court Reporting LLC                             Page: 29 (107 - 110)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 31 of 145
Deposition of Matthew Bennett                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 111                                                      Page 113
 1   going around in circles. You are saying               1   professionally. Sorry?
 2   did I know about it. Yeah. Did I know                 2     Q. When was Catriona Brady hired?
 3   Lisa and Gregg were on the couch in Israel?           3     A. I'm sure that records will show. I
 4   Yeah, because she had told me he was acting           4   don't know the exact date.
 5   like a dork on the couch and they were                5     Q. Was it before the November 4th,
 6   drinking.                                             6   2018 meeting?
 7           Did I know that Tricia said                   7     A. Yes, because she was there.
 8   that something, that they were sitting next           8     Q. How long before?
 9   to each other on a couch at AIPAC, yeah,              9     A. Well, she started first as an
10   because it was mentioned to me months                10   intern. Put out an internship description.
11   after. I don't even know how many months             11   Marnie referred her, told her to apply or
12   afterwards.                                          12   gave her resume. I interviewed her.
13           So, yeah, were things mentioned              13           She interned for I guess a
14   casually to me, did I know of them, yes, I           14   summer. She went back to school. As she
15   did know of these casual mentions.                   15   approached graduation, she was applying for
16           Is this -- when -- at the                    16   jobs, we put out job description,
17   November 5th meeting was the first time,             17   development something, associate, I guess,
18   yes, now there is complaints. Now, all of            18   and I hired her.
19   a sudden those things turned into formal             19           She was obviously the most
20   complaints, and now you are implying that I          20   competent. She had experience assisting
21   received complaints and then did nothing             21   with Lara's failures in organizing Gregg's
22   with them and said go back to your normal            22   travel across the country, donor meetings.
23   work.                                                23   Yeah.
24           The people who babysat my                    24     Q. And she came on full-time in the
25   daughter, the people who I attended their            25   beginning of 2018, correct?
                                               Page 112                                                       Page 114
 1   birthday parties and met their parents and            1     A. Well, it would logically be
 2   was going to rent out my house to, and all            2   whenever she graduated school. So whenever
 3   these people, those are the people that I'm           3   she finished a semester. I don't know.
 4   ignoring, their all mental and emotional              4   Whatever school ends, May or whatever, then
 5   well-being, for the sake of, for the                  5   she probably started shortly after.
 6   sake -- at the risk of my, of my own job,             6     Q. And what else was said at the
 7   my own livelihood, etcetera, etcetera.                7   Starbucks that morning? Did you leave
 8     Q. You care about their emotional or                8   anything out? Please tell me everything
 9   mental well-being, is that your testimony?            9   that was said at the Starbucks the morning
10     A. Oh, my God. I cared about all of                10   that you were shown this yellow piece of
11   them, deeply. They were -- I hired and               11   paper or a screen shot thereof.
12   trained them. I socialized with them.                12     A. You asked me what else was said
13   Yes, I did. I did care about them, all of            13   that morning at the Starbucks?
14   them.                                                14     Q. Just tell me the entire
15             And I did, and I did take it               15   conversation. How long were you at the
16   personally when they told me: You are a              16   Starbucks? Let's start there.
17   pussy, we don't trust you, because I didn't          17     A. Couldn't have been more than a
18   rise up and drive a stake through Gregg's            18   couple minutes.
19   heart, like a monster, in front of his               19           I was disturbed by the idea
20   little sister, at a November 5th meeting.            20   that -- well, at the time I guess I didn't
21             From that day forward I just               21   realize it was like you should be worried,
22   kept trying to earn back their trust and             22   but I was worried because I was thinking
23   friendship, at my own expense.                       23   like what, what is -- like I knew something
24     Q. When was --                                     24   was off as soon as I got a message, meet us
25     A. Both emotionally and                            25   before you go into the office, so I got
                                            Everest Court Reporting LLC                             Page: 30 (111 - 114)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 32 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 115                                                      Page 117
 1   there wondering what was going on, then             1   Daniel came in, asked people questions.
 2   shown a picture of something I couldn't             2   Everybody's doors were closed. I didn't
 3   read, then told I was mentioned in it, said         3   really know what was happening at that
 4   we want you to know what you are walking            4   point.
 5   into, you are either with us or against us,         5    Q. You read the entire document,
 6   or some implication. I don't know if those          6   that's correct, right?
 7   are the exact words. But the overall                7    A. Never read, never read the letter,
 8   message was, like, we are taking down               8   no.
 9   Gregg, and, by the way, in part, in doing           9    Q. Never read the letter, okay.
10   that, here you are mentioned, because you          10   That's fine, if that's your testimony.
11   have knowledge of something.                       11    A. You can show me the letter now. I
12           And I asked to see the paper.              12   mean --
13   I couldn't read, I couldn't read what was          13    Q. Well, I'm going to show you a lot
14   written on it. It was a screen shot of --          14   of exhibits today, but I'm going to finish
15   I was shown a message of, like a photo of a        15   the first part of the examination first.
16   paper that was telegramed I believe from           16    A. All right.
17   Marnie to Daniel.                                  17    Q. Did you testify earlier that you
18     Q. Did anyone say anything else at               18   were concerned about Catriona Brady
19   this meeting at Starbucks?                         19   starting full-time?
20     A. That was the main points. I mean,             20    A. No. I asked if there was, if there
21   if it was, I don't, I don't recall.                21   was a concern of theirs that should be done
22     Q. And they told you that you were               22   something about before Catriona was hired.
23   mentioned in a document and showed you the         23    Q. Who did you ask that to?
24   document, but you didn't read it; is that          24    A. I believe Lisa and Tricia, I want
25   your testimony?                                    25   to say. It didn't seem logical I would ask
                                             Page 116                                                       Page 118
 1     A. I couldn't read it. It wasn't the              1   anybody else.
 2   letter. It was a picture. It was like you           2     Q. Where were you when you asked that?
 3   send somebody a text message, and then you          3   I'm sorry?
 4   take a picture of a piece of paper, and             4     A. I don't, I don't recall.
 5   then show me a screen of your phone with            5     Q. Were you in your office?
 6   that piece of paper.                                6     A. I mean, I could have been. You
 7            I remember it was written in               7   asked me previously, didn't you have a
 8   cursive, and I couldn't understand just the         8   meeting in your office where this was said
 9   writing itself even by zooming in on the            9   and I said no, I don't recall. I don't
10   thing.                                             10   think that that was the same conversation.
11     Q. Did you ever ask to just look at              11           But, no, at some point before I
12   the document?                                      12   hired Catriona, and they were talking about
13     A. No. I said directly at that time,             13   all these, I don't know --
14   I said, "What do you want me to worry              14     Q. Well, you can't call them
15   about? I didn't do anything wrong."                15   allegations, right, because you testified
16            I kept thinking in my head,               16   they weren't allegations, so you have got
17   what could I possibly have done wrong that         17   to think of another word, right?
18   they are telling me that that is in the            18     A. What allegations?
19   letter?                                            19     Q. Exactly. So what were your
20     Q. The question was: Did you ever ask            20   concerns? They were telling you the issues
21   to just look at the document?                      21   about Catriona. What were they telling
22     A. I don't believe I did.                        22   you?
23     Q. Why not?                                      23     A. They weren't telling me anything.
24     A. Things started moving very quickly            24   They were saying that, all of a sudden it
25   at that point. We got into the office.             25   seemed as if they were mentioning Gregg's
                                          Everest Court Reporting LLC                             Page: 31 (115 - 118)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 33 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 119                                                      Page 121
 1   behavior. And I said, "Is there something            1   no longer to be in communication with
 2   I should worry about with Gregg?"                    2   them."
 3            And they said: No. No. Maybe                3            I hung up the phone and I left
 4   it was then Lisa used the word "No," Gregg           4   the office. After that, Daniel then asked
 5   was just a big dork, although I'm pretty             5   them, everybody, "Do you have any problems
 6   sure it was downstairs. Like I said                  6   with Gregg?"
 7   before, I just remembered the word "big              7            They said: No, Gregg is fine.
 8   dork" and I remembered that that like                8   Matt is crazy. So apparently I should have
 9   disalarmed me, because if someone attacked           9   risen up to destroy him on November the
10   me or did something to me I wouldn't call           10   5th, but I didn't, and for that I'm a pussy
11   them a dork.                                        11   and nobody trusts me.
12     Q. So they were mentioning concerns               12            And then when I finally do do
13   about Gregg's behavior. What exactly were           13   it in the future, well, Matt is crazy
14   they saying that there their concerns were?         14   because he wants to get rid of Gregg, not
15     A. They didn't say they had concerns.             15   because we manipulated and emotionally
16   I said are these -- it was like at some             16   abused him for the last couple months,
17   point when Trish said, "Oh, yeah, at AIPAC          17   telling him to imagine Leah Merville giving
18   this happened," I said, "Well, why wouldn't         18   him a blow job and to imagine all these
19   you tell me that, when it happened, or even         19   other things.
20   after it happened, or any point in between          20            So this is, it is for this
21   then and now."                                      21   reason I tried to rise up, tried to do
22            Especially because we were,                22   something. And then I'm told: Well, no,
23   like we would go out to happy hour                  23   actually everybody seems to be okay with
24   sometimes until 3:00 o'clock in the                 24   Gregg, Matt, except you.
25   morning, and I considered us to be close            25            And then I said: Well,
                                              Page 120                                                       Page 122
 1   and friends. I would imagine that I would            1   obviously, I have no friends in this
 2   be the first person that somebody would --           2   office, at least that are going to be
 3   that she would say that to.                          3   honest with me or at least that have any
 4           They both said, no, they said,               4   respect or modicum of appreciation for
 5   no, no, Gregg is -- we have no problem with          5   anything, at any point, and that was it,
 6   Gregg.                                               6   and I left.
 7     Q. So because they --                              7           And they threw me a going away
 8     A. As a matter of fact, and as a                   8   party at Continental in Midtown. And I
 9   matter of fact, after I tried to remove              9   have a picture of us all happy, sitting
10   Gregg by taking authoritative action or             10   around the table, Delaney, Catriona, me,
11   unilateral action, I called a staff                 11   Lisa, Tricia. Everybody was smiling. We
12   meeting, after the November 5th meeting I           12   had cocktails. We had lunch. We went back
13   called Gregg on the phone, I said, "You are         13   to the office. We wish you well, Matt.
14   no longer to talk to anybody in the office,         14   You are the best boss ever. We miss you.
15   Lisa, Tricia, Catriona." I said, "Every             15   How are we going to get through our lives
16   communication with every single person in           16   without you, blah, blah, blah. And then,
17   the office, now it goes through me."                17   and then I don't know.
18           I remember this vividly. I had              18     Q. Who did you just testify that was
19   my two-year-old daughter sitting on my lap          19   emotionally abused for months? You?
20   because I was with her that day. I had to           20     A. What was that?
21   take her to the office with me.                     21     Q. You just said someone was
22           Then I called Daniel. I said,               22   emotionally abused for months. Were you
23   "Daniel, I just want you to know what I             23   talking about yourself?
24   just did. I just called a staff meeting.            24     A. Yeah, I believe I was.
25   I told everyone in the office that Gregg is         25     Q. By who? Lisa Barbounis?
                                           Everest Court Reporting LLC                             Page: 32 (119 - 122)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 34 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 123                                                      Page 125
 1     A. By whoever was, what I believe now              1    A. I guess, I mean, if you say so, I'm
 2   to be like an orchestrated, I don't know,            2   sure, whatever. But it sounds about right.
 3   assuming of power or somebody was trying to          3    Q. Israel was April 2018, correct?
 4   take over as director.                               4    A. Okay.
 5     Q. You were trying to take over as                 5    Q. So whatever concerns were being
 6   director, right?                                     6   expressed during that time weren't because
 7     A. Yes, I believed that that is what               7   of AIPAC and Israel then, right? It is
 8   they wanted me to do, until Marnie said,             8   impossible?
 9   "We don't need you to be our savior."                9    A. So what concerns were expressed to
10            But I said, "That's what you               10   me?
11   told me on November 5th downstairs," after          11    Q. That's my next question. You don't
12   I didn't apparently try to destroy Gregg.           12   remember?
13     Q. All right. So I'm going to go back             13    A. No. Well, then, that means that
14   to the conversation that you had with Lisa          14   the conversation, the one line that I do
15   and Tricia before Catriona Brady became a           15   remember saying is: Do I have anything to
16   full-time employee.                                 16   worry about having just hired Catriona.
17     A. Okay. The conversation which I                 17           I mean, I don't, I don't know
18   told you I don't recall already, maybe              18   what other things that could have been
19   three times.                                        19   brought to me before Catriona's hire. I
20     Q. But you testified, is there                    20   don't know.
21   something I have to worry about with Gregg,         21    Q. Let's talk about AIPAC for a few
22   and that they said no. Is that correct?             22   minutes. So what is the AIPAC conference?
23     A. The first time that I learned that             23    A. The annual conference of the
24   Tricia said that something happened, which          24   American Israel Political Action Committee.
25   was long after the fact, I was surprised I          25    Q. And is that a yearly conference?
                                              Page 124                                                       Page 126
 1   didn't hear about it or know about it via            1    A. Yep, I believe so.
 2   someone else, Lisa or Marnie, that she may           2    Q. Where does that conference take
 3   have told. I said, "Well, is there                   3   place every year, if it does take place in
 4   something to worry about with Gregg?"                4   the same place every year?
 5            Yes, I remember having -- I                 5    A. Washington, D.C., as long as I have
 6   remember saying that. I don't remember               6   been going to it.
 7   where I said it, when I said it, whatever.           7    Q. In 2018 did you attend the AIPAC
 8   But I do believe it was before Catriona              8   conference?
 9   started, yeah.                                       9    A. Yep.
10     Q. Based on that you were comfortable             10    Q. And in 2018 who else from the
11   allowing Catriona to become a full-time             11   Middle East Forum attended the AIPAC
12   employee, correct?                                  12   conference?
13     A. Yep. They both said, like, nothing             13    A. Our D.C. staff obviously, because
14   to worry about here.                                14   they were there. So EJ, Cliff. Then the
15     Q. And if I told you that Catriona                15   people from the office that came, which
16   became a full-time employee in January of           16   were me, Gregg, Lisa, Tricia, Marnie.
17   2018, does that make sense? Does that               17           If you are saying Catriona was
18   sound right to you?                                 18   already there at that point, maybe
19     A. I mean, it could, I guess, if she              19   Catriona. But I don't think I remember her
20   finished school in December of 2017.                20   being there.
21     Q. All right. And that's before AIPAC             21    Q. Let's just say she was either an
22   and it is before Israel, right?                     22   intern, or it was sometime after she became
23     A. Before AIPAC?                                  23   an intern, we will say, for now.
24     Q. Yeah, AIPAC was in March 2018,                 24    A. Let's just say what?
25   correct?                                            25    Q. We can just agree that she was an
                                           Everest Court Reporting LLC                             Page: 33 (123 - 126)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 35 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 127                                                      Page 129
 1   intern before that, at least.                        1   conference.
 2     A. Before AIPAC?                                   2    Q. Do you remember if it was two or
 3     Q. Yes.                                            3   three nights?
 4     A. Yeah, of course.                                4    A. No. But, again, I'm sure there is
 5     Q. She wasn't at the AIPAC conference,             5   a receipt or something to show.
 6   correct?                                             6    Q. You can only testify to the way you
 7     A. No, I don't remember, I don't                   7   remember.
 8   remember her being there.                            8    A. I don't remember how many nights,
 9     Q. So it was --                                    9   no, I'm sorry.
10     A. I think somebody, somebody came for            10    Q. So, and did Patricia McNulty, Lisa
11   the dinners or something and then left to           11   and Marnie, did they share that Airbnb with
12   go, maybe to go back to Philadelphia. But           12   you guys, or did they get their own rooms?
13   I don't think it was her, no.                       13    A. They had their own rooms. I don't
14     Q. So it was Gregg Roman, Lisa                    14   know if it was a room or rooms. I just
15   Barbounis, Marnie Meyer, and Patricia               15   know that they had their own
16   McNulty. Anybody else?                              16   accommodations.
17     A. Yeah, I just said the D.C. staff.              17    Q. Okay. Did the AIPAC conference
18     Q. The D.C. staff is how many people?             18   start on a Friday?
19     A. At the time I think it was Cliff               19    A. No. Usually it would start at the
20   and EJ. I'm not sure if -- oh, maybe Sam            20   end of Shabbat, so maybe a Saturday night.
21   Westrop. But he was in Boston. So I don't           21   Usually there is like, just like -- it
22   know. Maybe Samantha that worked with him.          22   usually starts on an evening the day before
23   I don't know if she was there at that time          23   the actual happenings of the conference
24   or whatever.                                        24   begins. So if it was -- yeah, Saturday
25            But anybody that would have                25   night sounds right. And then they would
                                              Page 128                                                       Page 130
 1   been in D.C. would have probably been                1   have all the breakout sessions and the
 2   there. Anybody that was based in D.C., I             2   plenaries on the Sunday and Monday.
 3   guess.                                               3     Q. So the first night you slept down
 4     Q. All right. And so where did you                 4   there was that Saturday?
 5   stay during the conference?                          5     A. Yep. I mean, again, to the best of
 6     A. At an Airbnb. It was like an                    6   my recollection. Whatever, I don't know
 7   apartment. Yeah, I think it was like a               7   the dates.
 8   hotel apartment or an Airbnb. I don't                8     Q. I just looked it up while we were
 9   remember the address.                                9   sitting here. If I said it was like March
10     Q. And did you stay at that Airbnb                10   4th, 2018, does that sound right?
11   with anybody?                                       11     A. Okay.
12     A. Yeah, Gregg, another friend of mine            12     Q. March 4th, 2018 was a Sunday. So
13   from home. I think he was there. He                 13   the weekend of the 3rd and the 4th and the
14   didn't stay there. And whoever slept there          14   5th, does that sound about right?
15   from the group.                                     15     A. Yeah. We wouldn't have gotten
16           I think, I don't know, there                16   there for the, for just the nighttime
17   was I think three bedrooms. Somebody                17   activity on Saturday night. So it seems
18   played a game for the bedroom. I don't              18   right, Sunday night, Monday night, and
19   know if Lisa won or Tricia won. Somebody            19   then, yeah, leave on Tuesday, I guess.
20   had to sleep on the couch. The other                20     Q. So the night when this incident
21   people stayed in the rooms.                         21   occurred that we are building toward was
22     Q. So how long did you have an Airbnb             22   that Saturday or Sunday? Do you remember?
23   for?                                                23     A. Probably whatever, whatever date
24     A. However, probably two nights or                24   the event was, where there was a big dinner
25   three nights, however long, duration of the         25   at Cuba Libre. That's why we needed so
                                           Everest Court Reporting LLC                             Page: 34 (127 - 130)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 36 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 131                                                      Page 133
 1   many like all hands on deck, so to speak.            1   remember. Then, yeah, we all got in Ubers
 2   We had donors, we had writing fellows, we            2   and we bent back to the Airbnb. Somebody
 3   had grantees. It was like, it was a big              3   ordered pizzas. We were having, it was
 4   deal for us to be holding like, you know, a          4   like a party there as well.
 5   big event during AIPAC.                              5     Q. And how did you get back to your
 6            And I believe that after that               6   Airbnb when it all ended, when you were
 7   event, yeah, we went out like celebrating.           7   done going out to bars and stuff like that?
 8   I was dancing with Marnie, spinning her              8     A. I don't, I don't remember. But
 9   around on the dance floor, went bar                  9   likely Uber. If it was close enough we
10   hopping, all of us as a group, drinking.            10   would have walked. I always prefer walking
11   So likely after the event, because we are           11   to car share or any type of taxi when
12   not going to wake up the next day, you              12   possible. So I would have said, hey, we
13   know, all hung over and then try to execute         13   could walk, if we were able to. If not, we
14   one of the biggest events we were trying to         14   probably took an Uber.
15   pull off.                                           15     Q. Do you remember who else took that
16     Q. So that was that first night that              16   Uber with you?
17   you had that you guys all went out and did          17     A. No.
18   that, right? It was like that Saturday?             18     Q. Do you remember what time it was
19            If you don't know, just say you            19   about when you got back to your Airbnb?
20   don't know. That's fine.                            20     A. No.
21     A. I don't know. I don't know. I                  21     Q. And do you remember who was back at
22   mean, I don't know, no.                             22   the Airbnb with you at the end of the
23     Q. That's fine. So, but you do                    23   night?
24   remember, like I think it was the night             24     A. No. I mean, there was a lot of
25   that you guys threw a dinner for donors,            25   people. I just remember there was a lot of
                                              Page 132                                                       Page 134
 1   right?                                               1   people there.
 2     A. Yeah, that's the one I'm talking                2    Q. Okay. So let me go one at a time.
 3   about. I believe it was at Cuba Libre.               3   You were there, correct?
 4     Q. Cuba Libre, after the dinner for                4    A. Yeah, yeah, I stayed there.
 5   donors, you went to another event after              5    Q. Gregg Roman was there?
 6   that?                                                6    A. Yep.
 7     A. Yeah, we went to several, several               7    Q. Was Patricia McNulty present?
 8   things. I don't remember. But I know that            8    A. Yeah.
 9   there was, I think there was an                      9    Q. Was Lisa Barbounis present?
10   invitation-only type thing that we had sort         10    A. Yeah. I believe all the girls, all
11   of just showed up at. I don't remember              11   the Philadelphia staff were there.
12   what it was. I'm sure there was -- you              12    Q. Marnie Meyer, she was present?
13   know, I remember we went to like a big              13    A. Yeah.
14   nightclub/bar, because I remember there was         14    Q. And was someone named Akeem
15   a dance floor. I remember dancing. I                15   present?
16   think it was hosted by another                      16    A. I don't know any Akeem.
17   organization, like an after-party. So we            17    Q. Was there anyone else there
18   went to a couple, we went to a couple               18   besides, was there someone named Raheem
19   places.                                             19   present?
20     Q. When that all ended, tell me what              20    A. Was there someone what?
21   happened next.                                      21    Q. Raheem. I think I said Akeem. I
22     A. There was like last call probably,             22   meant Raheem. Sorry.
23   whatever time that they shut down. Could            23    A. Oh, Raheem.
24   have probably very late, 2:00 a.m.,                 24    Q. Raheem.
25   something, whatever D.C. law is. I don't            25    A. Yeah, I think he is the one that
                                           Everest Court Reporting LLC                             Page: 35 (131 - 134)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 37 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 135                                                      Page 137
 1   ordered the pizzas.                                  1     Q. And --
 2     Q. Kassam, was there someone named                 2     A. Unless, unless, I mean, whatever,
 3   Kassam there?                                        3   unless my wife wanted to talk. It is
 4     A. Kassam? I mean there is Sam. Oh,                4   possible. Or, I don't know, or I had too
 5   Kassam, I think that's Raheem's last name.           5   much to drink.
 6     Q. Raheem Kassam. So was there anyone              6           But usually I, like the
 7   else besides, you know, the MEF staff and            7   caretaker, making sure everything goes as
 8   Raheem. I think I heard there might have             8   planned and etcetera, etcetera.
 9   been some fellows there or something like            9     Q. So you said at some point in time
10   that or some people from another                    10   someone played a game for a room. I think
11   organization?                                       11   I have heard testimony that Lisa and Marnie
12     A. Yeah, there was another --                     12   flipped a coin to see who got the extra
13     Q. Pink Skirt maybe?                              13   room. Is that what you were referring to?
14     A. Yeah, exactly. There was a couple              14     A. It sounds right. I just remember
15   -- yeah, those guys. I don't know, I don't          15   that there was an extra bedroom, and I
16   remember which. There were at least maybe           16   think the couch was obviously a pull-out
17   one or two of them. Which ones, I don't             17   bed or something. It was a big, it was a
18   know. But, yeah, somebody was there.                18   really big place. I think there was three
19     Q. And that was just about everybody?             19   bedrooms. So, yeah, somebody, yeah, there
20   If you remember. If you don't, just say I           20   was a game or something. I don't, I don't
21   don't remember, that's fine.                        21   remember -- I don't know the details. But
22     A. Yeah, I don't remember. I mean I               22   somebody -- I believe it was Tricia. I
23   believe so. I didn't remember that they             23   believe it was Tricia.
24   were there until you told me just now.              24     Q. Tricia had the bedroom?
25   But, yeah. Well, yeah, there was a lot of           25     A. I believe so.
                                              Page 136                                                       Page 138
 1   people. So I mean, obviously, if it was              1     Q. And Lisa, where was she? Do you
 2   us, then Raheem and them.                            2   know where she slept?
 3     Q. And so during this event my client,             3     A. No. But I don't even know -- when
 4   who is, actually both my clients, Lisa and           4   I woke up, I woke up in the morning,
 5   Patricia have alleged that Gregg Roman               5   everybody was gone. And I woke up pretty
 6   stuck his hands on them in an inappropriate          6   early too. And I remember thinking that,
 7   way. Did you see that happen?                        7   like, wow, everybody woke up, you know,
 8     A. No.                                             8   they cleared out quick. But so, no, I
 9     Q. Did you go to sleep? Did you have               9   don't know where anybody slept.
10   -- strike that.                                     10     Q. So did you see anything that
11            Did you have your own room at              11   evening that caused you any kind of
12   this Airbnb?                                        12   concern?
13     A. Yeah.                                          13     A. Hold on one second. I got to let
14     Q. At some point in time did you                  14   the dog out.
15   retire to your room and kind of leave               15     Q. Yeah, take your time.
16   everybody?                                          16           MR. WALTON: I haven't eaten
17     A. Yeah, sure. I mean I woke up in                17   lunch.
18   the bed.                                            18           MR. GOLD: Let's take a break.
19     Q. Do you remember if like everyone               19           MR. CARSON: All right. Let's
20   was still up when you went to your room, or         20   do like, we will come back at like 1:35 or
21   were you one of the last people that shut           21   something like that. I'm sorry. 2:15.
22   it down, if you remember?                           22           THE WITNESS: I mean, I like to
23     A. I'm the type that I can hang, so to            23   go faster if it is possible. I would like
24   speak. So if it was still going on, I               24   a five-minute break.
25   would be the last one there.                        25           (Discussion off the record.)
                                           Everest Court Reporting LLC                             Page: 36 (135 - 138)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 38 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 139                                                      Page 141
 1          MR. GOLD: 2:15 is good for you               1   the allegations that Patricia made
 2  to take a break, Matt.                               2   regarding Gregg Roman's conduct at the
 3          (Lunch recess taken.)                        3   AIPAC conference?
 4          THE VIDEO SPECIALIST: We are                 4    A. I would be guessing if I gave a
 5 back on the record.                                   5   date. I really don't know.
 6 BY MR. CARSON:                                        6    Q. Well, is it fair to say you learned
 7   Q. I think when we stopped we were                  7   about those allegations on November 4th,
 8 talking about the AIPAC conference. And               8   2018?
 9 you said that you didn't see anything that            9    A. Yeah, definitely. I mean I -- I
10 caused you concern that evening with regard          10   can't say for sure. Maybe it was after. I
11 to Gregg Roman, Lisa Barbounis and Patricia          11   don't know, unless, if it was said then,
12 McNulty, correct?                                    12   then, yeah, I learned about it. I don't
13   A. Correct.                                        13   remember what was said then exactly.
14          THE COURT REPORTER: Mr.                     14    Q. So my question was going to be:
15 Carson, this is the court reporter. I have           15   Did you hear about it before that, before
16 lost visual on you.                                  16   that November 4th meeting?
17          (Discussion off the record.)                17    A. I mean if I did, I don't remember
18   Q. And do you know what time Gregg                 18   when. I couldn't give a date.
19 Roman left the gathering and went to bed?            19    Q. And I just wanted to kind of clean
20   A. No.                                             20   something up for the record.
21   Q. You have to speak up a little bit               21    A. Sure.
22 for the court reporter.                              22    Q. During the break I looked at some
23   A. No, no.                                         23   documents, and I believe Catriona Brady may
24   Q. Do you know whether it was like                 24   have began as a full-time employee sometime
25 before you or after you? Or, no, you don't           25   around May 2018, like at the end of the
                                             Page 140                                                       Page 142
 1   remember?                                           1   school year.
 2     A. I don't remember.                              2    A. Yeah, that's what I guessed
 3     Q. When is the first time -- sitting              3   originally, is that it would have to be
 4   here today, you are aware that Patricia             4   following, you know, academic year.
 5   McNulty has alleged and Lisa Barbounis has          5    Q. So a couple of my questions were
 6   alleged that Gregg Roman put his hands on           6   based on if she might have started
 7   them in an inappropriate manner, correct?           7   full-time in January. I just wanted to
 8   You are aware of those allegations?                 8   make that clear for the record. I think
 9     A. I believe that -- well, I was                  9   you were right when you said it was in May
10   aware, Leah in Israel and Tricia at AIPAC.         10   2018, so I just wanted to make it clear.
11     Q. Are you aware that Leah has alleged           11           So now that we know that she
12   that Gregg Roman, when he put his arm              12   started in May 2018 as a full-time
13   around Patricia and lifted her up onto his         13   employee, is it possible that the concerns
14   lap, that he also put his arm around Lisa          14   that Patricia and Lisa told you about with
15   and pulled Lisa toward him? Did you know           15   regard to Gregg were the Israel and the
16   that?                                              16   AIPAC concerns?
17     A. No, I don't believe so.                       17    A. I'm sorry, what was the question?
18     Q. So I understand sitting here today            18    Q. So earlier you testified that
19   you are aware of these allegations, so my          19   before Catriona became a full-time employee
20   question is: When did you first become             20   that you asked the question, hey, is there
21   aware of those allegations that either             21   something I need to worry about. And, you
22   Patricia or Lisa made?                             22   know, I guess you were concerned about
23            Well, if you didn't know about            23   bringing Catriona on full-time if there
24   Lisa's, let's just keep it to Patricia's.          24   were concerns about Gregg Roman, correct?
25   When is the first time you became aware of         25    A. I don't know if it was before. But
                                          Everest Court Reporting LLC                             Page: 37 (139 - 142)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 39 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 143                                                      Page 145
 1   I remember thinking that, you know, she was         1     A. I thought it was November the 5th
 2   young, that, straight out of, straight out          2   for some reason. But you are talking about
 3   of school. They were nearing 40, had been           3   the meeting, like the big meeting?
 4   around the block, so to speak. So it                4     Q. Yeah. So I'm representing that it
 5   wasn't like -- you know, if there was like          5   was either the 4th or the 5th. I'm talking
 6   somebody who wouldn't know what to do in            6   about a meeting where Daniel Pipes and you
 7   that scenario, it would be her.                     7   and my clients, and I guess some of the
 8     Q. And so you asked, and I think, I'm             8   other people who worked at the Middle East
 9   trying to just reiterate just to get the            9   Forum, were all present, and you guys met
10   timing right, so you asked Patricia and            10   to discuss I guess Gregg Roman that day,
11   Lisa: Is there something I need, should I          11   correct?
12   be worried about bringing her here                 12     A. Yeah. That was an emergency staff
13   full-time?                                         13   meeting, or whatever it was called, yeah.
14     A. Or it could have been after she was           14   We were all told that day and time.
15   there and I was saying, like, do I need to         15     Q. I've heard some people refer to it
16   like pay close attention, or is there              16   as D Day. Have you ever heard it referred
17   something that, you know, like that you are        17   to that, as D Day?
18   saying that would be, like make her                18     A. I don't think so. But, I mean,
19   uncomfortable, risky, etcetera.                    19   possibly.
20            I was basically looking out to            20     Q. How about, there is a movie called
21   say as the person who hired her for her            21   V for, V or V for Vendetta?
22   internship and then invited her to work.           22     A. Yeah, that's why I think, that's
23     Q. So as I guess just knowing that --            23   why I remembered November the 5th, because
24   so is it possible that when you made that          24   I remember, remember, remember, the 5th of
25   statement it was in response to learning           25   November, and they say that in the movie,
                                             Page 144                                                       Page 146
 1   about AIPAC and Israel, what my clients             1   yeah.
 2   were alleging occurred at AIPAC and Israel?         2     Q. I think you made that I guess joke
 3     A. It's possible. I just remember                 3   at some point in time about, hey, that's
 4   that I had, you know, my natural instinct           4   weird, remember, remember, the 5th of
 5   was should I be concerned for somebody that         5   November, referencing that movie, correct?
 6   now I'm responsible for.                            6     A. Yeah, I believe so.
 7     Q. I didn't think it was fair because             7     Q. All this is a roundabout way --
 8   some of my questions were based on saying           8     A. I remember the reference. I don't
 9   it was January 2018. I just wanted to make          9   know if I was the one who thought it up.
10   that clear.                                        10   But, yeah.
11     A. Okay. The timeline for me is, it              11     Q. That's the meeting I'm talking
12   is hard.                                           12   about. Tell me what happened that day.
13     Q. And your testimony is you actually            13     A. Okay. Yeah. We all gathered
14   don't remember that this --                        14   around, and Daniel sort of just said: What
15            THE COURT REPORTER: I'm sorry,            15   is going on in this place? And everybody
16   that this? I couldn't hear the question.           16   had the opportunity, it was like an airing
17     Q. I'm giving the witness an                     17   of grievances so to speak. Everybody
18   opportunity just to say for the record he          18   seemed to have something different to say
19   doesn't actually, you don't actually               19   or like whatever their gripes were.
20   remember the specific timeline when these          20           Mine specifically were that
21   things happened, correct?                          21   Gregg didn't include me in like the website
22     A. Correct, correct.                             22   development, and that was something that,
23     Q. So I just want to go skip ahead.              23   you know, I thought I could have been
24   So November 4th, 2018, tell me what                24   helpful with, and just more like
25   happened that day.                                 25   administrative/operational sort of
                                          Everest Court Reporting LLC                             Page: 38 (143 - 146)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 40 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 147                                                      Page 149
 1   decisions that I thought I could have                1   Pipes was there?
 2   benefited the organization had I been --             2    A. At the bar afterwards or in the
 3   had some hand in it.                                 3   staff meeting?
 4            Everybody else had more,                    4    Q. In the staff meeting.
 5   obviously, what we are referring to as               5    A. Everyone who worked in the office.
 6   allegations. And Delaney said she had                6   So if I go around the table or we will go
 7   brought pepper spray. Lisa and Trish were            7   around the offices, it would be Daniel,
 8   -- I believe they had mentioned what we              8   Marnie, myself. Gregg was supposed to be
 9   have been talking about that happened in             9   there but didn't come that day or Daniel
10   Israel.                                             10   told him not to. Lisa, Tricia, Catriona,
11            I can't remember what everybody            11   Delaney, Thelma. I think that's it.
12   said specifically. I just remember sort of          12    Q. Did you say --
13   thinking like, well, what is going to               13    A. And Stacy. And Stacy.
14   happen next.                                        14    Q. So it is Daniel Pipes, Marnie
15            And then sort of Stacy, who I              15   Meyer, Matthew Bennett, Lisa Barbounis,
16   was also responsible for or managing, and,          16   Thelma Prosser, Delaney Onchek, Catriona
17   you know, trying to like defend her brother         17   Brady, and Stacy Roman. Is that everybody?
18   against, you know, basically everyone else.         18    A. I believe so. I don't think there
19   I remember I got emotional, like if it was          19   was anybody else.
20   my little sibling or something, and then,           20    Q. Did Daniel Pipes start the meeting
21   you know, they are like on their own                21   by talking to everyone about stuff?
22   versus, you know, everyone else. I just             22    A. I don't remember how it opened, to
23   thought it was like sort of not fair.               23   be honest. Sort of just shellshocked
24            But she was trying to digest               24   having to be there. It was like
25   the information and then sort of offer I            25   surprising.
                                              Page 148                                                       Page 150
 1   think her take on it or whatever. She                1     Q. Did Daniel Pipes say the reason why
 2   might have or didn't have knowledge of.              2   he had called this meeting?
 3            And I remember the only thing               3     A. I believe it was the letter.
 4   that I introduced into that meeting was,             4     Q. So the meeting was called to
 5   you know, like website, administrative,              5   discuss a letter that was submitted to
 6   operational type stuff, which after that             6   Daniel Pipes?
 7   they basically said, like, oh, Matt just is          7     A. Yeah, I believe so. And maybe
 8   obviously -- as long as, you know, Gregg is          8   conversations that followed.
 9   around, Matt will be, you know, loyal to             9     Q. And what did Lisa say at the
10   him. And so, you know, he is, in the words          10   meeting? Did she say what happened? Did
11   of Marnie and Lisa, Matt is a pussy, I              11   she say what happened, what she alleged
12   don't -- I'll never trust you.                      12   happened in Israel?
13     Q. They said that at the meeting?                 13     A. Probably. I believe so.
14     A. No, no. After the meeting we all               14            I was really focused on myself
15   went, as I said before, down to 16th and            15   at that point. I was -- for all I knew, we
16   Arch. There is a bar there, close to the            16   were all being gathered to be informed that
17   Starbucks where I met Lisa and Marnie               17   we were being let go. I didn't -- I had no
18   originally, and we all were sitting around          18   idea what was -- like I said, in the
19   like a booth, and right in front of                 19   letter, I didn't know what had taken place
20   everybody, in front of the whole team, in           20   that maybe no one didn't inform me of. I
21   front of the whole staff, Lisa and Marnie           21   was sort of just waiting to see what,
22   said: You are a pussy, I'll never trust             22   exactly what was happening. It was like a
23   you.                                                23   soap opera.
24     Q. Can we get a list of people who                24            I wasn't remembering everything
25   were present at that meeting? So Daniel             25   or taking note of everything everybody was
                                           Everest Court Reporting LLC                             Page: 39 (147 - 150)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 41 of 145
Deposition of Matthew Bennett                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 151                                                      Page 153
 1   saying. You know, I was mostly just                   1     Q. Why did --
 2   thinking about when it came, Matt, do you             2     A. In reality, I was looking out for
 3   have anything to say, I said the website              3   her in the same way I thought I was trying
 4   and vendors, I could be more helpful with             4   to look out for Catriona, asking, well,
 5   IT, things of that nature. But that was               5   does Catriona have something to worry -- do
 6   it.                                                   6   I have something to worry about with
 7     Q. So you used --                                   7   Catriona and well-being of everybody else.
 8     A. And I defended, I defended Stacy, I              8   So...
 9   believe. I'm not sure how, but I remember             9     Q. Why did it hurt you to be there?
10   they were angry at me or, you know, felt             10     A. It seemed like, seemed like the
11   that I was like a traitor for defending              11   organization was falling apart, like
12   Stacy.                                               12   somebody just set off a bomb inside of,
13     Q. Do you think it was appropriate for             13   inside of the office.
14   Stacy to be there?                                   14           I mean, how do you continue end
15     A. Well, she was a member of the team.             15   of your fund raising events, travel,
16   May or may not have had direct knowledge of          16   intellectual output, content, marketing,
17   all the stuff that was going to be talked            17   whatever, with everybody -- this suddenly
18   about. Could have been -- maybe things               18   took center stage at the time where, I
19   could have been said a little bit                    19   don't know how much more money I had to
20   differently or, I don't know, more politely          20   raise to the end of the year, 1. something
21   taking note that she is his sister, she is           21   million dollars outstanding and uncollected
22   Gregg's sister. But I'm not sure --                  22   renewals or contributions.
23     Q. Do you think it was fair --                     23           I remember thinking like if, if
24     A. I don't know if it is inappropriate             24   I had to do my job now in the absence of
25   just because they are brother and sister.            25   Gregg, I'm going to need this team to, you
                                               Page 152                                                       Page 154
 1     Q. Well, do you think it was fair to                1   know, to come together, and I remember that
 2   the women who were there to report sexual             2   going through my head.
 3   harassment that they needed to say things             3            And then when they subsequently
 4   more carefully because Gregg, because the             4   said: I don't trust you, you are a pussy,
 5   harasser -- because the harasser's sister             5   etcetera, etcetera, I said: Well, there is
 6   was present?                                          6   no way I'm going to be able to raise that
 7     A. I don't believe that anything was                7   money, there is no way I'm going to be able
 8   held back.                                            8   to hold everything together if that's, if
 9     Q. So that was probably tough on Stacy              9   that's how they view me at this point,
10   Roman then, right?                                   10   after having hired them, trained them, been
11     A. I just remember thinking that, you              11   their friend, mentored them, attended
12   know, she responded with, you know, like             12   birthday parties, invited them into my
13   she was pretty like calm in her responses.           13   home. So...
14   I mean, obviously, like I could tell she             14     Q. Did Patricia McNulty talk about
15   was hurt. Like I worked with the girl for            15   what happened at the AIPAC conference
16   awhile. But she was hurt to sit there and,           16   during this meeting?
17   you know, and have this going on. It was             17     A. Possibly. I don't remember.
18   hurting me to sit there and I'm not related          18     Q. So what did Stacy say?
19   to Gregg. And so I'm thinking, you know,             19     A. I don't remember. I just remember
20   look how she feels.                                  20   that sort of, it was like everybody on
21          I don't remember what I said                  21   Stacy. Thelma just sat quietly, just
22   exactly in Stacy's defense, but I remember           22   letting, letting it all wash over her.
23   that me sticking up for her in their mind            23   Because I don't think she knew anything or
24   was like, oh, Matt is a traitor, you know,           24   was around anything. But seemed like
25   whatever.                                            25   everybody had something to say about Gregg,
                                            Everest Court Reporting LLC                             Page: 40 (151 - 154)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 42 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 155                                                      Page 157
 1   and she was trying to defend. I just                1   place between November 4th and -- I don't
 2   remember like seeing somebody that was              2   remember it taking place in my final three
 3   under distress, in the same way I cared             3   months, so...
 4   about Lisa, Tricia, Catriona and Delaney, I         4            But to be honest, like I said,
 5   see someone else who I have known even              5   again, if I told you, I don't know, I don't
 6   longer than them, worked with longer, was           6   remember.
 7   closer with, you know, with tears behind            7     Q. What happened after the meeting --
 8   her eyes, thinking that the right thing to          8   strike that.
 9   do in that situation for the manager is to          9            How did the meeting conclude?
10   look out for the well-being of, you know,          10   Did Daniel Pipes announce any policy change
11   of everyone, even if -- so I tried to do           11   or any conclusion?
12   that in defending Stacy, and it didn't go          12     A. Well, yeah, he said, "Gregg is
13   over well.                                         13   banished from the office." I believe that
14    Q. Do you know whether Middle East                14   concluded the meeting. Or that was like,
15   Forum maintained a policy to prevent sexual        15   like, all right, he was no longer -- he
16   harassment during the time that you worked         16   will no longer be here.
17   there?                                             17            And then I said, "How about we
18    A. There were I think documents that,             18   all go for a drink?" And that's how we
19   you know, like an on-boarding packet, you          19   ended up at Tir na nOg, I believe it was.
20   know, said if this, if you see, if you feel        20     Q. So Daniel Pipes' response to all
21   this way or something, then report it to           21   these allegations of sexual harassment was
22   this person. And if you are this person or         22   that Gregg Roman was no longer permitted to
23   in this department, then report it to that         23   attend or visit the Philadelphia office; is
24   person.                                            24   that your testimony?
25            You know, so we did a sexual              25     A. Well, in that moment, in front of
                                             Page 156                                                       Page 158
 1   harassment training also. I remember                1   everybody, before we adjourned, I believe
 2   somebody came, I think we did -- maybe that         2   that that is what was said, and that held
 3   was another organization. I'm pretty sure           3   true. He never came back.
 4   there was something signed, unless I'm              4     Q. Never --
 5   mistaken.                                           5     A. The time while I was there, he
 6     Q. Did you ever do any sexual                     6   never came back.
 7   harassment training when you worked with            7     Q. What about his employment in
 8   the Middle East Forum?                              8   general, did he continue working with the
 9     A. I know there was a security                    9   Middle East Forum?
10   workshop, I think, and as part of like an          10     A. I have no way to know that. I
11   all around sort of HR thing, Marnie may            11   mean, I checked the website at some point,
12   have organized a security expert to come           12   and he was still listed as director, so, I
13   in. Maybe there was a -- yeah, actually I          13   mean, unless he left and then he was
14   think, yeah, I believe everybody sat around        14   rehired. I don't know.
15   with a table, maybe, at some point, and it         15     Q. You are testifying today that you
16   was made clear -- I think Gregg actually           16   don't know whether Gregg Roman continued
17   moderated the meeting. Maybe it was                17   working with the Middle East Forum after
18   Daniel. But I mean it was obvious, you             18   November 4th, 2018?
19   know, there was some -- you know, people           19     A. Of course he did. He, during the
20   knew, obviously, if you are harassed, this         20   time that I was there, he was still working
21   is what to do.                                     21   with MEF. And, I don't know, January or
22     Q. When was that?                                22   February I held a meeting, when I called
23     A. I would be guessing.                          23   him and I said, "Gregg, you are no longer
24     Q. Was it before November 4th, 2018?             24   to contact anybody in the office, only go
25     A. I mean, I don't remember it taking            25   through me."
                                          Everest Court Reporting LLC                             Page: 41 (155 - 158)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 43 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 159                                                      Page 161
 1           Daniel said, "Well, let me ask               1     A. Yeah.
 2   the women if that's their position."                 2     Q. Why did you call a staff meeting?
 3           They all said: No, Matt is                   3     A. So that they would all see that I
 4   crazy, we are fine working with Gregg over           4   was stepping in to make sure that whatever
 5   the phone, and text and whatever.                    5   they are saying, this uncomfortable, this
 6           So I looked like I was just off              6   harassment that they alleging, it would,
 7   my rocker and seeking to usurp him and then          7   poof, be gone because they would no longer
 8   take control as director.                            8   have to deal with him, personally, through
 9     Q. When was that?                                  9   the phone, through a message, through an
10     A. At some point between November the             10   e-mail. So I volunteered myself to be the
11   4th and March the 9th.                              11   buffer and take on whatever, you know,
12     Q. Well, do you know, can you be more             12   other work that would not necessarily be
13   precise?                                            13   through development or, like the stuff I
14     A. I just remember I had my daughter              14   wasn't involved in, but take that on. I
15   with me that day, I took her to work.               15   would then be responsible for, as a
16     Q. Did it happen in 2018? Was it                  16   go-between.
17   2019?                                               17     Q. So what prompted that staff
18     A. I think it was after, I believe it             18   meeting? Why did you feel like you needed
19   was after the New Years party. It was               19   to call a staff meeting about harassment in
20   after that, I remember, yeah.                       20   January, or sometime after that, 2019?
21     Q. After the New Years party you                  21     A. I didn't call a staff meeting about
22   called Gregg and told Gregg not to contact          22   harassment. There was like the harassment
23   any of the women?                                   23   training, which I believe was 2018, maybe
24     A. I called the staff meeting. I had              24   like -- I don't know, probably after --
25   everybody gather in the same conference             25   maybe like -- it was probably around the
                                              Page 160                                                       Page 162
 1   room that the original meeting took place.           1   time that everything was going wrong with
 2   I called Gregg, I said, "You are not to              2   my personal life. It would be like May,
 3   contact anybody in the office anymore. If            3   April/May of 2018.
 4   you want to give a directive to any one of           4           That was, you know, the
 5   the women or anybody, it goes through me.            5   harassment I believe discussion we had.
 6   I will then filter everything and then               6   Everybody gathered around. I think. I
 7   relay it back to you."                               7   don't even know who it was. It was Marc
 8            He said, "Okay. No problem."                8   Fink, maybe Gregg sat everybody down, hey,
 9            I'm off the phone with him,                 9   you have been harassed, you know, say
10   then I called Daniel straight away.                 10   something here. If you don't know who to
11   Daniel, I just want to let you know what I          11   go to, go to Marnie. If you can't go to
12   did. And his response to me was, like, I            12   Marnie, go to Marc. If you can't go to
13   didn't tell you to do that. And I said,             13   Mark, go to Daniel.
14   "Well, I did it."                                   14     Q. That happened in 2018?
15            And then I guess he had asked              15     A. Yeah. There was no way that
16   everybody, you know, did Matt do that               16   happened between the time of the November
17   because he was compelled -- because, on his         17   meeting, by the time I left in March. I
18   own volition, or was it, did you guys want          18   mean it had to be 2018.
19   him to do it. And then when he asked                19     Q. Let's go back to the staff meeting
20   everybody, apparently they said no,                 20   that you called. You said you thought it
21   everybody was fine, and that I was, I was           21   was in January 2019 or sometime thereafter.
22   obsessed with taking Gregg down at that             22     A. December, January, February. I
23   point.                                              23   believe after New Years. I would put it
24     Q. You called a staff meeting before              24   like January, February.
25   you made the phone call?                            25     Q. So you called that meeting to
                                           Everest Court Reporting LLC                             Page: 42 (159 - 162)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 44 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 163                                                      Page 165
 1   discuss harassment regarding Gregg Roman,            1   you have to -- you have to have the
 2   right?                                               2   following of a team in order, in order to
 3     A. No. I called the meeting so that                3   lead it. So if not, then you are not going
 4   everybody would see Gregg is gone, I mean,           4   to accomplish very much. So I tried to
 5   that was -- we don't have to talk about              5   gain their confidence in me.
 6   Gregg anymore. We don't have to worry                6     Q. Was it because Gregg Roman was not
 7   about Gregg anymore. We can go back to               7   following the rules and contacting people?
 8   work, trying to be a team. I had started             8     A. I don't really remember what the
 9   to conceive ideas for the organization, how          9   rules were. I think it was only e-mail. I
10   to improve its efficiency. I liked the              10   mean no phone. I think text was okay,
11   idea of moving things to the cloud and              11   maybe. I don't know. Maybe somebody had
12   basically making everything more simple,            12   said that he had, he had spoken to them.
13   cohesive, fluent.                                   13            It would be like, you know,
14            And I had like a big white                 14   like Matt, Gregg is bothering me with phone
15   board in my office. I was listing all the           15   calls, so I put an end to the phone calls.
16   dozens of things and different projects             16   That was, like that was my -- that was the
17   that I was aiming to tackle. And it was             17   aim.
18   like this issue of like, well, Gregg is             18     Q. What was the date, what was your
19   still around.                                       19   final date of employment with the Middle
20            I was upset, you know, I was               20   East Forum?
21   upset as well, knowing everybody else was           21     A. March either like 7, 8, 9,
22   upset and thinking that -- you know, the            22   something like that.
23   way it made me feel was, well, Matt, we             23     Q. You said March 2019?
24   can't trust you because you are friends             24     A. Yeah.
25   with Gregg, and you will always be friends          25            MR. GOLD: Hey, Seth -- this is
                                              Page 164                                                       Page 166
 1   with Gregg, and we will never be able to             1  Dave, Eleanor -- I just wanted to
 2   trust you. So I tried to earn back their             2  interject, I have to run to another call.
 3   trust. I tried to position myself so that            3 I just wanted to let the court reporter
 4   they would see, like, alright, Matt is on            4 know that I am jumping off the record, for
 5   our side.                                            5 purposes of the record. Leigh Ann Benson
 6     Q. But by January 2018, Gregg had been             6 from Cozen O'Connor is still on the call
 7   gone for two months by that point, correct?          7 and she will be taking my place. Okay,
 8     A. In January, yes. I guess November,              8 Seth?
 9   December, yeah.                                      9          MR. CARSON: Yes.
10     Q. So I guess my question, so why did             10          MR. WALTON: I might jump back
11   you call this staff meeting at that time,           11 in at some point. Sorry to interrupt you.
12   to tell, so you could show everyone that            12          MR. CARSON: No problem.
13   you were going to call Gregg and tell him           13 BY MR. CARSON:
14   not to contact everyone?                            14   Q. At some point in time did you ever
15     A. I guess for a number of reasons.               15 become aware of Gregg returning as the
16   There was the -- I guess everybody just             16 director of the Middle East Forum or the
17   sort of wanted him gone at that point, just         17 rules, the rules that were put in place of
18   thinking that, like, all right, this is a           18 being lifted?
19   bad thing that's happened to the                    19   A. Yeah, around the time about that I
20   organization, let's just get past it and            20 left. I mean, I don't know if rule -- I
21   move forward.                                       21 don't know what rules were lifted or what
22            You know, in the absence of                22 the arrangement was. But I think for a
23   Gregg, started to think, well, maybe I              23 time things went back to normal, as far as
24   could be the director. Then I started to            24 I know.
25   conceive all these ideas. So, you know,             25          I don't know. I exchanged
                                           Everest Court Reporting LLC                             Page: 43 (163 - 166)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 45 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 167                                                      Page 169
 1   messages with Tricia and Lisa after I left           1   me to finish out what I was doing. And
 2   in March and April. They were still                  2   they allowed me to finish out what I was
 3   working. I think they had taken on -- it             3   doing.
 4   was a heavy workload. They both expressed            4            They handed off everything to
 5   interest in, you know, in working with me            5   Marnie, IT, controls, passwords to
 6   at ZOA. I didn't have the go-ahead to hire           6   different accounts. Basically everything
 7   there until, you know, later on. But I               7   that was on my desk I had to get off of my
 8   still had conversations with them in the             8   desk to make sure like a smooth transition.
 9   weeks or, I don't know however many weeks            9   So that was taking place.
10   it was before suddenly I was un-friended            10            There was a vote, maybe a few
11   and whatever.                                       11   days before I left, where everybody except
12     Q. Did you facilitate Gregg's return              12   for myself was able to vote for who should
13   in any way?                                         13   lead the office. And I believe everyone
14     A. I don't know how I could facilitate            14   voted for Lisa, and Marnie voted for
15   his return as a non employee or an                  15   herself. And they told me that. I
16   ex-employee.                                        16   remember thinking that, well, you know,
17     Q. Well, I think Lisa testified that,             17   that's going to be it. Marnie I saw as the
18   if she is wrong, you should say so --               18   person who summoned me to Starbucks, wrote
19     A. Yeah.                                          19   the letter, undermined me or was -- I don't
20     Q. -- that you set up a phone call                20   know. She would tell me: Well, Lisa and
21   between her and Gregg. Do you remember              21   Tricia don't really want you to hang out
22   that?                                               22   with them when they go out after work.
23     A. Actually, I do remember that. She              23   They are trying to pick up guys, and, you
24   said she was interested in -- she said: We          24   know, it is weird if a guy is with them.
25   need a leader, or something like that. And          25            So when I confronted them with
                                              Page 168                                                       Page 170
 1   so, I mean, unrelated to this is that, you           1   that, Marnie said you guys really don't
 2   know, I believed that at that time that              2   want me hanging out with you at all, they
 3   Marnie was, whether or not it is the case            3   said: Why would she say that? That's
 4   or not the case, I felt at that time was             4   ridiculous, etcetera.
 5   destroying the organization from the                 5           So things started to add up in
 6   inside, and it had come to my attention              6   my mind that Marnie was two-faced or
 7   that she tried to undermine me, or made me           7   manipulating people. And I saw, you know,
 8   look bad, or said she refused to report to           8   the safety of everybody's jobs and the
 9   me, or refused to work for me ever, around           9   future of the organization and the
10   the same time asking me, well, do you think         10   cohesiveness or the ability to carry out
11   I could be director of the organization.            11   the mission lied in Gregg, since they had
12           So I started to think that                  12   told Daniel that they had no problem with
13   maybe she just resented the idea that I             13   Gregg, that Matt was the one who was
14   thought I would be director of the                  14   illogically obsessed with removing him.
15   organization.                                       15           That that was the answer to
16     Q. This is Marnie or Lisa you are                 16   their, you know, to their problem of
17   talking about?                                      17   Marnie. They at some point -- I don't
18     A. This is Marnie. But this is, my                18   know. Like saga between Marnie and Lisa, I
19   answer to the question is based on the fact         19   really don't understand. But, you know, I
20   that there was some kind of, after I                20   know that -- I don't know. They voted,
21   announced, I'm resigning, I'm leaving, my           21   they all voted for Lisa, Marnie voted for
22   final day will be, I don't know if I gave           22   herself. She thought that somehow that was
23   the date, March the 7th or 8th, whatever,           23   malicious, Lisa did something malicious. I
24   you know, I expected that they would just           24   don't know.
25   ask me to leave the next day or just allow          25     Q. I guess what I was referring to is
                                           Everest Court Reporting LLC                             Page: 44 (167 - 170)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 46 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 171                                                      Page 173
 1   before Gregg came back, I heard an                   1   what was -- you know, at the November 5th
 2   allegation that you set up a phone call              2   meeting, Gregg wasn't to be there
 3   between Gregg and Lisa to talk about his             3   physically, just to, you know, use digital
 4   return as director. Do you remember that,            4   means of communication, to work on the
 5   or did that happen?                                  5   portfolio that would still remain on his
 6     A. Yeah. Yeah, it was a phone call,                6   desk.
 7   yeah.                                                7           And after I left, I'm not sure
 8     Q. So you and Gregg and Lisa were all              8   if he was permitted to come back or it was
 9   on that call?                                        9   an arrangement or whatever. But I know he
10     A. Yep.                                           10   was still -- I checked the website. He was
11     Q. And what was said during that call             11   still working there or the website still
12   that you remember?                                  12   listed him, anyway, so...
13     A. I think it was just them talking,              13     Q. Were you asked to sign a
14   mostly. I was just sort of the one who was          14   nondisclosure agreement before the November
15   like, all right, Gregg, you know, will talk         15   4th, 2018 meeting?
16   if you want to talk to him.                         16     A. I signed a nondisclosure agreement
17            I had somewhat made up with                17   when I was hired. Maybe people who didn't
18   Gregg by that point, or we had started to           18   have a nondisclosure agreement in place or
19   try to like repair what was -- actually,            19   something. I had, when I was hired I had
20   I'm not even sure when that phone call was.         20   signed everything. I don't know if it was
21   But it was after he came to my house one            21   like everybody had to.
22   day to return an iPad or to provide the             22           I think I remember signing --
23   iPad that we had used to record some                23   actually, I think I remember signing
24   videos.                                             24   something, but, I mean, I don't know if it
25            But it was pretty much Gregg               25   was like to state I would be in the meeting
                                              Page 172                                                       Page 174
 1   saying: I'm gone, like I have, like I have           1   or just as a regular nondisclosure
 2   another project underway, and I'm about to           2   agreement. But I already had nondisclosure
 3   like say goodbye and be out.                         3   agreements throughout my employment or from
 4            And then, you know, Lisa was --             4   the beginning, from day one of my
 5   I don't remember exactly what was said. I            5   employment, before I even interviewed I
 6   just remember the gist of it was that Gregg          6   signed a nondisclosure agreement to say
 7   was saying, look, I'm not telling Matt to            7   where was the office or where the location,
 8   tell you to have me come back. Do you want           8   the employees, etcetera.
 9   me to come back? Or etcetera.                        9    Q. So do you remember being asked to
10            And they made that -- they had             10   sign another NDA before the November 4th,
11   that discussion on their own. I remember            11   2018 meeting?
12   my wife kept calling me, because there was          12    A. Could be. November 2nd was my
13   something going on, and she was, like, you          13   mother's birthday and we celebrated her
14   know, get off the phone. I think we had to          14   birthday, and it was like everything
15   go somewhere. So switching back and forth           15   exploded right around that time. I just
16   on the line.                                        16   remember being in the meeting. I can't
17     Q. So after that call it was then                 17   remember. The day before, two days before.
18   Gregg Roman returns as director of the              18   November 2nd was her birthday. November
19   Middle East Forum?                                  19   5th I believe was the meeting. I don't
20     A. I have -- he was never not                     20   know if I signed something in between.
21   director, as far as I guess I understand.           21    Q. Did you have a problem with signing
22   I mean, he was always still director. It            22   another NDA?
23   was just what he was doing as director, not         23    A. I mean, if I did it was obviously
24   being in the office, not managing certain           24   there.
25   aspects of the business. So I don't know            25    Q. Did you have a problem, were you
                                           Everest Court Reporting LLC                             Page: 45 (171 - 174)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 47 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 175                                                      Page 177
 1   concerned about signing that NDA before the         1   to take that very seriously.
 2   meeting?                                            2            I was worried, being a
 3    A. I never had any problems with                   3   homeowner, that, you know, somebody would
 4   signing anything with the organization.             4   easily be able to figure out where I live.
 5    Q. You weren't worried about whether               5   I would receive postcards, you know, in the
 6   the NDA would protect you?                          6   mail from nut jobs, with my name on it,
 7    A. Would protect me?                               7   took the time to have a picture of an
 8    Q. Right.                                          8   Israeli tank bulldozing a Palestinian home,
 9    A. Well, I can only assume if you are              9   as if to imply that I am responsible for
10   asking these questions that there is an NDA        10   something.
11   that you are speaking of.                          11            And my fear was like, well,
12    Q. Well, I'll represent to you I have             12   some nut job was deliberate enough to
13   been given NDAs that were dated within days        13   create a postcard and know my name, then he
14   before the meeting in discovery.                   14   could be deliberate enough to come after me
15    A. Okay.                                          15   or my family.
16    Q. So I think that you guys, I'll                 16            So I was glad that there were
17   represent to you that it appears that you          17   NDAs in place. I was glad we had security
18   were asked to sign the NDA before the              18   protocols that would prevent such a thing
19   meeting.                                           19   from taking place.
20    A. Well, then, I signed one.                      20     Q. So when Gregg returned to the
21    Q. But I'm asking --                              21   Middle East Forum, by return, I guess I
22    A. I'm sure you have it.                          22   don't want to put words in your mouth, what
23    Q. My question was about your concern.            23   I mean is can we agree sometime around
24   Were you concerned, did you have a problem         24   March 2019 Gregg was brought back to the
25   with being asked to sign an NDA before a           25   Middle East Forum in the capacity that
                                             Page 176                                                       Page 178
 1   meeting that was being held to discuss a            1   changed the rules and the guidelines that
 2   letter that alleged sexual harassment?              2   were set in place at the November 4th, 2018
 3     A. It was possible I was confused                 3   meeting? If that statement is incorrect,
 4   about the letter. I really didn't know              4   please correct me.
 5   what implications there were or what was            5     A. I'll just put it this way: The
 6   going to come down. I mean, to be honest,           6   conclusion of the November meeting was that
 7   I don't put any -- I don't think -- protect         7   Gregg can't come into the office. He can
 8   me from what?                                       8   do his work by interacting, with e-mail and
 9            My concern was losing my job,              9   phone or text or whatever. Whatever one of
10   not being able to pay my mortgage and              10   those things wasn't allowed, I believe it
11   provide, you know, a life for my family.           11   may be phone or may be text.
12   That was my main concern. I don't think            12             I don't know who was
13   the NDA is going to protect me from that.          13   complaining. Tricia or, Tricia or Catriona
14   So, no, I wasn't -- sign this piece of             14   said they got a phone call and Gregg asked
15   paper, whatever, you know. I don't                 15   them to do some assignment, and they were
16   remember what the NDA said. If you tell me         16   bothered, I don't know by the assignment
17   you have one with my name on it, that was          17   itself maybe or by Gregg. But I just saw
18   signed on, around in that time.                    18   it as, all right, I'll put an end to that.
19            I just know that I had signed             19   And I tried to do that in that meeting that
20   nondisclosure agreements with the                  20   I told you that I had called.
21   organization upon hire due to the nature of        21             So I don't know exactly what
22   the work, you know, could threaten me by,          22   was reinstated, either phone calls or in
23   Islamic sympathizers, Jihadist                     23   person, whatever. No one ever told me
24   organizations, etcetera, what the location,        24   that, that he was either back in the office
25   about the location of the office. We had           25   or back allowed to call, because I don't
                                          Everest Court Reporting LLC                             Page: 46 (175 - 178)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 48 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 179                                                      Page 181
 1   recall what was -- he was prevented from             1  quick? Like 90 seconds.
 2   doing. I just remember that when I tried             2   Q. Absolutely.
 3   to prevent him or when I tried to make sure          3   A. I don't want to keep pausing things
 4   that he wouldn't be contacting the women in          4 up.
 5   the office, they all said, well, that's --           5         MR. CARSON: We will do five
 6   you know, Matt didn't need to do that, like          6 minutes. We will go off the record for
 7   we are perfectly capable of handling our             7 five minutes.
 8   own business, and made me look like a dope.          8         THE WITNESS: All right.
 9     Q. So when I say return to MEF, I mean             9 Thanks.
10   in March of 2019, when he was permitted to          10         THE VIDEO SPECIALIST: We are
11   come back in some increased capacity, is            11 off the record.
12   that fair to say? You used the phrase --            12         (Recess taken.)
13     A. I can't say it.                                13         THE VIDEO SPECIALIST: We are
14     Q. You understand that --                         14 back on the record.
15     A. No.                                            15 BY MR. CARSON:
16     Q. So you are not adopting the                    16   Q. All right. So the first exhibit
17   language. I just want to be able to ask             17 I'm going to put in front of you is the
18   this question. Were you employed with MEF           18 complaint, and this is the last complaint
19   still when Gregg returned to MEF in March           19 that was filed. I'll going to do the
20   of 2019?                                            20 screen share, and then one of these.
21     A. No.                                            21 Screen share. So this is a copy of the
22     Q. So during that phone call you                  22 complaint. You can see it is docketed.
23   testified about that you kind of set up             23 And so this is the complaint filed in
24   between Gregg and Lisa, were you employed           24 Lisa's case.
25   with MEF then?                                      25         I'll represent to you this
                                              Page 180                                                       Page 182
 1     A. Yes, I believe so. I mean -- yeah,              1   complaint includes every allegation from
 2   yeah. I don't know how it could take place           2   the first complaint that was filed to the
 3   after. Maybe -- actually, maybe it did               3   last complaint that was filed, which is
 4   take place after.                                    4   this one, that's ever been filed in this
 5           No, it wouldn't make sense.                  5   case.
 6   No. It was before. It was probably                   6            And I don't know if there is a
 7   before. So I guess the answer is I don't             7   way to hand him over access so he can
 8   know.                                                8   scroll through this on his own measure.
 9     Q. Did Gregg ask you to set up that                9   But earlier today you testified that at one
10   phone call?                                         10   time you believed that the allegations that
11     A. No.                                            11   Lisa and Tricia made regarding Gregg Roman
12     Q. To set up that phone call?                     12   were true, and that you today don't believe
13     A. He repeatedly said on the phone, "I            13   those allegations because, because of
14   didn't ask for this." He said, "I'm                 14   things you read in complaint that you know
15   already out." He said I got -- the reason,          15   aren't true; is that right?
16   he had another initiative, which in my view         16     A. Well, the mere fact that they deem
17   it seemed like more exciting, had more of           17   me enemy of the state, un-friended me,
18   the ability to influence policy, you know,          18   yeah, said that -- yeah, I mean, yeah, I
19   to achieve the objectives that the (c)(3)           19   don't believe that -- it is hard for me to
20   would be set out to do. And he was going            20   believe anything that they say if there is
21   to be on his way. At least that's as far            21   things that I question that they are saying
22   as I understood it.                                 22   now.
23     Q. All right. So I guess the first                23     Q. What do you question that they are
24   thing I want to do is this --                       24   saying now?
25     A. Mind if I run to the bathroom real             25     A. Quid pro quo, that I was -- that I
                                           Everest Court Reporting LLC                             Page: 47 (179 - 182)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 49 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 183                                                      Page 185
 1   received, that I was given a complaint and           1     Q. Well, I wasn't going to bring it up
 2   didn't pass it on, or that like they                 2   today because I think we are going to do
 3   reported it to me and I ignored it or                3   another deposition in the matter of
 4   something, that they felt uncomfortable in           4   Patricia McNulty versus Middle East Forum,
 5   any way by me, knowing that they were                5   Daniel Pipes, Gregg Roman and you.
 6   friends until the date that I left,                  6   However, since you just brought it up, I'm
 7   remained friends afterwards when they                7   going to ask a couple of questions about
 8   expressed an interest in coming to work              8   it, and I'll try to ask as few questions
 9   with me at ZOA, Tricia and Lisa meaning,             9   about this as I can.
10   when Catriona and Delaney wanted to rent my         10            So you mentioned that one of
11   house when I let them know that I would be          11   the things that you, one of the reasons,
12   moving.                                             12   one of the things that changed your mind,
13           So taking things that had                   13   you said the quid pro quo; is that correct?
14   happened a year ago or months ago and then          14     A. Yeah, yeah. Or the whole idea that
15   suddenly, well, those things are a problem          15   I was somehow a nuisance or anything other
16   now. It is just, I don't see the honesty            16   than a friend and a mentor.
17   in that. Why continue conversations with            17            So I may have professed
18   me after I left? Why say you wanted to              18   feelings. But never overstepped
19   work with me? Either I was being baited             19   physically, verbally. I was always careful
20   and trapped, or just lying the entire time,         20   to say, hey, should I not say that, is that
21   or they were never my friend.                       21   bothersome. I always received the, no,
22           Why organize a going away lunch             22   that doesn't bother me, you could never
23   for me, and order cocktails, and have               23   bother me. Does that answer your question?
24   everyone smiling for a picture? What is             24     Q. Well, my question was: You said
25   the point of that?                                  25   the quid pro quo, correct?
                                              Page 184                                                       Page 186
 1           So that I wouldn't see a                     1     A. Yeah. Well, I saw those words and
 2   complaint coming later on down the line.             2   thought how could, how could anybody even
 3   Like I just, I don't know. Either at some            3   -- how could anybody ever do that to
 4   point they decided to do it, all this,               4   somebody, especially --
 5   concocted it while I was still there and             5     Q. And quid pro quo was something
 6   manipulating me to their advantage, or they          6   specific that is relegated to Patricia
 7   decided after the fact that they -- that             7   McNulty's case, are you aware of that?
 8   something went wrong and then I was                  8     A. Yeah, it was in the packet that you
 9   suddenly a scapegoat or whatever.                    9   had delivered to my apartment, I guess, or
10           So that's it. You know, there               10   whatever.
11   was a, why tell Daniel that they didn't             11     Q. Patricia McNulty alleged quid pro
12   have a problem with Gregg calling them and          12   quo sexual harassment with regard to you,
13   interacting with them after they told me            13   right?
14   that they did, only to make me look stupid          14     A. I believe so. I mean unless I am
15   or seem crazy for it.                               15   mistaken, mistook what I read or don't
16           I don't know what it all adds               16   understand correctly. Just, I don't know
17   up to mean. I don't know if they woke up            17   what I'm guessing at here.
18   one day and suddenly said, yeah, I feel             18     Q. Well, did you ever sexually harass
19   like I was offended by this and now I'm             19   Patricia McNulty?
20   going to throw everything at the wall, and          20     A. No.
21   I'm included in that. So I don't know.              21     Q. What is your definition of sexual
22           I don't know if you want to                 22   harassment?
23   start going through the document like and           23     A. Unwanted advances.
24   instead of have me guess at it. That seems          24     Q. Well, did you ever say anything
25   better.                                             25   sexually inappropriate to Patricia McNulty?
                                           Everest Court Reporting LLC                             Page: 48 (183 - 186)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 50 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 187                                                      Page 189
 1     A. Explicitly, no. I, I introduced                 1   shared those details, correct?
 2   the idea of sharing a room. I sent YouTube           2     A. I don't believe so. I mean I'm not
 3   videos of songs that came out when I was in          3   sure when the -- what details these are
 4   high school or middle school, like love              4   that specifically that you want to know
 5   song type things. That was the extent of             5   about. But I'm not -- the date that I
 6   it. She told me intimate details about her           6   basically became no one's supervisor was I
 7   life. I told her intimate details about              7   guess some point in November, when
 8   mine.                                                8   everybody just reported directly to Daniel.
 9     Q. When you asked Patricia to share a              9     Q. Well, did you ever insinuate to
10   hotel room with her, what did she say? I            10   Patricia that if she sticks by you or
11   mean, you did that, right? You asked her            11   engages in this relationship with you that
12   to share a hotel room with you, correct?            12   it will be good for her career?
13     A. Yeah, I said, "Do you want to?"                13     A. What relationship?
14   And she basically said no. And that was             14     Q. Romantic relationship?
15   it.                                                 15     A. We never had one.
16     Q. Well, why did you want to share a              16     Q. But you wanted to have one with
17   hotel room with her?                                17   her, right?
18     A. I felt close to her. I was -- she              18     A. Yeah. She would drop hints
19   was the first person I told when we found           19   sometimes, and I thought -- you know, I'm
20   out we were having a baby. She was the              20   not Rico Suave. I don't know. I have
21   first person I told we lost the baby. We            21   never been that type of person. So I
22   hung out, all of us as a group, multiple            22   thought, oh, maybe she wants me to take a
23   locations.                                          23   step forward, so I would do that. She
24            We would -- I would teach her              24   would say: Oh, it doesn't bother me. And
25   how to -- I taught her everything I knew.           25   I would say: Oh, maybe I didn't take a big
                                              Page 188                                                       Page 190
 1   I was trying to -- you know, she turned out          1   enough step forward.
 2   to be a, what I felt was a great worker. I           2     Q. And I don't want to -- I'm sorry, I
 3   thought she could take on more                       3   don't want to embarrass you. I really
 4   responsibility. I started teaching her               4   don't. But I guess what I'm trying to get
 5   more of what I knew. We kept going out,              5   to is that --
 6   all of us as a group, sometimes alone.               6     A. It is all right. It is what it is.
 7            Said she wanted to learn how to             7     Q. Maybe there is some truth in her
 8   play poker. I said I would teach her. So,            8   allegations, is what I'm suggesting. Can
 9   yeah, I thought we were -- you know, I was           9   you see that?
10   struggling personally with a lot of stuff.          10     A. No, I can't. I asked verbally
11   I don't know if you have ever lost a child,         11   multiple times: Do you want me to not send
12   but I wasn't prepared for it. Started               12   this? Should I not say that? Do we not
13   drinking. My home life was a wreck. So              13   want to hang out or do something?
14   the one person or the only place that I was         14            It was always, no, you don't
15   able to feel that I was -- I could control          15   bother me. She told me I was the best boss
16   the situation or had a good environment was         16   she ever had, she appreciated I saw her
17   at work. I tried to stay there longer than          17   potential or give her credit.
18   possible instead of eager to get out the            18            Up until the day that I left I
19   door.                                               19   was helping her write her resume. I said
20            And, you know, I guess that was            20   if I went back to the IT sector and she
21   it. We would talk about all kinds of                21   wanted to start a career in that, then I
22   stuff. She would share intimate details of          22   would teach her everything I knew about
23   her life with me, and I shared intimate             23   that as well. She was excited about that.
24   details of my life with her.                        24            She said don't -- you are going
25     Q. You were her supervisor when you               25   to leave me and MEF, or leave me in the
                                           Everest Court Reporting LLC                             Page: 49 (187 - 190)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 51 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 191                                                      Page 193
 1   lurch at MEF. If she was bothered by me,            1 BY MR. CARSON:
 2   celebrating my departure, or at least just          2   Q. So I guess with regard to Lisa's
 3   cut off all communication the official date         3 case, so like all the things you mentioned,
 4   that I left. But that didn't happen.                4 correct me if I'm wrong, seem to relate to
 5            So from my point of view, yeah,            5 the allegations Ms. McNulty made. Are you
 6   it seems like somebody went back to find            6 aware of any allegations Lisa ever made
 7   everything they could to make me look like          7 that aren't true?
 8   a jerk-off, as an aggressor, and as this            8   A. Those were the most alarming ones.
 9   bad person. And during my time I was                9 But just the mere fact to name me as a
10   anything but.                                      10 defendant. I don't remember exactly, I'm
11            They were -- they all told --             11 pretty sure she is saying, yes, she
12   messages from Catriona telling me I was the        12 reported to me that, you know, something to
13   best boss she ever had, she was going to           13 me that I was like negligent or
14   miss me, wanted to rent my house.                  14 irresponsible or didn't report it.
15            Lisa and Tricia both were                 15         And here I believe you are
16   interested, oh, ZOA, or how is ZOA, do they        16 referring to the AIPAC or the Israel trip,
17   need anybody at ZOA, etcetera.                     17 when she said: Gregg is a dork. I'm not a
18            So I don't, I don't -- I can't            18 me too girl. At no time did anybody ever
19   tell you what, why their actions are one,          19 say, Matt, like I have a serious issue and
20   were one way prior to my leaving and then          20 I want to make a complaint.
21   even after my leaving, and then all of a           21   Q. I mean, I just hit a search, so
22   sudden flipped everything upside-down.             22 right now if you look, do you see what I'm
23     Q. You felt betrayed?                            23 doing here?
24     A. Felt betrayed. I mean, I just, I              24   A. Yeah, yeah, I'm following.
25   didn't understand, and I still don't               25   Q. I'm searching for everywhere in
                                             Page 192                                                       Page 194
 1   understand. They could have, I don't know,          1   this complaint where your name is listed.
 2   approached me and said: Do you know you             2     A. All right.
 3   made me feel that way? Or do you know that          3     Q. So No. 5 says you are an adult
 4   we think this? Or whatever. Never did               4   individual and you reside for the purposes
 5   that.                                               5   of service at this address, which is just
 6     Q. I don't want to ask you too many               6   the MEF work address.
 7   questions. You are a defendant in those             7     A. Yep, yep.
 8   other cases. Your lawyers are on the call.          8     Q. No. 6 says: At all times material
 9   And I don't know if they prepared you for           9   this action, defendant Gregg Roman,
10   testimony in that case. So I'm trying to           10   defendant Matthew Bennett, and defendant
11   limit my questions in that case.                   11   Daniel Pipes aided and abetted under
12     A. I thought you said I was not a                12   discrimination and harassment and
13   defendant.                                         13   retaliation in the workplace to which
14     Q. In Lisa's case you are not. But in            14   plaintiff was subjected by defendants.
15   Patricia's case you are. And so I want to          15             You know, I guess -- I'm not
16   give your lawyers a fair opportunity to            16   going to do that.
17   prepare you before you get questioned about        17     Q. Let me do this. Do you want to
18   a case. I'm trying to limit those                  18   take time to look at this document anymore?
19   questions.                                         19   I want to give you an opportunity. I
20     A. Okay.                                         20   didn't really scroll through it.
21           MR. GOLD: For the record, we               21     A. No. Show it to me on the spot.
22   intend it to be, this deposition to be             22   I'll tell you exactly as I remember why, if
23   limited to this case only.                         23   it is a ridiculous statement, I'll tell you
24           MR. CARSON: Yeah, that's what              24   why it is ridiculous.
25   I'm trying to do.                                  25             MR. GOLD: I don't think the
                                          Everest Court Reporting LLC                             Page: 50 (191 - 194)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 52 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 195                                                      Page 197
 1   witness had a chance. Why don't we take             1   you said the reason, one of the reasons you
 2   ten minutes and let the witness actually            2   don't believe they are true is because of
 3   read this complaint.                                3   things you read in the complaint you knew
 4            MR. CARSON: Do you want me to              4   not to be true.
 5   e-mail this to him or something like that?          5     A. Well, the document I'm looking at
 6            MR. GOLD: That would be good,              6   now is not the document that I saw
 7   yes.                                                7   initially. And I believe, if I'm not
 8            MR. CARSON: All right. Just                8   mistaken, there is -- I mean, I don't
 9   let me, Matt, can you just give me an               9   understand why this document is different
10   e-mail address, and I'll e-mail it to you          10   or would have different content.
11   and Sidney at the same time.                       11            It seems like you, with all due
12            THE WITNESS: We are copied on             12   respect, put everything in there, a lot of
13   the e-mails from this morning.                     13   which I believe to be lies about myself. I
14            MR. CARSON: I don't think I               14   don't know what updated documents there
15   have that.                                         15   are. But I've obviously never seen this
16            THE WITNESS: It is my name at             16   one. I'm reading through it now. But I
17   gmail.com. Mattpbennett@gmail.com.                 17   don't understand why there would be things
18            MR. CARSON: M-A-T-T-H-E-W?                18   in an original document that's not in this
19            THE WITNESS: No, just Matt,               19   document. Seems like you are trying to, I
20   the letter P, Bennett, with two Ns, 2 Ts,          20   don't know, catch me into say, well, like
21   @gmail.com.                                        21   you read something in the document, but now
22            MR. CARSON: M-A-T-P, as in                22   that document is no longer relevant, this
23   Paul, B-E-N-N-E-T-T @gmail?                        23   is the relevant document. And it only says
24            THE WITNESS:                              24   this and this.
25   M-A-T-T-P-B-E-N-N-E-T-T.                           25     Q. I'll represent to you that there is
                                             Page 196                                                       Page 198
 1          MR. CARSON: I'm sorry. I                     1   no allegation --
 2  actually do have it. And then Sid.                   2     A. I don't understand. Is this the
 3          MR. GOLD:                                    3   original thing that I received? Or is this
 4 Sgold@discrimlaw.net.                                 4   the current complaint?
 5          MR. CARSON: All right. All                   5     Q. It is the current complaint. And
 6 right. I just e-mailed to you guys. Just              6   the law is, which you might not realize,
 7 take a minute and look through it. I want             7   and you don't have to, is when you file a
 8 to give you an opportunity to actually                8   new complaint it supplants the old
 9 address the document.                                 9   complaint. So that's the complaint that
10          THE VIDEO SPECIALIST: We are                10   everyone is working on today.
11 off the record.                                      11     A. Well --
12          MR. CARSON: That's fine.                    12     Q. I would be happy to show you the
13          (Recess taken.)                             13   original complaint that was filed. I don't
14 BY MR. CARSON:                                       14   think there was any allegations concerning
15   Q. So point of doing that was just                 15   you in this complaint that are --
16 because I wanted to give you an opportunity          16     A. I'm not going to go dig up a
17 to say whether there was anything specific           17   document and then do a comparative analysis
18 in that complaint that caused you to change          18   to this one. But scrolling through it, I
19 your mind.                                           19   mean, to see that like Lara and Laura were
20   A. To change my mind about what?                   20   terminated because they were discriminated
21   Q. Well, I think at some point in time             21   against, they were incompetent. I
22 you believed that the allegations that               22   demonstrated, I have direct knowledge of
23 Patricia McNulty and Lisa Barbounis leveled          23   their incompetency.
24 against Gregg Roman were true, and you               24            Eman was -- Marnie constantly
25 don't believe they are true, and I think             25   saying Eman is not working in her office,
                                          Everest Court Reporting LLC                             Page: 51 (195 - 198)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 53 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 199                                                      Page 201
 1   she is doing nothing, somebody needs to             1   and that, and that I knew about it and
 2   keep track of her time better. We started           2   wasn't doing anything, but was telling Lisa
 3   keeping track of her time more.                     3   that she was being sexually harassed.
 4            Rosy was discriminated against.            4     Q. At the time you believed Lisa when
 5   Rosy also reported under me. I know she             5   she told you that she was sexually
 6   didn't want to be Gregg's assistant,                6   harassed, right?
 7   because I was Gregg's assistant. It was             7     A. She had told me that she came back
 8   the heaviest workload in the organization           8   from Israel, Gregg was being a dork. At
 9   to be Gregg's assistant. Coordinate                 9   some point she showed me the screen shots
10   hundreds of meetings, do follow-up notes.          10   of the messages that she had sent, I
11   I mean, it is the most demanding job there         11   believe to Tricia, and saying delete these
12   is to have -- to be running after, to make         12   messages, and then somehow they had them
13   sure that all the details are taken care           13   and were shown to me.
14   of, from soup to nuts.                             14           So, you know, when the time
15            So I don't, I don't understand            15   came when it was like, well, it was
16   how it seems like that is bundled in, you          16   actually more than Gregg being a dork on
17   know, Lara, Laura.                                 17   the couch, and then Tricia said, oh, also
18            Samantha Mandeles, I mean, even           18   something happened at AIPAC, then it
19   though she wasn't even in the office, I            19   started to build up.
20   don't know how she was discriminated               20           And then Marnie saying that,
21   against. You know, it seems that -- like           21   oh, or Gregg wanted me to sleep with him,
22   it is a 70-page document that I'm seeing           22   but I said no, on the Israel trip, which is
23   for the first time.                                23   mentioned in here.
24            Rosy didn't want to work for              24           I mean it is just -- that's not
25   Gregg. Okay. Eman, that was -- Eman had            25   how I remembered things. It is not the
                                             Page 200                                                       Page 202
 1   her own thing she was trying to do. She             1   narrative that's in my mind of how things
 2   had another nonprofit where she had a vegan         2   happened leading up to everything. Like
 3   company, where she was selling vegan food           3   for me to, so for me to see stuff like that
 4   or something. You know, I don't think she           4   among other things that I have no knowledge
 5   -- I don't even remember her to be                  5   of, then, then, yeah, I have to be able --
 6   terminated. I believe she left. The                 6   then I cast doubt. And that's the basis of
 7   uncomfortable work environment was just a           7   me casting doubt, because that...
 8   heavier workload, you know, which I as the          8     Q. What about, something else, is that
 9   manager was asked to, you know, can you             9   your phone number right there?
10   keep track of the time of the people that          10     A. Yeah, it was.
11   are reporting to you, do you know what they        11     Q. Do you remember sending this text
12   are doing all day long.                            12   message before the D Day meeting?
13            I'm still scrolling. So, is               13     A. November 4th, 2018. I mean, I
14   there a question? Do you want me to                14   can't comment on this without seeing, like,
15   comment on something?                              15   is there -- I mean was it an e-mail? Was
16     Q. Yeah. You never texted Lisa about             16   it --
17   Lara and said that Gregg did the same thing        17     Q. This is a text message. This was
18   with Lara that she was doing to her?               18   produced by Cornerstone as part of
19     A. Which was what?                               19   production that came from Lisa Barbounis.
20     Q. Subjecting her to sexual                      20   I believe it is a thread between you and
21   harassment?                                        21   Lisa.
22     A. To sexual harassment? So, so that             22     A. All right. Can I see the thread?
23   implies that Gregg was sexually harassing          23   Is there metadata where, like something
24   Lara, and that I had knowledge of it, and          24   showing the --
25   that I saw Gregg sexually harassing Lisa,          25     Q. If your lawyer doesn't have
                                          Everest Court Reporting LLC                             Page: 52 (199 - 202)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 54 of 145
Deposition of Matthew Bennett                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 203                                                      Page 205
 1   objection to it, I can show you context. I            1     A. Who did they report it to?
 2   actually have it and I'm happy to provide             2     Q. I'll ask you this question: Why
 3   context for the defendants too, if they               3   does it matter?
 4   need it, in certain messages that were                4     A. Well, there is -- I'm telling you
 5   produced in the past. But --                          5   that what was said to me or in my presence
 6     A. So what is the question?                         6   was prior to the letter being sent, which
 7     Q. The question is: You sent this                   7   whatever date that was, because everything
 8   text message to Lisa, correct?                        8   was like small beans, and all of a sudden
 9           MR. WALTON: Hey, Seth, I'm                    9   there is a giant beanstalk with sexual
10   sorry to interrupt you. I just wanted to             10   allegations raising into the cloud as soon
11   let Eleanor know I'm back. This is David,            11   as it got serious.
12   for the record. Sorry to interrupt.                  12           So what you are calling a
13     Q. I guess the question I have is, you             13   report, I'm calling just somebody
14   know, if the first time you ever heard the           14   mentioning around the office.
15   allegations of sexual harassment regarding           15           I don't know what the question
16   Gregg was at the D Day meeting, then why             16   is here. You are saying did I know of
17   are you talking about Gregg throwing his             17   reports of harassment? No, no.
18   dick around before the meeting?                      18     Q. Throughout your entire career at
19     A. I, I don't know -- number one, I                19   the Middle East Forum you were well aware
20   don't recall sending this message. But if            20   of Gregg Roman's inappropriate sexual
21   you are saying that it exists, or that you           21   misconduct toward women, right?
22   have some, whatever company did a data               22     A. What women? Like I have gone case
23   extraction, then, then I have no choice but          23   by case with each one, and I have told you
24   to believe you that it exists, obviously.            24   who was -- who left for what reasons of
25           And before Daniel holds a                    25   incompetency which were demonstrated in
                                               Page 204                                                       Page 206
 1   meeting and starts talking about Gregg --             1   their work product.
 2   your question is if I learned about it on             2            In the aftermath of an
 3   November the 5th, how did I send it on                3   employment, to say that there was
 4   November the 4th?                                     4   harassment or whatever, discrimination, I
 5    Q. Yeah. My point is, you knew that                  5   don't know if in this document that you had
 6   the D Day meeting was going to be about               6   me read says that they were discriminated
 7   allegations of sexual harassment, correct?            7   against for being women. I don't -- I
 8    A. Well, yeah. Everything went down                  8   don't see any discrimination. I didn't see
 9   on November the, before that, November the            9   Gregg harass anybody.
10   1st, I guess, or October -- at the end of            10            If anybody was harassed by
11   October.                                             11   Gregg it was me, being screamed at and
12    Q. So you were aware of reports of                  12   belittled in front of all of the women, in
13   sexual harassment that were made during              13   Hebrew, in English, while I was home, while
14   your employment, right?                              14   my wife was listening in the background. I
15    A. No. Again, there was never a                     15   got it worse from anybody, with the
16   report made to me about any sexual                   16   exception of maybe Gary, who was yelled at
17   harassment.                                          17   routinely, or Cliff in D.C., who Gregg
18    Q. It doesn't have to be to you. It                 18   would pick apart his work.
19   could be in general. You were aware these            19            If anything, he tiptoed around
20   women were reporting sexual harassment               20   the women because he made -- like he, he
21   during their employment, correct?                    21   was the director. It was his
22    A. What women? And who was it                       22   responsibility to make sure that that
23   reported to?                                         23   wasn't taking place on his watch.
24    Q. Lisa Barbounis and Patricia                      24     Q. He was highly respectful of women,
25   McNulty, at the very least?                          25   is that your testimony?
                                            Everest Court Reporting LLC                             Page: 53 (203 - 206)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 55 of 145
Deposition of Matthew Bennett                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 207                                                      Page 209
 1     A. I don't know what highly                         1   front of Marnie," is that what you mean by
 2   respectful, classifies as opening doors for           2   if she would have raised complaints to her
 3   them? What?                                           3   you would have told her to go to the right
 4     Q. Throwing your dick in someone's,                 4   people?
 5   around, is that highly respectful?                    5     A. I don't know what that message was
 6     A. Respectable to whom and for what?                6   in reference to.
 7   I'm not sure what the question is.                    7     Q. Here is one where you say, "don't
 8     Q. Well, we do know that Gregg has                  8   trust Marnie," so is that telling Lisa not
 9   thrown his dick around, right? We know                9   to trust the human resources department?
10   that now, sitting here today?                        10   Is that what you mean?
11     A. Well, on November the 4th, that was             11     A. I don't know what the message is in
12   what I was being faced with, that, yeah,             12   reference to.
13   everybody put into a letter that Gregg had           13     Q. Again, I'm happy to show context,
14   did, had done all these things. And what             14   but your lawyers have to agree because
15   reason would I have not to believe several           15   these things were produced in a very weird
16   people who were all saying the same thing,           16   format like the one I showed you.
17   or that, you know, there was -- they each            17     A. Well, I can't tell you what I may
18   had some, you know, case specific to them            18   have said not to talk in front of her
19   that, you know, was, you know, was like              19   about. I don't know.
20   over bounds or overstepped or whatever.              20     Q. Because the time was when Lisa --
21     Q. Right. Every one of their reports               21     A. Hold up. You are breaking up on
22   was an example of a director overstepping            22   that one.
23   his bounds, right?                                   23            THE WITNESS: Is anybody else
24     A. There was never -- there was never              24   hearing static? Is it just me?
25   a report. If there was a report I would              25            MR. GOLD: I can hear you okay,
                                               Page 208                                                       Page 210
 1   have said: Write it up in an e-mail and               1  actually.
 2   send it. Same way I had Tiffany do. Same              2 BY MR. CARSON:
 3   thing I had Lara do. Same thing I had                 3   Q. I mean, look at the date, 3/20/18,
 4   Laura do.                                             4 right, so the timing does match up with the
 5           I would say write, write down                 5 timing of right after AIPAC and Israel?
 6   what is wrong or whatever, what is going              6   A. I mean, I don't know what the
 7   on. The same thing when Lisa and Marnie               7 context of the message is. Again, I don't,
 8   got in a fight, or Marnie was saying she              8 I don't know what it is in reference to.
 9   wanted to -- Lisa was a cancer and should             9   Q. Did you ever tell Lisa when she
10   be removed from the organization, stormed            10 told you about what happened in Israel that
11   out, slammed the door or whatever. Right             11 she shouldn't talk in front of Marnie and
12   or wrong, wrote up a report on that.                 12 not to trust Marnie?
13           There would be no scenario                   13   A. Did I tell Lisa not to go to Marnie
14   where I would say let's not put this in              14 and report something?
15   writing. So, no, I don't buy, I don't buy            15   Q. Yes. That's my question.
16   it.                                                  16   A. No, I don't believe I told -- that
17     Q. Just for the record, let me just                17 -- no.
18   keep the record here, Exhibit 1 is the               18   Q. So why would you tell her not to
19   complaint. Exhibit 2 is what I have saved            19 talk in front of Marnie, and the other one
20   on my computer as Exhibit 10.                        20 says, "don't trust Marnie," right?
21           Exhibit 3, all right, I'm going              21   A. I don't know. Maybe vacation time,
22   to show you. Do you see this exhibit which           22 she needed to go to a class or leave early,
23   was saved in my computer as Exhibit 11?              23 and Marnie was keeping tabs on people's
24     A. Yep.                                            24 hours in the office. I don't have any
25     Q. You told Lisa, "but don't talk in               25 context on the message.

                                            Everest Court Reporting LLC                             Page: 54 (207 - 210)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 56 of 145
Deposition of Matthew Bennett                                          Lisa Barbounis v. Middle Eastern Forum, et. al.
                                            Page 211                                                      Page 213
 1            But, "don't talk in front of              1  record? Let's go off the record.
 2   Marnie," maybe it was we were going to             2         (Recess taken.)
 3   happy hour and we weren't inviting her.            3         THE VIDEO SPECIALIST: We are
 4   Or, I don't know. I don't have context.            4 back on the record.
 5            MR. WALTON: Maybe I'm missing             5 BY MR. CARSON:
 6   this, but is there a reason why we are not         6   Q. All right. Give me a second. So
 7   showing him the full message?                      7 do you recognize this? I can scroll around
 8            MR. CARSON: I have them, but              8 if you need to look at it. But I'll
 9   you guys don't, I don't think, Dave.               9 represent to you that it is the document
10            MR. WALTON: Why don't we? Why            10 that your counsel, counsel for MEF,
11   don't we?                                         11 produced during the course of discovery
12            MR. CARSON: Everything we have           12 that are, it looks like electronic
13   is through Cornerstone, and I have                13 communications between you and Mr. Pipes.
14   everything from the original production.          14   A. Okay.
15   So, I mean, I'm not --                            15   Q. As you can see, they begin on April
16            MR. WALTON: That would be                16 13th, 2018. So my first question to you
17   great if you showed it to him. I certainly        17 is: Do you know whether these are text
18   wouldn't have an objection to that.               18 messages, Whatsapp messages, Telegram
19            MR. GOLD: I don't have one               19 messages?
20   either.                                           20   A. I don't.
21            MR. CARSON: You know, the                21   Q. Do you recall whether you and Mr.
22   stuff that you guys were putting up last          22 Pipes had conversations on text message?
23   week, I can show you guys context on that         23   A. I don't. At some point -- I always
24   stuff new, but like, you know what I mean,        24 try to keep everything in e-mail. But at
25   everything came through Cornerstone. You          25 some point Telegram became the preferred
                                            Page 212                                                       Page 214
 1   guys took me out of it in that whole               1   vehicle. And that's what I believe was the
 2   situation, which I think is probably a             2   -- I don't know what time, you know, in my
 3   silly thing that you guys did. I won't             3   employment that was, but, yeah.
 4   even say why. But, you know --                     4     Q. Well, these messages go from April
 5            MR. WALTON: How were you taken            5   2018 to November 2019.
 6   out of it?                                         6     A. Okay.
 7            MR. CARSON: I was never --                7     Q. And, I mean, I can scroll around as
 8   just go back and look at the record in the         8   much as you tell me to. But are you saying
 9   Sanchez case, and I think you will see how         9   these are Telegram messages?
10   I was taken out of it. I was taken out of         10     A. I'm saying I would have no way to
11   it by judicial decree.                            11   know. I mean, I mean, if you are saying
12            THE WITNESS: I can't really              12   they are not e-mails, then --
13   follow the conversation. It is all static.        13     Q. Well, do they look like e-mails to
14   Should I disconnect from audio and                14   you?
15   reconnect or something? Can you guys hear         15     A. Oh, these are actual snippets? I
16   me?                                               16   thought it was just you were showing me who
17            MR. WALTON: It sounds good on            17   said what in the conversation.
18   our end. It could be your headphones              18     Q. Every message, I think, that you
19   again. Why don't you try it, Matt. Just           19   and Daniel Pipes sent each other between
20   reconnect. Can we go off the record.              20   these two dates.
21            MR. CARSON: Yeah. If you want            21     A. Oh, that's what the time stamps
22   I'll send you the whole thread between            22   are. Yeah, then they are text messages.
23   Marnie, I mean between Lisa and Matt. I           23     Q. Yeah, and it is 129 pages of these
24   don't have a problem doing that. It is            24   messages.
25   just that all the stuff -- are we off the         25     A. Okay.
                                         Everest Court Reporting LLC                             Page: 55 (211 - 214)
                                  215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 57 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 215                                                      Page 217
 1     Q. I mean, it could be Telegram or                 1   guess, you know, day-to-day work like that
 2   Whatsapp. I think they all made sense.               2   for Daniel?
 3   And I don't know what that e-mail looks              3     A. I mean, it was part of all of our
 4   like. I'm asking you. I mean, you are the            4   jobs. I mean, Daniel asks you to do
 5   one who sent and received them for all               5   something, then it is like the same place I
 6   these months. So do you remember what                6   worked everywhere else in my life, the top
 7   medium you used?                                     7   person asks you to do something, it is
 8     A. Probably Telegram. I mean if it                 8   like, I don't know, opportunity to
 9   was -- you know, I may be after -- I don't           9   demonstrate you can do it, or, you know,
10   know. I would say at some point, yeah, we           10   time to build, so he can see what your work
11   transitioned from -- we had something else,         11   ethic is like.
12   we had something else before that. I think          12            So was it common? I mean, I --
13   it was called Slack. And I hated Slack,             13     Q. Well, he didn't ask you to do it,
14   and I don't think Daniel liked it either.           14   right? He asked you to have Lisa do it,
15   Then he moved to Telegram. So it is either          15   correct?
16   Slack or Telegram, depending on whatever.           16     A. Well, I don't think he saw me as
17   If you are saying it goes all the way               17   the travel coordinator.
18   through, whatever date you said, it was             18     Q. Yeah. That was a lower, that was
19   probably Telegram.                                  19   too menial a task for you? You were a
20     Q. All right. So the first one I'm                20   director of development, right?
21   going to direct you to is on page 6002.             21     A. I believe so. I mean, Gregg was
22   I'll make it a little smaller so you can            22   traveling at that time. I think I had
23   see that. All right. So 6002, it says               23   traveled with him. I don't remember the
24   here, I don't know if this thing -- if you          24   last trip. Maybe that was in Pennsylvania.
25   have this thing on your computer too, but           25   We did a round of fund raising meetings.
                                              Page 216                                                       Page 218
 1   this message looks like it was sent on, it           1   So if he was, yeah, Daniel was like in the
 2   says 12 October.                                     2   office and Gregg was out, then -- and I
 3     A. Okay.                                           3   mean, I'm not sure of the nature of the
 4     Q. Dave pipes sent a message to you at             4   question, is it beneath me to do travel
 5   8:36. "Could you ask Lisa to help me with            5   scheduling for Daniel? Is that --
 6   the flights and hotels for this trip? I              6     Q. Was it beneath your position, was
 7   prefer UA than AA for flights, prefer aisle          7   my question, not you.
 8   than window, prefer IHG than SPG and                 8     A. No. I did it all the time. I
 9   Hyatt." Do you remember receiving this               9   booked Gregg's travel. I booked Daniel. I
10   message?                                            10   booked other. I booked my own travel.
11     A. No, of course not. No, I don't.                11     Q. As the director of development or
12   Like you are showing me that the message            12   before you were the director of
13   exists, so, yes, I'm sure that it exists.           13   development?
14   But do I remember, do I remember messages           14     A. Both.
15   from two years ago that were exchanged in           15     Q. But, again, what was Lisa's job at
16   the administrative happenings day-to-day in         16   the time? What was her position?
17   the office, no, I don't.                            17     A. At this time, October 2018?
18     Q. Well, was that common for Daniel               18     Q. Yes. She was Gregg's assistant,
19   Pipes to have you, have you have Lisa book          19   correct?
20   flights for him and hotel rooms and things          20     A. There was something, I don't know
21   like that?                                          21   if she was taking on press releases or
22     A. What was the beginning? Was it,                22   media or marketing or public relations
23   was it common, is that what you asked?              23   maybe. There was some other title that was
24     Q. Was that part of Lisa's job,                   24   introduced for her, that I don't remember
25   booking flights and hotel rooms and doing I         25   -- I remember she was asking me what I
                                           Everest Court Reporting LLC                             Page: 56 (215 - 218)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 58 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 219                                                      Page 221
 1   thought about titles. But I believe she              1   message from you. "Received your message.
 2   was going to be made like the, it was like           2   Everything is understood and no problem
 3   chief of staff, like the head of all the             3   with the office. Your paperwork summary
 4   staff that were in local, in Philadelphia.           4   was mostly accurate. I've learned more
 5   I don't remember what the title was                  5   from everyone involved since yesterday. We
 6   eventually decided on, but she was to                6   should talk in person."
 7   become chief of staff.                               7           Do you know what you are
 8     Q. The question was what was her job               8   referring to there?
 9   at that time, not what was she going to              9     A. What was the date?
10   become.                                             10     Q. The date was November 2nd, 2018?
11     A. Oh. Well, I mean, at the time I                11     A. "Received your message. Everything
12   was director of special projects I was              12   is understood and no problem with the
13   actually directing all the development              13   office. Your paperwork summary was mostly
14   while Tiffany was out to lunch.                     14   accurate."
15            So, I mean, I guess her                    15           I really don't remember. Let
16   official title at that time was whatever            16   me see what, the JNS article was terrific,
17   she was hired as, executive liaison.                17   tag line not sure...
18     Q. She was Gregg's assistant, right?              18           THE COURT REPORTER: Excuse me.
19     A. In October, I believe so. I mean               19     Q. He can read to himself. You don't
20   unless the title changed somewhere -- what?         20   have to record what he reads to himself if
21     Q. It wasn't a trick question.                    21   you don't want to.
22     A. No, I mean, I'm telling you                    22     A. Oh, sorry. Read the message out
23   October, 26 months ago, I don't know when           23   loud.
24   her title changed or at what point or               24     Q. I'm just letting the court reporter
25   whatever. I just remember she was doing             25   know, if she doesn't want to write it down,
                                              Page 220                                                       Page 222
 1   good. She was a good writer. She was --              1   it is fine.
 2   she stayed at the office late. She -- it             2     A. Okay. I don't -- I don't know what
 3   would be like, you know, like Tricia                 3   message I'm saying that I received. I
 4   demonstrated competency. I wanted her to             4   don't remember what problem -- I mean, I
 5   take on more. Lisa demonstrated                      5   guess this is after the letter was
 6   competency. I wanted her to take on more.            6   introduced. I don't know what a paperwork
 7            I wanted a lot of it off my                 7   summary is.
 8   plate. I was like drowning in all of                 8            Everyone involved, I guess that
 9   the -- in everything. I was very happy               9   means the letter. And then I could only
10   that they were like good at what they were          10   guess that at that point they had started
11   doing. I don't know when the idea of the            11   telling me all the things that were in the
12   promotion came about or who introduced it.          12   letter.
13   I know Marnie was against it.                       13            Hello?
14     Q. Was she ever given the title chief             14     Q. Yeah, I'm thinking of my question.
15   of staff during your employment?                    15     A. Oh, sorry.
16     A. I don't believe so. I mean if -- I             16     Q. What did you mean when you said you
17   would have had to update the website with           17   "learned more from everyone involved since
18   the new title and I don't remember doing            18   yesterday"?
19   that.                                               19     A. I don't know. I don't -- I just
20     Q. I'm going to direct your attention             20   told you, I believe, like the only thing I
21   to another message. This one, it looks              21   could think of is that if the date I was
22   like it was sent, Daniel Pipes sent a               22   informed of the letter was the day before,
23   message to you at 10:40, and that would be          23   and they -- and we spoke about it more,
24   on November 1st, I believe, and then the            24   then I learned more details, my best guess.
25   next one was November 2nd. This is a                25     Q. So what details did you learn?
                                           Everest Court Reporting LLC                             Page: 57 (219 - 222)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 59 of 145
Deposition of Matthew Bennett                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 223                                                      Page 225
 1     A. I don't know. I don't know. My                   1   believed that, you know, I had no reason to
 2   guess is that the details of what they are            2   believe that they would both say that it
 3   saying. Well, actually instead of Gregg               3   didn't happen or both make it up on their
 4   being a dork, he was actually -- he said              4   own accord. So, yeah.
 5   and did this.                                         5    Q. So when did you and Mr. Pipes have
 6           Or instead of AIPAC being                     6   that conversation?
 7   nothing, AIPAC was actually sexual assault,           7    A. I don't know. What is the date of
 8   and I felt uncomfortable, and whatever.               8   this message?
 9     Q. When did someone tell you AIPAC was              9    Q. November 2nd.
10   nothing?                                             10    A. November. My mother's birthday. I
11     A. When did someone tell me AIPAC was              11   don't remember. That was it. The meeting
12   nothing? At some point when I asked                  12   was, what, the next day, two days after.
13   Tricia, why didn't you tell me, why didn't           13    Q. Do you know if you and Mr. Pipes
14   you tell me, or something happened and you           14   spoke on the phone, you spoke in person
15   felt uncomfortable, and I think she said it          15   about the Leah matter?
16   was nothing.                                         16    A. Could have been in person. I'm
17     Q. I'm not going to beat a dead horse,             17   sure you can find out who was in the
18   the horse being the issue, not --                    18   office, see if he was in the office, then I
19     A. I'm not the dead horse then.                    19   spoke with him in person. And if he wasn't
20     Q. No. The issue is what I was                     20   and we did speak, then, obviously, it was
21   referring to.                                        21   over the phone.
22           All right. So let's keep                     22    Q. You don't remember having a
23   moving. The next one down is, it says, "I            23   conversation with Daniel Pipes about Gregg
24   am fine now, recovered, would like to hear           24   Roman having sex with an intern that you
25   from you about the Leah matter."                     25   got the job for?
                                               Page 224                                                       Page 226
 1            Daniel Pipes is asking to hear               1     A. No. When this came to light, the
 2   from you about the Leah matter; is that               2   only thing I remember is telling him is
 3   correct?                                              3   that, like, I was fearful for my job. I
 4     A. Yeah, it looks like it.                          4   was almost in -- I didn't know what was
 5     Q. What is the Leah matter?                         5   going to happen. I didn't know if Marnie
 6     A. I believe what Marnie said in the                6   was blaming me or alleging, or Lisa was
 7   letter or that was in the letter, the rumor           7   alleging that somehow I was complicit in
 8   that he had slept with her or something               8   whatever that they are saying had taken
 9   happened, and whatever the rumor is, in               9   place, and I didn't know if him finding out
10   Israel. And that's it. The paper and                 10   about that, he was going to be like, oh,
11   everything we mentioned before, that there           11   well, you are gone, and Gregg is gone.
12   was this paper she needed, and apparently            12            I didn't know what was going to
13   -- Lisa said, Marnie said that he had told           13   happen. So I said everything I knew, which
14   them that he had slept with her.                     14   was I don't know what happened. Marnie
15     Q. Is that what you told Mr. Pipes?                15   said he told her, I believe Lisa said that
16     A. I told him that I was, that I was               16   he had told her.
17   upset to learn of it, and if, that if --             17     Q. But the conversations happened
18   that if that was true, I was worried                 18   before the D Day meeting, correct?
19   that -- you know, I was extremely angry              19     A. Well, yeah. You are saying it is
20   with Gregg, if he would jeopardize me like           20   like the day before or two days before.
21   that, with my name being on, as the person           21     Q. I'm not saying that. I'm asking
22   who signed off on her internship and sort            22   the questions. Is that what you are
23   of now I'm linked to such a thing.                   23   saying?
24            And with Marnie and Lisa both               24     A. Can I see the rest of the messages?
25   telling me that I have no, you know, I               25   Like is it mentioned down below. Is it
                                            Everest Court Reporting LLC                             Page: 58 (223 - 226)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 60 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 227                                                      Page 229
 1   mentioned --                                        1  interrupting him, because I think that
 2    Q. Take your time. You can look                    2  would help the court reporter too.
 3   through it as much as you want.                     3 BY MR. CARSON:
 4    A. I'm saying if there is other stuff              4   Q. So you know that Gregg Roman --
 5   that relates to that conversation, like             5 whether Gregg Roman stole all the leads
 6   please show it to me because I don't --             6 from the Jewish Federation in Pittsburgh
 7    Q. It is something that Gregg has                  7 before he got there?
 8   raised about what's going on the many               8   A. No.
 9   months since the alleged incident, so what          9   Q. You don't know that?
10   was that? Did he tell you what that was?           10   A. I don't know that.
11    A. Also something that Gregg has                  11   Q. Yeah, you know that. You know.
12   raised about what's gone on in the many            12   A. Do I know if he stole leads? I
13   months since the -- I expect the same thing        13 mean, first of all --
14   that was going on, is that we were going to        14   Q. Yeah. You guys have two different
15   happy hours and out, and everything was,           15 databases at MEF, right? One was for the
16   you know, everything seemed fine. We were          16 Jewish Federation stolen leads and one was
17   socializing as a group.                            17 for MEF donors?
18    Q. You told Mr. Pipes, "I expect him              18   A. And where was the second database?
19   to call me now and will call you after."           19   Q. You tell me. You worked there.
20   Who is he? Gregg Roman, correct?                   20   A. I used Sales -- no. I used
21    A. Is that right after that message?              21 whatever the initial database was, they had
22   Yeah, I guess so.                                  22 when they were hired. Then they -- oh,
23    Q. Okay.                                          23 then, when I -- yeah, then at some point
24    A. I mean, who else would it be? I                24 Tiffany was responsible for managing the
25   guess.                                             25 transition to another database, and that
                                             Page 228                                                       Page 230
 1     Q. "I'm trying to ensure he isn't                 1   was Salesforce. She botched that data
 2   notified, unless you don't care." Again,            2   migration. Then I finished that data
 3   you are talking about Gregg Roman?                  3   migration. But that was it. That was the
 4     A. Maybe Salesforce, because the                  4   only database I ever used, was Salesforce.
 5   message before that says Salesforce is up.          5     Q. You never used Mailchimp?
 6   It was down. And I don't know why. But, I           6     A. Well, Mailchimp is like a news
 7   don't know, Salesforce wasn't working. All          7   letter mailer. It is not a database.
 8   of a sudden I started thinking, I don't             8     Q. What is the, what is the director's
 9   know, like started getting paranoid.                9   list?
10     Q. That Gregg would steal sales leads            10     A. Oh, in the list of, the
11   and donor information, correct?                    11   distribution list in Mailchimp?
12     A. Yeah, and later found out that                12     Q. Yeah. You know what the director's
13   wasn't the case, and that I made -- I mean,        13   list is, right?
14   look --                                            14     A. Yeah, it is private e-mail. It is
15     Q. Well, it was part --                          15   like contacts or high-level people, that if
16            THE COURT REPORTER: I'm sorry.            16   you just wanted to send specific, not --
17   This is the court reporter. There is               17   there was multiple lists, Campus Watch,
18   static, and I couldn't hear the last               18   Islamic Watch, director's list, Daniel's
19   answer.                                            19   list, targets' list.
20            MR. CARSON: Sorry. The static             20     Q. Yeah. It is all the information he
21   is from someone else's phone. I think              21   stole from the Jewish Federation, correct?
22   someone needs to push mute?                        22     A. How would --
23            MR. WALTON: This is Dave,                 23     Q. Well, how would you know that?
24   Eleanor.                                           24     A. Incorrect. How would I --
25            Seth, please just watch                   25     Q. Why would you say correct if you
                                          Everest Court Reporting LLC                             Page: 59 (227 - 230)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 61 of 145
Deposition of Matthew Bennett                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 231                                                      Page 233
 1   don't know?                                           1 BY MR. CARSON:
 2            MR. WALTON: This is Dave.                    2   Q. Mr. Bennett, I'm going to direct
 3   Object to the form. You can answer.                   3 your attention to D6004?
 4     A. You are saying is it correct. No,                4   A. I don't know what 6000 number or
 5   it is not correct.                                    5 whatever.
 6     Q. Why isn't it correct?                            6   Q. The number I'm reading, it is more
 7     A. Well, I have no way to know if it                7 for the record.
 8   is incorrect, if that's what you are asking           8   A. Oh, I didn't see it at the bottom.
 9   me, what. You are asking if the director's            9 Okay.
10   list is something that Gregg stole from              10   Q. It is called a Bates stamp. So you
11   another organization.                                11 write here: It is probably safe to say he
12     Q. Right, yeah. That's exactly what                12 is already back -- he already has
13   he is accusing Lisa of doing, is what he             13 everything backed up. That's Gregg Roman
14   did to the Jewish Federation, right?                 14 already backing up all the proprietary
15     A. The first I ever heard that Gregg               15 information MEF has, right? That's what
16   would steal, or you are alleging that Gregg          16 you are talking about?
17   had stolen e-mail addresses from another             17   A. Probably safe to say -- is this the
18   organization, and, but as somebody who               18 same, is this following the same above?
19   worked at the Jewish Federation, I can tell          19   Q. Yes.
20   you, I mean, it is like I'm laughing on the          20   A. Can I scroll up to see what we are
21   inside because I know that it is worthless.          21 talking about here?
22   It is federation. It is not -- most likely           22         He has his MEF access through
23   they are not going to support anything that          23 the gmail account, so we have this -- I
24   MEF is doing, and e-mailing them such                24 mean, I said he. Hi. Bruce had access I
25   things would result in them unsubscribing            25 believe to Salesforce and so did other
                                               Page 232                                                       Page 234
 1   from the list, then they flag your mailing            1   staff. But it is like at this point in
 2   list, and you can say how was I added to              2   time -- yeah, I believe we are talking
 3   this list if you did not have permission to           3   about Gregg.
 4   add me.                                               4     Q. You thought he would steal all the
 5            So for him to take a list from               5   proprietary information from MEF, right?
 6   another organization, which I have no                 6     A. I wasn't worried about stealing it.
 7   knowledge of, or, until I'm blue in the               7   It was more of, it was more of like the
 8   face can tell you it would do damage to               8   database was down, and that's how I do my
 9   MEF. It would be -- it wouldn't be                    9   job, with the database. I didn't know why
10   helpful.                                             10   the database was down. And at the time the
11     Q. This is the first you are hearing               11   turmoil with Gregg, my thought was, well,
12   about sexual harassment too, right?                  12   maybe that has something to do with it.
13     A. The what?                                       13   Turned out that that wasn't the case and I
14     Q. The first you are hearing about                 14   raised like an alarm over the database
15   sexual harassment too, right?                        15   incorrectly.
16            MR. WALTON: Objection to form.              16     Q. How did it turn out it wasn't the
17   You can answer.                                      17   case?
18     Q. You don't have to answer.                       18     A. There was nothing linked to a gmail
19     A. Okay.                                           19   account or -- I mean, scroll back up where
20            (Discussion off the record.)                20   I said -- more. More. More.
21            THE VIDEO SPECIALIST: We are                21            Yeah, there is something in
22   off the record.                                      22   place preventing me, it was the generic
23            (Recess taken.)                             23   user account, which I believe it was
24            THE VIDEO SPECIALIST: We are                24   Tiffany Lee's but was used to like
25   back on the record.                                  25   implement the database, and that account
                                            Everest Court Reporting LLC                             Page: 60 (231 - 234)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 62 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 235                                                      Page 237
 1   needed to have a setting on it for me to             1   his personal information or an app or
 2   try to do what I think I was trying to do.           2   something. But, I mean, everybody has
 3           I mean, I don't remember                     3   contacts stored somewhere.
 4   exactly. I just remember there was                   4    Q. So is Gregg Roman allowed to back
 5   something blocking me from just like                 5   up MEF data on his contacts, on his
 6   shutting things down or to make sure that,           6   personal Contactually account? Is that
 7   I don't know, there wasn't some breach.              7   permitted, as far as you know?
 8           We have been hacked by what                  8    A. No, I never said he backed up
 9   was, I don't know, could be Iran or there            9   anything on a Contactually account. I
10   were other hacks that had happened, and, I          10   never actually saw Contactually. I don't
11   mean, while Gregg was there and after Gregg         11   even know -- I had no, I mean, I know that
12   was there, and, you know, that was the              12   there was something -- I mean, look, we
13   fear, something like that.                          13   Asana, we had Slack, we had Salesforce. We
14     Q. When you say hacked by Iran, is                14   had the website access point login.
15   that pretend security issues that MEF               15            We had, I mean, I had a sheet
16   always talks about? Is that what you are            16   with 30 different passwords to different
17   referring?                                          17   applications that housed different data.
18     A. The pretend security issues?                   18   We had people build us special databases
19     Q. Yeah. You know, secret, secret --              19   that needed specific logins.
20     A. I'm pretty sure you could --                   20    Q. Did MEF pay for Contactually?
21           THE COURT REPORTER: I'm sorry.              21    A. Did MEF pay for it? We did an
22   I couldn't hear the question.                       22   audit, I believe the tech company did an
23     Q. You are referring to like the                  23   audit of -- not the tech company. The
24   secret MEF work that everyone is trying to          24   vendor that I brought in to transition us
25   hack because it is so important, right?             25   to Google, and I think they asked Marnie to
                                              Page 236                                                       Page 238
 1     A. I'm pretty sure you could look up a             1   like show a list of everything that, yeah,
 2   public record that ISIS tweeted the address          2   everything that was being paid for on the
 3   of the office and had Daniel Pipes on the            3   MEF credit card. So it will be on that.
 4   cover of their magazine, and, I mean,                4   It will be on that list if we were paying
 5   that's not pretend.                                  5   for it.
 6     Q. Okay.                                           6     Q. Sitting here today, do you know
 7     A. Had I been asked to work in an                  7   whether MEF paid for Contactually?
 8   office that ISIS tweeted the address of, I           8     A. If it was -- I mean, if it was
 9   would never have accepted the job, no                9   ours, then MEF paid for it. Anything that
10   matter how much they paid.                          10   we were using, MEF was paying for it.
11     Q. What is Contactually?                          11   There was no -- I don't know why anybody
12     A. Contactually is like, it is like a             12   would pay for anything out of their own
13   Rolodex, as I understand it.                        13   pocket to have it be used by the company.
14     Q. Is that where you thought Gregg                14     Q. What did you mean here then when
15   Roman backed up all the proprietary                 15   you said "Probably in Contactually," right?
16   information that MEF had?                           16     A. Well, that would be the only thing
17     A. No. I think that was just his                  17   I knew that would be capable of doing
18   personal, like Contactually --                      18   something like that.
19     Q. Yeah.                                          19     Q. Yeah.
20     A. -- I think --                                  20     A. But as far as I understand or
21     Q. He had his personal account, right,            21   understood, it was in that -- I can't say
22   where he backs up proprietary information?          22   for sure, but I'm almost certain that
23     A. I don't think so. I mean there was             23   MEF -- that it will show up on a list of
24   -- I know he used something, but I think it         24   the audit that I asked the vendor to do,
25   was on Outlook, Outlook 365, that he had            25   and Marnie to show, show everything that's
                                           Everest Court Reporting LLC                             Page: 61 (235 - 238)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 63 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 239                                                      Page 241
 1   paid for with the MEF credit card.                   1            So when I was finally, until I
 2            So I'm telling you at this                  2   was blue in the face, got the go-ahead for
 3   moment, I don't know. I'm fairly certain             3   that, I brought in the expert that I knew,
 4   that it will appear on that list that shows          4   a vendor who is licensed to provision
 5   that MEF did pay for it, and it was like,            5   Google apps, and the first thing that he
 6   it was like bridge connector to maybe                6   did was an audit on the infrastructure, the
 7   another dataset, or like we had multiple             7   same thing that any IT person would do.
 8   bridge connectors.                                   8   You come in and you say, let's make a list
 9            There was the mapping one that              9   of every single thing that's being used,
10   Stacy used to help geo locate or, you know,         10   from soup to nuts, starting with Word
11   the best route, through sales meetings,             11   documents, e-mail, through Asana, Slack,
12   through, you know, solicitation meetings,           12   everything.
13   through a specific city or a specific               13            And as part of that audit
14   state.                                              14   Marnie, which controls the expenses or has
15            There was the Outlook, I don't             15   records of what was being paid for,
16   know what you want to call it, bridge link,         16   produced or would produce a list of all of
17   connector, that would synchronize people's          17   the vendors and tech platforms that were,
18   e-mails, all their contacts to Salesforce.          18   subscriptions were being paid to.
19            There was one for Asana. There             19            So upon the audit, it was
20   was one for Slack. And we did a tech                20   learned a lot of them were just stuff that
21   audit, and I believe they all showed up in          21   was, you know, we needed to sign up for one
22   that audit.                                         22   time but was never used again, to like
23     Q. What audit? Would there have been              23   condense PDF documents. And I believe in
24   an audit on Mr. Roman's Contactually                24   that audit, on that list that she provided
25   account?                                            25   to the vendor, I believe in maybe January
                                              Page 240                                                       Page 242
 1            THE COURT REPORTER: I'm sorry,              1   of 2019 or whatever, it will show that, all
 2   an audit on?                                         2   of the things that are on there.
 3     Q. Mr. Roman's Contactually account.               3            So back to your question, if
 4     A. No. When I -- I was a proponent of              4   Contactually was being paid for by the
 5   using, it was -- I was in favor of using             5   organization, it would appear in that
 6   Google, like using the Google for Work               6   audit. I haven't seen that audit. I'm not
 7   platform, meaning e-mail contacts.                   7   telling you it appears there. I'm saying
 8   Everything that could fall under like                8   that's where you can check to prove what
 9   Microsoft, Google can offer the competing            9   I'm saying.
10   platform.                                           10     Q. Isn't this conversation talking
11            So when Gregg didn't believe               11   about making sure that you revoke Gregg's
12   that and he thought, and Daniel thought             12   access to MEF donor information and the
13   that, you know, half of the Microsoft was           13   proprietary information, and that you say:
14   superior, so finally I had at some point            14   It is probably safe to say he already has
15   after I guess November or October,                  15   everything backed up, both Mailchimp and
16   whatever, I started arguing with him and            16   Salesforce, probably in Contactually. Not
17   Daniel and saying, look, I know what I'm            17   probably. Definitely.
18   talking about, I used to do this, I used to         18            That's exactly what you are
19   work for a tech company that sold, you              19   saying, right, who cares?
20   know, Google apps, and I had to manage a            20     A. Yeah. I mean, yep, to the best
21   sales team of six people and the worldwide          21   of -- probably safe to say, yeah. I mean
22   campaigns to sell those products. I know            22   he is responsible for all the proprietary
23   how they work, and I'm confident they are           23   information of the organization. I mean,
24   secure, and they will be good for the               24   whose head is it going to fall on?
25   organization, boost productivity, etcetera.         25            I am now managing director of
                                           Everest Court Reporting LLC                             Page: 62 (239 - 242)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 64 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 243                                                      Page 245
 1   another organization, and I saw another             1   an NDA on day one. I don't know if any --
 2   director when I was with ZOA, and you have          2   I mean, I'm sure everybody else did, as far
 3   to everything backed up. It is usually a            3   as I know. If they didn't, then maybe they
 4   tech company that will have a server, an            4   were asked to sign one then. I had one
 5   external server that will store back-ups in         5   from the beginning of my employment signed.
 6   case you are hit with like some type of             6   So was I asked to sign it then? If --
 7   electromagnetic pulse just wipes you out,           7     Q. We are not, I'm not asking you
 8   technologically, or that you don't have any         8   about the NDA you signed on day one. I'm
 9   ability to get back to determine, like get          9   asking about the NDA you signed before the
10   back to the point you were when things             10   November 5th, 2018 meeting, which has been
11   dropped.                                           11   referred to as D Day. Do you understand
12            So as part of the                         12   that?
13   infrastructure that I wanted to implement          13     A. Yeah, yeah. So what is the
14   with Google, I was trying to, one of the           14   question?
15   things that I made sure I said, we will            15     Q. The question is: You were asked by
16   have a back-up that will back up in                16   Daniel Pipes to get him all those signed
17   realtime every single thing that is in the         17   NDAs for everyone that was going to attend
18   database. I'm trying to remember the name          18   that meeting, right?
19   of that one with Google. It is called like         19     A. I didn't give it to him. I mean,
20   Backupify.                                         20   Daniel asked if NDAs, as the text messages
21            I mean, it is my natural                  21   you are showing me say, has everyone signed
22   thought as, you know, if you are the               22   NDAs. Then I checked, has everyone signed
23   caretaker of the data, it seems dumb to            23   an NDA. And looks like they did. And I
24   only have one dataset.                             24   said, yep, they are in Marnie's office.
25     Q. Daniel Pipes then says to you: Can            25     Q. Can you send me a copy of the NDAs
                                             Page 244                                                       Page 246
 1   you send me a copy of the NDA everyone has          1   everyone has signed, right?
 2   signed?                                             2           He meant everyone that's going
 3     A. Oh, yeah.                                      3   to go to the meeting, correct?
 4     Q. You had all the NDAs, right?                   4    A. I mean, look, maybe that's a copy
 5     A. It looks like it. Do you have                  5   of the NDA that everyone signed when they
 6   personal e-mails for...                             6   came in for their employment, or a copy of
 7           Well, what was my response to               7   the NDA before the meeting.
 8   that? Oh, yeah. No, just right below that           8    Q. Well, which one is it?
 9   I said all NDAs are filed in Marnie's               9    A. I don't know. I'm telling you it
10   office.                                            10   doesn't say.
11     Q. Right. He asked you if you could              11           I said: All NDAs are filed in
12   give him a copy of it. You made sure that          12   Marnie's, because that's where everything
13   they were all in one place, and you told           13   was kept. Marnie had the file cabinet
14   him where they were, right?                        14   which kept all the personnel, everything
15     A. I don't know if I made sure where             15   they ever signed.
16   they were. Maybe I found out where they            16           My final day of employment I
17   were and relayed that information to him.          17   walked in, I said, "Let me have my
18   But, yes, it looks like below I'm saying           18   personnel file as is allowed by law. I
19   all NDAs are filed in Marnie's office.             19   would like to see everything I put my name
20     Q. So now can you testify whether or             20   on." And it was my NDA.
21   not you were asked to sign NDAs before             21    Q. And he also asked for everyone's
22   going into the November 5th, 2018 meeting?         22   personal e-mail address, right?
23     A. Yeah, I believe so. I mean, look,             23    A. I just read it. He asked for three
24   I'm sure there is an e-mail that shows like        24   people's e-mail, Marnie, Tricia and Stacey.
25   if I was asked to sign it or not. I signed         25    Q. Marnie, Tricia, Stacey. And you
                                          Everest Court Reporting LLC                             Page: 63 (243 - 246)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 65 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 247                                                      Page 249
 1   said: Yes, I have those e-mails. You                 1   we told everybody, avoid using personal
 2   actually said: Yes, I have personal                  2   information.
 3   e-mails for all, correct?                            3            I sent out, the bring your own
 4     A. That's what is written.                         4   device policy specifically stated no
 5     Q. And the reason you had personal                 5   personal information can be stored on
 6   e-mails for all is because you guys used             6   devices. I was very careful to make sure
 7   personal e-mails at MEF, correct?                    7   that I didn't compromise whatever was going
 8     A. No, because people applied to the               8   on in the organization.
 9   organization with personal e-mails.                  9            If you're trying to ask me, did
10     Q. You guys didn't use personal e-mail            10   I do something that somehow was in
11   accounts during your employment at MEF for          11   violation of MEF policy? No. To the best
12   Google Docs?                                        12   of my ability I tried to make sure that
13     A. Did we use -- no.                              13   everything was by the book and that I was
14     Q. Oh, you didn't?                                14   maintaining the health and security of the
15     A. Did we use, like for company                   15   data and proprietary information.
16   business?                                           16            My, my -- my Google login,
17     Q. Yes.                                           17   Bennett@MEForum.org, that's what we were
18     A. At some point, while we were                   18   switching to. As of March -- whatever it
19   transitioning, then, yes, I believe that            19   was, I mean, I'm pretty sure the date of
20   there was like a spreadsheet that I had             20   the memo, whatever, bring your own device
21   created, or like a back-up to work off of           21   policy was, it said like if you have
22   while we were transitioning from Microsoft          22   something on a personal device, delete it.
23   to Google.                                          23   Don't -- there is no reason to save
24     Q. When you say "we were                          24   anything to like a local device. There is
25   transitioning" --                                   25   no reason to download anything. Just keep
                                              Page 248                                                       Page 250
 1     A. Like are you asking about like work             1   it in the cloud.
 2   product? Or are you asking about e-mail              2            I mean you can look up the
 3   correspondence?                                      3   bring your own device policy. I'm sure it
 4            Like there never should be any              4   is all written there. I'm sure you have it
 5   e-mail correspondence, but like the ability          5   already.
 6   to collaborate on a Google doc requires you          6     Q. When did you make the switch to
 7   have a gmail account. So if there is a               7   Google for Business?
 8   gmail account that you are able to share a           8     A. We began making it in probably
 9   Google calendar with or a Google document            9   January or February.
10   with, then that would be, yeah, that would          10     Q. 2019, right?
11   be it.                                              11     A. I had this like ongoing debate with
12     Q. That's when you guys used personal             12   Daniel and Gregg about the security of
13   e-mail addresses, with Google, correct?             13   Google based on what was, it was arguably
14     A. That's when we used -- what do you             14   like threats to our safety or security,
15   mean, that's when?                                  15   etcetera.
16     Q. It is not a trick question.                    16            You know, they were against it
17     A. I don't know. You are looking --               17   because they believed that Google was in,
18   it is like you are trying to get me in              18   like insecure, and Gregg was against it.
19   got-cha moments here. Just tell me like             19   Like Daniel was like open to it, but Gregg
20   everything and then I'll give you my like,          20   was against it and he only wanted Outlook.
21   you know, response to it.                           21            And Daniel finally like
22            Like do I remember this shit?              22   entertained my arguments and allowed me to
23   No. I can't remember what, two years ago,           23   like prove that I thought that Google was
24   what was written in a Telegram message              24   secure and it was a good platform.
25   between me and Daniel and whatever. Like            25            And so at some point between, I
                                           Everest Court Reporting LLC                             Page: 64 (247 - 250)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 66 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 251                                                      Page 253
 1   don't know, I would say July or August of            1     A. Google Calendar, I'm not sure.
 2   2018 and when I left, I brought in a vendor          2   Google -- I mean, no, you can still access
 3   and Daniel gave the okay. But, you know,             3   it. It doesn't matter. Any e-mail
 4   other people were against it. And we told            4   address, like something at MEForum, like
 5   them you could still use your Outlook, you           5   Bennett.MEF@gmail.com could be used to
 6   could still use, I think it was like                 6   access it, you know. It doesn't have to be
 7   Winfield, Mark, several people were like I           7   like --
 8   don't want to learn how to use Google. I             8     Q. Once you made the switch over to
 9   said, fine, instead of migrating everything          9   the Google suite, then you could use your
10   over we are going to keep some people using         10   Bennett@MEF app, if you were using gmail
11   Outlook. And Gregg was completely against           11   for business. Before that, to access those
12   it, to the end, to say that, I don't know,          12   apps you needed to use a personal gmail
13   showing proof that I was wrong about that.          13   account?
14            I would argue to this day that             14     A. Say it again.
15   Google bids on Pentagon contracts and               15     Q. You are wearing me out.
16   everything else. But, anyway, I -- he was           16     A. I'm wearing you out? It is 6:00
17   super -- he was super like paranoid about--         17   o'clock here.
18     Q. Do you know my question was: When              18     Q. It doesn't matter. All right.
19   did you make the switch? The date was all           19     A. Look, look, all I can tell you
20   I needed.                                           20   about like data privacy, security, like
21     A. Oh. I don't know. Somebody cut me              21   whatever is this, Gregg was super paranoid
22   off here. I'm trying to get -- just tell            22   about getting hacked and safety of his
23   me when, asked and answered, and then I'll          23   family.
24   stop. I don't know the date when we --              24            At one time he had me create,
25   actually, I know that whatever the --               25   record a video that, and in case something
                                              Page 252                                                       Page 254
 1     Q. Right before you left, correct?                 1   happened to him, and safety, in case he
 2     A. Yeah, but I mean, I left in the                 2   disappeared, I should contact this person,
 3   middle of that switch. There were certain            3   and if he didn't hear from him after this
 4   accounts that needed to be like followed up          4   long to contact his wife or connect his
 5   on to see if they were migrated properly.            5   wife with this person. And I had to keep
 6   I handed off all the Google relationship to          6   the video on my phone until I heard back
 7   Marnie. She was in contact with the vendor           7   from him, until he returned.
 8   who came to the office to do that audit.             8           I mean, I don't even know the
 9            And, yeah, so I guess arguably              9   nature of what he was doing, or traveling.
10   maybe first week of March, last week of             10   But, I mean, to ask somebody to record a
11   February, something like that.                      11   video that in my untimely demise traveling
12     Q. Before you made the switch, in                 12   to the Middle East, if I'm going to be
13   order to use Google Docs you had to utilize         13   kidnaped or whatever -- I'm imagining the
14   a personal gmail account, correct?                  14   scenario of that other guy that he knew
15     A. Before we made the switch                      15   that was decapitated, I don't know if by
16   officially? No. Only people that -- only            16   ISIS or whatever, that that was his fear,
17   people that -- I mean, like I never asked,          17   and that opening the door to Google or
18   I don't know, like other people to use a            18   whatever, that was his fear, that there
19   Google doc. Only the people that would              19   would be some window into our ongoing, at
20   be -- like I asked Stacy, maybe Tricia, I           20   the organization, and he didn't want that
21   have to share a Google doc that listed -- I         21   to happen.
22   don't know what I listed there. Giving --           22           Frankly, I don't want that to
23     Q. Google Calendar, Google Docs, you              23   happen. I was paranoid myself just by the
24   need a gmail account to access those,               24   mere fact I was getting postcards from nut
25   right?                                              25   jobs blaming me or saying I'm complicit in
                                           Everest Court Reporting LLC                             Page: 65 (251 - 254)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 67 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 255                                                      Page 257
 1   the genocide of Palestinian people or               1   man.
 2   whatever. So, yeah, those people are out            2     A. I am. But I just don't, like there
 3   there.                                              3   is a lot of truth, I'm trying to give you
 4            There is some guy, Dr. Frank,              4   the full picture of it, but it is like can
 5   that would call the office every week to            5   I --
 6   tell us we were horrible individuals and            6     Q. Well, MEF didn't have any business
 7   whatever, these nut jobs. They called all           7   gmail accounts set up in 2018, right? So
 8   the time. And those were the type of                8   if you are using a gmail in 2018, it would
 9   people who, that you are afraid of, not to          9   had to have been someone's personal gmail
10   mention ISIS, who Tweeted the address and          10   account, MattBennett@gmail,
11   put Daniel on the cover of a magazine. So          11   SethDCarson@gmail, LisaBarbounis@gmail?
12   I don't know what more you want me to say.         12     A. In this case, can I send, you mean,
13     Q. No, that's okay.                              13   so you are saying, can I send everything to
14            THE COURT REPORTER: I couldn't            14   Daniel's gmail, yep, that's what it looks
15   hear the end of the answer.                        15   like I said.
16     A. I had said, before, Mr. Carson said           16     Q. Dpipes@gmail, right? Groman@gmail?
17   there was like an illegitimate security            17     A. Yeah.
18   threat or whatever, but I saw the ISIS             18     Q. Stacy@gmail.
19   Tweet. Eman, who we worked with, had death         19     A. Yep, yep.
20   threats against him. Daniel was on the             20     Q. Catriona@gmail. You guys all had
21   cover of a magazine. So, I mean, it was            21   personal gmail accounts that you used to
22   like, it was serious. I don't know like to         22   utilize Google Calendar and Google Docs.
23   what extent. I know that Gregg was                 23   That's all I was asking. Right?
24   paranoid about it.                                 24     A. It is more complicated than that.
25            And maybe I didn't see it at              25   It is like what information is in the
                                             Page 256                                                       Page 258
 1   first. And then over time I appreciated             1   Google Calendar and what information is in
 2   the fact that we have a Kevlar door and key         2   the Google Doc. If the Google Doc has
 3   card access and data security. I mean, I            3   information on somebody's name and giving
 4   don't know the data security of I guess             4   amount, it is different from if they are at
 5   where we are going to be, who is traveling          5   Paramount Hotel on a certain date, at a
 6   where, at what time, what hotel room we are         6   certain time.
 7   going to be in, all that would be housed in         7    Q. I'm not suggesting anyone did it in
 8   Google and, therefore, the location of              8   an unauthorized way. I'm saying that you
 9   Gregg, Daniel, myself and the entire team           9   guys were authorized to utilize personal
10   would then be, would then be there.                10   gmail accounts during the time before you
11     Q. All right. So let's just move on.             11   had a business gmail suite?
12   When you, when you write here: I mean I            12           MR. WALTON: This is Dave
13   can send everything to -- I can send -- I          13   Walton. Objection to form. You can
14   mean can I send everything to and from MEF         14   answer, if you can.
15   and use your gmail?                                15    A. It depends on, it depends on the
16           When you say "use your gmail,"             16   subject. I know that I was not permitted
17   this was back in November of 2018, you             17   or instructed, do not use my account, my
18   would have been talking about personal             18   personal account for official MEF business,
19   gmail, correct?                                    19   confidential, proprietary information.
20     A. Like is there context here that I             20   That's what I was told. Never to store
21   can -- not in the conversation but like, I         21   that information, never to use it for that
22   mean, I don't know where -- what I'm               22   purpose.
23   supposed to be like aiming at. Is there            23    Q. What about Google Docs, making a
24   like --                                            24   spreadsheet or something like that?
25     Q. You just have to tell the truth,              25           MR. WALTON: This is Dave.
                                          Everest Court Reporting LLC                             Page: 66 (255 - 258)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 68 of 145
Deposition of Matthew Bennett                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 259                                                      Page 261
 1   Objection to form again. But you can                  1   the man of the year on the cover of the
 2   answer.                                               2   magazine. Like he wanted -- I certainly
 3     A. It depends what is in the                        3   wouldn't want that. And him being a
 4   spreadsheet. It depends what is in the                4   private person, I'm sure he didn't want it
 5   Google document.                                      5   to, you know, infinite level. So, yeah.
 6            If we are talking about the                  6   Yeah.
 7   wording that's going to go out in a press             7     Q. But he is telling you, yes, I have
 8   release, that was -- which was I think the            8   all the personal e-mails for all. Do you
 9   number one use of the Google Docs, is that            9   have a sample?
10   we would draft invitations that Tricia               10            Sure. Want me to send via
11   would create and that would be mailed out            11   e-mail?
12   through Mailchimp, and then, or somebody             12            So what was the sample? Sample
13   would proofread them, or conference with             13   of what?
14   logistics. I don't know.                             14     A. There is not even any context
15            But not like, I don't know,                 15   there.
16   sending messages to the Turkish dissidents           16     Q. Mr. Bennett, can I just suggest if
17   in, like over gmail. Or it was like                  17   you don't know, just say you don't know and
18   different levels, I mean.                            18   we will move on.
19     Q. Well, here Daniel Pipes says:                   19     A. No, I don't know. Look, he did
20   Gmail for me, your personal one too, don't           20   things his way, trying to protect us all
21   want to leave a trail.                               21   like from what he was in danger of. I
22            So he is telling you -- he is               22   don't know. I'll just start getting to
23   telling you to send him an e-mail to his             23   that point. I don't know.
24   personal gmail, from your personal gmail,            24            Am I supposed to be reading
25   because he doesn't want to leave a trail,            25   this now?
                                               Page 260                                                       Page 262
 1   correct?                                              1     Q. No, no. Just hold tight. I'll
 2     A. A trail of what?                                 2   give you a question. I'm just looking at
 3     Q. I don't know. You tell me. It is                 3   my stuff, trying to get us out of here.
 4   your conversation.                                    4            What is Zapiers? Do you know?
 5     A. Well, I don't know. The                          5     A. Sorry?
 6   implication seems to be that a trail of --            6     Q. Do you know what Zapiers is,
 7   that somebody would be able to see that I             7   Z-A-P-I-E-R-S, Zapiers?
 8   was communicating with Daniel. I don't                8     A. It was another one of those
 9   know. You can ask Daniel.                             9   connector things that I believe will show
10           Gmail for me, your personal one              10   up on the audit that I conducted with the
11   to, don't want to leave trail.                       11   vendor to show what was being paid for, and
12           That's how he talks. I don't                 12   then looked it up. And I believe maybe it
13   know. Like it was --                                 13   connected to Asana, to Salesforce, if I
14     Q. Yeah, cloak and dagger, right?                  14   remember correctly.
15     A. I mean, not cloak and dagger. But               15            It could have been Mailchimp.
16   he was like very like brief.                         16   I remember I had to look it up. But I'll
17     Q. Seems to me, your personal gmail                17   say Salesforce or Mailchimp.
18   accounts don't leave a trail.                        18     Q. So do you know, I think you already
19     A. No. He is a private person. He                  19   testified to this, I'll just move it along,
20   wouldn't tell me what hotel he was at, what          20   Gregg Roman was supposed to be at that
21   airline he was on, what train he was                 21   November 5th, 2018 meeting, and then Mr.
22   taking. It was always like, oh, I'll be in           22   Pipes asked him not to attend; is that
23   this vicinity at this time. I mean,                  23   right?
24   whatever.                                            24     A. I believe so, yeah. I mean, I
25           ISIS wanted -- like he was like              25   don't know if it was Daniel who asked him
                                            Everest Court Reporting LLC                             Page: 67 (259 - 262)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 69 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 263                                                      Page 265
 1   not to attend, but he wasn't there. No, he           1     A. Is the question did he deny?
 2   said at the beginning of the meeting, he             2     Q. You said he never told his side of
 3   said, Gregg will not be coming to the                3   the story to you. So he never denied any
 4   meeting.                                             4   of the allegations that were made against
 5            I remember everybody was                    5   him, right?
 6   waiting for him to show up, and then he              6           MR. WALTON: Objection to form.
 7   said, "Gregg is not coming." So I don't              7   That was not his testimony. This is Dave,
 8   know --                                              8   Eleanor.
 9            THE COURT REPORTER: I'm sorry,              9     Q. Do you remember him denying?
10   I don't know?                                       10           MR. WALTON: You can answer it.
11     A. I don't know who told him not to               11     A. No, he did. Of course he denied
12   come.                                               12   it. I mean, are you talking about to me?
13     Q. Well, did anyone complain about him            13   To them? Whatever.
14   being there? Was anyone concerned,                  14     Q. To you.
15   nervous, scared that he would be in                 15     A. Yeah. He said: How could you, you
16   attendance?                                         16   believe these things about me. They are
17     A. Probably, I mean, probably. If                 17   not true. And what evidence is there that
18   they were -- I mean, I was thinking that it         18   it happened. Banging his hand down on the
19   would be the time to figure out, to prove           19   kitchen table as he was, like, how could
20   what was, you know, what happened or get            20   you do this to me. Why would, why wouldn't
21   everybody to hash everything out, you know,         21   you just have a discussion with me and say,
22   like in realtime, in front of Daniel, and           22   did you do this, and let me tell my side of
23   see what -- get to the bottom of it all.            23   the story. And he denied it up and down,
24            I mean --                                  24   like until he was blue in the face with me.
25     Q. That's fine.                                   25     Q. Did you believe him?
                                              Page 264                                                       Page 266
 1     A. I would have felt weird about being             1     A. I mean about what? Everything?
 2   -- I would have felt weird about him being           2     Q. Do you think he stuck his foot
 3   there if something like that maybe happened          3   under Lisa's ass during the AIPAC
 4   to me. But I would want, I would have                4   conference and said: Now that my foot is
 5   wanted him to be there so I could tell him,          5   under your ass we should take our
 6   be, like, you did this, whatever.                    6   relationship to the next level?
 7            Because he never got to tell                7            MR. WALTON: Objection to the
 8   his side of the story. And then, you know,           8   form. There is no foundation for that.
 9   when he came to my house to drop off the             9   But you can answer, if you can.
10   iPad, like I said before, and I think was           10     A. I mean, I just heard that for the
11   February, and we got into an argument, and          11   first time. That sounds like a -- no, no.
12   he said, "You never let me my side of the           12   The answer is no.
13   story. You just, you tried to take me               13     Q. You don't believe that he did that?
14   down."                                              14   Why? He is not the type of guy who would
15     Q. What was his side of the story?                15   do something like that? He is too good a
16     A. I don't know. I told -- we never               16   person?
17   -- we agreed to just put it in the past, if         17            THE COURT REPORTER: I'm sorry,
18   we were going to encounter each other in            18   I couldn't hear it.
19   the future at conferences or whatever, you          19     Q. He is not the type of guy who would
20   know.                                               20   do that? Why do you believe that that
21     Q. So Mr. Roman never denied the                  21   didn't happen?
22   allegations here?                                   22            MR. WALTON: Objection to form.
23     A. What was that?                                 23   This is Dave. Hold on, Matt.
24     Q. Mr. Roman never denied any of the              24            Objection to form. This is
25   allegations to you?                                 25   compound and it is argumentative. But you
                                           Everest Court Reporting LLC                             Page: 68 (263 - 266)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 70 of 145
Deposition of Matthew Bennett                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 267                                                       Page 269
 1   can answer it, if you can.                           1   hard. If we had meetings all day long, we
 2     Q. Why don't you believe -- why do you             2   would drink at the end of the day, and, you
 3   believe it when he denies that?                      3   know, try to get our notes and meeting
 4     A. Why do I believe that he did not                4   followup done at the time.
 5   put his foot on a couch underneath Lisa?             5           Look, I was trying to -- I
 6     Q. Yes.                                            6   said, yeah, Gregg, the skeletons, I was
 7     A. It just seems like a very odd                   7   trying to be a tough guy, like I was just
 8   thing. I mean I never heard of it. I                 8   trying to just show the women that I would
 9   don't know. Somebody like trying to make a           9   be able to -- that they could trust me,
10   move on somebody with your foot.                    10   that I would be a good leader, that I would
11     Q. I thought you read the complaint.              11   be able to take care of the organization.
12     A. Yeah, but, I mean, I didn't know               12   And they said: We don't need your
13   that that was a, I don't know, the line             13   leadership and we don't need you to protect
14   that was said.                                      14   us. That's it.
15           I know there was this Gregg                 15     Q. What about Gregg Roman telling Lisa
16   acting weird on the couch, was explained to         16   that he wanted somebody to suck his dick,
17   me that he was acting like a dork. But, I           17   did Gregg deny that to you?
18   mean, now that I'm hearing it I guess in a          18           MR. RIESER: Objection, lacks
19   video deposition, it sounds, it sounds              19   foundation. This is William Rieser.
20   ridiculous.                                         20           MR. CARSON: I think one person
21           I'm sorry if I'm laughing. It               21   can make objections. This isn't --
22   sounds like ridiculous. Just like you told          22           MR. RIESER: I'm filling in for
23   me there was a couch with Tiffany Lee, did          23   Mr. Gold. Go ahead.
24   I know about the couch. Like, no.                   24           MR. CARSON: This isn't a team
25     Q. Did you ever say that you have more            25   sport.
                                              Page 268                                                        Page 270
 1   skeletons to tell about Gregg than just the          1            MR. RIESER: Go ahead. Keep
 2   sexual harassment?                                   2   going.
 3     A. I tried to say that, you know, if I             3         MR. CARSON: I'll direct you to
 4   really wanted to take Gregg down I could do          4  keep your objections verbal and concise.
 5   it.                                                  5 BY MR. CARSON:
 6     Q. What would you do?                              6   Q. You can answer the question.
 7     A. Huh?                                            7   A. Well --
 8     Q. What you would do? How would you                8   Q. I'll --
 9   do that?                                             9   A. Look, I said before --
10     A. I really didn't have anything,                 10         MR. RIESER: Stop interrupting,
11   that's the truth.                                   11 Seth.
12     Q. Did you lie to him when you said               12   Q. I'll repeat the question if you
13   that?                                               13 want.
14     A. Sorry?                                         14   A. Go ahead. Repeat it, please.
15     Q. You lied when you said that?                   15   Q. Sure. Did you believe -- did Mr.
16     A. Siri popped up. Say it again.                  16 Roman deny that he asked Lisa to suck his
17     Q. Did you lie when you said that?                17 dick?
18     A. Yeah, I exaggerated. I                         18   A. I never asked him did you, did you
19   exaggerated.                                        19 -- there were no opportunity for him to
20     Q. Are you exaggerating today?                    20 deny that to me. I never confronted him on
21     A. About what?                                    21 anything like that. But --
22            No, I'm not exaggerating today.            22   Q. So he denied that he was acting
23   But, I mean, specifically, if you want to           23 like a dork, is that your testimony?
24   say what I'm exaggerating about. But, no,           24   A. I believe that they were there in
25   Gregg and I were like work hard, party              25 Israel on the couch, and they probably were

                                           Everest Court Reporting LLC                              Page: 69 (267 - 270)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 71 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 271                                                      Page 273
 1   drinking, and that was it. But I don't --           1   then all this blew up, and then I feel like
 2   it is hard for me to believe that and I             2   I was just like poked and prodded to hating
 3   have no reason to believe that he would             3   him. And I did very much so. I wrote him
 4   like go out there on that level with, you           4   a letter and said I can't believe you did
 5   know --                                             5   all these things, I really had no way to
 6     Q. With a colleague?                              6   know if he did do all those things. But,
 7     A. -- to say, to say something like               7   you know, I just started to look for any
 8   that. He, like he, like if I ever said              8   possible thing that I could dislike in him,
 9   something that was, like even the beginning         9   and I believe that that is what these women
10   of my employment, that was like, you know,         10   did at some point, and just took everything
11   even remotely wrong to say, he would say           11   that could possibly be said about somebody
12   no, like, this is, or he would make sure           12   and saying it about him.
13   that everything was proper, in line.               13            But, I don't know, it is almost
14            And it was him, I'm pretty                14   like Marnie is telling me just imagine
15   sure, who gave the harassment training,            15   what, Leah and Gregg in Israel, and it was
16   long before I left. Again, I think it              16   like over and over again, thinking about
17   could have been Mark, but I believe                17   like the same thing. It was like upsetting
18   somebody gave harassment training in 2018.         18   to me.
19   I'm sure -- I don't believe it was 2017.           19     Q. How old is Leah Merville?
20   I'm pretty sure it was 2018.                       20     A. I mean she was a -- I guess
21     Q. So what specifically did Gregg                21   graduated from college, or, at the time
22   Roman deny then when he made these denials         22   she, of her internship.
23   to you?                                            23     Q. She was 18?
24     A. I just, everything, I mean, my main           24            MR. RIESER: Don't interrupt
25   was like the data and the Salesforce and           25   him.
                                             Page 272                                                       Page 274
 1   everything, you know, and that was me.              1  Q. She was 18 years old?
 2   That wasn't even with the women.                    2  A. I have no idea.
 3            I said, like you are showing               3  Q. How old was she when she started
 4   here, I thought something was up in                 4 working with the Middle East Forum?
 5   Salesforce, but it wasn't. But it is like           5  A. How would old is she now? How old
 6   everything, whatever, was bundled together,         6 was she then? I don't know.
 7   everything everybody was saying about him.          7  Q. The question was: How would old
 8            But, I don't know. Like, you               8 was she when she started working at the
 9   got to understand, like we went, right up           9 Middle East Forum?
10   until the end, we were going to happy hour         10         MR. RIESER: Seth, I'm going to
11   together, like routinely. Like we were             11 instruct you, please do not interrupt the
12   going out like routinely. There was                12 witness.
13   never -- everybody was like in good --             13         MR. CARSON: Your objection --
14   everybody was friends. Like it was always,         14         MR. WALTON: Objection --
15   like, all right, Gregg is the boss, like we        15         THE WITNESS: I don't know.
16   never didn't remember that fact. Like              16         THE COURT REPORTER: Excuse me.
17   Gregg is the boss.                                 17         THE WITNESS: I don't know.
18            But, you know, I remember the             18 Old enough to go to college.
19   last happy hour I believe we went to, he           19         THE COURT REPORTER: I couldn't
20   said, "I got to leave and go back to the           20 hear the objection.
21   office and get work done," and he stayed           21 BY MR. CARSON:
22   and Tricia, Lisa, somebody else, I don't           22  Q. Keep the record clear. It is a
23   know, Catriona or Marnie or something.             23 simple question. Yes, or no, or I don't
24            But, you know, right up until             24 know.
25   the end we were always good friends, and           25  A. I don't know.
                                          Everest Court Reporting LLC                             Page: 70 (271 - 274)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 72 of 145
Deposition of Matthew Bennett                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 275                                                      Page 277
 1     Q. How old was she when she began                   1  I don't believe that it happened at this
 2   working at the Middle East Forum?                     2  point.
 3     A. At this moment, I do not know. At                3          MR. RIESER: You harassed this
 4   the time I'm sure she would have had to               4 witness enough.
 5   include her birth date or some form of                5 BY MR. CARSON:
 6   identification in her application. But I              6    Q. Why don't you believe it happened?
 7   do not know. I do not know.                           7    A. Did she say that it happened? Show
 8     Q. Was she an appropriate age for                   8 me that she said that it happened, and then
 9   Gregg Roman to sleep with?                            9 I'll believe that it happened. I don't, I
10            MR. RIESER: Objection to form,              10 don't -- I have nothing to believe that it
11   argumentative.                                       11 happened. And that's what came back to me
12     Q. Was she?                                        12 when I'm faced with all these documents
13     A. I mean, you are asking me is that               13 that, that came, everybody saying that
14   age appropriate for people to sleep with?            14 things happened, but when it came time to
15   Or am I testifying that Gregg Roman slept            15 ask myself, and I said: Matt, did you
16   with her?                                            16 actually see that happen? No, I didn't.
17     Q. Do you think it would have been                 17 Did you actually see that happen at AIPAC?
18   appropriate if he had slept with, if he had          18 No, I didn't. Did you see that happen in
19   sex with her?                                        19 Israel? No, I didn't.
20            MR. WALTON: This is Dave.                   20          Did you see Gregg take the
21   Objection to form.                                   21 proprietary information from Salesforce?
22     A. As far as I know, the law is the                22 No, I didn't. I didn't see it. I had no
23   law. Whatever the legal consenting age is            23 proof of it. But I believed it because
24   is the legal consenting age. So I don't              24 everybody was saying it.
25   know what the line of questioning is.                25    Q. Don't you think that's a real
                                               Page 276                                                       Page 278
 1     Q. Taking all of the considerations                 1   problem, though, that no one knows, no one
 2   into account, that he was --                          2   talked to her? Did you ever call and ask
 3     A. I don't know. My dad is 82 and my                3   her if it happened? Did you ever take a
 4   mom is 64 or 65. So, I mean, that's a                 4   statement from her in connection with an
 5   pretty big age gap.                                   5   investigation into Gregg Roman's sexual
 6     Q. Is your mom an intern and your dad               6   misconduct?
 7   a director of the same organization?                  7            MR. RIESER: Objection to form,
 8           MR. RIESER: Object to the                     8   argumentative, compound.
 9   form, argumentative.                                  9     A. She never was an employee--
10     A. I'm just making a point that there              10     Q. You can answer.
11   is a gap in ages and what the --                     11     A. Did I investigate --
12     Q. So sitting here today, you can't                12     Q. Yeah. Did you ever --
13   say whether it would have been appropriate           13            THE COURT REPORTER: Excuse me.
14   for them to engage in a sexual                       14   Excuse me. I'm going to ask you to just
15   relationship?                                        15   talk one at a time, please.
16           MR. WALTON: This is Dave.                    16     Q. Did you ever call her and ask her
17   Objection. Objection to the form.                    17   what happened?
18           MR. CARSON: You can't                        18     A. No. And say, oh, there is an
19   interrupt.                                           19   alleged rumor about you?
20           MR. WALTON: You are being                    20     Q. Yeah. Did Daniel Pipes --
21   abusive and argumentative. This is never             21     A. No.
22   coming into evidence.                                22     Q. -- ever call and ask whether it
23           THE WITNESS: You are putting                 23   happened?
24   words in my mouth. I can't comment on that           24     A. I have no way to know that,
25   because I don't believe that it happened.            25   obviously.
                                            Everest Court Reporting LLC                             Page: 71 (275 - 278)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 73 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 279                                                      Page 281
 1     Q. Did Mark Fink ever call and ask if              1           MR. WALTON: Objection to form.
 2   it happened?                                         2   Eleanor, this is Dave. Objection to form,
 3     A. I have no way to know that,                     3   to the extent it calls for a legal
 4   obviously. I don't think they are --                 4   conclusion that you are asking is expert
 5     Q. Don't you think that's an important             5   opinion on sexual harassment investigation,
 6   component of the investigation into Gregg            6   and --
 7   Roman's sexual misconduct, is witness                7           MR. CARSON: I'm not asking for
 8   statements?                                          8   expert opinion.
 9     A. I mean, hold on. What was that?                 9           MR. WALTON: It sounds like to
10   What was the last thing you just said?              10   me you are.
11     Q. Don't you think an important                   11           MR. CARSON: No, I'm not. I'm
12   component into an investigation into a              12   not asking --
13   director of the Middle East Forum's sexual          13           MR. WALTON: It was not his
14   misconduct is obtaining witness statements          14   responsibility to conduct the
15   from the people who were harassed?                  15   investigation.
16     A. No.                                            16           MR. CARSON: Are you testifying
17           MR. WALTON: Listen, this is                 17   now, Mr. Walton?
18   objection.                                          18           MR. WALTON: No. It is the
19     A. This is a --                                   19   truth.
20           MR. WALTON: Matt, Matt, hold                20           MR. CARSON: You are objecting
21   on, Matt. Matt, I have to state my                  21   to --
22   objection. Objection. You are badgering             22           MR. WALTON: You can ask
23   the witness.                                        23   Daniel Pipes this question.
24           MR. CARSON: It is not an                    24           THE WITNESS: I'm testifying
25   objection.                                          25   and --
                                              Page 280                                                       Page 282
 1         MR. WALTON: There is no                        1            THE COURT REPORTER: Excuse me.
 2  evidence that she ever made a complaint.              2   I'm not reporting right now.
 3         MR. CARSON: Badgering the                      3            THE WITNESS: If there was ever
 4 witness isn't an objection.                            4   an allegation made to me by Leah Merville I
 5         MR. WALTON: Yes, you are. You                  5   would have taken proper course of action.
 6 are being abusive and you are being                    6   Did Leah Merville ever say anything to me
 7 argumentative.                                         7   other than thanks for the great
 8         MR. CARSON: No, I'm not.                       8   opportunity, I look her out to lunch the
 9         Go ahead. You can answer the                   9   last day that she worked there, we went to
10 question.                                             10   the Falafel place that's on 17th Street,
11         MR. WALTON: We will agree to                  11   whatever it was, Goldie's or whatever it
12 disagree.                                             12   was. She said: Oh, I had an amazing
13 BY MR. CARSON:                                        13   internship, thank you, and goodbye. Like,
14   Q. You can answer the question.                     14   whatever.
15   A. What Gregg does in his personal                  15            No, I had no reason. Leah
16 life --                                               16   never contacted me. She knew how to reach
17   Q. That's not my question.                          17   me. We were friends on Facebook. Probably
18   A. -- that's not with an employee is                18   still are friends on Facebook, so I'm sure
19 not my business.                                      19   she would know where to find me or where to
20   Q. I didn't ask about his personal                  20   find me if she had allegations. She
21 life. My question was: Don't you think an             21   brought me no allegations. I had no reason
22 important component of an investigation               22   to do any, whatever.
23 into sexual misconduct is questioning the             23     Q. You had no reason to what?
24 witnesses, questioning the people who                 24     A. Unless Leah said, hey, Matt, guess
25 alleged the misconduct?                               25   what, something happened at MEF, what would
                                           Everest Court Reporting LLC                             Page: 72 (279 - 282)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 74 of 145
Deposition of Matthew Bennett                                          Lisa Barbounis v. Middle Eastern Forum, et. al.
                                            Page 283                                                      Page 285
 1  I do about it? She was long gone before             1   A. No.
 2  someone said, hey, there is a rumor that            2   Q. You still don't remember, okay.
 3 Gregg did this, and I have no evidence of            3   A. Listen, if there is an NDA with my
 4 it. So then when call somebody to tell               4 signature on it that's dated the day before
 5 them somebody else is spreading rumors               5 the meeting, then it is there. Do I
 6 about them.                                          6 remember doing it? No, it is two years
 7    Q. That's your testimony today. Are               7 ago. And I have gone through several major
 8 you sure you don't want to change it right           8 life changes by then.
 9 now?                                                 9          And I've tried to, the day that
10         MR. RIESER: Objection,                      10 I left this place I tried to forget
11 harassing, argumentative.                           11 everything that ever happened there.
12         MR. WALTON: Objection. I join               12   Q. Except for Gregg Roman's --
13 in that objection. Seth, you have to stop           13          MR. WALTON: This is Dave.
14 this.                                               14 Matt, you don't need to explain yourself.
15         MR. CARSON: You want to --                  15 You either remember or you don't. It is
16         MR. WALTON: This is way beyond              16 fine.
17 the pale.                                           17          THE WITNESS: Thanks, Dave.
18         THE WITNESS: I mean --                      18 BY MR. CARSON:
19 BY MR. CARSON:                                      19   Q. You remember that Gregg Roman
20    Q. I mean, is that what you think,               20 denied everything, right? But you don't
21 it's Leah Merville's fault because she              21 remember --
22 didn't report anything when she left; is            22          MR. RIESER: Objection,
23 that your testimony?                                23 harassing, argumentative.
24    A. I never said anything was anybody's           24   A. Am I answering the question?
25 fault. I'm saying, you're saying don't I            25   Q. Well, I'm just, how do you choose
                                            Page 284                                                       Page 286
 1   have a responsibility to conduct                   1   what to remember and not to remember?
 2   investigations or whatever. Yeah, if Leah          2            MR. RIESER: Objection,
 3   Merville was my employee and she came to me        3   argumentative. Objection to form.
 4   and said, hey, something happened, then I          4     A. Traumatic things that affected me
 5   would say, alright, let's get it in                5   and scared me I remember. And things that
 6   writing, let's make a complaint, let's move        6   are of no consequence I don't. I don't
 7   on to the proper, take the proper course of        7   remember signing a nondisclosure agreement
 8   action.                                            8   because it didn't matter to me. I knew
 9           But, no. And as far as I                   9   that that nondisclosure agreement wasn't
10   understand whatever was supposed to happen        10   going to protect me from anything or not
11   took place, she wasn't with MEF anymore,          11   protect me from anything. It wasn't,
12   anyway. So that's as I understand it.             12   whatever.
13    Q. Here Daniel Pipes says: Thanks for            13            If my life blew up and I got
14   the signed NDAs. But to make it                   14   fired, I would move on, and go get a new
15   logistically easier, let's do it again on         15   job, make new friends and move on with my
16   paper tomorrow.                                   16   life. I really didn't care what the
17           So did you execute another NDA            17   nondisclosure agreement said.
18   with Mr. Pipes in person, on paper?               18     Q. You didn't express your concerns
19    A. Maybe we signed NDAs in the                   19   about the nondisclosure agreement before
20   meeting, I guess. Is that what that means?        20   the November 5th meeting?
21    Q. Yeah.                                         21     A. If I did, it was because -- I mean,
22    A. If this was the date before the               22   I may have.
23   meeting.                                          23     Q. Did you?
24    Q. Yeah. Do you remember whether you             24     A. I may have, if other people were
25   signed an NDA before the meeting, now?            25   expressing concerns. I believe, I think
                                         Everest Court Reporting LLC                             Page: 73 (283 - 286)
                                  215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 75 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 287                                                      Page 289
 1   Marnie had the lawyer look at it and the             1   said, "You are a fucking pussy." And then
 2   lawyer said, oh, it is bullshit. And then            2   that was, and that was it. That was the
 3   Lisa and Tricia also didn't want to sign             3   beginning of it.
 4   it. And then, what was I going to say,               4     Q. Well, what other comments were made
 5   like, no, it is fine, just sign it. So I             5   if that was just the beginning?
 6   said, oh, maybe I do have concerns. I                6     A. That I was like loyal to Gregg.
 7   don't remember, I don't remember. I don't            7   That I didn't try to take -- they said you
 8   know.                                                8   didn't, why didn't you -- why did you
 9     Q. So the only reason you expressed                9   defend Stacy, why didn't you, like why
10   concerns is to just, what, because the              10   didn't I jump on the bandwagon and try to
11   other women were expressing concerns?               11   take Gregg down.
12     A. I'm not the type of person that                12            So then I did try to take Gregg
13   would, that would care for, like if I was           13   down. I called the meeting and I told him:
14   wrong. I don't know what the content of             14   You can't talk to anybody.
15   the NDA was. Maybe like don't talk about            15            And then Daniel said: Well,
16   confidential business at MEF or whatever it         16   why did you do that? And I said: Because
17   said. But it wasn't, it wasn't of                   17   the women feel that way.
18   importance to me.                                   18            And he said: Hey, women, do
19           What was important to me was                19   you feel that way?
20   being told by my friends and colleagues,            20            And they said: No. Gregg is
21   like, we threw you under the bus, you are           21   fine. Matt is nuts.
22   with us or against us, take Gregg down, you         22            So upon learning that, upon
23   are a pussy, we don't trust you. That's             23   knowing that they are coming to me saying
24   what I remember. That's what is ingrained           24   Gregg is terrorizing us, and then I say,
25   in my memory, that the people I called my           25   all right, I'm going to get Gregg out of
                                              Page 288                                                       Page 290
 1   friends for a long time, confided in,                1   here, and then I do it, at the expense of
 2   socialized with, that they manipulated me,           2   my own job, and then they are like, oh, no,
 3   emotionally, when I was at the lowest point          3   we are fine, and Matt is just on a power
 4   in my life, after I had lost a child, after          4   trip.
 5   I had gone -- was dealing with personal              5            Yeah, I realize, they are
 6   issues with my wife, and I felt that they            6   not -- they don't give a shit about me,
 7   manipulated me.                                      7   they are emotionally manipulating me into
 8            And maybe I didn't see it at                8   some, into some other end which either is a
 9   the time, but I feel like I see it now.              9   lawsuit or is a new position or a new job.
10   And Marnie would be nice to my face, and            10   And that's it.
11   then shitty behind my back, apparently.             11     Q. Well, when did you decide that?
12   And then I started believing that Lisa and          12   When did you decide they were emotionally
13   Tricia were like that too. And then, and            13   manipulating you?
14   that was it. And it seems like that's the           14     A. Probably a couple weeks after I had
15   case.                                               15   left to go into another organization, and I
16     Q. Did anyone make any of those                   16   had some downtime, and I just started to
17   comments after the November 5th, 2018               17   think back. And I said, wait a second, you
18   meeting?                                            18   know, immediately I knew that Marnie, who
19     A. Did anybody make comments what?                19   always I felt just basted me for whatever
20     Q. Any of the comments you just                   20   reason, wanted my job, or a bigger job, or
21   testified about at the November 5th, 2018           21   the top job, or whatever.
22   meeting?                                            22            But, you know, I didn't -- I
23     A. Yeah, that was it. Directly after              23   never thought Tricia and Lisa would, would
24   the meeting we went down to Tir na nOg, and         24   feel that way, or didn't feel that way,
25   Marnie said, "I don't trust you," and Lisa          25   like they wanted me gone, removed or they
                                           Everest Court Reporting LLC                             Page: 74 (287 - 290)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 76 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 291                                                      Page 293
 1   wanted to report to Daniel directly or               1          MR. CARSON: You are actually
 2   whatever. I'm happy to let them do that.             2   not.
 3   My life was easier not reporting to Daniel           3         MR. RIESER: Yeah, I am.
 4   directly. It was easier not wanting to be            4 BY MR. CARSON:
 5   the director of the organization. I was              5  Q. At the time you testified you
 6   happy in my middle management bliss,                 6 believed them?
 7   sending out press releases, scheduling               7  A. At what time?
 8   donor meetings.                                      8  Q. In November of 2018, right, you
 9           I certainly never asked, you                 9 believed them at that time?
10   know what, I'm going to be a director of            10  A. After they took -- what was the
11   the organization. Even when I was asked by          11 date of this message?
12   people at the organization, well, Matt,             12  Q. November 5th, 2018.
13   what do you want to do with your life? I            13  A. Yeah. So just to make sure I
14   said I'm happy, I like this place, I like           14 understand what is going on, after the
15   doing the work that I do, and I'm not going         15 meeting I'm saying some of the women in the
16   to go to seek to be the director of some            16 office expressed disappointment in me for
17   place, until all of a sudden, everybody was         17 not going after Gregg more aggressively. I
18   trying to take down Gregg, and, it was              18 understand...
19   like, oh, my God, there is no leadership            19         And you are saying did I
20   and we all feel victimized.                         20 believe them. I mean, believe means
21           So I tried to save them. And                21 something relative.
22   then Marnie said, "We don't need you to             22  Q. That's not what I said I said.
23   save us."                                           23         MR. RIESER: Matt, don't
24     Q. Do you remember this? Do you                   24 interrupt him again.
25   remember this, an e-mail that, text message         25  Q. My question is: You testified
                                              Page 292                                                       Page 294
 1   you sent? This is November 5th, 2018.                1   earlier today that at this time you
 2     A. Yep. I mean, yep.                               2   believed the women, you believed their
 3     Q. Why were you more concerned with                3   allegations, correct? That was your
 4   what Daniel Pipes wanted than with what the          4   testimony earlier today, correct?
 5   woman that were sexually harassed and                5     A. I believe -- no, I didn't say I
 6   abused wanted?                                       6   believed what they said happened actually
 7           MR. RIESER: Objection,                       7   happened. I believed that they were
 8   argumentative. Objection to form?                    8   at like a point where they were serious
 9     Q. You can answer.                                 9   about, about it.
10     A. You saying they are sexually                   10            Like all the facts, I'm not
11   harassed and abused is I think --                   11   sure if I knew even all of the facts at
12     Q. At the time you believed them,                 12   that point, I mean about the thing about
13   right.                                              13   the foot on the couch, and like I don't
14           MR. RIESER: Objection. Don't                14   even know if I knew the details of that at
15   interrupt him.                                      15   that point.
16     Q. At the time you believed them,                 16     Q. You knew enough that --
17   right?                                              17     A. Like, listen, I considered myself
18     A. At the time --                                 18   as custodian of the organization, that I
19     Q. You testified that at this time --             19   was responsible for Daniel, for the
20           MR. RIESER: Don't interrupt                 20   reputation of the organization, for myself,
21   him.                                                21   for the people who worked for me, and
22     Q. Is that right?                                 22   everybody else.
23           MR. RIESER: Seth, Seth, stop                23            I'm proud to have my name
24   badgering the witness, stop interrupting            24   written there, and my consideration at that
25   him, or I'm going to end this deposition.           25   point, I was more concerned with what you
                                           Everest Court Reporting LLC                             Page: 75 (291 - 294)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 77 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 295                                                      Page 297
 1   want and my -- it is not binary. It is               1   concerned with what you want, I mean, he is
 2   not, well, I can be concerned for the woman          2   the president of the organization. Does he
 3   or I can be concerned for Daniel and the             3   want everybody to get along and hold hands?
 4   organization. I was concerned for                    4   Does he want just Gregg gone? Does he want
 5   everything because I saw the walls falling           5   to restructure the organization? Does he
 6   down around me.                                      6   want to put up, implement new work flows
 7     Q. Did you express that concern for                7   and protocols to make sure that some people
 8   everything in this text that you sent to             8   are not going to be talking to other
 9   Daniel?                                              9   people?
10     A. What text? Which one?                          10     Q. Which one of those is accurate?
11     Q. The that one I highlighted.                    11   You are here --
12     A. The one highlighted.                           12           MR. WALTON: Objection to form.
13     Q. Yeah. Did you express that concern             13   You can answer.
14   for everything in this text?                        14     Q. You just made up a whole bunch of
15     A. Maybe I didn't write it to him.                15   hypotheticals. We are not here today to
16   But several times I told him that, you              16   talk about hypotheticals. We are here
17   know, I care deeply about the organization,         17   today to talk about the truth.
18   the organization, the organization. I'm             18           MR. RIESER: Objection.
19   pretty sure that I imparted that more times         19           MR. WALTON: Objection to form.
20   than I can remember.                                20     Q. Which one is it?
21           Like you are showing me a                   21     A. There were multiple
22   message. Do you know how many                       22   considerations --
23   conversations I had with Daniel and e-mails         23           MR. RIESER: Objection to form.
24   and in-person interactions? Like you are            24     A. -- people working there that had no
25   taking down one text message to distill it          25   part in any of this, don't want them to be
                                              Page 296                                                       Page 298
 1   down and say, well, I didn't care about the          1   negatively impacted by what was happening,
 2   women.                                               2   staff that had no idea what was going on or
 3     Q. No, but you wrote in this e-mail                3   weren't involved, didn't want their job to
 4   that you were more concerned with what               4   be jeopardized to the people that I held
 5   Daniel wanted than what the women wanted,            5   higher, to writing fellows and the rest of
 6   correct? That's what you said in this                6   the organization, should they all be
 7   e-mail, in this text message?                        7   impacted by it? No. That's how I felt as
 8     A. That's what is written. That's                  8   a custodian of the organization. That's
 9   what is written.                                     9   how I felt making sure that the walls
10     Q. Why?                                           10   weren't falling down.
11     A. I can only explain to you 26 months            11    Q. So when five women come together to
12   later -- why?                                       12   complain about one employee's misconduct
13     Q. Yeah, why at that time were you                13   and harassment, you think the concern of
14   more concerned with what Daniel wanted than         14   the organization should be everyone but the
15   what the women wanted, at a meeting that            15   women? Is that your testimony?
16   was held to discuss allegations of sexual           16           MR. RIESER: Objection to form.
17   harassment?                                         17           MR. WALTON: Objection to form.
18     A. I don't know. Now you are saying               18           MR. RIESER: Matt, Matt --
19   it is not a trick question. I feel like it          19           THE WITNESS: The organization
20   is definitely a trick question. I don't             20   fell apart because of lies and then --
21   know what you are trying to like -- like            21           THE COURT REPORTER: Excuse me.
22   this wasn't the only thing that was                 22   Excuse me.
23   discussed between Daniel and I on the               23           MR. RIESER: Matt, you got to
24   phone, in the text messages.                        24   wait until we finish our objections before
25            When I'm saying I'm more                   25   you start your answer. Okay?
                                           Everest Court Reporting LLC                             Page: 76 (295 - 298)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 78 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 299                                                      Page 301
 1         THE WITNESS: Okay. Sorry.                      1     A. That I thought there was a data
 2         MR. RIESER: Go ahead.                          2   breach and I wasn't sure if it was Gregg.
 3 BY MR. CARSON:                                         3   I didn't know what was happening. I had to
 4   Q. I'm just trying to understand your                4   get to the bottom of it.
 5 testimony.                                             5     Q. The meeting was called to talk
 6   A. I don't think -- it is a riddle.                  6   about a data breach?
 7   Q. What do you think the number one                  7     A. No, it wasn't. The meeting was
 8 consideration of the organization should be            8   called to talk about everybody's gripes
 9 at a meeting that's held to discuss                    9   with Gregg.
10 multiple women's allegations of sexual                10     Q. Gripes, that's the word you are
11 harassment, sexual misconduct and sexual              11   going to use?
12 abuse?                                                12     A. Well, they weren't complaints
13         MR. RIESER: I'm going to --                   13   because if they were, as I told you, I
14 hold on.                                              14   would have asked them to put them in
15   A. It takes --                                      15   writing.
16         MR. RIESER: I'm going to                      16     Q. They were not complaints. So when
17 object to form, it is argumentative. It               17   you say you understand what they wanted,
18 calls for a legal conclusion. Go ahead.               18   but you were more concerned with what
19   Q. What do you think the number one                 19   Daniel Pipes wants, what did Daniel Pipes
20 consideration in this organization should             20   want? Did he tell you that?
21 be, as someone who was in management, as              21     A. No, Daniel Pipes did not tell me
22 someone who was involved in this report, as           22   what he wants.
23 someone who was at the meeting, what do you           23     Q. How did you know what he wanted?
24 think the number one priority should be?              24     A. I didn't know what he wanted.
25         MR. WALTON: Objection to form                 25     Q. How could you be concerned with it?
                                              Page 300                                                       Page 302
 1   and compound.                                        1     A. Because he controls the fate of my
 2    Q. You can answer. Is it the safety                 2   employment as the president of the
 3   of the women?                                        3   organization. And it should be obvious. I
 4    A. The safety --                                    4   mean, you know, there is -- there was
 5           MR. WALTON: Objection to form.               5   complaints about annoying donors, Dr.
 6    Q. What do you think?                               6   Stein. There was complaints about -- I
 7    A. If you can state the question in                 7   mean, it was all kinds of stuff.
 8   one coherent sentence, I'll answer it to             8          Actually, that was another one
 9   the best of my ability.                              9   of my complaints. Why did Gregg remove me
10    Q. I would be happy to rephrase it.                10   from the conversation with this specific
11    A. Please rephrase it.                             11   donor. You know, I also had complaints.
12    Q. So MEF held a meeting on November               12          THE COURT REPORTER: Excuse me.
13   18th -- November 5th, 2018, correct?                13   I'm going to need a break.
14    A. Yes.                                            14          MR. RIESER: Seth, how much
15    Q. What do you think the number one                15   longer have you got? We are like over
16   priority at that meeting for Daniel Pipes           16   seven hours at this point.
17   should have been?                                   17          MR. CARSON: No, we are not.
18    A. To keep the organization from                   18   We are nowhere near seven hours.
19   exploding with accusations and boiling over         19          MR. RIESER: Well, you take a
20   gripes, which I believe he did by banning           20   smoke break and a phone call.
21   Gregg, vanishing Gregg from the office              21          MR. CARSON: We are nowhere
22   until he could get to the bottom of what            22   near seven hours.
23   was being alleged by everyone, including            23          MR. RIESER: You are going to
24   myself.                                             24   keep going to seven hours? Go ahead.
25    Q. What did you allege?                            25          THE WITNESS: Can I get an ETA
                                           Everest Court Reporting LLC                             Page: 77 (299 - 302)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 79 of 145
Deposition of Matthew Bennett                                          Lisa Barbounis v. Middle Eastern Forum, et. al.
                                            Page 303                                                      Page 305
 1  to like give to my --                               1   else, or especially after -- I didn't know
 2          THE COURT REPORTER: I can't                 2   which way was up, quite simply.
 3 hear.                                                3     Q. That was it? That's why you were
 4          MR. CARSON: Someone is making               4   emotional, you just didn't know which way
 5 a lot of noise in the background.                    5   was up?
 6          MR. WALTON: Seth, when is this              6     A. I was also disturbed by like all of
 7 going to end?                                        7   a sudden that there is, suddenly everybody
 8          MR. CARSON: I mean, I'll let                8   together at the same time is having
 9 you know when I get to my last question.             9   traumatic stories, that, with all different
10          MR. RIESER: You can't give us              10   accounts and details, and being hit with it
11 an estimation?                                      11   simultaneously, yeah.
12          MR. WALTON: Seth, as a                     12     Q. So it was because you didn't know
13 professional -- wait. Can we go off the             13   which way was up and because you were hit
14 record so Eleanor can take a break? Can we          14   simultaneously with all the stories of
15 go off the record so Eleanor can take a             15   different accounts; is that your testimony?
16 break?                                              16     A. Yeah.
17          MR. CARSON: Of course.                     17     Q. Is there any other reason why you
18          MR. WALTON: We are off the                 18   were so emotional for the last three days?
19 record, Eleanor. You don't have to take             19     A. Aside from having to -- having lost
20 this down.                                          20   a child a couple months previously, and
21          (Recess taken.)                            21   then drinking myself to death in the
22          THE VIDEO SPECIALIST: Are we               22   following months, no. That's about it.
23 ready?                                              23     Q. When you texted Mr. Pipes about
24 BY MR. CARSON:                                      24   being emotional for the last three days,
25   Q. All right, Mr. Bennett, the next               25   you weren't referring to your child or
                                            Page 304                                                       Page 306
 1   thing I'm going to show you is here. You           1   drinking; you were referring to work,
 2   texted this to Mr. Roman on, I'm going to          2   though, right?
 3   guess, but I'll bet you I'll be right,             3     A. Sorry, hold on one second. Yeah?
 4   November, November 4th, November 5th,              4           Sorry about that. What was the
 5   November 6th, so November 6th, 2018, the           5   question?
 6   day after the D Day meeting, you texted Mr.        6     Q. You weren't referring to -- you
 7   Pipes: You can add that when faced with no         7   were referring to work when you talked
 8   other choice I had to tell my wife last            8   about the last three days of being
 9   night why I've been so emotional for the           9   emotional, right, everything that happened
10   last 3 days.                                      10   at work? This was November 6th, right?
11            So what did you tell your wife?          11     A. Yeah.
12   Why were you so emotional in the last three       12     Q. Yes. Okay.
13   days? You don't have to say the                   13     A. Well, I was emotional with my wife,
14   conversation you had with your wife. My           14   I was emotional for the last three days at
15   question is: Why were you so emotional for        15   home, obviously, because of things, yeah,
16   the last three days?                              16   compounded with things going on at home and
17     A. I didn't know what was -- I had no           17   work.
18   command of the future. Bluntly put.               18     Q. And by the accounts and stories you
19   People wrote things about me, put my job          19   were talking about Lisa Barbounis' account
20   and everybody's job in scrutiny and               20   and story, and Patricia McNulty's account
21   jeopardy. And I didn't know what was              21   and story, and Marnie Meyer's account and
22   coming next.                                      22   story, correct?
23            I didn't know -- I didn't even           23     A. Yeah. I mean maybe more. I don't
24   know at that point if, whatever, like             24   remember what else was said in that
25   Marnie would go to Daniel and say something       25   November meeting, whatever. But, yeah.
                                         Everest Court Reporting LLC                             Page: 78 (303 - 306)
                                  215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 80 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 307                                                      Page 309
 1     Q. Daniel Pipes says: Can you put                  1   read my opponent, and be intuitive, and be
 2   together in a single note for me to quote?           2   smart, and have, understand if people are
 3     A. Mm-hmm.                                         3   going through a certain situation and be
 4     Q. Did you do that? Did you write a                4   the, you know, the one to, at a family
 5   single note for him to quote?                        5   engagement, you know, to bring calm, if
 6     A. I mean, isn't it there below?                   6   people are arguing about politics or
 7   Like, I don't know.                                  7   everything like that.
 8     Q. Is it? You show me.                             8            And suddenly here was a
 9     A. I don't know. Scroll down.                      9   situation that it was like I'm just an
10     Q. You said: Okay. And you said:                  10   idiot who had no control of the situation.
11   Mail or Telegram?                                   11   And I had no control of our future, and I
12            He says: As you like. Here is              12   had no control, therefore, of income and
13   fine.                                               13   our stability and my livelihood.
14            And then you said: I would                 14     Q. What part of the situation didn't
15   like to limit my interactions with Gregg to         15   you have control over? What are you
16   MEF e-mail and Slack-related only to work           16   talking about here?
17   and not the unpleasantries or anything              17     A. The entire situation. I didn't
18   else. I'm sorry for any difficulty this             18   know what was going to happen at work once
19   might cause and understand that I am an             19   all of this went down.
20   at-will employee, that I am at-will                 20     Q. None of this had anything to do
21   employed, but when faced with no other              21   with you, right, on November 2018?
22   choice, I was forced to tell my wife                22     A. Well, first of all, I mean, I don't
23   everything that was happening, and her              23   know what we are going into here, but
24   disappointment in me as a man and leader            24   conversations with my wife are privileged.
25   has completely crushed me.                          25            But the point is here, is I
                                              Page 308                                                       Page 310
 1            What did you mean by that?                  1   wanted Gregg to know that my wife was
 2     A. Well, it was several components                 2   disappointed in me. I'm not sure why I'm
 3   there. And number one is I wanted, I                 3   talking about conversations with my wife.
 4   wanted Gregg to see that, to know that, how          4     Q. Well, I'm asking you about your
 5   upset I was or affected that I was.                  5   testimony right now.
 6            And also, she didn't, she                   6     A. What is the question?
 7   didn't -- she didn't believe it. She said            7     Q. What didn't you have -- you said I
 8   the entire time she thought Marnie was a             8   usually had my finger on the pulse of
 9   liar, and she believed that she was like             9   things and my arms wrapped around things.
10   never my friend to begin with, that was             10   What does that have to do with anything
11   just her natural instinct of her from the           11   that had to do with the November 5th
12   beginning.                                          12   meeting?
13            So, but, yeah, I wanted, more              13     A. Because no one told me anything
14   than anything I wanted Gregg to know that           14   until, until the final hour. Said, oh, my
15   work was now bleeding into my personal              15   God, I'm traumatized from AIPAC. And, oh,
16   life, which he had full details of, was             16   my God, I'm traumatized from Israel. And
17   crumbling.                                          17   Gregg works us too hard, he's -- and I'm
18     Q. Your wife was disappointed in you              18   afraid of him because he is big and because
19   because she didn't believe Marnie Meyer?            19   he is tall and because, I mean, a million
20     A. S.                                             20   people are complaining, and all of a sudden
21            He was disappointed because I              21   I'm like, oh, you guys are all unhappy in
22   usually had my finger on the pulse of every         22   your work, but my perception, we are going
23   situation that I'm in. I can tell you what          23   out to happy hour, everybody is going along
24   people are most likely, pride myself in my          24   with their lives and everything is fine.
25   ability to sit down at a poker table and            25   And then suddenly, boom.
                                           Everest Court Reporting LLC                             Page: 79 (307 - 310)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 81 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 311                                                      Page 313
 1            And then months later, boom, I             1   are harassed, and now all of a sudden we
 2   feel like an idiot again because now I'm            2   are abused and we can't -- our lives are in
 3   thinking they are all lying to me or they           3   disarray and everything is horrible.
 4   all did lie to me, make me look stupid in           4            Everything wasn't horrible.
 5   front of Daniel. Meanwhile, they are all            5   Everything was fine. Everybody was going
 6   out doing their own things and Tricia is on         6   out. Everybody was having, got a good
 7   dating apps and getting on with her own             7   social life, and as far as I know
 8   life, and Lisa is having affairs with               8   everybody's personal lives were good, good
 9   whoever else in London, Australia, and              9   enough to be traveling overseas to London.
10   whatever.                                          10   Gregg or Lisa and Tricia to go in Tommy
11            And all of a sudden, like,                11   Robinson things, interacting with MEF
12   there is this little microcosm of whatever         12   vendors, sleeping with people.
13   happened several months ago, like they blew        13            Wasn't, these weren't -- that
14   up the whole organization, and my life             14   wasn't the activity of somebody who has
15   included in it. And now my life is bundled         15   been traumatized or whatever. Somebody who
16   into that, and now my fate is being decided        16   is feeling that would say I need to report
17   by that, how Daniel is going to react to           17   this or do something about it.
18   that.                                              18            I feel like defrauded. Like I
19     Q. What does whether Patricia was on a           19   feel like, you know, I was used as pawn, as
20   dating app have to do with anything?               20   a chess player, I was used as a pawn, moved
21     A. Well, it seems like everybody's               21   across the board until -- and maneuvered
22   lives were fine. Everybody was out,                22   around until desired out. I'm game. Maybe
23   enjoying themselves, holiday parties. Like         23   that was my resignation. Maybe that was
24   life was good. Life was fine. And                  24   Gregg coming back. I don't know. I don't
25   suddenly it wasn't. Suddenly life was bad.         25   know.
                                             Page 312                                                       Page 314
 1   Suddenly Gregg was an abuser. And suddenly          1     Q. You are the victim?
 2   their interactions with him were like, like         2     A. I just wanted to get away from it
 3   traumatic. Like, I'm telling you, in went           3   and put it behind me.
 4   from zero to 60 in the blink of an eye.             4     Q. You are the victim, Mr. Bennett?
 5            And I felt like, well, I must              5     A. The victim?
 6   have missed something. And then as time             6     Q. Yeah. Are you the victim in all
 7   went on it felt like, like they switched            7   this?
 8   back. It was like, now that Matt wants              8           MR. WALTON: Objection to form,
 9   Gregg gone now, I'll tell Daniel we really          9   argumentative.
10   don't really care if Gregg is here, Matt is        10     A. I don't know.
11   the crazy one. We got Gregg out of the             11           MR. CARSON: It is not
12   office. Now let's make Matt look stupid,           12   argumentative.
13   and then suddenly we will be reporting to          13     A. I'm a manipulated pawn in all of
14   Daniel directly and we will be in line to          14   this, obviously. Here, we'll throw Matt a
15   either become director or another position         15   going away party and tell him that he was
16   or whatever. I don't know --                       16   the greatest boss we ever had, on his last
17     Q. So you --                                     17   day at MEF, and then a month later, boom,
18     A. I don't know what their intent was,           18   we will say that he is responsible because
19   but, at that time, but when I received             19   he never reported our accusations and
20   documents that you had delivered to me             20   allegations that we came to him with, which
21   which suddenly said there is lawsuits,             21   we actually never came to him, suddenly he
22   people are seeking millions of dollars, I          22   is complicit in aiding and abetting people
23   thought to myself, well, now that does make        23   for doing all these horrible things.
24   a little bit more sense, doesn't it. It            24           No. I don't buy the narrative.
25   does make sense now that, oh, suddenly, we         25   I don't believe -- I'm sorry. I don't
                                          Everest Court Reporting LLC                             Page: 80 (311 - 314)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 82 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 315                                                      Page 317
 1   believe it. I don't believe it. It                  1   everybody. I really did want just the best
 2   doesn't make sense to me, because I lived           2   for the organization.
 3   it. I was there. They were all out. They            3            And I really believed I was
 4   were all having fun. We were friends. We            4   going to be a good leader, I was going to
 5   socialized. We went to each other's                 5   get everybody everything they wanted,
 6   birthday parties. Tricia babysat my                 6   smooth everything over, smooth everything
 7   daughter. She held my newborn maybe in her          7   over, put everything back on course.
 8   arms in my house. She was, I considered             8            And, no, that's not the way it
 9   her a very good friend. I considered Lisa           9   turned out. If they had just taken my back
10   very good friend.                                  10   when they said that they wanted Gregg gone,
11            I considered her husband a                11   and I said, yeah, Daniel we also don't want
12   friend. He gave me some parenting tips,            12   to communicate with Gregg. But, no, why
13   some husband tips.                                 13   would they tell Daniel that they are okay
14            And this is, and this is what             14   communicating with Gregg over the phone or
15   it came down to. Not even, hey, Matt we            15   over Telegram or whatever it was, and that
16   want you to know that we are disappointed          16   I was acting crazy and obsessed with taking
17   in you, and, I don't know, file a lawsuit,         17   him down? Why would they do that?
18   whatever. Not a conversation, un-friend            18            Then why would they invite him
19   from Facebook, never hear from me again,           19   back? Even if I suggested, hey, it could
20   and then name you as, in a lawsuit, which          20   be good for you guys if you got Gregg back,
21   bundled with the whole bunch of horrible           21   why would they invite him back? Why would
22   shit to go online can affect my reputation,        22   they throw me a going away party? I don't,
23   my ability to earn money, my ability to            23   I don't -- I can't buy it.
24   progress throughout my career.                     24            Want me to sit here, I would be
25            You have people claiming, oh,             25   lying if I told you that I did believe it
                                             Page 316                                                       Page 318
 1   my career, my career, my career. Ruined my          1   because I don't, I don't believe it.
 2   career.                                             2            So I don't know. I don't know
 3     Q. Again --                                       3   how else to phrase it. My utter, just
 4     A. What about my family? What about               4   being crushed by people that I confided
 5   by kid? What about my unborn daughter?              5   intimate details of my life with and that
 6   What about my wife? What did they do?               6   confided, they confided details with me,
 7            All I tried to do was help                 7   and then who gives a shit about Matt.
 8   every single one of those people, every             8     Q. If only they would have got your
 9   single one of them. I taught them                   9   back, right? That's your testimony?
10   everything I knew.                                 10            THE COURT REPORTER: I'm sorry?
11            I tried to get them, right up             11     Q. If only they would have got your
12   until my last day, tried to get them               12   back? Right?
13   raises, promotions, as much money as               13     A. If only they would have had my
14   possible. And it crushed me to see those           14   back? No, if only they would have just, if
15   documents and the lies that they wrote             15   only it was like a logical progression of
16   about me. And there by reading that, yeah,         16   actions and feelings and emotions. But it
17   I associated that with all the things they         17   wasn't logical because it was, like, Matt
18   said about Gregg, and I said, if they are          18   didn't take down Gregg, we want Matt to
19   willing to do that to me, then why wouldn't        19   take down Gregg, Matt tries to take down
20   they do that to him, why wouldn't they do          20   Gregg, but then we don't need Matt to take
21   that to anybody.                                   21   down Gregg. It was like back and forth.
22     Q. You sound mad.                                22            And then, oh, Matt is leaving.
23     A. Mad? It is, it is so hurtful to               23   Let's invite Gregg back. I am sorry. I'm
24   think that like, that I, I really did, I           24   sorry, I just -- it is not, it is not, it
25   really did want just the best for                  25   is not a truthful progression of somebody
                                          Everest Court Reporting LLC                             Page: 81 (315 - 318)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 83 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 319                                                      Page 321
 1   with those feelings, somebody who was               1   everybody in the organization to wage the
 2   abused, that they are going to go on and            2   most horrific things possible, all at the
 3   say, like, everything is okay. It is not            3   same time. That's what it says. That's
 4   okay. It is okay. It is not okay.                   4   exactly what happened.
 5           It is either okay or it is not.             5             There is no shortage of, even
 6   You can't cry wolf after the fact and then          6   like Delaney saying she brought pepper
 7   say I didn't cry wolf, or I'm not crying            7   spray because she was afraid of Gregg. I
 8   wolf, and then I'm crying wolf again. I             8   can't believe that people were physically
 9   don't know how...                                   9   afraid of Gregg. I can't buy it. Like I
10           I don't know what to say. Now              10   don't believe that anybody would say, oh,
11   I think back and I think back, I'm like,           11   Gregg intimidated me with his size and his
12   oh, what was -- what things should have            12   weight, and bundled together with
13   been an alarm for me. Like what things             13   everything else I saw. And that Lara, and
14   say, Matt, should have raised a flag. Like         14   Laura and Tiffany and everything, this was
15   maybe it was when they had me call my own          15   all put together and strung up and to make,
16   friend from childhood that Tricia was              16   to write a narrative that says the
17   apparently -- had dated and pretend they           17   organization was a way that it wasn't.
18   weren't listening to the phone call, even          18             You know, I'm sorry things
19   though he knew that they were on the phone         19   didn't work out for the people who remained
20   call.                                              20   there after I left. I really am. I tried,
21           Maybe it was when Lisa told me             21   I said, I said, if you want to work at ZOA,
22   she was having an affair, she wasn't having        22   I'll see if I can hire you when I get
23   an affair. But then she did hurt her eye.          23   there. Lisa expressed interest in that.
24   She said, oh, my God, she told me that.            24   Tricia expressed interest in that.
25   And she hurt her eye. Whatever.                    25   Catriona, Delaney wanted to rent my house.
                                             Page 320                                                       Page 322
 1            All these things, I should have            1   Right up until I left and I was gone,
 2   just started adding it up.                          2   everything was fine. Then it wasn't.
 3            Maybe it was when, on my last              3     Q. Are you finished?
 4   day when Lisa called Marnie and she is              4     A. Well, I'm just tying to get -- I
 5   screaming, you took money out of my pocket,         5   mean, you are asking me for my testimony,
 6   and whatever, maybe how did I not know that         6   that's my testimony, is that I feel like
 7   Marnie needed more money or felt that she           7   this is, I was used as, manipulated and
 8   was underpaid or whatever.                          8   used as a pawn, and now you are looking at
 9            Like, yeah, I feel like a                  9   all these things that are written about me
10   stooge. I feel like I was a pawn, pushed           10   saying, like, who is this terrible guy who
11   across the chessboard for somebody who             11   didn't take the mental wellbeing and
12   cheated, ultimate end. I don't know who            12   welfare and safety and security of the
13   the player is on the other side, if it is          13   women in the office seriously, when really
14   Marnie, or Lisa or whoever. But I don't            14   that's all I did from the beginning, was
15   buy these stories that all of a sudden they        15   try to make sure everybody was happy,
16   came out to say that they felt so                  16   everybody was getting what they wanted, try
17   terrorized and assaulted and everything.           17   to get them the time off, vacation, as much
18            I just -- it should have been             18   money as possible, make them look good,
19   stated as soon as that happened, it should         19   give them credit, write an article. Hey,
20   have been the day after, the week after,           20   Catriona, here is an article, show it to
21   like whatever. Not months in the future,           21   Daniel, say you wrote this. It will be
22   all at the same time, to set off a bomb.           22   good, and publish an article in your name.
23            If someone said, hey, how could           23            Hey, Tricia, look, let's
24   you orchestrate the take-down of an entire         24   create, calculate the statistics, how many
25   organization, say, well, let's get                 25   events did you organize, how many events
                                          Everest Court Reporting LLC                             Page: 82 (319 - 322)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 84 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 323                                                      Page 325
 1   did Eman organize. Look how much better              1   is about a case that has already settled or
 2   you are at your job than the previous                2   resolved. Has nothing to do with this
 3   person who had their job, that's an                  3   case.
 4   accomplishment. Use that to get them more            4     A. Well, be it what, whatever it is,
 5   money. I was always trying to help and               5   I'm sure that there is something in there,
 6   improve. Always.                                     6   and I'm sure you are going to financially
 7           And now I got to relive                      7   profit from it. So basically here you and
 8   something that I ran as fast as I could get          8   all the people that are on there are now
 9   away from, so other people could be paid             9   going to profit off my traumatic experience
10   millions of dollars. Is that fair?                  10   in the last three months, having gone
11     Q. What possibly could be you be                  11   through the worst year of my life, and
12   referring to that you saw that had millions         12   suddenly everybody else is better off for
13   of dollars written in it?                           13   it. Oh, except for the people that had
14     A. I don't remember, but I think that             14   lies told about them.
15   there was a -- I think I asked at some              15     Q. If only it were so.
16   point, what the hell is going on, to maybe          16            So you have never seen any
17   Dave and said, well, there is these                 17   document that represented that Lisa or
18   lawsuits and --                                     18   Patricia or any of the plaintiffs were
19           MR. WALTON: Don't talk, Matt,               19   trying to obtain millions of dollars; is
20   don't talk about any conversations you had          20   that correct?
21   with me.                                            21     A. Document?
22           THE WITNESS: Okay.                          22     Q. Yes.
23           MR. WALTON: Or Sid, okay, or                23     A. No.
24   Bill.                                               24     Q. Did Daniel Pipes tell you that?
25                                                       25   Did Daniel Pipes tell you that they are
                                              Page 324                                                       Page 326
 1 BY MR. CARSON:                                         1   after millions of dollars?
 2   Q. That one you got to follow. So                    2     A. I haven't spoken with Daniel since,
 3 don't tell me about conversations with your            3   since I left MEF. I asked for a
 4 lawyers.                                               4   recommendation letter, which he didn't even
 5          But like what documents, can                  5   send to me. He sent it to the employer,
 6 you remember a document? Because I'll                  6   the organization that I applied to. But
 7 represent to you there has never been a                7   that was my only interaction with Daniel.
 8 single document in this case that said that            8   So he certainly did not tell me women are
 9 any of these women were after millions of              9   after millions of dollars.
10 dollars.                                              10     Q. What about Gregg Roman? Was that
11   A. Didn't your website say that you                 11   something you talked about with him?
12 won hundreds of millions of dollars? Isn't            12     A. I talk to Gregg probably once a
13 that like your claim to fame? I mean, come            13   month, maybe twice a month.
14 on.                                                   14     Q. Did he tell you that my clients are
15   Q. Has nothing --                                   15   trying to get millions of dollars?
16   A. What are we doing? Trying to set                 16     A. Believe it or not, I had to promise
17 the record, the lawsuits are just going to            17   I would never speak with Gregg about
18 set the record straight. There is no                  18   anything that's happened in the past.
19 financial gain in it for anybody.                     19     Q. You mean with regard to this
20   Q. Anything that's written about a                  20   lawsuit?
21 lawsuit are about cases that have already             21     A. About anything that, that had taken
22 settled or --                                         22   place before, before I left MEF. I think
23          THE COURT REPORTER: I'm sorry,               23   it is toxic.
24 I can't hear you.                                     24            Gregg and I went to the same
25   Q. Anything that you read on a website              25   university. We played football against
                                           Everest Court Reporting LLC                             Page: 83 (323 - 326)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 85 of 145
Deposition of Matthew Bennett                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 327                                                      Page 329
 1   each other. We were both JCRC directors.             1     Q. I have that number.
 2   And he, when I had my first child, he                2     A. What I said there, I said: I
 3   taught me things that -- you know, I've not          3   didn't know what was happening, I wasn't
 4   that many close guys friends in my life, so          4   ruling anything out, that's how I felt.
 5   I was happy to go out with Lisa's husband,           5     Q. Have you produced those texts?
 6   Vasilly, and have beers, etcetera.                   6     A. What is that?
 7            And then Gregg always seemed to             7     Q. In this case? Have you given those
 8   have words of wisdom, and that worked. And           8   texts to your lawyers?
 9   as I left MEF and went on to one                     9     A. The day I left MEF I switched phone
10   organization, and then another                      10   numbers. I got a new phone. I wanted to
11   organization, and now managing director of          11   move on with my life completely. I moved
12   an organization, it is, you know, asking            12   out of the state. I wanted it all behind
13   for advice sometimes, and about parenting,          13   me.
14   about marriage, about work, about what he           14     Q. Have you given those text messages
15   thinks is going to happen with the Iran             15   to anyone?
16   deal should Joe Biden become the president,         16     A. No. I don't have them, is what
17   etcetera, etcetera.                                 17   I'm -- is the short answer of it.
18     Q. So here when you said: He kept                 18     Q. What did they say? What was the
19   calling and texting, I just wanted some             19   texting?
20   peace from it, you are talking about Gregg          20     A. No idea. I don't know.
21   Roman calling and texting; is that correct?         21     Q. Why did you want to limit your --
22     A. Are you reading this?                          22            THE COURT REPORTER: Mr.
23            Daniel said: Did you call                  23   Carson, I can't hear you. I'm sorry.
24   Gregg saying that you were worried about...         24     Q. Why did you want to limit your
25   (witness reading). Was Monday -- what was           25   interactions with Gregg after the November
                                              Page 328                                                       Page 330
 1   the date of this message?                            1   5th, 2018 meeting?
 2     Q. November 4.                                     2     A. Well, it was obvious. They
 3     A. I was trying to keep an even, I                 3   believed that I was -- I was, would forever
 4   believe at that point -- was it the day              4   be allegiant to him, and that would mean
 5   before the meeting? I didn't know -- yeah,           5   that they didn't trust me and that would be
 6   I was trying to like keep an even keel, so           6   the end of my ability to execute my duties.
 7   to speak. I don't know if that's the                 7     Q. So you wanted to limit your
 8   expression. I didn't --                              8   interactions with Gregg because of the
 9     Q. I'm just asking about these texts.              9   women who accused him? I didn't understand
10   Those texts that were sent, they were sent          10   your answer. What did you mean?
11   from Gregg Roman to you?                            11     A. I just wanted to get back to work.
12     A. These, no. This is a message I                 12   I just wanted to go back to the way
13   thought between Daniel and I.                       13   everything was before everything broke out.
14     Q. Yeah. And you said: He keeps, he               14   And it was easier for me not to have to,
15   kept calling and texting. You were talking          15   have to deal with that. So it was like see
16   about Gregg Roman texting you, correct?             16   no evil, speak no evil, hear no evil. I
17   You wanted some peace from it, it affected          17   just wanted everything over and done with
18   you so much?                                        18   and to move on.
19     A. Oh, yeah, I guess so. And then --              19            And apparently nothing
20   but, yeah --                                        20   remotely, being physically out of the
21     Q. What number was he texting from?               21   office wasn't good enough. Even when I
22     A. I mean, he only has one phone                  22   tried to do more than that, that wasn't
23   number as far as I know. Or at least I              23   good enough either. That was unnecessary.
24   only have one phone number for him. But             24            If it sounds confusing, it is
25   the --                                              25   because it is. They wanted him gone
                                           Everest Court Reporting LLC                             Page: 84 (327 - 330)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 86 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 331                                                      Page 333
 1   completely, and I didn't help make him go           1   me. Somebody to be told, oh, somebody who
 2   as fast as they desired, and so when I              2   is your friend, somebody you have known and
 3   finally did do that, that was unnecessary.          3   worked with for years, isn't, you know --
 4   There was no reason for that. Everybody             4             MR. WALTON: Next question.
 5   was completely fine talking to Gregg,               5   Let's go. Come on. Give us a question.
 6   working with Gregg on a continuing basis.           6             THE WITNESS: Obviously, it was
 7     Q. So Daniel Pipes says: I respect                7   better for Gregg to be with the
 8   your disappointment and anger vis-à-vis             8   organization, the same logical conclusion
 9   Gregg, but you --                                   9   that Lisa and everybody else ended up with
10            THE COURT REPORTER: I'm sorry.            10   when they invited him back after I left.
11     Q. I'll read slower.                             11   It is better for Gregg to be with the
12            THE COURT REPORTER: Thank you.            12   organization, we're more likely to succeed,
13     Q. I respect your disappointment and             13   we're more likely to get bonuses, and more
14   anger vis-à-vis Gregg, but you agree that          14   likely not to have to deal with nitpicking
15   its best for us, it is best for us for him         15   of work, between all the people that are
16   to continue on, so I am hoping that you            16   involved in D.C., overseas, writing
17   will be okay to deal with him on a strictly        17   fellows, Daniel.
18   business basis on fund raising, which is           18             Yes, it is obvious. And I
19   one of his two main portfolios.                    19   agreed with that, because that's the bottom
20            So it didn't really matter,               20   line, it is the reality of the situation.
21   right? Daniel Pipes wasn't going to work           21             MR. WALTON: Can I ask the
22   with Gregg anyway after that, the November         22   court reporter to calculate the amount of
23   5th meeting?                                       23   time that we have been on the record?
24     A. What is the question?                         24             Go ahead, Seth.
25            MR. WALTON: Hold on. Is that              25             MR. CARSON: It has been about
                                             Page 332                                                       Page 334
 1   a question? Or do you want him to read Dan          1   six hours.
 2   Pipes' line back from November 2018?                2           THE COURT REPORTER: I couldn't
 3     Q. Yeah. Daniel Pipes expressed to                3   hear you, Mr. Carson.
 4   you that he needed Gregg to stay on the             4           MR. CARSON: I said it has been
 5   organization, right?                                5   about six hours. But you can definitely
 6            MR. WALTON: Well, it says it               6   check.
 7   right there in the e-mail.                          7           THE COURT REPORTER: Jennifer,
 8     Q. Right?                                         8   do you have the ability to do that? I'll
 9            MR. WALTON: These are the most             9   need to go off the record for a few minutes
10   redundant, stupid questions I have ever            10   to calculate it.
11   heard, I got to be honest with you.                11           THE VIDEO SPECIALIST: I don't.
12            THE WITNESS: Truth of the                 12   Do we want to go off the record for a
13   matter, truth of the matter is, is nobody          13   couple minutes?
14   is as good as Gregg. He can raise money            14           MR. CARSON: We started at
15   better than people. He can deploy                  15   11:15, so it has been seven hours, not
16   intellectual content better then people,           16   including the probably hour and 15 minutes
17   influence policy better than people.               17   of breaks or whatever. It has probably
18            So, yeah, I thought I could do            18   been about five and a half to six hours so
19   it in time, I thought, yeah, I definitely          19   far.
20   would be able to do that. In that moment,          20           MR. WALTON: Listen, I don't
21   yeah, he is the one to do it. The best one         21   want to hold up the deposition further, but
22   at doing it. He was always the best one at         22   I would like an official count at some
23   doing it. And I looked up to his ability           23   point. Let's go forward.
24   to do it.                                          24           THE COURT REPORTER: Is that
25            And that's what was hard for              25   Mr. Gold speaking or Mr. Walton?
                                          Everest Court Reporting LLC                             Page: 85 (331 - 334)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 87 of 145
Deposition of Matthew Bennett                                         Lisa Barbounis v. Middle Eastern Forum, et. al.
                                           Page 335                                                      Page 337
 1         MR. WALTON: I'm sorry,                      1   moneys were given to that? I mean I can't,
 2  Eleanor. It is Dave. It's Mr. Walton.              2   I can't say for sure. I mean I would say--
 3         (Discussion off the record.)                3            MR. GOLD: No guessing. We
 4 BY MR. CARSON:                                      4   will be here forever. You have been
 5   Q. What is MEFO?                                  5   speculating all night. Just answer the
 6   A. The website, Middle East Forum                 6   question and move to the next question. We
 7 online.                                             7   are on the Dr. Phil show here.
 8   Q. Do you know anything about Lisa                8     Q. So you didn't have any direct --
 9 Barbounis going to Europe in June of 2018?          9   you didn't work on that campaign directly?
10   A. I know she went to Europe. I'm not            10   You weren't involved in the money that MEF
11 sure when all this stuff happened, said she        11   granted to that campaign; is that right?
12 hurt her eye and whatever. But I think             12     A. I don't recall being, no, I don't
13 there was a guy there she was seeing.              13   recall being involved in it.
14   Q. I don't want you to testify to                14     Q. Do you recall whether Ms. Barbounis
15 anything unless you have knowledge of it           15   had permission from Daniel Pipes to work
16 directly. So I'm asking about your                 16   with Tommy Robinson?
17 knowledge of her going specifically in June        17     A. Did she have permission from Daniel
18 of 2018?                                           18   to work specifically with like that guy?
19   A. Do I know --                                  19     Q. Yes.
20         MR. GOLD: Is the question, is              20     A. I'm not sure if, I'm not sure if
21 it confirmed -- hold on a second.                  21   Daniel knew about that. But, I mean, if it
22         THE COURT REPORTER: Excuse me.             22   was political, it would have been seen as a
23         MR. GOLD: Is the question to               23   no-no because it is a (c)(3) and you can't
24 have him confirm that she went there, is           24   cross politics, you know.
25 that your question?                                25            MR. WALTON: Mr. Bennett, yes,
                                           Page 336                                                       Page 338
 1 BY MR. CARSON:                                      1  or no, or I don't know. We will be here
 2  Q. Yeah. Do you know whether she went              2  forever. Yes, or no, or I don't know.
 3 there in June of 2018?                              3          MR. CARSON: I'm fine with a
 4  A. I know she went to Europe, I don't              4 yes, no, or I don't know to every one of
 5 know the exact dates. That's it.                    5 these questions.
 6  Q. Do you know why she went there the              6 BY MR. CARSON:
 7 very first time?                                    7   Q. So if someone works for a (c)(3)
 8  A. I believe it was Tommy Robinson, it             8 they can also -- what did you call it, a
 9 was like a project or she was working on            9 (c)(3)?
10 something related to that. And I think her         10   A. A 501(c)(3) organization.
11 and Tricia traveled there to participate in        11   Q. 501(c)(3). If someone works for a
12 a rally or something. Maybe she went first         12 501(c)(3), it doesn't mean that they can't
13 alone. Then on her next trip her and               13 work for another organization on their own
14 Tricia went. I'm pretty sure it was                14 time, correct?
15 related to Tommy Robinson.                         15   A. No, if it is on their own time,
16  Q. Do you know anything about money               16 then I guess it would be okay. If it is on
17 that the Middle East Forum gifted to the           17 the company's time, that would be
18 Tommy Robinson, the free Tommy Robinson            18 problematic.
19 campaign?                                          19   Q. Right. So did Daniel Pipes ever
20  A. Money gifted to the campaign? I                20 tell you that he was aware that Lisa was
21 mean --                                            21 working with Tommy Robinson?
22  Q. Through the MEF?                               22   A. No.
23  A. I mean, through the education fund             23   Q. What?
24 there were grantees, there was moneys              24   A. No.
25 distributed. But do I recall if specific           25          MR. WALTON: I would like to
                                        Everest Court Reporting LLC                             Page: 86 (335 - 338)
                                 215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 88 of 145
Deposition of Matthew Bennett                                           Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 339                                                      Page 341
 1   take a break shortly to get an official             1   would like it sent by e-mail, a regular
 2   tally of the time.                                  2   mini-script and a regular deposition.
 3            MR. CARSON: I think I'm almost             3           THE COURT REPORTER: Would you
 4   done, but you can take a break and do that          4   like the witness to read and sign?
 5   if you want to.                                     5           MR. GOLD: No.
 6            MR. WALTON: Yeah. Let's do                 6           (Proceedings conclude at 7:39
 7   that now. Let's go off the record.                  7   p.m.)
 8            (Recess taken.)                            8            ---
 9            THE COURT REPORTER: I have                 9
10   seven hours and 20 minutes.                        10
11            MR. WALTON: Seth, you are                 11
12   over, buddy.                                       12
13            MR. CARSON: No, we are not.               13
14   That's not on the record. We started at            14
15   11:15.                                             15
16            MR. WALTON: Seven hours and 20            16
17   minutes on --                                      17
18            MR. CARSON: That's not on the             18
19   record. That's total time that we have             19
20   been here today. We started at exactly             20
21   11:15 --                                           21
22            MR. WALTON: No, it is not.                22
23            MR. CARSON: Yeah, it is.                  23
24            THE COURT REPORTER: Guys --               24
25            MR. WALTON: We are not on the             25
                                             Page 340
 1   record here, so don't worry about it.
 2           (Discussion off the record.)
 3           MR. CARSON: I'm going to ask
 4   one more question.
 5           MR. WALTON: No. I mean, I
 6   object to that. We are over.
 7           MR. GOLD: We are done.
 8           MR. WALTON: It's Sid's call.
 9           MR. CARSON: Just remember that
10   you guys did like eight hours with Lisa.
11           MR. WALTON: I don't --
12           MR. GOLD: Lisa is a plaintiff.
13   This guy is not a party in this lawsuit.
14   This is limited to the Barbounis case.
15           MR. CARSON: Okay. Cool. We
16   will just call him back in McNulty and I'll
17   finish the next time.
18           MR. GOLD: Thank you very much
19   everybody.
20           MR. WALTON: Thank you. You
21   can go, Matt.
22           THE COURT REPORTER: Is counsel
23   going to tell me what you would like for a
24   transcript and when.
25           MR. GOLD: Just a regular. I
                                          Everest Court Reporting LLC                             Page: 87 (339 - 341)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 89 of 145
Deposition of Matthew Bennett                                        Lisa Barbounis v. Middle Eastern Forum, et. al.

   1

   2                                  I N D E X
   3       DEPONENT:            MATTHEW BENNETT                                                      PAGE
   4                 Examination by Mr. Carson                                                            4
   5

   6                            E X H I B I T S
   7

   8       BENNETT DEPOSITION EXHIBITS
   9       Exhibit 1 - Barbounis complaint
 10        Exhibit 2 - Message saved as Exhibit 10
 11        Exhibit 3 - Message saved as Exhibit 11
 12

 13        (Exhibits retained by Mr. Carson.)
 14

 15        CERTIFICATE OF REPORTER                                                      PAGE 343
 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

                                       Everest Court Reporting LLC                                   Page: 88 (342)
                                215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 90 of 145
Deposition of Matthew Bennett                                          Lisa Barbounis v. Middle Eastern Forum, et. al.

   1       Commonwealth of Pennsylvania )
                                        )
   2       Chester County               )
   3

   4

   5                            CERTIFICATE OF REPORTER
   6

   7                            I, Eleanor J. Schwandt, Registered
   8       Merit Reporter and Notary Public, do hereby
   9       certify that the foregoing record, pages 1 to
 10        355 inclusive, is a true and accurate
 11        transcript of my stenographic notes taken on
 12        November 10, 2020, in the above-captioned
 13        matter.
 14

 15                             IN WITNESS WHEREOF, I have hereunto
 16        set my hand and seal this 16th day of
 17        November, 2020.
 18

 19

 20

 21                                                       Eleanor J. Schwandt
 22

 23

 24

 25

                                         Everest Court Reporting LLC                                        Page: 343
                                  215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 91 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  WORD INDEX                     59:24 75:18, 22           37C 7:17                       7:39 341:6
                                 86:18 107:22 109:7        3rd 130:13                     70-page 199:22
 <1>                             110:9, 23 113:6, 25                                      7th 168:23
 1 153:20 208:18                 124:17, 24 125:3          <4>
  342:9 343:9                    126:7, 10 130:10, 12      4 7:9 328:2 342:4              <8>
 1:35 138:20                     141:8, 25 142:10, 12      40 17:9 143:3                  8 165:21
 10 1:15 208:20                  144:9, 24 156:24          47th 7:16                      8:36 216:5
  342:10 343:12                  158:18 159:16             4th 12:19, 23 36:14,           80 17:11
 10:40 220:23                    161:23 162:3, 14, 18      21, 25 37:8, 14, 22            82 276:3
 10th 3:3                        164:6 173:15 174:11        45:21 109:7 110:9,            8th 168:23
 11 19:20 208:23                 178:2 202:13 213:16       23 113:5 130:10, 12,
  342:11                         214:5 218:17 221:10       13 141:7, 16 144:24            <9>
 11:11 1:15 3:4                  244:22 245:10 251:2        145:5 156:24 157:1            9 165:21
 11:15 334:15 339:15,            256:17 257:7, 8            158:18 159:11                 90 181:1
 21                              262:21 271:18, 20          173:15 174:10 178:2           9th 159:11
 12 216:2                        288:17, 21 292:1           202:13 204:4 207:11
 129 214:23                      293:8, 12 300:13           304:4                         <A>
 13th 213:16                     304:5 309:21 330:1                                       a.m 1:15 3:4 132:24
 15 18:20, 24 334:16             332:2 335:9, 18           <5>                            AA 216:7
 16 11:24 18:20                  336:3                     5 194:3                        abetted 194:11
 1650 2:8                       2019 12:11, 23 13:2        501 338:10, 11, 12             abetting 314:22
 16th 61:19 85:22                159:17 161:20             515 2:14                       ability 48:20 170:10
  108:3 148:15 343:16            162:21 165:23             55-year-old 55:7                180:18 243:9 248:5
 17 18:23                        177:24 179:10, 20         5th 32:7 33:2 37:13             249:12 300:9 308:25
 17th 282:10                     214:5 242:1 250:10         86:2 106:13 111:17             315:23, 23 330:6
 18 12:12, 13 18:23             2020 1:15 3:3               112:20 120:12                  332:23 334:8
  210:3 273:23 274:1             343:12, 17                 121:10 123:11                 able 38:24 48:23
 1835 2:3, 13                   215.391.4790 2:4            130:14 145:1, 5, 23,           49:4 53:12 79:25
 18th 300:13                    215.569.1999 2:15          24 146:4 173:1                  83:2, 12 104:3
 19 12:15, 15 18:23             215.665.5547 2:10           174:19 204:3 244:22            133:13 154:6, 7
 19103 2:4, 9, 14               236 7:16                    245:10 262:21                  164:1 169:12 176:10
 1st 204:10 220:24              26 219:23 296:11            286:20 288:17, 21              177:4 179:17 188:15
                                2800 2:9                    292:1 293:12 300:13            202:5 248:8 260:7
 <2>                            2950 2:3                    304:4 310:11 330:1             269:9, 11 332:20
 2 195:20 208:19                2nd 174:12, 18              331:23                        above-captioned
  342:10                         220:25 221:10 225:9                                       343:12
 2:00 132:24                                               <6>                            abroad 10:22
 2:15 138:21 139:1              <3>                        6 194:8                        absence 153:24
 2:19-cv-05030 1:6              3 180:19 208:21            6:00 253:16                     164:22
  3:10                           210:3 304:10 337:23       60 312:4                       Absolutely 35:8
 20 90:16 91:11                  338:7, 9, 10, 11, 12      6000 233:4                      181:2
  210:3 339:10, 16               342:11                    6002 215:21, 23                absurd 87:18, 19
 2000 18:21                     3:00 119:24                60-page 40:17, 20              abuse 299:12
 2015 9:15 11:18, 22            30 237:16                  64 276:4                       abused 121:16
  13:2 18:16, 22                33 9:20, 25 10:1           65 276:4                        122:19, 22 292:6, 11
 2016 18:19 25:7                 12:5, 8 24:22             6th 304:5, 5 306:10             313:2 319:2
 2017 124:20 271:19             343 342:15                                                abuser 312:1
 2018 12:4, 19, 23              355 343:10                 <7>                            abusive 63:15 92:8
  33:2 36:14, 21, 25            365 236:25                 7 165:21                        276:21 280:6
  37:22 45:22 55:24
                                             Everest Court Reporting LLC                                         Page: 90
                                      215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 92 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 academic 142:4                 add 170:5 232:4            agreements 82:17                109:6 110:8, 11, 11
 accepted 8:4 236:9              304:7                      174:3 176:20                   118:15, 16, 18 140:8,
 access 182:7 233:22,           added 45:7 232:2           Ah 91:15                       19, 21 141:1, 7 147:6
 24 237:14 242:12               adding 320:2               ahead 35:19, 24                 157:21 182:10, 13
  252:24 253:2, 6, 11           address 7:7, 15             36:18 52:16 68:20              190:8 193:5, 6
  256:3                          128:9 194:5, 6             72:8, 10, 14 76:10             196:22 198:14
 accommodations 53:8,            195:10 196:9 236:2,        89:14 93:23 95:12              203:15 204:7 205:10
 11 129:16                      8 246:22 253:4              106:25 144:23                  264:22, 25 265:4
 accomplish 165:4                255:10                     269:23 270:1, 14               282:20, 21 294:3
 accomplishment 323:4           addresses 231:17            280:9 299:2, 18                296:16 299:10
 accord 225:4                    248:13                     302:24 333:24                  314:20
 account 233:23                 adds 184:16                aided 194:11                   allege 300:25
  234:19, 23, 25 236:21         adjourned 158:1            aiding 314:22                  alleged 29:5 46:20
  237:6, 9 239:25               administrative 146:25      aim 165:17                      47:13 60:6 136:5
  240:3 248:7, 8                 148:5 216:16              aiming 28:16 163:17             140:5, 6, 11 150:11
  252:14, 24 253:13             adopting 179:16             256:23                         176:2 186:11 227:9
  257:10 258:17, 18             adult 9:16 194:3           AIPAC 65:12 75:21               278:19 280:25
  276:2 306:19, 20, 21          advance 53:14               76:12, 13 84:16                300:23
 accounts 169:6                 advances 186:23             104:21, 22 109:15             allegiant 330:4
  247:11 252:4 257:7,           advantage 184:6             111:9 119:17 124:21,          alleging 144:2 161:6
 21 258:10 260:18               advice 98:23 327:13        23, 24 125:7, 21, 22            226:6, 7 231:16
  305:10, 15 306:18             affair 319:22, 23           126:7, 11 127:2, 5            allow 73:4 168:25
 accurate 36:17 221:4,          affairs 102:15 311:8        129:17 131:5 139:8            allowed 30:10 169:2
 14 297:10 343:10               affect 315:22               140:10 141:3 142:16            178:10, 25 237:4
 accusations 92:19, 20          afraid 85:15 255:9          144:1, 2 154:15                246:18 250:22
  97:15 300:19 314:19            310:18 321:7, 9            193:16 201:18 210:5           allowing 124:11
 accuse 71:8 89:1               aftermath 206:2             223:6, 7, 9, 11 266:3         alright 85:1 164:4
 accused 81:18 330:9            after-party 132:17          277:17 310:15                  284:5
 accusing 62:18, 19             after-the-fact 60:1        air 110:6                      alternative 85:25
  63:10 71:16 94:8              again, 85:20               Airbnb 53:18, 20, 21,          amazing 282:12
  231:13                        age 275:8, 14, 23, 24      23 128:6, 8, 10, 22            America 8:10
 achieve 180:19                  276:5                      129:11 133:2, 6, 19,          American 125:24
 act 30:16 31:2                 ages 276:11                22 136:12                      amount 258:4 333:22
 acted 31:22 61:12              aggressive 5:25 58:2       Airbnbs 54:13                  ample 54:5
  62:9                          aggressively 293:17        airing 146:16                  analysis 198:17
 acting 11:10 30:20             aggressor 191:8            airline 260:21                 anger 331:8, 14
  46:16 61:5, 25 63:4           ago 15:5 42:22             aisle 216:7                    angry 66:8 151:10
  64:21 90:5 94:11               96:14 183:14, 14          Akeem 134:14, 16, 21            224:19
  111:4 267:16, 17               216:15 219:23             al 1:7 3:7                     ANN 2:7 166:5
  270:22 317:16                  248:23 285:7 311:13       alarm 234:14 319:13            announce 157:10
 Action 1:5 80:9                agree 94:12 126:25         alarming 32:16 193:8           announced 168:21
  97:4, 4, 5 120:10, 11          177:23 209:14             all-around 9:21                annoying 302:5
  125:24 194:9 282:5             280:11 331:14             allegation 67:14, 23           annual 15:20 125:23
  284:8                         agreed 44:17 45:7           171:2 182:1 198:1             answer 4:14, 24 5:4,
 actions 191:19 318:16           264:17 333:19              282:4                         5, 16 6:24 34:10, 25
 activities 10:24               agreement 43:19, 21        allegations 29:8                35:4, 4, 7, 9, 15 36:18
 activity 130:17                 44:1, 14 173:14, 16,       32:19 34:22 35:1               37:7 50:4, 5, 25
  313:14                        18 174:2, 6 286:7, 9,       36:4, 6 37:23 44:18,           54:11 62:15, 16, 25
 actual 77:14 129:23            17, 19                     22 60:10, 11, 16                72:25 73:5, 13, 20
  214:15                                                    100:18 108:13, 16              74:6 88:13, 17 89:10,
                                             Everest Court Reporting LLC                                         Page: 91
                                      215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 93 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 17, 21, 22, 24 90:5, 8,         330:19                    article 221:16 322:19,          320:17
 12, 15, 17 91:1 94:15          appear 239:4 242:5         20, 22                         asserted 72:9
  95:21, 23 98:4 99:12          APPEARANCES 2:1            Asana 237:13 239:19            asserting 72:12, 15
  102:8, 9, 11, 12              appearing 3:16              241:11 262:13                 assigned 28:9
  168:19 170:15 180:7           appears 175:17 242:7       ashamed 101:8, 13              assigning 26:12
  185:23 228:19 231:3           application 275:6          Aside 305:19                   assignment 178:15, 16
  232:17, 18 255:15             applications 237:17        asked 9:1 16:18                assignments 26:7
  258:14 259:2 265:10           applied 247:8 326:6         21:14 26:9 27:18              assistant 199:6, 7, 9
  266:9, 12 267:1               applies 98:6                28:12 29:9, 16 30:4            218:18 219:18
  270:6 278:10 280:9,           apply 113:11                34:24 35:18 47:21             assisted 82:24
 14 292:9 297:13                applying 113:15             48:5 49:22 50:3, 22,          assisting 10:2 113:20
  298:25 300:2, 8               appreciated 190:16         24 51:21, 24 52:1              associate 83:14
  329:17 330:10 337:5            256:1                      53:1 54:19 56:11, 17,          113:17
 answered 29:9, 16              appreciation 122:4         20, 23, 24 57:3 64:24          associated 316:17
  34:13, 24 35:16               approached 113:15           67:8 70:6 77:1 83:7,          ASSOCIATES 2:13
  49:22 50:25 53:2               192:2                     12 88:12 89:9 90:23            assume 64:12 175:9
  54:19 88:12 89:10             appropriate 4:19            91:7, 13 94:16 96:2           Assumes 52:15 60:22
  90:16, 23 91:7, 13             53:22 54:18, 25 55:1       99:16 105:24 114:12            72:25 82:10
  94:17 251:23                   60:5 67:17, 19 91:5        115:12 117:1, 20              assuming 123:3
 answering 285:24                151:13 275:8, 14, 18       118:2, 7 121:4                assumption 64:14
 answers 4:16 5:21               276:13                     142:20 143:8, 10              Atlantic 19:1
 anybody 24:1 31:7              approximately 25:15         160:15, 19 173:13             attacked 119:9
  38:6 56:21 82:16, 17,         apps 240:20 241:5           174:9 175:18, 25              attend 16:18 57:14
 17 85:24 99:19                  253:12 311:7               178:14 187:9, 11               126:7 157:23 245:17
  103:18 118:1 120:14           April 55:23 56:2            190:10 200:9 216:23            262:22 263:1
  127:16, 25 128:2, 11           59:24 74:16 125:3          217:14 223:12 236:7           attendance 263:16
  138:9 149:19 158:24            162:3 167:2 213:15         237:25 238:24                 attended 40:22, 24
  160:3, 5 186:2, 3              214:4                      244:11, 21, 25 245:4,          75:17 111:25 126:11
  191:17 193:18 206:9,          Arch 85:22 108:3           6, 15, 20 246:21, 23            154:11
 10, 15 209:23 238:11            148:16                     251:23 252:17, 20             attending 10:15
  288:19 289:14                 area 11:1, 6                262:22, 25 270:16, 18         attention 143:16
  316:21 321:10                 areas 19:16                 291:9, 11 301:14               168:6 220:20 233:3
  324:19                        arguably 250:13             323:15 326:3                  attorney 4:5
 anybody's 283:24                252:9                     asking 21:19 23:8,             attribute 70:24
 anymore 160:3 163:6,           argue 103:4 251:14         15, 18 45:18 49:11,            at-will 307:20, 20
 7 194:18 284:11                arguing 240:16 309:6       16 65:16 75:12                 audience 10:14
 anyway 173:12                  argument 264:11             88:22 102:4 153:4             audio 212:14
  251:16 284:12                 argumentative 5:25          168:10 175:10, 21             audit 237:22, 23
  331:22                         34:8, 10 58:3 63:15        215:4 218:25 224:1             238:24 239:21, 22, 23,
 apart 153:11 206:18             88:1 266:25 275:11         226:21 231:8, 9               24 240:2 241:6, 13,
  298:20                         276:9, 21 278:8            245:7, 9 248:1, 2             19, 24 242:6, 6 252:8
 Apartment 7:16, 21              280:7 283:11 285:23        257:23 275:13 281:4,           262:10
  54:3 128:7, 8 186:9            286:3 292:8 299:17        7, 12 310:4 322:5              August 251:1
 app 237:1 253:10                314:9, 12                  327:12 328:9 335:16           Australia 311:9
  311:20                        arguments 250:22           asks 217:4, 7                  authoritative 120:10
 apparently 64:10               arm 140:12, 14             aspects 172:25                 authority 96:23
  76:23 121:8 123:12            arms 310:9 315:8           ass 266:3, 5                   authorized 258:9
  160:20 224:12                 arrangement 166:22         assault 223:7                  avoid 249:1
  288:11 319:17                  173:9                     assaulted 84:24                aware 25:10 26:12
                                                                                           32:21 37:4 43:13
                                             Everest Court Reporting LLC                                         Page: 92
                                      215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 94 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  44:8, 9, 13, 19, 21           back-up 243:16             bedrooms 128:17                 219:1, 19 220:16, 24
  140:4, 8, 10, 11, 19, 21,      247:21                     137:19                         222:20 224:6 225:2
 25 166:15 186:7                Backupify 243:20           beers 41:18 327:6               226:15 233:25 234:2,
  193:6 204:12, 19              back-ups 243:5             began 7:22 11:16               23 237:22 239:21
  205:19 338:20                 bad 6:12 164:19             18:11, 17 21:10, 14,           240:11 241:23, 25
 awareness 16:20                 168:8 191:9 311:25        24 22:7 24:8 25:6,              244:23 247:19 262:9,
 awhile 40:10 152:16            badgering 89:16            18 78:2, 6 141:24              12, 24 265:16, 25
                                 279:22 280:3 292:24        250:8 275:1                    266:13, 20 267:2, 3, 4
 <B>                            baited 183:19              beginning 1:14 13:23            270:15, 24 271:2, 3,
 baby 38:19 39:5                bandwagon 289:10            25:16 33:9 113:25             17, 19 272:19 273:4,
  43:9 53:6 56:3                bang 105:6                  174:4 216:22 245:5            9 276:25 277:1, 6, 9,
  58:16 187:20, 21              banging 103:3               263:2 271:9 289:3, 5          10 286:25 293:20, 20
 babysat 111:24 315:6            105:14 265:18              308:12 322:14                  294:5 300:20 308:7,
 baby-sat 41:1                  banished 157:13            begins 129:24                  19 314:25 315:1, 1
 back 13:23 17:4, 15            bank 20:5                  begun 80:1                      317:25 318:1 321:8,
  21:6 31:24 46:13              banning 300:20             behavior 82:8 95:7             10 326:16 328:4
  47:5 49:4 51:16               bar 41:18 131:9             119:1, 13                      336:8
  58:21 59:10 61:7, 7            132:14 148:16 149:2       believe 9:14, 19               believed 32:3, 14
  64:2 73:9, 17, 24             BARBOUNIS 1:4               11:19 12:9 14:4, 9             36:20 37:1, 23 38:8
  84:23 92:13 95:17              3:6 4:4, 7 34:23           17:8, 20 18:18, 19             39:15 45:21 123:7
  111:22 112:22                  36:7 42:11 60:19           20:10 25:19 26:8, 18           168:2 182:10 196:22
  113:14 122:12                  64:16 80:11 110:15         27:24 28:8, 13, 21             201:4 225:1 250:17
  123:13 127:12 133:2,           122:25 127:15 134:9        29:17, 22 30:22, 25,           277:23 292:12, 16
 5, 19, 21 138:20                139:11 140:5 149:15       25 32:6, 19, 25 33:1,           293:6, 9 294:2, 2, 6, 7
  139:5 152:8 158:3, 6           196:23 202:19             11 34:20 36:3, 7, 10,           308:9 317:3 330:3
  160:7 162:19 163:7             204:24 306:19 335:9       13, 24 37:13 38:2, 9,          believing 288:12
  164:2 166:10, 23               337:14 340:14 342:9       11, 12 39:16, 20 43:2          belittled 206:12
  171:1 172:8, 9, 15            barking 37:17               45:22 46:7 47:21, 24          beneath 218:4, 6
  173:8 177:24 178:24,          bars 133:7                  48:9 59:21 61:8               benefited 147:2
 25 179:11 181:14               based 20:24 21:3            63:23, 25 65:12               BENNETT 1:12 3:6,
  190:20 191:6 201:7             33:19 58:6 60:1            66:17 74:22 76:9, 11,         20 4:3 7:5, 6 29:13
  203:11 212:8 213:4             124:10 128:2 142:6        11, 12 100:19 115:16            34:11 47:8 94:15
  232:25 233:12                  144:8 168:19 250:13        116:22 117:24                  149:15 194:10
  234:19 237:4 242:3            basically 8:17 143:20       122:24 123:1 124:8             195:20 233:2 261:16
  243:9, 10, 16 254:6            147:18 148:7 163:12        126:1 131:6 132:3              303:25 314:4 337:25
  256:17 272:20                  169:6 187:14 189:6         134:10 135:23                  342:3, 8
  277:11 288:11                  325:7                      137:22, 23, 25 140:9,         B-E-N-N-E-T-T
  290:17 312:8 313:24           basis 41:22 103:12         17 141:23 146:6                 195:23
  317:7, 9, 19, 20, 21           202:6 331:6, 18            147:8 149:18 150:3,           Bennett.MEF@gmail.c
  318:9, 12, 14, 21, 23         basted 290:19              7, 13 151:9 152:7              om 253:5
  319:11, 11 330:11, 12         Bates 233:10                156:14 157:13, 19             Bennett@MEF 253:10
  332:2 333:10 340:16           bathroom 54:7, 9, 12,       158:1 159:18 161:23           Bennett@MEForum.or
 backed 233:13                  14, 16 180:25               162:5, 23 169:13              g 249:17
  236:15 237:8 242:15           beans 205:8                 174:19 178:10 180:1           BENSON 2:7 166:5
  243:3                         beanstalk 205:9             182:12, 19, 20 186:14         bent 133:2
 background 206:14              beat 223:17                 189:2 193:15 196:25           best 6:25 39:7, 8
  303:5                         bed 136:18 137:17           197:2, 7, 13 200:6             48:23 52:3 65:19
 backing 233:14                  139:19                     201:11 202:20                  81:3 122:14 130:5
 backs 236:22                   bedroom 128:18              203:24 207:15                  190:15 191:13
                                 137:15, 24                 210:16 214:1 217:21            222:24 239:11
                                             Everest Court Reporting LLC                                         Page: 93
                                      215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 95 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  242:20 249:11 300:9            16:2, 4, 5, 7, 9, 11, 12,   bring 83:9 185:1              call 22:11 33:5
  316:25 317:1 331:15,          13, 13 17:5, 12 23:11,       249:3, 20 250:3                35:11, 12, 14 68:18,
 15 332:21, 22                  23 163:15 313:21             309:5                         20, 22 69:15, 16, 24
 bet 304:3                      boiling 300:19               bringing 142:23                73:5 103:5 118:14
 betrayed 191:23, 24            bomb 153:12 320:22           143:12                         119:10 132:22
 Better 9:11 83:2               bonuses 333:13               broke 38:15 75:7               160:25 161:2, 19, 21
  98:20 104:3 184:25            book 53:19 216:19            330:13                         164:11, 13 166:2, 6
  199:2 323:1 325:12             249:13                      brother 147:17                 167:20 171:2, 6, 9, 11,
  332:15, 16, 17 333:7,         booked 218:9, 9, 10,         151:25                        20 172:17 178:14, 25
 11                             10                           brought 47:10 66:7             179:22 180:10, 12
 beyond 283:16                  booking 216:25               67:9 79:17 85:14               192:8 227:19, 19
 Biden 327:16                   boom 310:25 311:1            105:20 125:19 147:7            239:16 255:5 278:2,
 bids 251:15                     314:17                      177:24 185:6 237:24           16, 22 279:1 283:4
 big 55:14 77:12                boost 240:25                 241:3 251:2 282:21             302:20 319:15, 18, 20
  87:13, 14 102:16              booth 148:19                 321:6                          327:23 338:8 340:8,
  103:6 105:10 119:5,           born 55:22 56:1              Bruce 233:24                  16
 7 130:24 131:3, 5              boss 26:12 28:10             buddy 339:12                  called 16:10 41:25,
  132:13 137:17, 18              78:8, 9 122:14              buffer 161:11                 25 43:22 45:13
  145:3 163:14 189:25            190:15 191:13               build 201:19 217:10            53:19 61:18 85:20
  276:5 310:18                   272:15, 17 314:16           237:18                         120:11, 13, 22, 24
 bigger 290:20                  Boston 127:21                building 130:21                145:13, 20 150:2, 4
 biggest 26:16 79:24            botched 230:1                bulldozing 177:8               158:22 159:22, 24
  131:14                        bother 72:11 185:22,         bullshit 287:2                 160:2, 10, 24 162:20,
 Bill 323:24                    23 189:24 190:15             Bumble 102:21                 25 163:3 178:20
 binary 295:1                   bothered 178:16              bunch 297:14 315:21            215:13 233:10
 birth 47:17, 18                 191:1                       bundled 199:16                 243:19 255:7 287:25
  105:22 275:5                  bothering 165:14             272:6 311:15 315:21            289:13 301:5, 8
 birthday 40:22, 25             bothersome 185:21            321:12                         320:4
  112:1 154:12 174:13,          bottom 233:8 263:23          bus 287:21                    calling 69:19 92:24
 14, 18 225:10 315:6             300:22 301:4 333:19         business 80:23                 93:4 172:12 184:12
 bit 139:21 151:19              bought 43:9                  172:25 179:8 247:16            205:12, 13 327:19, 21
  312:24                        bounds 207:20, 23            250:7 253:11 257:6             328:15
 blabbering 93:2                Brady 113:2 117:18           258:11, 18 280:19             calls 41:16 165:15,
 black 102:16 103:6              123:15 141:23               287:16 331:18                 15 178:22 281:3
 blah 122:16, 16, 16             149:17                      buy 208:15, 15                 299:18
 blaming 226:6 254:25           brain 105:10                 314:24 317:23                 calm 152:13 309:5
 bleeding 308:15                breach 235:7 301:2, 6        320:15 321:9                  campaign 336:19, 20
 blew 273:1 286:13              break 51:10, 19 92:9,                                       337:9, 11
  311:13                        11, 16 93:16 138:18,         <C>                           campaigns 240:22
 blink 312:4                    24 139:2 141:22              cabinet 246:13                campus 11:8, 8, 12
 bliss 291:6                     302:13, 20 303:14, 16       cafeteria 46:14 61:9,          230:17
 block 143:4                     339:1, 4                    17 63:3                       cancer 208:9
 blocking 235:5                 breaking 98:7 209:21         calculate 322:24              capable 179:7 238:17
 blow 64:18, 24 102:4           breakout 130:1                333:22 334:10                capacity 177:25
  121:18                        breaks 334:17                calendar 248:9                 179:11
 blue 72:17 232:7               breath 92:13                  252:23 253:1 257:22          Cape 19:2
  241:2 265:24                  bridge 239:6, 8, 16           258:1                        car 133:11
 Bluntly 304:18                 brief 260:16                 California 38:17              card 238:3 239:1
 board 14:20, 21, 24            briefed 15:21                 49:7 57:14                    256:3
  15:8, 12, 13, 16, 20, 24
                                              Everest Court Reporting LLC                                         Page: 94
                                       215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 96 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 care 112:8, 13                 17, 24 314:11 324:1          238:22 239:3 252:3             144:10 156:16
  199:13 228:2 269:11            329:23 333:25 334:3,        258:5, 6 309:3                 274:22
  286:16 287:13                 4, 14 335:4 336:1           certainly 84:8 211:17          cleared 138:8
  295:17 296:1 312:10            338:3, 6 339:3, 13, 18,     261:2 291:9 326:8             clicking 46:25
 cared 112:10 155:3             23 340:3, 9, 15 342:4,      CERTIFICATE                    client 60:6 62:9
 career 88:5 189:12             13                           342:15 343:5                   93:8 136:3
  190:21 205:18                 Case 3:9 38:3 40:6          certify 343:9                  clients 136:4 144:1
  315:24 316:1, 1, 1, 2          43:1, 5, 18, 24 44:3,      chair 79:7                      145:7 326:14
 careful 185:19 249:6           11 46:11 57:23 69:1         challenge 84:1                 Cliff 126:14 127:19
 carefully 152:4                 71:23 72:10 168:3, 4       chance 195:1                    206:17
 cares 242:19                    181:24 182:5 186:7         change 46:1 157:10             cloak 260:14, 15
 caretaker 137:7                 192:10, 11, 14, 15, 18,     196:18, 20 283:8              close 59:6 61:9
  243:23                        23 193:3 205:22, 23         changed 45:19 178:1             84:19 119:25 133:9
 carried 83:25                   207:18 212:9 228:13         185:12 219:20, 24              143:16 148:16
 carry 26:7 83:7, 13             234:13, 17 243:6           changes 285:8                   187:18 327:4
  88:19 170:10                   253:25 254:1 257:12        chaos 75:7                     closed 117:2
 CARSON 2:2 4:2, 4               288:15 324:8 325:1,        characterizing 61:1            closer 155:7
  29:24 34:12, 15, 18           3 329:7 340:14              cheated 320:12                 cloud 163:11 205:10
  35:6, 10, 13, 21 36:1         cases 192:8 324:21          check 83:23 242:8               250:1
  47:7 50:11, 14, 18            cast 39:24 202:6             334:6                         cocktails 122:12
  51:9, 17 54:21, 24            casting 202:7               checked 15:5 158:11             183:23
  59:14, 19 60:17               casual 96:10 109:10          173:10 245:22                 code 7:18
  62:16, 19, 21 63:11,           111:15                     chess 313:20                   coherent 300:8
 17 67:20, 24 68:14,            casually 111:14             chessboard 320:11              cohesive 163:13
 22 69:8, 13, 19, 23            catch 197:20                Chester 343:2                  cohesiveness 170:10
  70:2, 8, 13, 25 71:4, 9,      Catriona 41:1 80:13,        Chicago 19:8 49:9              coin 137:12
 17, 21, 24 72:5, 11, 15,       16 81:1 82:23 83:1,         chief 219:3, 7 220:14          collaborate 248:6
 19 73:2, 10, 14, 19            8, 9, 12 113:2 117:18,      child 103:25 105:23            colleague 271:6
  74:8 82:13 89:8, 14,          22 118:12, 21 120:15         188:11 288:4 305:20,          colleagues 39:3
 17, 23 90:2, 7, 19, 25          122:10 123:15 124:8,       25 327:2                        287:20
  91:3, 12, 20, 25 92:6,        11, 15 125:16 126:17,       childhood 319:16               college 273:21 274:18
 10, 15, 21 93:1, 6, 14,        19 141:23 142:19, 23        choice 203:23 304:8            come 21:3 28:3
 19, 22 94:2, 12, 18, 23         149:10, 16 153:4, 5, 7      307:22                         48:12 54:20 62:14
  95:5, 10, 13, 19, 22           155:4 178:13 183:10        choices 86:22                   77:3 84:22 87:8
  99:14, 22 100:9, 13,           191:12 272:23              choose 285:25                   88:15 90:12 92:13
 15 138:19 139:6, 15             321:25 322:20              circles 111:1                   95:17 96:16 103:18
  166:9, 12, 13 181:5,          Catriona@gmail              city 7:23 19:18, 23             104:6 138:20 149:9
 15 192:24 193:1                 257:20                      43:10 239:13                   154:1 156:12 168:6
  195:4, 8, 14, 18, 22          Catriona's 125:19           Civil 1:5 94:7                  172:8, 9 173:8 176:6
  196:1, 5, 12, 14 210:2        cause 307:19                claim 80:5 324:13               177:14 178:7 179:11
  211:8, 12, 21 212:7,          caused 45:25 138:11         claimed 29:4, 23                241:8 263:12 298:11
 21 213:5 228:20                 139:10 196:18               33:3 60:19                     324:13 333:5
  229:3 233:1 255:16            celebrated 174:13           claiming 44:5 315:25           comes 6:10 97:7
  269:20, 24 270:3, 5           celebrating 131:7           claims 61:3                    comfortable 124:10
  274:13, 21 276:18              191:2                      class 210:22                   coming 80:13, 16
  277:5 279:24 280:3,           Center 18:25 20:4           classifies 207:2                183:8 184:2 263:3, 7
 8, 13 281:7, 11, 16, 20         153:18                     clean 141:19                    276:22 289:23
  283:15, 19 285:18             certain 60:6 101:19         clear 4:20 5:8 6:1              304:22 313:24
  293:1, 4 299:3                 103:20 172:24 203:4         83:15 142:8, 10               command 304:18
  302:17, 21 303:4, 8,
                                              Everest Court Reporting LLC                                         Page: 95
                                       215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 97 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 comment 70:23                  complaints 111:18, 20,     conduct 4:6 60:7               contacts 230:15
  95:18 200:15 202:14           21 209:2 301:12, 16         89:2 141:2 281:14              237:3, 5 239:18
  276:24                         302:5, 6, 9, 11            284:1                          240:7
 commentary 72:3                complete 66:14             conducted 262:10               Contactually 236:11,
 comments 95:2                  completely 94:5, 10        conference 19:7                12, 18 237:6, 9, 10, 20
  288:17, 19, 20 289:4           106:6, 6 251:11            38:17 57:15 58:19,             238:7 239:24 240:3
 Committee 125:24                307:25 329:11 331:1,      21 75:21 125:22, 23,            242:4, 16
 common 58:25 75:4,             5                          25 126:2, 8, 12 127:5          Contactually, 238:15
 8 216:18, 23 217:12            complicated 257:24          128:5 129:1, 17, 23           content 22:22 26:3
 Commonwealth 343:1             complicit 226:7             139:8 141:3 154:15             48:18 153:16 197:10
 communicate 317:12              254:25 314:22              159:25 259:13 266:4            287:14 332:16
 communicating 260:8            component 279:6, 12        conferences 264:19             context 37:11 203:1,
  317:14                         280:22                    confided 288:1 318:4,          3 209:13 210:7, 25
 communication 50:2,            components 308:2           6, 6                            211:4, 23 256:20
 21 120:16 121:1                compound 266:25            confidence 165:5                261:14
  173:4 191:3                    278:8 300:1               confident 240:23               Continental 41:5
 communications                 compounded 306:16          confidential 258:19             122:8
  213:13                        compromise 249:7            287:16                        continue 63:18 71:5
 Community 18:25                computer 208:20, 23        confirm 335:24                  72:18 153:14 158:8
  19:12 20:4                     215:25                    confirmed 335:21                183:17 331:16
 company 200:3                  conceive 163:9             confronted 86:21, 25           continued 158:16
  203:22 237:22, 23              164:25                     109:5 169:25 270:20           continuing 95:1
  238:13 240:19 243:4           concern 78:2, 6, 7         confused 12:15 176:3            331:6
  247:15                         117:21 138:12             confusing 330:24               contracts 251:15
 company's 338:17                139:10 175:23 176:9,      Congratulations 7:24           contributions 10:6
 comparative 198:17             12 295:7, 13 298:13        connect 254:4                   153:22
 compelled 160:17               concerned 76:17, 21        connected 19:25                contributors 15:19
 competency 220:4, 6             117:18 142:22 144:5        262:13                         16:16
 competent 113:20                175:1, 24 263:14          connection 278:4               control 92:8, 14 94:6
 competing 240:9                 292:3 294:25 295:2,       connector 239:6, 17             159:8 188:15 309:10,
 complain 263:13                3, 4 296:4, 14 297:1        262:9                         11, 12, 15
  298:12                         301:18, 25                connectors 239:8               controls 169:5
 complained 26:19               concerning 44:18, 22       consenting 275:23, 24           241:14 302:1
  88:8                           198:14                    consequence 286:6              conversation 61:23
 complaining 178:13             concerns 118:20            consideration 294:24            65:5, 8 75:20 78:20,
  310:20                         119:12, 14, 15 125:5,      299:8, 20                     25 79:2, 5, 15, 16
 complains 102:3                9 142:13, 16, 24           considerations 276:1            102:19 114:15
 complaint 40:17, 20             286:18, 25 287:6, 10,      297:22                         118:10 123:14, 17
  42:19, 24 44:19, 23           11                         considered 119:25               125:14 212:13
  46:8 81:7, 9 97:8, 10         concise 93:10 270:4         294:17 315:8, 9, 11            214:17 225:6, 23
  101:15, 25 103:19             conclude 157:9 341:6       considering 23:23, 24           227:5 242:10 256:21
  109:21 181:18, 18, 22,        concluded 157:14           constantly 26:9                 260:4 302:10 304:14
 23 182:1, 2, 3, 14             conclusion 60:24            198:24                         315:18
  183:1 184:2 193:20             86:7 88:20 157:11         contact 44:5 158:24            conversations 98:12
  194:1 195:3 196:18             178:6 281:4 299:18         159:22 160:3 164:14            103:11 104:17, 19
  197:3 198:4, 5, 8, 9, 9,       333:8                      252:7 254:2, 4                 105:3 150:8 167:8
 13, 15 208:19 267:11           concocted 184:5            contacted 282:16                183:17 213:22
  280:2 284:6 342:9             condense 241:23            contacting 165:7                226:17 295:23
                                                            179:4                          309:24 310:3 323:20


                                             Everest Court Reporting LLC                                         Page: 96
                                      215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 98 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  324:3                          137:16 201:17 267:5,        259:11 322:24                  156:18 157:10, 20
 Cool 340:15                    16, 23, 24 270:25           created 247:21                  159:1 160:10, 11
 Coordinate 199:9                294:13                     creating 80:2                   162:13 170:12
 coordinating 9:18              counsel 3:16 70:18          credibility 71:25               184:11 185:5 189:8
  66:19                          91:16, 17 96:24            credible 33:25 34:2, 4          194:11 203:25
 coordinator 217:17              213:10, 10 340:22          credit 33:21 190:17             214:19 215:14
 cope 38:22                     count 334:22                 238:3 239:1 322:19             216:18 217:2, 4
 copied 195:12                  Counties 19:2               cross 337:24                    218:1, 5, 9 220:22
 copy 181:21 244:1,             country 19:17 113:22        crossing 28:4                   224:1 225:23 236:3
 12 245:25 246:4, 6             County 343:2                crumbling 308:17                240:12, 17 243:25
 Cornerstone 202:18             couple 4:10 15:5            crush 105:9                     245:16, 20 248:25
  211:13, 25                     106:12 114:18              crushed 307:25                  250:12, 19, 21 251:3
 correct 17:19 22:16             121:16 132:18, 18           316:14 318:4                   255:11, 20 256:9
  23:12 24:9 25:8, 21            135:14 142:5 185:7         cry 319:6, 7                    259:19 260:8, 9
  36:14, 21 39:17 43:3           290:14 305:20              crying 319:7, 8                 262:25 263:22
  47:15 49:17 50:3, 15           334:13                     Cuba 130:25 132:3, 4            278:20 281:23
  51:4, 22 68:10 70:15,         course 80:8 127:4           current 198:4, 5                284:13 289:15 291:1,
 16 73:2, 11 74:9                158:19 213:11              currently 16:3                 3 292:4 294:19
  76:5 79:3, 9, 14               216:11 265:11 282:5        cursive 116:8                   295:3, 9, 23 296:5, 14,
  80:14 85:5 101:10              284:7 303:17 317:7         custodian 294:18               23 300:16 301:19, 19,
  106:11 113:25 117:6           Court 2:18 3:12, 13,         298:8                         21 304:25 307:1
  123:22 124:12, 25             14, 18 5:10 29:10, 14       cut 85:6 100:1                  311:5, 17 312:9, 14
  125:3 127:6 134:3              30:11 59:13, 17             191:3 251:21                   317:11, 13 322:21
  139:12, 13 140:7               61:19 68:2, 8, 11, 19,     cuts 5:12                       325:24, 25 326:2, 7
  142:24 144:21, 22, 22         21, 23, 25 70:18                                            327:23 328:13 331:7,
  145:11 146:5 164:7             71:12 72:4 73:6            <D>                            21 332:3 333:17
  178:4 185:13, 25               89:13 91:16 100:3          D.C 126:5, 13 127:17,           337:15, 17, 21 338:19
  187:12 189:1 193:4             139:14, 15, 22 144:15      18 128:1, 2 132:25             Daniel's 230:18
  203:8 204:7, 21                166:3 221:18, 24            206:17 333:16                  257:14
  217:15 218:19 224:3            228:16, 17 229:2           D6004 233:3                    data 203:22 230:1, 2
  226:18 227:20                  235:21 240:1 255:14        dad 276:3, 6                    237:5, 17 243:23
  228:11 230:21, 25              263:9 266:17 274:16,       dagger 260:14, 15               249:15 253:20 256:3,
  231:4, 5, 6 246:3             19 278:13 282:1             daily 41:21 102:19             4 271:25 301:1, 6
  247:3, 7 248:13                298:21 302:12 303:2         103:12 105:19                 database 229:18, 21,
  252:1, 14 256:19               318:10 324:23              damage 232:8                   25 230:4, 7 234:8, 9,
  260:1 294:3, 4 296:6           329:22 331:10, 12          Dan 332:1                      10, 14, 25 243:18
  300:13 306:22                  333:22 334:2, 7, 24        dance 131:9 132:15             databases 229:15
  325:20 327:21                  335:22 339:9, 24           dancing 131:8 132:15            237:18
  328:16 338:14                  340:22 341:3               danger 261:21                  dataset 239:7 243:24
 correctly 186:16               courtroom 6:21              DANIEL 2:20 4:8                date 3:2 18:15
  262:14                        cover 236:4 255:11,          14:4 17:17, 18 23:6,           25:11 37:14 107:12
 correspondence 248:3,          21 261:1                    15, 22, 23 24:1 26:8            113:4 130:23 141:5,
 5                              COVID 7:22                   31:21 32:6, 10 33:7           18 165:18, 19 168:23
 corresponding 66:23,           COZEN 2:7 166:6              76:23 77:5, 21 83:20           183:6 189:5 191:3
 24                             crappy 6:12                  85:5, 9 96:24 105:8,           205:7 210:3 215:18
 cost 53:16                     crazy 121:8, 13             10 107:6 110:4                  221:9, 10 222:21
 couch 30:1, 5, 14               159:4 184:15 312:11         115:17 117:1 120:22,           225:7 249:19 251:19,
  46:16 61:5, 13, 24             317:16                     23 121:4 145:6                 24 258:5 275:5
  63:5 65:7 109:12              create 177:13 253:24         146:14 148:25 149:7,           284:22 293:11 328:1
  111:3, 5, 9 128:20                                        9, 14, 20 150:1, 6
                                              Everest Court Reporting LLC                                         Page: 97
                                       215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 99 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 dated 102:20 175:13            deal 16:7 87:13, 14        deleted 37:6 63:24             desk 83:16, 17 84:2
  285:4 319:17                   131:4 161:8 327:16         64:11                          105:7, 8 169:7, 8
 dates 12:22 130:7               330:15 331:17             deliberate 177:12, 14           173:6
  214:20 336:5                   333:14                    delinquent 26:20               destroy 121:9 123:12
 dating 102:16, 23              dealing 58:15 288:5        delivered 40:11                destroying 79:20
  103:2 104:11 311:7,           death 103:25 255:19         42:21 45:5 186:9               168:5
 20                              305:21                     312:20                        details 44:13 45:7
 daughter 41:1 55:22            debate 250:11              demand 33:7                     53:4 137:21 187:6, 7
  56:1 111:25 120:19            decapitated 254:15         demanding 27:12                 188:22, 24 189:1, 3
  159:14 315:7 316:5            December 25:5, 5, 7,        199:11                         199:13 222:24, 25
 daughter's 40:24               19 124:20 162:22           demise 254:11                   223:2 294:14 305:10
 Dave 34:8 63:11                 164:9                     demonstrate 217:9               308:16 318:5, 6
  88:11 89:3 92:21              decide 290:11, 12          demonstrated 28:13             deteriorating 39:1
  106:24 166:1 211:9            decided 184:4, 7            81:13 82:20 83:6              determine 243:9
  216:4 228:23 231:2             219:6 311:16               198:22 205:25 220:4,          Developing 10:7 26:2
  258:12, 25 265:7              decisions 147:1            5                              development 8:11, 13
  266:23 275:20                 deck 131:1                 denials 271:22                  9:19, 24 13:4, 7, 11
  276:16 281:2 285:13,          decree 212:11              denied 264:21, 24               17:7 22:22 24:13, 15,
 17 323:17 335:2                dedicated 39:10             265:3, 11, 23 270:22          22 25:12, 17 83:14
 DAVID 2:5 203:11               deem 182:16                 285:20                         113:17 146:22
 day 11:20 26:14                deep 92:12                 denies 267:3                    161:13 217:20
  27:6 32:18 40:21              deeply 112:11 295:17       deny 265:1 269:17               218:11, 13 219:13
  41:5, 23 58:23 61:6           defend 147:17 155:1         270:16, 20 271:22             device 249:4, 20, 22,
  78:1 87:10 88:6, 7,            289:9                     denying 265:9                  24 250:3
 23, 24 96:3, 4 103:1,          defendant 43:1 69:1        dep 51:6                       devices 249:6
 1 104:5 107:16, 16,             192:7, 13 193:10          department 49:5                dick 75:13 102:16
 23 109:25 112:21                194:9, 10, 10              155:23 209:9                   203:18 207:4, 9
  120:20 129:22                 Defendants 1:9 2:11        departments 24:18               269:16 270:17
  131:12 144:25                  194:14 203:3              departure 191:2                dicks 103:6
  145:10, 14, 16, 17            defended 151:8, 8          depended 53:25                 difference 45:2, 3
  146:12 149:9 159:15           defending 151:11           depending 66:21                differences 8:23
  168:22, 25 171:22              155:12                     215:16                        different 9:2, 21
  174:4, 17 184:18              defense 152:22             depends 258:15, 15              10:23 11:7, 12 16:10,
  190:18 200:12                 Define 96:7                 259:3, 4                      11 17:9 19:15, 16
  202:12 203:16 204:6           defined 11:6               depiction 64:20                 24:18 50:8, 13 90:16,
  222:22 225:12                 definitely 29:21 30:9,     deploy 332:15                  18 95:3 146:18
  226:18, 20 245:1, 8,          9, 13 31:13 51:5           Deponent 2:16 342:3             163:16 169:6 197:9,
 11 246:16 251:14                52:17 63:1 64:19          Deposition 1:12 3:5            10 229:14 237:16, 16,
  269:1, 2 282:9 285:4,          82:1, 1, 4 141:9           4:6, 12 92:18 94:9            17 258:4 259:18
 9 304:6, 6 314:17               242:17 296:20              185:3 192:22 267:19            305:9, 15
  316:12 320:4, 20               332:19 334:5               292:25 334:21 341:2           differently 39:24
  328:4 329:9 343:16            definition 186:21           342:8                          151:20
 days 106:12 107:23,            defrauded 313:18           DEREK 2:2                      difficult 36:23 38:2
 23 169:11 174:17               degree 83:4 104:6          describe 8:20 9:1              difficulty 307:18
  175:13 225:12                 Delaney 85:13              describing 65:7                dig 198:16
  226:20 304:10, 13, 16          102:20 122:10 147:6       description 9:6, 9             digest 147:24
  305:18, 24 306:8, 14           149:11, 16 155:4           64:21 113:10, 16              digital 173:3
 Day-to-day 22:21                183:10 321:6, 25          desired 313:22 331:2           dinner 130:24
  216:16 217:1                  Delany 41:1                                                131:25 132:4
 dead 223:17, 19                delete 201:11 249:22                                      dinners 127:11
                                             Everest Court Reporting LLC                                         Page: 98
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 100 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 direct 24:24 35:9, 14          discrimination 101:20       doing 26:1 27:14               drama 56:3 58:16
  72:24 73:12, 14 74:5           194:12 206:4, 8             83:24 85:11 93:2              80:22 98:7
  98:11 99:11 102:8             discuss 145:10 150:5         97:1, 3 115:9 169:1,          dramatically 46:1
  151:16 198:22                  163:1 176:1 296:16         3 172:23 179:2                 drink 137:5 157:18
  215:21 220:20 233:2            299:9                       193:23 196:15 199:1           269:2
  270:3 337:8                   discussed 296:23             200:12, 18 201:2              drinking 41:15 75:12
 directed 62:13                 Discussion 47:4              212:24 216:25                 100:24 111:6 131:10
 directing 219:13                48:10 51:8 70:12            219:25 220:11, 18             188:13 271:1 305:21
 directive 160:4                 138:25 139:17 162:5         231:13, 24 238:17             306:1
 directly 116:13 189:8           172:11 232:20               254:9 285:6 291:15            drive 112:18
  288:23 291:1, 4                265:21 335:3 340:2          311:6 314:23 324:16           drop 189:18 264:9
  312:14 335:16 337:9           discussions 105:19           332:22, 23                    dropped 243:11
 director 8:11, 12              disease 38:19               dollars 153:21                 drowning 220:8
  9:13 13:3, 6, 7, 10, 20       dislike 273:8                312:22 323:10, 13             due 176:21 197:11
  14:15 17:6 18:24              dismiss 44:3                 324:10, 12 325:19             duly 3:22
  19:11 22:15, 19 23:1,         dismissed 43:5, 18, 23       326:1, 9, 15                  dumb 243:23
 3, 20 24:13, 14, 15            dissidents 259:16           domestic 82:22                 dumbed-down 109:9
  25:12, 16 123:4, 6            distill 295:25              domestically 10:22             duration 128:25
  158:12 159:8 164:24           distinction 58:6            done, 272:21                   duties 330:6
  166:16 168:11, 14             distinctions 60:4           donor 10:3 113:22              dwalton@cozen.com
  171:4 172:18, 21, 22,         distress 155:3               228:11 242:12 291:8           2:10
 23 206:21 207:22               distributed 336:25           302:11
  217:20 218:11, 12             distribution 230:11         donors 10:6 16:14              <E>
  219:12 242:25 243:2           DISTRICT 1:1, 2              131:2, 25 132:5               eager 188:18
  276:7 279:13 291:5,            3:8, 9                      229:17 302:5                  Eagles 41:19
 10, 16 312:15 327:11           disturbed 109:14            door 103:12 188:19             earlier 117:17
 directors 16:12 21:2            114:19 305:6                208:11 254:17 256:2            142:18 182:9 294:1,
  327:1                         division 9:16               doors 103:9 117:2              4
 director's 230:8, 12,          doc 248:6 252:19, 21         207:2                         early 107:22 138:6
 18 231:9                        258:2, 2                   dope 179:8                      210:22
 directs 4:23                   docketed 181:22             dork 46:16 61:5, 12,           earn 112:22 164:2
 disagree 280:12                Docs 247:12 252:13,         25 62:2, 10 63:4                315:23
 disalarmed 119:9               23 257:22 258:23             109:11 111:5 119:5,           easier 107:1 284:15
 disappeared 254:2               259:9                      8, 11 193:17 201:8,             291:3, 4 330:14
 disappointed 98:18             doctor 102:24               16 223:4 267:17                easily 177:4
  100:20 101:1, 2               document 42:18               270:23                        East 4:8 7:16 8:15,
  103:22 308:18, 21              66:13, 21 67:1 80:3        dork, 46:18                    22, 24 9:4, 5, 9 10:18
  310:2 315:16                   115:23, 24 116:12, 21      double 38:15 83:23              11:2, 3, 4, 17 12:8, 11,
 disappointment 99:7             117:5 184:23 194:18        doubt 39:25 202:6, 7           17 13:20, 24 14:17
  100:16 293:16                  196:9 197:5, 6, 9, 18,     download 249:25                 16:7 17:3, 7, 24
  307:24 331:8, 13              19, 21, 22, 23 198:17       downstairs 46:13                19:10 20:8 22:16, 19
 disarray 313:3                  199:22 206:5 213:9          61:8 63:2 119:6                24:7 25:3, 25 31:12,
 disbelieve 34:20                248:9 259:5 324:6, 8       downstairs, 123:11             16, 23 79:14 83:4
 disconnect 212:14               325:17, 21                 downtime 290:16                 84:12 88:5 126:11
 discovery 175:14               documents 45:4, 11          dozens 82:24 163:16             145:8 155:14 156:8
  213:11                         141:23 155:18              Dpipes@gmail 257:16             158:9, 17 165:20
 discriminated 27:25             197:14 241:11, 23          Dr 255:4 302:5                  166:16 172:19
  198:20 199:4, 20               277:12 312:20               337:7                          177:21, 25 185:4
  206:6                          316:15 324:5               draft 259:10                    205:19 254:12 274:4,
                                dog 37:16 138:14
                                              Everest Court Reporting LLC                                         Page: 99
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 101 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 9 275:2 279:13                 embarrass 190:3            entails 15:12                  21 164:16 169:11
  335:6 336:17                  embarrassed 102:25         enter 4:21 63:13                173:21 189:8 207:13
 EASTERN 1:2, 7 3:4,            emergency 145:12           entertained 250:22              237:2 245:2 249:1
 7, 8                           emotional 112:4, 8         entire 13:1 41:22               263:5, 21 272:7, 13,
 eaten 138:16                    147:19 304:9, 12, 15       88:5 99:8 114:14              14 277:13, 24 291:17
 eating 61:15                    305:4, 18, 24 306:9,       117:5 183:20 205:18            294:22 297:3 305:7
 education 336:23               13, 14                      256:9 308:8 309:17             310:23 311:22 313:5,
 effect 6:20                    emotionally 112:25          320:24                        6 317:1, 5 321:1
 efficiency 163:10               121:15 122:19, 22         environment 38:25               322:15, 16 325:12
 eight 340:10                    288:3 290:7, 12            188:16 200:7                   331:4 333:9 340:19
 either 47:17 48:10             emotions 318:16            escorted 27:11                 everybody's 80:23
  70:3 85:25 86:23              employed 12:7 21:10,       Especially 119:22               117:2 170:8 301:8
  87:9 96:13, 14 97:13          11 41:23 179:18, 24         186:4 305:1                    304:20 311:21 313:8
  115:5 126:21 140:21            307:21                    ESQ 2:2, 5, 7, 12, 12          everyone's 246:21
  145:5 165:21 178:22,          employee 22:1 23:18,       estimating 25:17               evidence 52:15 60:23
 24 183:19 184:3                24 24:7 31:2, 5, 11,       estimation 303:11               73:1 82:11 87:20
  211:20 215:14, 15             16 53:24 102:2             et 1:7 3:7                      88:2 265:17 276:22
  285:15 290:8 312:15            123:16 124:12, 16         ETA 302:25                      280:2 283:3
  319:5 330:23                   141:24 142:13, 19         etcetera 10:16 20:6            evil 330:16, 16, 16
 EJ 126:14 127:20                167:15 278:9 280:18        49:1 84:6, 6 112:7, 7         exact 11:20, 20 113:4
 Eleanor 1:16 3:14               284:3 307:20               137:8, 8 143:19                115:7 336:5
  166:1 203:11 228:24           employees 26:4, 18          154:5, 5 170:4 172:9          exactly 22:9 23:13
  265:8 281:2 303:14,            31:23 79:13 104:10         174:8 176:24 191:17            40:19 118:19 119:13
 15, 19 335:2 343:7, 21          174:8                      240:25 250:15 327:6,           135:14 141:13
 electromagnetic 243:7          employee's 298:12          17, 17                          150:22 152:22 172:5
 electronic 50:1, 21            employer 326:5             ethic 217:11                    178:21 193:10
  213:12                        employment 12:10           Europe 335:9, 10                194:22 231:12 235:4
 else's 38:4 228:21              13:24 24:8 25:2, 13,       336:4                          242:18 321:4 339:20
 e-mail 49:11, 14 50:1,         24 27:22, 23 38:4          evening 129:22                 exaggerated 268:18,
 21 79:21 81:15, 16,             41:9 84:12 88:7, 8,        138:11 139:10                 19
 16 88:19 161:10                24, 25 96:3, 4 158:7       event 12:16 130:24             exaggerating 268:20,
  165:9 178:8 195:5,             165:19 174:3, 5            131:5, 7, 11 132:5            22, 24
 10, 10 202:15 208:1             204:14, 21 206:3           136:3                         EXAMINATION 4:1
  213:24 215:3 230:14            214:3 220:15 245:5        events 10:3, 16 16:18,          63:19 71:5 117:15
  231:17 240:7 241:11            246:6, 16 247:11          19 26:3 84:5 131:14             342:4
  244:24 246:22, 24              271:10 302:2               153:15 322:25, 25             examined 3:22
  247:10 248:2, 5, 13           encounter 67:12            eventual 10:5                  example 40:3 207:22
  253:3 259:23 261:11            74:15 264:18              eventually 219:6               exception 206:16
  291:25 296:3, 7               ended 12:11 25:3, 13,      Everest 2:18 3:12, 14          exchanged 166:25
  307:16 332:7 341:1            25 27:4 132:20             everybody 23:5 38:4             216:15
 e-mailed 63:23 196:6            133:6 157:19 333:9         55:13 85:15 109:21            exchanges 104:25
 e-mailing 231:24               ends 114:4                  110:3 121:5, 23               excited 190:23
 e-mails 48:14 49:13,           enemy 42:3 182:17           122:11 135:19                 exciting 180:17
 15 195:13 214:12, 13           engage 276:14               136:16 138:5, 7               Excuse 71:12 91:17
  239:18 244:6 247:1,           engagement 309:5            146:15, 17 147:4, 11           221:18 274:16
 3, 6, 7, 9 261:8 295:23        engages 189:11              148:20 149:17                  278:13, 14 282:1
 Eman 20:20 66:22               English 206:13              150:25 153:7, 17               298:21, 22 302:12
  198:24, 25 199:25, 25         enjoying 311:23             154:20, 25 156:14              335:22
  255:19 323:1                  ensure 228:1                158:1 159:25 160:16,          execute 131:13
                                                           20, 21 162:6, 8 163:4,
                                             Everest Court Reporting LLC                                        Page: 100
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 102 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  284:17 330:6                  eyes 155:8                 fault 283:21, 25               files 27:13
 executive 219:17                                          favor 5:15 240:5               filled 67:2
 ex-employee 167:16             <F>                        fear 79:24 177:11              filling 269:22
 exhibit 99:23 101:4            face 72:17 85:21            235:13 254:16, 18             filter 160:6
  181:16 208:18, 19, 20,         232:8 241:2 265:24        fearful 226:3                  final 18:1, 3 157:2
 21, 22, 23 342:9, 10,           288:10                    February 56:1                   165:19 168:22
 10, 11, 11                     Facebook 42:8               158:22 162:22, 24              246:16 310:14
 exhibits 101:5                  282:17, 18 315:19          250:9 252:11 264:11           finally 121:12 240:14
  117:14 342:8, 13              faced 207:12 277:12        Federation 19:1, 4, 14,         241:1 250:21 331:3
 exists 203:21, 24               304:7 307:21              19 229:6, 16 230:21            financial 324:19
  216:13, 13                    facilitate 167:12, 14       231:14, 19, 22                financially 325:6
 expect 227:13, 18              fact 26:18 33:16           Federations 19:15              find 17:22 53:12
 expected 11:11                  56:20, 25 57:22           feel 38:24 80:6 87:5            57:7 58:9 59:9 60:9,
  168:24                         65:18 85:3, 8 120:8,       103:19 110:25                 10, 18 61:2 191:6
 expense 112:23 290:1           9 123:25 168:19             155:20 161:18                  225:17 282:19, 20
 expenses 241:14                 182:16 184:7 193:9         163:23 184:18                 finding 226:9
 experience 113:20               254:24 256:2 272:16        188:15 192:3 273:1            fine 54:6 69:20, 23
  325:9                          319:6                      288:9 289:17, 19               72:17 85:18 89:23
 experienced 60:20              facts 52:15 60:23, 25       290:24, 24 291:20              90:4 107:15, 19
 expert 156:12 241:3             72:25 82:11 88:2           296:19 311:2 313:18,           117:10 121:7 131:20,
  281:4, 8                       294:10, 11                19 320:9, 10 322:6             23 135:21 159:4
 explain 6:8 74:12              failed 26:1                feeling 313:16                  160:21 196:12 222:1
  93:7 285:14 296:11            failures 113:21            feelings 185:18                 223:24 227:16 251:9
 explained 65:1                 fair 11:21 17:15            318:16 319:1                   263:25 285:16 287:5
  267:16                         18:12 141:6 144:7         feels 152:20                    289:21 290:3 307:13
 Explicitly 187:1                147:23 151:23 152:1       fell 83:16, 17 298:20           310:24 311:22, 24
 exploded 174:15                 179:12 192:16             fellows 131:2 135:9             313:5 322:2 331:5
 exploding 300:19                323:10                     298:5 333:17                   338:3
 explosive 32:22                fairly 239:3               felt 27:25 28:3 29:4           finger 308:22 310:8
 express 99:6 100:16            faith 11:10                 46:20 110:19 151:10           finish 5:15, 16 76:10
  286:18 295:7, 13              Falafel 282:10              168:4 183:4 187:18             89:20, 20 90:6 92:18
 expressed 125:6, 9             fall 10:22 84:2             188:2 191:23, 24               94:1 106:25 117:14
  167:4 183:8 287:9              240:8 242:24               223:8, 15 264:1, 2             169:1, 2 298:24
  293:16 321:23, 24             falling 153:11 295:5        288:6 290:19 298:7,            340:17
  332:3                          298:10                    9 312:5, 7 320:7, 16           finished 106:23
 expressing 286:25              false 106:6, 6              329:4                          114:3 124:20 230:2
  287:11                        fame 324:13                female 31:2, 5, 11, 15,         322:3
 expression 328:8               familiar 22:3              23 53:24 79:13                 Fink 162:8 279:1
 extent 187:5 255:23            family 80:1 176:11          101:19 102:2 104:10           fire 33:7
  281:3                          177:15 253:23 309:4       field 11:1                     fired 78:19 82:6, 9,
 external 243:5                  316:4                     fifty 95:3                     11, 14, 16 286:14
 extra 58:18 137:12,            far 71:23 72:1             fight 208:8                    first 3:21 13:8, 8
 15                              166:23 172:21             figure 68:5 177:4               19:8 20:7, 12, 17
 extraction 203:23               180:21 237:7 238:20        263:19                         21:20, 21 24:8 32:24
 extremely 98:17                 245:2 275:22 284:9        file 198:7 246:13, 18           39:6 40:24 60:10, 18
  224:19                         313:7 328:23 334:19        315:17                         61:2, 6, 11 65:6, 10,
 eye 38:15 102:17               fast 323:8 331:2           filed 181:19, 23               19 86:6 88:6, 23
  105:13 312:4 319:23,          faster 138:23               182:2, 3, 4 198:13             96:3 98:5 107:10, 19,
 25 335:12                      fate 302:1 311:16           244:9, 19 246:11              25 108:5, 12 109:5,
                                                                                          13 110:7 111:17
                                             Everest Court Reporting LLC                                        Page: 101
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 103 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  113:9 117:15, 15              forever 330:3 337:4         friend 32:19 84:20             gathered 146:13
  120:2 123:23 130:3             338:2                       102:24 128:12                  150:16 162:6
  131:16 140:3, 20, 25          forget 7:17 285:10           154:11 183:21                 gathering 139:19
  180:23 181:16 182:2           form 54:10 97:21             185:16 308:10 315:9,          gauge 12:18
  187:19, 21 199:23              98:2 231:3 232:16          10, 12 319:16 333:2            gay 55:7
  203:14 213:16                  258:13 259:1 265:6         friends 16:19 39:7, 8          general 16:5, 8 158:8
  215:20 229:13                  266:8, 22, 24 275:5,        41:3, 14, 24 45:13             204:19
  231:15 232:11, 14             10, 21 276:9, 17             86:14 120:1 122:1             generally 17:2
  241:5 252:10 256:1             278:7 281:1, 2 286:3        163:24, 25 183:6, 7           generic 234:22
  266:11 309:22 327:2            292:8 297:12, 19, 23        272:14, 25 282:17, 18         genetic 38:19
  336:7, 12                      298:16, 17 299:17, 25       286:15 287:20 288:1           genocide 255:1
 firsthand 97:16                 300:5 314:8                 315:4 327:4                   geo 239:10
 fit 28:14                      formal 111:19               friendship 85:23               geographic 11:6
 five 13:9 25:15, 17            format 209:16                112:23                        getting 12:15 53:15
  91:6, 7, 10 94:20, 24         forth 172:15 318:21         friendships 39:14               228:9 253:22 254:24
  181:5, 7 298:11               FORUM 1:7 3:7               front 28:5 40:13                261:22 311:7 322:16
  334:18                         4:8 8:15, 22, 24 9:4,       112:19 148:19, 20, 21         giant 205:9
 five-minute 138:24             5, 10 10:8 11:17             157:25 181:17                 gifted 336:17, 20
 flag 232:1 319:14               12:8, 11, 17 13:20, 24      206:12 209:1, 18              girl 152:15 193:18
 flee 43:10                      14:17 16:7 17:3, 7,         210:11, 19 211:1              girls 134:10
 flights 216:6, 7, 20, 25       24 19:10 20:8 22:16,         263:22 311:5                  gist 172:6
 flipped 137:12 191:22          19 24:7 25:3, 25            fuck 105:8                     give 6:9 10:8 33:21
 floor 79:8 131:9                31:12, 16, 23 79:14        fucking 289:1                   40:3 47:18 64:18, 24
  132:15                         84:12 88:6 126:11          full 7:4, 7 211:7               65:25 68:17 104:5
 Florida 49:7                    145:9 155:15 156:8          257:4 308:16                   107:12 141:18 160:4
 flows 297:6                     158:9, 17 165:20           full-time 80:13                 190:17 192:16
 fluent 163:13                   166:16 172:19               113:24 117:19                  194:19 195:9 196:8,
 fly 57:14                       177:21, 25 185:4            123:16 124:11, 16             16 213:6 244:12
 focused 103:25 104:1            205:19 274:4, 9             141:24 142:7, 12, 19,          245:19 248:20 257:3
  150:14                         275:2 335:6 336:17         23 143:13                       262:2 290:6 303:1,
 follow 212:13 324:2            Forum's 10:19               fun 315:4                      10 322:19 333:5
 followed 150:8 252:4            279:13                     fund 9:18 10:2                 given 11:1 15:7
 following 10:13 18:1           forward 94:9 104:6           22:21 48:15 153:15             47:17 74:17 175:13
  32:8, 10 142:4 165:2,          112:21 164:21               217:25 331:18                  183:1 220:14 329:7,
 7 193:24 233:18                 189:23 190:1 334:23         336:23                        14 337:1
  305:22                        found 57:18 58:20           funds 26:21                    gives 318:7
 follows 3:23                    66:3 76:17 82:8            funny 22:8 63:6, 7, 9          giving 4:10 76:25
 followup 269:4                  86:5 187:19 228:12         further 334:21                  121:17 144:17
 follow-up 66:20                 244:16                     future 121:13 170:9             252:22 258:3
  199:10                        foundation 266:8             264:19 304:18                 glad 48:2 177:16, 17
 food 20:5 61:19                 269:19                      309:11 320:21                 gmail 195:23 233:23
  200:3                         France 59:22                                                234:18 248:7, 8
 foot 38:15 266:2, 4            Francisco 58:19             <G>                             252:14, 24 253:10, 12
  267:5, 10 294:13              Frank 21:13, 22, 25         gain 165:5 324:19               256:15, 19 257:7, 8, 9,
 football 326:25                 22:2 255:4                 Gambill 20:20                  14, 21 258:10, 11
 force 6:20                     Frankly 95:24 254:22        game 41:19 128:18               259:17, 20, 24, 24
 forced 52:11 307:22            fraud 62:18, 20              137:10, 20 313:22              260:10, 17
 foregoing 343:9                free 336:18                 gap 276:5, 11                  gmail, 256:16
 foreign 83:5                   Friday 129:18               Gary 20:20 206:16              gmail.com 195:17, 21
                                                            gather 159:25
                                              Everest Court Reporting LLC                                        Page: 102
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 104 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 go 4:9 13:23 20:18             18, 22 69:2, 8, 11, 16       60:22 69:12, 17               grantees 131:3
  27:19 35:19, 23                70:3, 13 71:25 72:18        70:17, 19, 19 71:2, 11,        336:24
  36:18 42:16 46:6, 7            73:4, 8 77:18 78:1         15, 19, 22 72:2, 7, 13,        graphic 64:20
  47:3, 13, 14, 23, 25           80:22 81:6, 7, 9 89:9      24 73:3, 12, 16, 22            graphically 65:1
  48:2, 3, 5, 17 49:11,          90:13, 21, 22 91:21,        74:5 82:10 87:25              grata 42:7
 16 50:3, 22 51:10, 21          22, 25 92:10 93:25           98:10, 20 99:11, 16           great 188:2 211:17
  52:12, 15 53:5, 9              94:1, 3, 6 98:11            101:22 102:7, 12               282:7
  56:13, 15, 25 68:20            101:22 102:18 111:1         138:18 139:1 165:25           greatest 314:16
  69:21, 25 70:7, 8              112:2 115:1 117:13,         192:21 194:25 195:6           GREGG 2:18 4:8
  72:8, 10, 10, 13 76:10        14 122:2, 7, 15              196:3 209:25 211:19            14:3, 13, 21, 23 17:17
  83:20 85:1 89:14               123:13 126:6 131:12         269:23 334:25                  19:3 22:15 23:16, 19
  93:23 94:8 95:5, 12            133:7 136:24 141:14         335:20, 23 337:3               24:25 26:8 28:20
  98:23 102:1 103:8              146:15 147:13               340:7, 12, 18, 25 341:5        30:1, 6, 16, 20 31:1, 4,
  106:17, 25 107:9               151:17 152:17              Goldie's 282:11                6, 8, 10, 15, 22 33:4, 7,
  111:22 114:25                  153:25 154:2, 6, 7         Good 4:3 11:10                 22 34:23 36:8, 11
  119:23 123:13                  162:1 164:13 165:3          78:14 139:1 188:16             37:24 39:8 46:15
  127:12, 12 134:2               169:17 172:13 176:6,        189:12 195:6 212:17            47:18 48:4 50:2, 22
  136:9 138:23 144:23           13 180:20 181:17, 19         220:1, 1, 10 240:24            52:11, 11, 19, 24
  149:6, 6 150:17                183:22 184:20, 23           250:24 266:15                  53:23 56:4 57:8
  155:12 157:18                  185:1, 2, 7 188:5           269:10 272:13, 25              60:21 61:4, 12 62:9
  158:24 162:11, 11, 11,         190:24 191:13               311:24 313:6, 8, 8             63:4 64:17, 25 65:10,
 12, 12, 13, 19 163:7            194:16 198:16 204:6         315:9, 10 317:4, 20           13, 20, 22 66:9 67:5,
  169:22 172:15 181:6            208:6, 21 211:2             322:18, 22 330:21, 23         8 68:23 69:6, 9
  198:16 209:3 210:13,           215:21 219:2, 9             332:14                         70:14, 17 71:1 72:21
 22 212:8, 20 213:1              220:20 223:17 226:5,       goodbye 172:3                   74:1, 14 76:1, 2
  214:4 246:3 259:7             10, 12 227:8, 14, 14         282:13                         79:12 80:13, 25
  269:23 270:1, 14               231:23 233:2 242:24        Goodrobb 21:1                   81:18, 23, 24 82:7, 8
  271:4 272:20 274:18            244:22 245:17 246:2        Google 57:14 58:18              84:8, 10 85:15 86:1,
  280:9 286:14 290:15            249:7 251:10 254:12         237:25 240:6, 6, 9, 20        23 87:4, 5, 16 88:9,
  291:16 299:2, 18               256:5, 7 259:7              241:5 243:14, 19              16 89:1 96:5 97:20
  302:24 303:13, 15              264:18 270:2 272:10,        247:12, 23 248:6, 9, 9,        104:20 105:7 109:11
  304:25 313:10                 12 274:10 278:14            13 249:16 250:7, 13,            110:5, 13, 17 111:3
  315:22 319:2 327:5             286:10 287:4 289:25        17, 23 251:8, 15                115:9 119:2, 4 120:5,
  330:12 331:1 333:5,            291:10, 15 292:25           252:6, 13, 19, 21, 23,        6, 10, 13, 25 121:6, 7,
 24 334:9, 12, 23                293:14, 17 297:8           23 253:1, 2, 9 254:17          14, 24 123:12, 21
  339:7 340:21                   298:2 299:13, 16            256:8 257:22, 22               124:4 126:16 127:14
 go-ahead 167:6 241:2            301:11 302:13, 23, 24       258:1, 2, 2, 23 259:5, 9       128:12 134:5 136:5
 goal 10:11, 20                  303:7 304:1, 2             gossip 80:21                    139:11, 18 140:6, 12
 go-between 161:16               306:16 309:3, 18, 23       got-cha 248:19                  141:2 142:15, 24
 God 112:10 291:19               310:22, 23 311:17          gotten 130:15                   145:10 146:21 148:8
  310:15, 16 319:24              313:5 314:15 317:4,        governance 15:18                149:8 152:4, 19
 goes 120:17 137:7              4, 22 319:2 323:16          governors 14:20, 21,            153:25 154:25
  160:5 215:17                   324:17 325:6, 9            25 15:9, 12, 14, 16, 24         156:16 157:12, 22
 going 4:19 17:15, 22            327:15 331:21 335:9,        16:2, 4, 6, 8, 9, 12           158:16, 23 159:4, 22,
  31:24 35:10, 14, 21           17 340:3, 23                 17:6 23:11                    22 160:2, 22 162:8
  40:21 41:6 42:2, 14           GOLD 2:12, 13 29:9,         graduated 114:2                 163:1, 4, 6, 7, 18, 25
  43:13 45:5 52:20              12, 12, 15 34:24 35:3,       273:21                         164:1, 6, 13, 23 165:6,
  54:22 56:5, 10, 12            8, 12, 16, 23 36:16         graduation 113:15              14 166:15 167:21
  58:24 59:25 60:2               49:22 50:4, 12, 16, 24     granted 337:11                  170:11, 13 171:1, 3, 8,
  63:12, 18 68:4, 6, 8,          54:10, 19 56:22                                           15, 18, 25 172:6, 18
                                              Everest Court Reporting LLC                                        Page: 103
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 105 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  173:2 177:20, 24              Groman@gmail                 317:20 327:4 339:24           9, 11, 14 278:3, 17, 23
  178:7, 14, 17 179:19,          257:16                      340:10                         279:2 282:25 284:4
 24 180:9 182:11                ground 4:10                                                 285:11 294:6, 7
  184:12 185:5 193:17           GROUP 2:2 12:20             <H>                             306:9 311:13 320:19
  194:9 196:24 199:25            15:17 16:13 128:15         hack 235:25                     321:4 326:18 335:11
  200:17, 23, 25 201:8,          131:10 187:22 188:6        hacked 235:8, 14               happened, 119:18
 16, 21 203:16, 17               227:17                      253:22                        happening 117:3
  204:1 205:20 206:9,           guess 6:10 8:21 9:3         hacks 235:10                    150:22 298:1 301:3
 11, 17 207:8, 13                13:9 17:25 21:18           half 240:13 334:18              307:23 329:3
  217:21 218:2 223:3             24:18 53:25 54:4, 14       Halloween 27:7, 9              happenings 129:23
  224:20 225:23                  57:10 58:8 60:1            hand 87:12 147:3                216:16
  226:11 227:7, 11, 20           64:1 66:4 68:17, 21         182:7 265:18 343:16           happy 34:15 42:17
  228:3, 10 229:4, 5             113:13, 17 114:20          handbook 101:24                 55:4, 8 119:23 122:9
  231:10, 15, 16 233:13          124:19 125:1 128:3         handed 169:4 252:6              198:12 203:2 209:13
  234:3, 11 235:11, 11           130:19 142:22              handle 82:21                    211:3 220:9 227:15
  236:14 237:4 240:11            143:23 145:7, 10           handled 98:18 99:8              272:10, 19 291:2, 6,
  250:12, 18, 19 251:11          146:2 160:15 164:8,         100:17 101:9                  14 300:10 310:23
  253:21 255:23 256:9           10, 15, 16 170:25           handling 179:7                  322:15 327:5
  262:20 263:3, 7                172:21 177:21 180:7,       hands 131:1 136:6              harass 31:5, 6, 10, 15
  267:15 268:1, 4, 25           23 184:24 186:9              140:6 297:3                    186:18 206:9
  269:6, 15, 17 271:21           188:20 189:7 190:4         hang 136:23 169:21             harassed 28:3 36:8,
  272:15, 17 273:15              193:2 194:15 203:13         190:13                        11 84:24 87:4, 5
  275:9, 15 277:20               204:10 217:1 219:15        hanging 39:14 170:2             110:13, 17 156:20
  278:5 279:6 280:15             222:5, 8, 10, 24 223:2     happen 13:21 42:10              162:9 201:3, 6
  283:3 285:12, 19               227:22, 25 240:15           66:6 67:18, 25 68:2            206:10 277:3 279:15
  287:22 289:6, 11, 12,          252:9 256:4 267:18          76:15 91:22 136:7              292:5, 11 313:1
 20, 24, 25 291:18               273:20 282:24               147:14 159:16 171:5           harasser 152:5
  293:17 297:4 300:21,           284:20 304:3 328:19         191:4 225:3 226:5,            harasser's 152:5
 21 301:2, 9 302:9               338:16                     13 254:21, 23 266:21           harassing 79:13
  307:15 308:4, 14              guessed 142:2                277:16, 17, 18 284:10          200:23, 25 283:11
  310:1, 17 312:1, 9, 10,       guessing 141:4               309:18 327:15                  285:23
 11 313:10, 24 316:18            156:23 186:17 337:3        happen, 68:10 69:10            harassment 27:22
  317:10, 12, 14, 20            guidelines 178:1            happened 12:17 15:4             28:19 37:24 44:22
  318:18, 19, 20, 21, 23        guilty 77:21 78:10           27:7 32:3 33:12                61:1 81:19, 22 85:4,
  321:7, 9, 11 326:10,          guy 105:14 169:24            42:5 65:14, 15 66:9           9, 10 86:22 87:1
 12, 17, 24 327:7, 20,           254:14 255:4 266:14,        67:15 76:14 79:9               89:1 97:20 98:1
 24 328:11, 16 329:25           19 269:7 322:10              84:16, 17 87:13                99:10 101:21 104:12
  330:8 331:5, 6, 9, 14,         335:13 337:18               96:14 97:14 102:23             152:3 155:16 156:1,
 22 332:4, 14 333:7, 11          340:13                      103:14, 15, 16 104:22         7 157:21 161:6, 19,
 Gregg's 48:15 75:13            guys 39:5 51:9               109:2, 15 119:19, 20          22, 22 162:5 163:1
  85:10 112:18 113:21            68:17 72:1, 17 92:3         123:24 132:21                  176:2 186:12, 22
  118:25 119:13                  100:14 105:16               144:21, 25 146:12              194:12 200:21, 22
  151:22 167:12 199:6,           129:12 131:17, 25           147:9 150:10, 11, 12           203:15 204:7, 13, 17,
 7, 9 218:9, 18 219:18           135:15 145:9 160:18         154:15 157:7 162:14,          20 205:17 206:4
  242:11                         169:23 170:1 175:16        16 164:19 183:14                232:12, 15 268:2
 grievances 146:17               196:6 211:9, 22, 23         201:18 202:2 210:10            271:15, 18 281:5
 gripe 79:18                     212:1, 3, 15 229:14         223:14 224:9 226:14,           296:17 298:13
 gripes 85:17 146:19             247:6, 10 248:12           17 235:10 254:1                 299:11
  300:20 301:8, 10               257:20 258:9 310:21         263:20 264:3 265:18
                                                             276:25 277:1, 6, 7, 8,
                                              Everest Court Reporting LLC                                        Page: 104
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 106 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 hard 5:9 144:12                helping 190:19             honesty 183:16                 16
  182:19 268:25 269:1           hereunto 343:15            hope 44:24
  271:2 310:17 332:25           hesitant 28:15             hoping 331:16                  <I>
 harder 5:12                    hey 133:12 142:20          hopping 131:10                 idea 84:21 114:19
 hash 263:21                     146:3 162:8 165:25        horn 20:18                      150:18 163:11
 hated 215:13                    185:20 203:9 282:24       horrible 41:8 110:5             168:13 185:14 187:2
 hating 273:2                    283:2 284:4 289:18         255:6 313:3, 4                 220:11 274:2 298:2
 hats 9:22                       315:15 317:19              314:23 315:21                  329:20
 head 39:15 116:16               320:23 322:19, 23         horrific 321:2                 ideas 163:9 164:25
  154:2 219:3 242:24            Hi 233:24                  horse 223:17, 18, 19           identification 275:6
 headphones 212:18              hide 56:19, 24 57:4        hosted 132:16                  identify 45:25 70:14
 heads-up 76:25                 hierarchy 14:19            hotel 52:25 53:16              idiot 81:6 309:10
 health 249:14                  high 55:13 187:4            55:7, 11, 16 72:21             311:2
 hear 28:24 73:22               higher 22:25 23:2,          74:2 128:8 187:10,            ignored 183:3
  85:13 92:3 100:3, 4,          16, 19 298:5               12, 17 216:20, 25              ignoring 112:4
 10, 12, 13 124:1               high-level 48:21            256:6 258:5 260:20            IHG 216:8
  141:15 144:16                  230:15                    hotels 216:6                   illegitimate 255:17
  209:25 212:15                 highlighted 295:11, 12     hour 119:23 211:3              illogically 170:14
  223:24 224:1 228:18           highly 206:24 207:1,        272:10, 19 310:14, 23         imagine 75:12 120:1
  235:22 254:3 255:15           5                           334:16                         121:17, 18 273:14
  266:18 274:20 303:3           hints 189:18               hours 210:24 227:15            imagining 254:13
  315:19 324:24                 hire 80:25 83:8             302:16, 18, 22, 24            immediately 33:8
  329:23 330:16 334:3            125:19 167:6 176:21        334:1, 5, 15, 18               290:18
 heard 65:17, 18                 321:22                     339:10, 16 340:10             impacted 298:1, 7
  70:21 88:25 108:12            hired 9:13 13:25           house 7:20 41:2                imparted 295:19
  109:13 110:7 135:8             83:1 112:11 113:2,         42:21 43:9 112:2              implement 234:25
  137:11 145:15, 16             18 117:22 118:12            171:21 183:11                  243:13 297:6
  171:1 203:14 231:15            125:16 143:21              191:14 264:9 315:8            implication 77:19
  254:6 266:10 267:8             154:10 173:17, 19          321:25                         78:18 108:25 115:6
  332:11                         219:17 229:22             housed 237:17 256:7             260:6
 hearing 209:24                 hit 105:13 193:21          HR 85:2 96:24                  implications 176:5
  232:11, 14 267:18              243:6 305:10, 13           156:11                        implies 200:23
 hears 5:13                     hold 14:16 37:15           Huh 268:7                      imply 177:9
 heart 112:19                    138:13 154:8 209:21       human 209:9                    implying 106:3
 heavier 200:8                   262:1 266:23 279:9,       hundreds 82:25                  111:20
 heaviest 199:8                 20 297:3 299:14             199:10 324:12                 importance 287:18
 heavy 39:14 167:4               306:3 331:25 334:21       hung 41:17 121:3               important 235:25
 Hebrew 206:13                   335:21                     131:13 187:22                  279:5, 11 280:22
 held 152:8 158:2, 22           holding 131:4              hurt 102:17 152:15,             287:19
  176:1 296:16 298:4            holds 203:25               16 153:9 319:23, 25            impossible 125:8
  299:9 300:12 315:7            holiday 75:11, 15           335:12                        improve 163:10
 hell 323:16                     311:23                    hurtful 316:23                  323:6
 Hello 100:9 222:13             home 43:9 128:13           hurting 152:18                 inability 83:7
 help 9:18, 22 16:19             154:13 177:8 188:13       husband 40:24 41:17            inappropriate 60:7
  40:14 83:8 216:5               206:13 306:15, 16          315:11, 13 327:5               68:24 81:25 82:7
  229:2 239:10 316:7            homeowner 177:3            Hyatt 216:9                     84:9, 11 88:9, 17
  323:5 331:1                   honest 43:7 45:2           hypothetical 59:2, 5, 8         89:2 93:12 94:4, 11,
 helpful 146:24 151:4            122:3 149:23 157:4         102:10                        13 136:6 140:7
  232:10                         176:6 332:11              hypotheticals 297:15,           151:24 186:25
                                                                                           205:20
                                             Everest Court Reporting LLC                                        Page: 105
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 107 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 inappropriately 30:17,         inner-workings 49:3        interview 14:2, 7               144:1, 2 147:10
 21 31:2, 22                    in-person 295:24            17:16, 21 18:1, 4              150:12 193:16 201:8,
 incident 130:20 227:9          insecure 250:18            interviewed 14:1, 3            22 210:5, 10 224:10
 include 146:21 275:5           inside 26:15 153:12,        17:16 18:10 113:12             270:25 273:15
 included 24:21 105:5           13 168:6 231:21             174:5                          277:19 310:16
  184:21 311:15                 insinuate 189:9            intimate 49:2 187:6,           Israeli 177:8
 includes 182:1                 insinuating 44:5 63:8      7 188:22, 23 318:5             issue 53:15 163:18
 including 300:23               instance 13:13 46:5        intimidated 321:11              193:19 223:18, 20
  334:16                         102:3                     intimidating 85:16             issues 27:21 28:19
 inclusive 343:10               instinct 144:4 308:11      introduced 148:4                118:20 235:15, 18
 income 309:12                  instruct 69:5 274:11        187:1 218:24 220:12            288:6
 incompetency 81:14             instructed 5:6 258:17       222:6                         it, 70:22
  198:23 205:25                 instructing 69:2           intuitive 309:1                its 163:10 331:15
 incompetent 82:21              instruction 69:6           investigate 278:11
  198:21                        intellectual 153:16        investigation 278:5            <J>
 Incorrect 79:10                 332:16                     279:6, 12 280:22              janitor 26:15
  178:3 230:24 231:8            intend 192:22               281:5, 15                     January 124:16
 incorrectly 234:15             intent 312:18              investigations 284:2            142:7 144:9 158:21
 increase 16:20                 interacting 178:8          invitation-only 132:10          161:20 162:21, 22, 24
 increased 13:15, 18             184:13 313:11             invitations 259:10              164:6, 8 241:25
  86:18 179:11                  interaction 326:7          invite 16:19 317:18,            250:9
 independent 20:1, 2            interactions 295:24        21 318:23                      Jason 51:11
 indicated 37:22                 307:15 312:2 329:25       invited 14:2, 6, 12            JCPA 19:7
 indicating 77:12                330:8                      16:16 56:25 143:22            JCRC 20:5 327:1
 individual 194:4               interest 10:25 16:14        154:12 333:10                 JENNIFER 2:16
 individuals 255:6               83:4 167:5 183:8          inviting 211:3                  3:11 334:7
 infinite 261:5                  321:23, 24                involved 161:14                jeopardize 224:20
 influence 10:11, 12            interested 167:24           221:5 222:8, 17               jeopardized 298:4
  48:25 180:18 332:17            191:16                     298:3 299:22 333:16           jeopardy 38:5 304:21
 inform 76:9 150:20             interests 10:21 26:22       337:10, 13                    jerk-off 191:8
 information 6:16                48:25                     iPad 171:22, 23                Jersey 7:10 19:21
  48:21 58:7 105:18             interject 166:2             264:10                        Jewish 18:24 19:1, 4,
  147:25 228:11                 intern 59:21 66:24         Iran 235:9, 14 327:15          12, 14, 15, 19 229:6,
  230:20 233:15 234:5            82:24 83:2 113:10         irresponsible 193:14           16 230:21 231:14, 19
  236:16, 22 237:1               126:22, 23 127:1          ISIS 236:2, 8 254:16           Jihadist 176:23
  242:12, 13, 23 244:17          225:24 276:6               255:10, 18 260:25             JNS 221:16
  249:2, 5, 15 257:25           interned 113:13            Islamic 176:23                 job 9:6, 9 13:19
  258:1, 3, 19, 21 277:21       internship 66:8, 14,        230:18                         26:2 28:17 55:6, 10
 informed 66:25                 20 67:3 74:20              Islamism 11:5                   58:17 64:18, 24
  150:16 222:22                  113:10 143:22             Islamist 11:13                  79:25 83:2 86:3, 5, 9,
 infrastructure 241:6            224:22 273:22             Israel 18:25 46:5              24 102:4 112:6
  243:13                         282:13                     47:11 48:6, 12 49:17           113:16 121:18
 ingrained 287:24               interrupt 5:9 44:9          50:23 51:20 53:5, 24           153:24 176:9 177:12
 in-house 96:24                  91:11 93:25 166:11         55:20 56:6, 10 57:1,           199:11 216:24
 initial 229:21                  203:10, 12 273:24         8 60:2, 6, 21 61:3              218:15 219:8 225:25
 initially 14:1 197:7            274:11 276:19              64:8, 13 65:25 74:16           226:3 234:9 236:9
 initiative 180:16               292:15, 20 293:24          79:9 84:17, 23                 286:15 290:2, 9, 20,
 initiatives 11:12              interrupted 95:2, 3         104:23, 24 105:1              20, 21 298:3 304:19,
 inject 103:10                  interrupting 229:1          111:3 124:22 125:3,           20 323:2, 3
                                 270:10 292:24             7, 24 140:10 142:15
                                             Everest Court Reporting LLC                                        Page: 106
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 108 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 jobs 9:2 54:13                 kinds 188:21 302:7           113:4 114:3 115:4, 6           218:20 219:23 220:3,
  113:16 170:8 177:6            kitchen 54:8 265:19          117:3 118:13 120:23           11, 13 221:7, 25
  217:4 254:25 255:7            knew 26:8 27:16              122:17 123:2 124:1             222:2, 6, 19 223:1, 1
 Joe 327:16                      28:15 57:11, 19 58:8        125:17, 20 127:22, 23          224:19, 25 225:1, 7,
 join 283:12                     98:7 102:25 106:3           128:16, 19 129:14, 15         13 226:4, 5, 9, 12, 14
 joke 146:2                      108:23, 24 109:1            130:6 131:4, 13, 19,           227:16 228:6, 7, 9
 judge 4:25 5:2 6:22             114:23 150:15              20, 21, 21, 22 132:8,           229:4, 9, 10, 11, 11, 12
  35:11 69:16, 20, 24            154:23 156:20              13 134:16 135:7, 15,            230:12, 23 231:1, 7,
  73:9                           187:25 188:5 190:22        18 137:4, 21 138:2, 3,         21 233:4 234:9
 judicial 212:11                 197:3 201:1 204:5          7, 9 139:18, 24                 235:7, 9, 12, 19
 Judy 21:1                       226:13 238:17 241:3         140:15, 23 141:5, 11           236:24 237:7, 11, 11
 July 9:15 18:19                 254:14 282:16 286:8         142:4, 11, 22, 25              238:6, 11 239:3, 10,
  251:1                          290:18 294:11, 14, 16       143:1, 5, 6, 17 144:4         12, 16 240:13, 17, 20,
 jump 166:10 289:10              316:10 319:19               146:9, 23 147:17, 18,         22 241:21 243:22
 jumping 166:4                   337:21                     21, 22 148:5, 8, 9, 10          244:15 245:1, 3
 June 9:15 11:18                knife 63:20 64:4             150:19 151:1, 10, 20,          246:9 248:17, 21
  13:2 18:16, 18 335:9,         knock 95:9                  24 152:12, 12, 17, 19,          250:16 251:1, 3, 12,
 17 336:3                       know 4:17 6:8 9:20          24 153:19 154:1                18, 21, 24, 25 252:18,
 jury 6:22                       10:11 11:5, 7, 14           155:7, 10, 14, 19, 20,        22 253:6 254:8, 15
 juvenile 95:8                   12:5 15:2, 7, 10, 11,      25 156:9, 19, 19                255:12, 22, 23 256:4,
                                13, 19, 23 16:1, 3           157:5 158:10, 14, 16,         22 258:16 259:14, 15
 <K>                             17:5 18:2 19:22, 23        21 159:12 160:11, 16            260:3, 5, 9, 13 261:5,
 Kassam 135:2, 3, 4, 5,          20:4, 4, 23, 25 21:1, 9,    161:11, 24 162:4, 7, 9,       17, 17, 19, 22, 23
 6                              11, 24 22:5, 9, 22          10 163:20, 22 164:22,           262:4, 6, 18, 25 263:8,
 keel 328:6                      23:13, 14, 15 24:3, 11,    25 165:11, 13 166:4,           10, 11, 20, 21 264:8,
 keep 4:20 5:7, 20              24 25:1, 2, 19, 24          20, 21, 24, 25 167:5, 7,       16, 20 267:9, 12, 13,
  6:1 16:2 43:12                 26:7, 11, 15, 23 27:2,     9, 14 168:2, 22, 24            15, 24 268:3 269:3
  72:12, 15 89:15               16, 17, 20 28:8, 12, 16,     169:16, 20, 24 170:7,          271:5, 10 272:1, 8, 18,
  90:17 140:24 181:3            18 29:3, 25 30:4, 13        16, 18, 19, 20, 20, 24         23, 24 273:6, 7, 13
  199:2 200:10 208:18            32:17, 21, 24 33:2, 13      171:15 172:4, 14, 25           274:6, 15, 17, 24, 25
  213:24 223:22                  35:1 37:11 38:4             173:1, 3, 9, 20, 24            275:3, 7, 7, 22, 25
  249:25 251:10 254:5            39:3, 13, 22 40:9           174:20 176:4, 11, 15,          276:3 278:24 279:3
  270:1, 4 274:22                42:25 43:6, 17, 23         19, 22 177:3, 5, 13             282:19 287:8, 14
  300:18 302:24 328:3,           44:12, 16 45:1, 3, 6, 9,    178:12, 16, 21 179:6           290:18, 22 291:10
 6                              14 46:2, 19, 21 47:19,       180:2, 8, 18 182:6, 14         294:14 295:17, 22
 keeping 199:3 210:23           25 48:1, 17, 25 49:6         183:11 184:3, 10, 16,          296:18, 21 301:3, 23,
 keeps 328:14                    50:16 51:23 52:5, 7,       17, 21, 22 186:16              24 302:4, 11 303:9
 kept 112:22 116:16             10, 17 53:8 54:1, 5,         188:1, 9, 11, 20 189:4,        304:17, 21, 23, 24
  172:12 188:5 246:13,          16, 17 55:12 57:3, 5,       19, 20 192:1, 2, 3, 9           305:1, 4, 12 307:7, 9
 14 327:18 328:15               16, 21, 22 58:25             193:12 194:15                  308:4, 14 309:4, 5, 18,
 Kevlar 256:2                    59:11, 15, 23 64:11         197:14, 20 199:5, 17,         23 310:1 312:16, 18
 key 48:24 256:2                 66:4, 7, 15 68:12          20, 21 200:4, 8, 9, 11          313:7, 19, 24, 25
 kid 55:14 100:22                74:17, 18 75:24             201:14 203:11, 14, 19          314:10 315:16, 17
  316:5                          76:14, 24 77:7, 7, 14       205:15, 16 206:5               318:2, 2 319:9, 10
 kidnaped 254:13                 78:9, 15 80:3, 8, 18        207:1, 8, 9, 17, 18, 19,       320:6, 12 321:18
 kind 5:2 9:4 10:9               82:15, 16, 19 83:10        19 209:5, 11, 19                327:3, 12 328:5, 7, 23
  50:2 136:15 138:11             96:22 97:13, 22 98:5        210:6, 8, 21 211:4, 21,        329:3, 20 333:3
  141:19 168:20                  99:3 106:1 107:8, 17       24 212:4 213:17                 335:8, 10, 19 336:2, 4,
  179:23                         108:16, 19 110:1            214:2, 2, 11 215:3, 9,        5, 6, 16 337:24 338:1,
                                 111:2, 2, 7, 11, 14, 15    10, 24 217:1, 8, 9             2, 4
                                              Everest Court Reporting LLC                                        Page: 107
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 109 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 knowing 78:10                  lawyers 44:2 192:8,          86:19 121:3 122:6              285:8 286:13, 16
 100:21 143:23                  16 209:14 324:4              127:11 139:19                  288:4 291:3, 13
 163:21 183:5 289:23             329:8                       158:13 162:17                  308:16 311:8, 14, 15,
 knowledge 7:1 14:23            lay 16:17                    166:20 167:1 169:11           24, 24, 25 313:7
 26:25 28:22 29:6, 22           lead 165:3 169:13            173:7 183:6, 18                318:5 325:11 327:4
 34:21 35:18 48:18              leader 86:16 167:25          190:18 191:4 200:6             329:11
 49:2 58:6 59:1, 3               269:10 307:24 317:4         205:24 251:2 252:1,           lifted 140:13 166:18,
 67:10 74:25 75:4, 8            leadership 269:13           2 271:16 283:22                21
 115:11 148:2 151:16             291:19                      285:10 290:15                 light 226:1
 198:22 200:24 202:4            leadership-type 16:17        321:20 322:1 326:3,           liked 163:10 215:14
 232:7 335:15, 17               leading 202:2               22 327:9 329:9                 limit 192:11, 18
 known 28:2 68:16               leads 39:24 228:10           333:10                         307:15 329:21, 24
 81:1 155:5 333:2                229:5, 12, 16              legal 275:23, 24                330:7
 knows 60:25 278:1              Leah 59:11, 15, 16, 23       281:3 299:18                  limited 192:23 340:14
                                 65:2, 11, 23, 24 72:21     legitimate 79:18               line 38:5 95:25
 <L>                             74:1, 13, 18 75:2, 24      legs 28:5                       106:2 125:14 172:16
 lacks 269:18                    76:6 78:22, 25 79:5        LEIGH 2:7 166:5                 184:2 221:17 267:13
 Lane 7:9                        103:14 104:20              letter 32:8 37:9, 11            271:13 275:25
 language 179:17                 108:23, 25 121:17           77:13, 15 78:16                312:14 332:2 333:20
 lap 37:17 120:19                140:10, 11 223:25           107:18 109:1 116:2,           lines 100:21
  140:14                         224:2, 5 225:15            19 117:7, 9, 11 150:3,         link 239:16
 Lara 22:1, 11 81:12,            273:15, 19 282:4, 6,       5, 19 169:19 176:2, 4          linked 224:23 234:18
 18 82:2, 20 83:3, 6,           15, 24 283:21 284:2          195:20 205:6 207:13           LISA 1:4 3:6 4:4, 7
 11 198:19 199:17               L-E-A-H 59:16                222:5, 9, 12, 22 224:7,        32:9 33:4 34:23
  200:17, 18, 24 208:3          Leah's 75:13                7 230:7 273:4 326:4             36:4, 7 39:3 40:5, 8
  321:13                        learn 65:10 188:7           letters 9:17                    42:11 43:19 46:12
 Lara's 22:5 83:2, 15            222:25 224:17 251:8        letting 154:22, 22              47:24 51:25 57:3, 7
  113:21                        learned 57:25 58:7           221:24                         60:19 61:11 63:1
 large 85:16                     65:6 123:23 141:6,         level 36:22 38:1, 6             64:16 76:4, 6, 8 77:4
 late 132:24 220:2              12 204:2 221:4               261:5 266:6 271:4              78:21 79:7 80:10, 11
 laugh 30:8, 10                  222:17, 24 241:20          leveled 196:23                  82:25 84:16, 22 85:3,
 laughing 231:20                learning 143:25             levels 259:18                  8, 20 102:17 103:4, 7,
  267:21                         289:22                     leverage 48:23                 16 105:1, 6, 12 108:7,
 launched 9:16                  leave 47:19 55:15           liaison 219:17                 8 110:14 111:3
 Laura 21:13, 22, 25             114:7 130:19 136:15        liar 308:9                      117:24 119:4 120:15
  22:2 81:13, 18 82:2            168:25 190:25, 25          Liberty 2:8                     122:11, 25 123:14
  198:19 199:17 208:4            210:22 259:21, 25          Libre 130:25 132:3, 4           124:2 126:16 127:14
  321:14                         260:11, 18 272:20          licensed 241:4                  128:19 129:10 134:9
 Laura's 83:17                  leaving 168:21              lie 71:15 268:12, 17            136:4 137:11 138:1
 LAW 2:2 60:24                   191:20, 21 318:22           311:4                          139:11 140:5, 14, 15,
  132:25 198:6 246:18           Lee 20:19 24:4, 5, 23       lied 170:11 268:15             22 142:14 143:11
  275:22, 23                     25:20 30:7 79:19           lies 39:20, 21 71:1,            147:7 148:11, 17, 21
 lawsuit 36:5 290:9              81:12 267:23               25 197:13 298:20                149:10, 15 150:9
  315:17, 20 324:21             Lee's 25:2 234:24            316:15 325:14                  155:4 167:1, 17
  326:20 340:13                 left 7:22 11:25 12:4,       life 16:22 38:23                168:16 169:14, 20
 lawsuits 312:21                23 13:11 17:12               39:1, 8, 9, 14 43:12           170:18, 21, 23 171:3,
  323:18 324:17                  25:21 27:17 40:21           49:21 100:23 104:11           8 172:4 179:24
 lawyer 4:21, 22 5:6             41:6, 10, 23 42:6           105:22 162:2 176:11            182:11 183:9 191:15
  202:25 287:1, 2                51:19 57:19 75:5            187:7 188:13, 23, 24           193:6 196:23 200:16,
                                 82:18 83:11 85:24           217:6 280:16, 21              25 201:2, 4 202:19,
                                              Everest Court Reporting LLC                                        Page: 108
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 110 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 21 203:8 204:24                locate 239:10              looking 86:3, 8                making 60:9, 11
  208:7, 9, 25 209:8, 20        located 20:9                143:20 153:2 197:5            67:22 97:15 108:14
  210:9, 13 212:23              location 174:7              248:17 262:2 322:8            109:3 137:7 163:12
  216:5, 19 217:14               176:24, 25 256:8          looks 77:13 213:12             242:11 250:8 258:23
  220:5 224:13, 24              locations 187:23            215:3 216:1 220:21            276:10 298:9 303:4
  226:6, 15 231:13              logical 48:17 64:14         224:4 244:5, 18               malicious 170:23, 23
  267:5 269:15 270:16            80:8 117:25 318:15,        245:23 257:14                 man 51:7 55:8
  272:22 287:3 288:12,          17 333:8                   losing 79:24 176:9             88:16 257:1 261:1
 25 290:23 306:19               logically 114:1            lost 100:8, 22 105:24          307:24
  311:8 313:10 315:9            login 237:14 249:16         139:16 187:21                 manage 240:20
  319:21 320:4, 14              logins 237:19               188:11 288:4 305:19           management 291:6
  321:23 325:17 333:9           logistically 284:15        lot 5:22 61:23                 299:21
  335:8 338:20 340:10,          logistics 259:14            117:13 133:24, 25             manager 14:9 80:4
 12                             London 105:14               135:25 188:10                 86:16 110:20 155:9
 LisaBarbounis@gmail             311:9 313:9                197:12 220:7 241:20           200:9
  257:11                        long 7:13, 19 18:4          257:3 303:5                   managing 26:3
 Lisa's 40:6, 22 41:17           19:9 25:1 53:14           loud 221:23                    147:16 172:24
  43:1, 18 61:3 140:24           94:18 113:8 114:15        love 187:4                     229:24 242:25
  181:24 192:14 193:2            123:25 126:5 128:22,      lower 217:18                   327:11
  216:24 218:15 266:3           25 148:8 200:12            lowest 100:23 288:3            Manalapan 7:9, 11
  327:5                          254:4 269:1 271:16        loyal 148:9 289:6              Mandeles 21:5, 23
 list 148:24 230:9, 10,          283:1 288:1               lunch 46:13 59:6               199:18
 11, 13, 18, 19, 19             longer 44:10, 15            61:8 63:2 122:12              maneuvered 313:21
  231:10 232:1, 2, 3, 5          85:23 120:14 121:1         138:17 139:3 183:22           Manhattan 8:5
  238:1, 4, 23 239:4             155:6, 6 157:15, 16,       219:14 282:8                  manipulated 121:15
  241:8, 16, 24                 22 158:23 161:7            lurch 191:1                    288:2, 7 314:13
 listed 158:12 173:12            188:17 197:22             luring 72:21 74:1              322:7
  194:1 252:21, 22               302:15                    LUU 2:16 3:11                  manipulating 170:7
 Listen 279:17 285:3            long-winded 91:5           lying 30:23 62:22              184:6 290:7, 13
  294:17 334:20                 look 28:16 38:14            63:10 71:8 94:8               manner 32:23 140:7
 listening 206:14                39:6 43:8 77:20            183:20 311:3 317:25           mapping 239:9
  319:18                         86:10 100:22 116:11,                                     Marc 162:7, 12
 listing 163:15                 21 152:20 153:4            <M>                            March 12:4, 11, 23
 lists 230:17                    155:10 168:8 172:7        mad 316:22, 23                 13:2 75:21 86:19
 little 91:4 112:20              179:8 184:14 191:7        magazine 236:4                 124:24 130:9, 12
  139:21 147:20                  193:22 194:18 196:7        255:11, 21 261:2              159:11 162:17
  151:19 215:22                  210:3 212:8 213:8         magic 101:19                   165:21, 23 167:2
  311:12 312:24                  214:13 227:2 228:14       mail 177:6 307:11              168:23 177:24
 live 7:6 177:4                  236:1 237:12 240:17       Mailchimp 230:5, 6,            179:10, 19 249:18
 lived 315:2                     244:23 246:4 250:2        11 242:15 259:12               252:10
 livelihood 112:7                253:19, 19 261:19          262:15, 17                    Mark 162:13 251:7
  309:13                         262:16 269:5 270:9        mailed 259:11                  271:17 279:1
 lives 105:4, 20                 273:7 282:8 287:1         mailer 230:7                   marker 12:18
  122:15 310:24                  311:4 312:12 322:18,      mailing 232:1                  Market 2:3, 8, 13
  311:22 313:2, 8               23 323:1                   main 115:20 176:12             20:10, 13 61:20
 living 8:2                     looked 53:13 130:8          271:24 331:19                 marketing 22:23
 lobbing 92:18, 19               141:22 159:6 262:12       maintained 155:15              153:16 218:22
 local 20:3, 5, 5 219:4          332:23                    maintaining 249:14             Marnie 20:19, 20
  249:24                                                   major 285:7                    27:9, 13 32:9 33:4
                                                                                          47:22, 22, 23, 25
                                             Everest Court Reporting LLC                                        Page: 109
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 111 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  51:21 52:2 65:13, 14           312:8, 10, 12 314:14      17 145:18 152:14               measure 182:8
  75:12, 20 76:12 77:4           315:15 318:7, 17, 18,      153:14 156:18, 25             media 218:22
  85:1, 19 102:16               19, 20, 22 319:14           158:11, 13 162:18             medium 215:7
  103:5, 7 107:3 108:7,          323:19 340:21              163:4 165:10 166:20           meet 77:1, 3 106:16
 8 110:14 113:11                MattBennett@gmail           168:1 172:22 173:24            114:24
  115:17 123:8 124:2             257:10                     174:23 176:6 177:23           meeting 12:20 32:7
  126:16 127:15                 matter 3:6 4:7              179:9 180:1 182:18             33:1, 8 37:14 85:14
  129:11 131:8 134:12            99:12, 14 120:8, 9         184:17 186:14                  86:2 106:13 107:21
  137:11 148:11, 17, 21          185:3 205:3 223:25         187:11 189:2 191:24            109:7 110:3, 9, 23
  149:8, 14 156:11               224:2, 5 225:15            193:21 197:8 198:19            111:17 112:20 113:6
  162:11, 12 168:3, 16,          236:10 253:3, 18           199:11, 18 201:24              115:19 118:8 120:12,
 18 169:5, 14, 17                286:8 331:20 332:13,       202:13, 15 209:1, 10          12, 24 141:16 145:3,
  170:1, 6, 17, 18, 21          13 343:13                   210:3, 6 211:15, 24           3, 6, 13 146:11 148:4,
  198:24 201:20 208:7,          matters 34:6                212:23 214:7, 11, 11          13, 14, 25 149:3, 4, 20
 8 210:11, 12, 13, 19,          MATTHEW 1:12                215:1, 4, 8 217:3, 4,          150:2, 4, 10 154:16
 23 212:23 220:13                3:5, 20 7:5 149:15        12, 21 218:3 219:11,            156:17 157:7, 9, 14
  224:6, 13, 24 226:5,           194:10 342:3              15, 19, 22 220:16               158:22 159:24 160:1,
 14 237:25 238:25               M-A-T-T-H-E-W               222:4, 16 227:24              24 161:2, 18, 19, 21
  241:14 246:13, 24, 25          195:18                     228:13 229:13                  162:17, 19, 25 163:3
  252:7 272:23 273:14           M-A-T-T-P-B-E-N-N-E         231:20 233:24                  164:11 173:2, 15, 25
  287:1 288:10, 25              -T-T 195:25                 234:19 235:3, 11               174:11, 16, 19 175:2,
  290:18 291:22                 Mattpbennett@gmail.c        236:4, 23 237:2, 11,          14, 19 176:1 178:3, 6,
  304:25 306:21 308:8,          om 195:17                  12, 15 238:8, 14               19 202:12 203:16, 18
 19 320:4, 7, 14                McNulty 30:19, 23           242:20, 21, 23 243:21          204:1, 6 225:11
 Marnie, 209:1, 8                36:10 80:10, 11            244:23 245:2, 19               226:18 244:22
  210:20 211:2                   110:14 127:16              246:4 248:15 249:19            245:10, 18 246:3, 7
 Marnie's 244:9, 19              129:10 134:7 139:12        250:2 252:2, 17                262:21 263:2, 4
  245:24 246:12                  140:5 154:14 185:4         253:2 254:8, 10                269:3 284:20, 23, 25
 marriage 104:2                  186:11, 19, 25 193:5       255:21 256:3, 12, 14,          285:5 286:20 288:18,
  327:14                         196:23 204:25             22 257:12 259:18               22, 24 289:13 293:15
 Marseille 59:21                 340:16                     260:15, 23 262:24              296:15 299:9, 23
 master's 83:3                  McNulty's 186:7             263:17, 18, 24 265:12          300:12, 16 301:5, 7
 match 210:4                     306:20                     266:1, 10 267:8, 12,           304:6 306:25 310:12
 material 194:8                 mean 9:24 11:4             18 268:23 271:24                328:5 330:1 331:23
 M-A-T-P 195:22                  12:9 14:22 15:1, 3         273:20 275:13 276:4           meetings 9:19 10:3
 Matt 28:6, 7 35:3               17:8, 10, 13 18:9          279:9 283:18, 20               15:20, 20 48:20
  36:19 42:1 50:4, 5             21:7 23:4, 6 26:16         286:21 292:2 293:20            61:24 82:25 113:22
  60:14 89:6, 7 97:8, 9          30:8 33:19 38:3, 12        294:12 297:1 302:4,            199:10 217:25
  109:20 121:8, 13, 24           39:18 40:10 41:2, 14,     7 303:8 306:23                  239:11, 12 269:1
  122:13 139:2 148:7,           19 45:1 48:1, 9             307:6 308:1 309:22             291:8
 9, 11 151:2 152:24              49:12 53:10 54:2, 12       310:19 322:5 324:13           MEF 33:10 34:8
  159:3 160:16 163:23            55:12 57:9, 16, 24         326:19 328:22 330:4,           49:13 99:9 135:7
  164:4 165:14 170:13            59:5 60:16 61:22          10 336:21, 23 337:1,            158:21 179:9, 18, 19,
  172:7 179:6 193:19             65:16 77:10 94:2          2, 21 338:12 340:5             25 190:25 191:1
  195:9, 19 212:19, 23           99:4, 23 100:22           meaning 5:23 183:9              194:6 213:10 229:15,
  266:23 277:15                  115:20 117:12 118:6        240:7                         17 231:24 232:9
  279:20, 20, 21, 21             124:19 125:1, 17          means 125:13 173:4              233:15, 22 234:5
  282:24 285:14                  130:5 131:22 133:24        222:9 284:20 293:20            235:15, 24 236:16
  289:21 290:3 291:12            135:4, 22 136:1, 17       meant 134:22 246:2              237:5, 20, 21 238:3, 7,
  293:23 298:18, 18, 23          137:2 138:22 141:9,                                      9, 10, 23 239:1, 5
                                             Everest Court Reporting LLC                                        Page: 110
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 112 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  242:12 247:7, 11               116:3 161:9 202:12,         275:2 279:13 291:6            Monday 130:2, 18
  249:11 256:14 257:6           17 203:8, 20 209:5,          335:6 336:17                   327:25
  258:18 282:25                 11 210:7, 25 211:7          Midtown 41:5 122:8             money 10:8, 10, 16
  284:11 287:16                  213:22 214:18 216:1,       migrated 252:5                  26:2 58:18 84:5
  300:12 307:16                 4, 10, 12 220:21, 23        migrating 251:9                 87:16 153:19 154:7
  313:11 314:17 326:3,           221:1, 1, 11, 22 222:3     migration 230:2, 3              315:23 316:13 320:5,
 22 327:9 329:9                  225:8 227:21 228:5         million 153:21 310:19          7 322:18 323:5
  336:22 337:10                  248:24 291:25              millions 312:22                 332:14 336:16, 20
 MEFO 335:5                      293:11 295:22, 25           323:10, 12 324:9, 12           337:10
 MEForum 253:4                   296:7 328:1, 12             325:19 326:1, 9, 15           moneys 336:24 337:1
 member 23:23                    342:10, 11                 mind 45:20 46:1                monster 112:19
  151:15                        messages 37:5 46:23          71:19 104:4 152:23            month 11:20 41:16
 members 16:13 17:12             48:5, 12 50:20 63:22        170:6 180:25 185:12            314:17 326:13, 13
 memo 249:20                     64:2, 5, 10 104:25          196:19, 20 202:1              monthly 41:21
 memory 287:25                   167:1 191:12 201:10,       minds 71:23                    months 7:14 12:5, 8
 menial 217:19                  12 203:4 213:18, 18,        mine 102:24 128:12              13:9 15:5 18:1, 3, 3
 mental 112:4, 9                19 214:4, 9, 22, 24          146:20 187:8                   25:15, 18 33:17 41:7
  322:11                         216:14 226:24              mini-script 341:2               42:8 76:19 87:9
 mention 65:8 98:11              245:20 259:16              minute 47:12 53:13              96:14 104:21, 23
  255:10                         296:24 329:14               99:24 196:7                    111:10, 11 121:16
 mentioned 23:4                 Messing 12:21               minutes 68:18 91:6,             122:19, 22 157:3
  37:10 47:12 49:16             met 19:6 65:24              8, 10 94:20, 24                 164:7 183:14 215:6
  77:20 96:9 103:11              112:1 145:9 148:17          114:18 125:22 181:6,           219:23 227:9, 13
  107:6 108:18, 20              metadata 202:23             7 195:2 334:9, 13, 16           296:11 305:20, 22
  111:10, 13 115:3, 10,         Meyer 20:20 51:21            339:10, 17                     311:1, 13 320:21
 23 147:8 185:10                 52:2 75:20 110:14          misconduct 60:20                325:10
  193:3 201:23 224:11            127:15 134:12               96:5 110:20 205:21            morning 4:3 114:7, 9,
  226:25 227:1                   149:15 308:19               278:6 279:7, 14               13 119:25 138:4
 mentioning 118:25              Meyer's 306:21               280:23, 25 298:12              195:13
  119:12 205:14                 microcosm 311:12             299:11                        mortgage 79:25
 mentions 111:15                microphone 5:13             misleading 73:1                 176:10
 mentor 185:16                  Microsoft 240:9, 13         missed 312:6                   mother's 174:13
 mentored 154:11                 247:22                     missing 211:5                   225:10
 Mercer 7:9                     MIDDLE 1:7 3:7              mission 10:19 84:4             mouth 75:13 177:22
 mere 182:16 193:9               4:7 8:14, 22, 24 9:4,       170:11                         276:24
  254:24                        5, 9 10:18 11:2, 2, 4,      misspelled 83:18, 19           Move 29:16 34:14,
 Merit 1:16 343:8               17 12:7, 10, 17 13:20,      Misstates 74:6 98:3            15 90:20 164:21
 Merville 59:11, 15, 16,        24 14:17 16:6 17:3,         mistaken 14:10                  256:11 261:18
 23 65:2, 11, 23, 25            7, 23 19:10 20:8             156:5 186:15 197:8             262:19 267:10 284:6
  72:21 74:1, 13 78:22,          22:16, 19 24:7 25:3,       mistakes 83:21                  286:14, 15 329:11
 25 79:5 121:17                 25 31:12, 16, 23 54:8       mistook 186:15                  330:18 337:6
  273:19 282:4, 6                79:13 83:4 84:12           Mm-hmm 307:3                   moved 8:5 215:15
  284:3                          85:21 88:5 126:11          mm-hmms 5:22                    313:20 329:11
 M-E-R-V-I-L-L-E                 145:8 155:14 156:8         moderated 156:17               movie 145:20, 25
  59:16                          158:9, 17 165:19           modicum 122:4                   146:5
 Merville's 283:21               166:16 172:19              mom 276:4, 6                   moving 116:24
 mess 5:17                       177:21, 25 185:4           moment 24:5 76:19               163:11 183:12
 message 48:7 49:14              187:4 205:19 252:3          101:6 157:25 239:3             223:23
  50:1, 21 77:3 106:14           254:12 274:4, 9             275:3 332:20                  multiple 71:13
  114:24 115:8, 15                                          moments 248:19                  187:22 190:11
                                              Everest Court Reporting LLC                                        Page: 111
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 113 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 230:17 239:7 297:21             302:13 313:16               230:6                         14 174:10, 12, 18, 18
 299:10                          318:20 334:9               newsletters 10:14               178:2, 6 189:7
 mute 70:21 71:18               needed 9:23 21:4            nice 288:10                     202:13 204:3, 4, 9, 9
 228:22                          64:17 66:1, 14 67:1,       night 61:24 129:20,             207:11 214:5 220:24,
 muted 12:2                     12 72:23 74:3, 13, 19       25 130:3, 17, 18, 18,          25 221:10 225:9, 10
                                 75:24 130:25 152:3         20 131:16, 24 133:23            240:15 244:22
 <N>                             161:18 210:22               304:9 337:5                    245:10 256:17
 name 3:11 4:3 7:4               224:12 235:1 237:19        nightclub 132:14                262:21 286:20
  22:5 66:7 78:16                241:21 251:20 252:4        nights 128:24, 25               288:17, 21 292:1
  135:5 176:17 177:6,            253:12 320:7 332:4          129:3, 8                       293:8, 12 300:12, 13
 13 193:9 194:1                 needs 68:2, 15, 25          nighttime 130:16                304:4, 4, 4, 5, 5
  195:16 224:21                  101:19 103:8 199:1         nitpicking 333:14               306:10, 25 309:21
  243:18 246:19 258:3            228:22                     No, 119:4                       310:11 328:2 329:25
  294:23 315:20                 negatively 298:1            Nods 5:21                       331:22 332:2 343:12,
  322:22                        negligent 193:13            nOg 85:22 157:19               17
 named 21:12 22:1               neither 24:16 84:7           288:24                        Ns 195:20
  134:14, 18 135:2              nervous 66:5 263:15         noise 303:5                    nuance 103:7
 names 17:10 83:18              never 27:5 31:21            non 42:7 167:15                nuisance 185:15
 narrative 202:1                 33:6, 14, 23, 23 38:13     nondisclosure 173:14,          number 19:7 26:17
  314:24 321:16                  47:14 49:25, 25 50:9       16, 18 174:1, 2, 6              164:15 202:9 203:19
 national 8:11, 12               64:11 75:2, 3 81:21,        176:20 286:7, 9, 17, 19        233:4, 6 259:9 299:7,
 natural 81:10 86:6             24 85:19 97:11, 16          no-no 337:23                   19, 24 300:15 308:3
  88:20 96:17 144:4              101:11 107:13 117:7,       nonprofit 200:2                 328:21, 23, 24 329:1
  243:21 308:11                 7, 9 148:12, 22 158:3,      Nonresponsive 88:21            numbers 329:10
 nature 53:25 55:5,             4, 6 164:1 172:20            89:21 90:3, 13, 15            numerous 90:23
 10 60:7 151:5                   175:3 183:21 185:18,       nonsense 71:18, 21             nut 177:6, 12 254:24
  176:21 218:3 254:9            22 189:15, 21 192:4         nonsensical 94:3                255:7
 NDA 174:10, 22                  197:15 200:16              normal 53:8, 11, 16            nuts 199:14 241:10
  175:1, 6, 10, 18, 25           204:15 207:24, 24           111:22 166:23                  289:21
  176:13, 16 244:1               212:7 230:5 236:9          Notary 1:17 343:8
  245:1, 8, 9, 23 246:5,         237:8, 10 241:22           note 108:17 150:25             <O>
 7, 20 284:17, 25                248:4 252:17 258:20,        151:21 307:2, 5               oath 3:22 6:23
  285:3 287:15                  21 264:7, 12, 16, 21,       noted 3:17 73:11               Object 52:8 231:3
 NDAs 175:13 177:17             24 265:2, 3 267:8           notes 199:10 269:3              276:8 299:17 340:6
  244:4, 9, 19, 21               270:18, 20 272:13, 16       343:11                        objecting 281:20
  245:17, 20, 22, 25             276:21 278:9 282:16        notice 1:14                    objection 4:22, 23, 25
  246:11 284:14, 19              283:24 290:23 291:9        notified 228:2                  5:1, 4, 5 34:7, 9
 near 302:18, 22                 308:10 314:19, 21          November 1:15 3:3               36:16 37:18 50:6, 24
 nearby 8:5                      315:19 324:7 325:16         12:19, 22 25:5, 7              52:14, 22 54:10
 nearing 143:3                   326:17                      32:7 33:2 36:14, 21,           56:22 60:13, 22 62:6,
 necessarily 20:23              New 7:9, 17, 17, 20         25 37:8, 12, 22 45:21          24 63:13 72:24
  161:12                         8:1, 3 19:20, 22            86:2, 18 106:13                73:10 82:10 87:25
 need 63:12, 14 92:2             43:10 159:19, 21            107:21, 22 109:7               88:1, 12 89:9, 12, 25
  93:3, 7, 10 95:11              162:23 198:8 211:24         110:9, 23 111:17               90:6, 22, 23 91:2, 4, 7,
  99:19, 21 123:9                220:18 286:14, 15           112:20 113:5 120:12           13 92:1 94:4, 16
  142:21 143:11, 15              290:9, 9 297:6              121:9 123:11 141:7,            97:21 98:2, 10 99:11
  153:25 167:25 179:6            329:10                     16 144:24 145:1, 23,            102:7, 8 203:1
  191:17 203:4 213:8            newborn 43:8 315:7          25 146:5 156:24                 211:18 232:16
  252:24 269:12, 13             news 9:17 83:19              157:1 158:18 159:10            258:13 259:1 265:6
  285:14 291:22                                              162:16 164:8 173:1,            266:7, 22, 24 269:18
                                              Everest Court Reporting LLC                                        Page: 112
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 114 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  274:13, 14, 20 275:10,         66:18 75:5, 6, 9 78:1,      40:7 47:9 50:11               orchestrate 320:24
 21 276:17, 17 278:7            21 79:2, 6, 15 80:14         58:4 60:3 64:25               orchestrated 123:2
  279:18, 22, 22, 25             85:24 97:25 98:8            69:10, 12 71:5 72:20          order 5:3 101:20
  280:4 281:1, 2                 102:14, 18 103:1            88:3 89:13 91:19               165:2, 2 183:23
  283:10, 12, 13 285:22          105:19 106:17               95:5, 19 98:13 99:2            252:13
  286:2, 3 292:7, 8, 14          114:25 116:25 118:5,        101:7 107:10 117:9            ordered 133:3 135:1
  297:12, 18, 19, 23            8 120:14, 17, 21, 25         121:23 123:17 125:4           Organization 8:10
  298:16, 17 299:25              121:4 122:2, 13             129:17 130:11 134:2            10:20 15:22 16:15,
  300:5 314:8                    126:15 149:5 153:13         144:11 146:13 160:8           21, 24, 25 17:1 22:24
 objections 54:22                157:13, 23 158:24           165:10 166:7 175:15            23:7, 17, 25 26:22
  91:21 93:9, 9 269:21           160:3 163:15 169:13         192:20 199:25                  29:19 48:19, 22 49:3
  270:4 298:24                   172:24 174:7 176:25         209:25 213:14 214:6,           79:20 84:4 132:17
 objectives 180:19               178:7, 24 179:5            25 216:3 222:2                  135:11 147:2 153:11
 O'Brien 20:20                   198:25 199:19               227:23 232:19 233:9            156:3 163:9 164:20
 obsessed 160:22                 205:14 210:24               236:6 251:3 255:13             168:5, 11, 15 170:9
  170:14 317:16                  216:17 218:2 220:2          285:2 298:25 299:1             175:4 176:21 199:8
 obtain 325:19                   221:3, 13 225:18, 18        306:12 307:10                  208:10 231:11, 18
 obtaining 279:14                236:3, 8 244:10, 19         317:13 319:3, 4, 4, 4,         232:6 240:25 242:5,
 obvious 156:18                  245:24 252:8 255:5         5 323:22, 23 331:17            23 243:1 247:9
  302:3 330:2 333:18             272:21 293:16               338:16 340:15                  249:8 254:20 269:11
 obviously 10:12 18:9            300:21 312:12              old 198:8 273:19                276:7 290:15 291:5,
  46:21 47:23 57:16              322:13 330:21               274:1, 3, 5, 5, 7, 18         11, 12 294:18, 20
  81:8 86:1 106:3               officer 23:11                275:1                          295:4, 17, 18, 18
  113:19 122:1 126:13           offices 20:9 149:7          on-boarding 155:19              297:2, 5 298:6, 8, 14,
  136:1 137:16 147:5            official 88:18 191:3        once 17:18 91:18               19 299:8, 20 300:18
  148:8 152:14 156:20            219:16 258:18               253:8 309:18 326:12            302:3 311:14 317:2
  174:23 197:15                  334:22 339:1               Onchek 149:16                   320:25 321:1, 17
  203:24 225:20                 officially 252:16           ones 98:14, 16                  326:6 327:10, 11, 12
  278:25 279:4 306:15           Oh 21:21 44:4, 4             135:17 193:8                   332:5 333:8, 12
  314:14 333:6                   72:13 100:5 103:14         one's 189:6                     338:10, 13
 Occasionally 20:22              104:4 105:15 112:10        ongoing 104:18                 organizations 16:1
 occurred 60:8 85:12             119:17 127:20               105:19 250:11                  20:1, 3 176:24
  130:21 144:2                   134:23 135:4 148:7          254:19                        organize 84:5 183:22
 o'clock 119:24 253:17           152:24 189:22, 24, 25      ongoings 15:21                  322:25 323:1
 O'CONNER 2:7                    191:16 201:17, 21          online 315:22 335:7            organized 156:12
 O'Connor 166:6                  214:15, 21 219:11          open 250:19                    organizing 10:3 26:3
 October 204:10, 11              221:22 222:15              opened 149:22                   82:24 113:21
  216:2 218:17 219:19,           226:10 229:22              opening 207:2 254:17           original 160:1
 23 240:15                       230:10 233:8 244:3,        opera 150:23                    197:18 198:3, 13
 odd 54:4, 8, 15 267:7          8 247:14 251:21             operational 146:25              211:14
 offended 184:19                 260:22 278:18               148:6                         originally 142:3
 offer 87:16 147:25              282:12 287:2, 6            operationally 22:24             148:18
  240:9                          290:2 291:19 310:14,       operations 22:21               other's 315:5
 offered 17:23                  15, 21 312:25 315:25        opinion 281:5, 8               outed 33:3
 office 8:6 13:14                318:22 319:12, 24          opponent 309:1                 Outlook 236:25, 25
  14:9 20:13, 16, 24             321:10 325:13              opportunity 144:18              239:15 250:20 251:5,
  21:1, 4, 9 26:4, 15            328:19 333:1                146:16 192:16                 11
  27:6, 11, 13 28:4             okay 5:18 6:2, 3, 17,        194:19 196:8, 16              output 153:16
  30:6 39:4 48:10               18 7:3 9:13 12:24            217:8 270:19 282:8            outside 103:12
  58:23, 25 61:10 63:2           34:19 37:16, 19 38:8
                                              Everest Court Reporting LLC                                        Page: 113
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 115 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 outstanding 153:21              241:13 243:12              21:15 23:3 32:2, 17            102:21 120:2, 16
 overall 115:7                   297:25 309:14              33:15 34:22 39:2, 4,           143:21 155:22, 22, 24
 oversaw 22:23                  parted 29:19               6 41:20 45:12 48:24             169:18 178:23
 overseas 313:9                 partially 28:9              58:24 59:3 66:24               187:19, 21 188:14
  333:16                        participants 1:14           71:1, 4, 13 92:25              189:21 191:9 217:7
 overstepped 185:18             participate 336:11          93:5 94:8 96:11                221:6 224:21 225:14,
  207:20                        particular 61:23            98:15, 21, 25 102:23          16, 19 241:7 254:2, 5
 overstepping 207:22            parties 112:1 154:12        105:18, 20 111:24, 25          260:19 261:4 266:16
                                 311:23 315:6               112:3, 3 117:1                 269:20 284:18
 <P>                            party 40:21, 22, 25         126:15 127:18                  287:12 323:3
 P.C 2:13                        44:15 75:11, 15            128:21 133:25 134:1           persona 42:7
 p.m 341:7                       122:8 133:4 159:19,        135:10 136:1, 21              personal 35:17 38:23,
 packet 40:11 155:19            21 268:25 314:15            145:8, 15 148:24              25 58:15 80:23
  186:8                          317:22 340:13              156:19 165:7 170:7             105:4, 20, 22 162:2
 page 215:21 342:3, 15          pass 183:2                  173:17 200:10                  236:18, 21 237:1, 6
 pages 214:23 343:9             passed 96:23                207:16 209:4 230:15            244:6 246:22 247:2,
 paid 236:10 238:2, 7,          passing 96:10 103:17        237:18 240:21 247:8           5, 7, 9, 10 248:12
 9 239:1 241:15, 18              109:9                      251:4, 7, 10 252:16,           249:1, 5, 22 252:14
  242:4 262:11 323:9            passwords 169:5            17, 18, 19 255:1, 2, 9          253:12 256:18 257:9,
 pale 283:17                     237:16                     275:14 279:15                 21 258:9, 18 259:20,
 Palestinian 177:8              Patel 20:21 66:22           280:24 286:24                 24, 24 260:10, 17
  255:1                         Patricia 30:19, 23          287:25 291:12                  261:8 280:15, 20
 pandemic 43:11                  36:10 80:11 110:14         294:21 297:7, 9, 24            288:5 308:15 313:8
 paper 41:7 65:25                127:15 129:10 134:7        298:4 304:19 308:24           personally 26:6
  66:2, 11, 16 67:10, 11,        136:5 139:11 140:4,        309:2, 6 310:20                38:22 112:16 161:8
 16 72:22 74:2, 12, 17          13, 22 141:1 142:14         312:22 313:12                  188:10
  75:3, 25 76:22 106:8,          143:10 154:14 185:4        314:22 315:25 316:8           personnel 246:14, 18
 10 107:5, 11, 13, 14,           186:6, 11, 19, 25          318:4 321:8, 19               Phil 337:7
 20 108:1, 2, 6, 16              187:9 189:10 196:23        323:9 325:8, 13               Philadelphia 2:4, 9,
  109:25 110:2 114:11            204:24 306:20              332:15, 16, 17 333:15         14 19:21 20:9, 11
  115:12, 16 116:4, 6            311:19 325:18             people's 71:22 105:4            30:6 127:12 134:11
  176:15 224:10, 12             Patricia's 140:24           210:23 239:17                  157:23 219:4
  284:16, 18                     192:15                     246:24                        Phillip 7:5
 papers 27:12 66:8              Paul 195:23                pepper 85:14 147:7             phone 41:16 71:18
 paperwork 221:3, 13            pausing 181:3               321:6                          77:11 106:10, 15
  222:6                         pawn 313:19, 20            percent 9:20, 25 10:1           107:4 116:5 120:13
 parallel 24:16                  314:13 320:10 322:8        24:23                          121:3 159:5 160:9,
 Paramount 258:5                pay 79:25 143:16           percentage 24:21               25 161:9 165:10, 14,
 paranoid 228:9                  176:10 237:20, 21         perception 310:22              15 167:20 171:2, 6,
  251:17 253:21                  238:12 239:5              perfectly 179:7                20 172:14 178:9, 11,
  254:23 255:24                 paying 238:4, 10           performing 81:14               14, 22 179:22 180:10,
 parenting 315:12               PDF 241:23                 permission 232:3               12, 13 202:9 225:14,
  327:13                        peace 327:20 328:17         337:15, 17                    21 228:21 254:6
 parents 40:23, 25              penned 32:9                permitted 157:22                296:24 302:20
  112:1                         PENNSYLVANIA                173:8 179:10 237:7             317:14 319:18, 19
 part 8:25 10:16                 1:2 2:4, 9, 14 3:9         258:16                         328:22, 24 329:9, 10
  44:10 115:9 117:15             20:11 217:24 343:1        person 5:13 41:8               photo 115:15
  156:10 202:18                 Pentagon 251:15             46:6 48:17 63:25              phrase 179:12 318:3
  216:24 217:3 228:15           people 5:10 10:8, 15        68:15 69:9 70:4, 14
                                 15:17 16:21, 23 17:9       78:17 85:2 97:11
                                             Everest Court Reporting LLC                                        Page: 114
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 116 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 physically 33:14                282:10 284:11              237:14 240:14                 pregnant 7:23 38:18
  173:3 185:19 321:8             285:10 291:14, 17          243:10 247:18                  39:6 43:11 56:3
  330:20                         326:22                     250:25 261:23                 prepare 192:17
 pick 169:23 206:18             places 16:11 55:3           273:10 276:10 277:2           prepared 188:12
 picture 41:4 77:13,             132:19                     288:3 294:8, 12, 15,           192:9
 16 115:2 116:2, 4              Plaintiff 1:5 2:5          25 302:16 304:24               presence 205:5
  122:9 177:7 183:24             194:14 340:12              309:25 323:16 328:4           PRESENT 2:16
  257:4                         plaintiffs 325:18           334:23                         108:4, 9 134:7, 9, 12,
 piece 67:9, 11 72:22           planned 137:8              points 115:20                  15, 19 145:9 148:25
  74:2, 12 75:3 106:7,          plate 220:8                poked 273:2                     152:6
 10 107:5, 11, 20               platform 240:7, 10         poker 105:25 188:8             president 23:7, 9, 9,
  108:1, 2, 6 109:24             250:24                     308:25                        10 297:2 302:2
  110:2 114:10 116:4,           platforms 241:17           policy 10:12 83:5               327:16
 6 176:14                       play 188:8                  155:15 157:10                 press 218:21 259:7
 pillow 63:20 64:4              played 128:18               180:18 249:4, 11, 21           291:7
 pink 38:15 135:13               137:10 326:25              250:3 332:17                  pretend 235:15, 18
 PIPES 2:20 4:8                 player 313:20 320:13       politely 151:20                 236:5 319:17
  14:4 17:18 23:6               playing 105:25             Political 125:24               pretty 119:5 138:5
  31:21 85:5, 10 105:8,         please 3:18 7:3, 8          337:22                         152:13 156:3 171:25
 10 145:6 149:1, 14,             24:5 26:9 28:6            politics 309:6 337:24           193:11 235:20 236:1
 20 150:1, 6 157:10,             29:11 89:11, 19, 20       poof 161:7                      249:19 271:14, 20
 20 185:5 194:11                 93:18, 18 107:12          popped 268:16                   276:5 295:19 336:14
  213:13, 22 214:19              114:8 178:4 227:6         portfolio 9:20, 25             prevent 155:15
  216:4, 19 220:22               228:25 270:14              24:21 173:5                    177:18 179:3
  224:1, 15 225:5, 13,           274:11 278:15             portfolios 331:19              prevented 27:14
 23 227:18 236:3                 300:11                    position 8:4, 7, 14             179:1
  243:25 245:16                 plenaries 130:2             9:2, 22 11:17 14:8,           preventing 234:22
  259:19 262:22                 PLLC 2:2                   12, 13 17:23 22:25             prevents 84:3
  278:20 281:23                 pocket 238:13 320:5         23:2 24:2, 11 39:13           previous 13:5 323:2
  284:13, 18 292:4              point 13:8 21:11            159:2 164:3 218:6,            previously 24:20
  300:16 301:19, 19, 21          28:2 29:20 32:6, 21       16 290:9 312:15                 118:7 305:20
  304:7 305:23 307:1             33:17 37:4 42:22          positions 14:16 24:16          pride 308:24
  325:24, 25 331:7, 21           43:2 57:16 74:19          possible 133:12                prior 32:21 50:17
  332:2, 3 337:15                75:10 80:2, 15, 17         137:4 138:23 142:13            191:20 205:6
  338:19                         81:5 84:15 85:12           143:24 144:3 176:3            priority 299:24
 Pittsburgh 19:12, 13            88:16 100:20, 23           188:18 273:8 316:14            300:16
  229:6                          103:13 106:9 109:19        321:2 322:18                  privacy 54:6 253:20
 pizza 61:15                     116:25 117:4 118:11       possibly 116:17                private 230:14
 pizzas 133:3 135:1              119:17, 20 122:5           145:19 154:17                  260:19 261:4
 Place 2:8 32:8 34:9             126:18 136:14 137:9        273:11 323:11                 privilege 72:16 98:6
  38:23 46:14 50:6               146:3 150:15 154:9        postcard 177:13                 99:13, 15
  54:1 65:6 74:23, 24            156:15 158:11             postcards 177:5                privileged 309:24
  75:1 90:21, 22 104:9           159:10 160:23 164:7,       254:24                        pro 182:25 185:13,
  126:3, 3, 4 137:18            17 166:11, 14 170:17       potential 190:17               25 186:5, 11
  146:15 150:19 157:1,           171:18 183:25 184:4       power 123:3 290:3              probably 22:13 25:4
 2 160:1 166:7, 17               189:7 191:5 196:15,       precise 159:13                  42:22 48:10 55:2, 21
  169:9 173:18 177:17,          21 201:9 204:5             prefer 133:10 216:7,            57:9 61:5 65:12
 19 178:2 180:2, 4               213:23, 25 215:10         7, 8                            86:10, 12 100:25
  188:14 206:23 217:5            219:24 222:10             preferred 213:25                106:12 114:5 128:1,
  226:9 234:22 244:13            223:12 229:23 234:1       pregnancy 38:20, 21            24 130:23 132:22, 24
                                             Everest Court Reporting LLC                                        Page: 115
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 117 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  133:14 150:13 152:9           promoted 13:7 25:16        put 26:10 28:12                 296:19, 20 300:7
  161:24, 25 180:6              promotion 220:12            38:4 40:13 42:14, 24           303:9 304:15 306:5
  212:2 215:8, 19               promotions 316:13           43:14 66:9 68:25               310:6 331:24 332:1
  233:11, 17 238:15             prompt 5:23                 69:9 78:16 79:21               333:4, 5 335:20, 23,
  242:14, 16, 17, 21            prompted 161:17             80:7 81:11, 16, 20            25 337:6, 6 340:4
  250:8 263:17, 17              proof 79:22 251:13          95:14 96:17 113:10,           questioned 192:17
  270:25 282:17                  277:23                    16 140:6, 12, 14               questioning 96:1
  290:14 326:12                 proofread 259:13            162:23 165:15                  106:2 275:25 280:23,
  334:16, 17                    proper 271:13 282:5         166:17 176:7 177:22           24
 problem 7:19 53:14,             284:7, 7                   178:5, 18 181:17              questions 4:15 6:25
 17 55:2 80:25                  properly 70:3, 14           197:12 207:13                  63:16 107:2 117:1
  110:18 120:5 160:8             252:5                      208:14 246:19                  142:5 144:8 175:10
  166:12 170:12, 16             proponent 240:4             255:11 264:17 267:5            185:7, 8 192:7, 11, 19
  174:21, 25 175:24             proprietary 233:14          297:6 301:14 304:18,           226:22 332:10 338:5
  183:15 184:12                  234:5 236:15, 22          19 307:1 314:3                 quick 138:8 181:1
  212:24 221:2, 12               242:13, 22 249:15          317:7 321:15                  quickly 116:24
  222:4 278:1                    258:19 277:21             putting 4:24 211:22            Quid 182:25 185:13,
 problematic 338:18             Prosser 14:2, 6, 11         276:23                        25 186:5, 11
 problems 121:5 175:3            20:21 149:16                                             quietly 154:21
 proceeded 33:5                 protect 175:6, 7           <Q>                            quite 305:2
 Proceedings 341:6               176:7, 13 261:20          question 4:14, 21, 24          quo 182:25 185:13,
 process 17:21 40:12             269:13 286:10, 11          5:3, 4, 15 6:12, 12, 14       25 186:5, 12
  48:21                         protocols 177:18            9:8 14:18 23:14               quote 307:2, 5
 prodded 273:2                   297:7                      29:15 31:9, 9, 18
 produce 241:16                 proud 294:23                34:25 35:4, 5, 7, 9, 15,      <R>
 produced 202:18                prove 242:8 250:23         17, 18, 19, 20 36:2            Raheem 134:18, 21,
  203:5 209:15 213:11            263:19                     37:7 49:8 50:15               22, 23, 24 135:6, 8
  241:16 329:5                  provide 4:15 171:22         54:23 58:8 60:8                136:2
 product 206:1 248:2             176:11 203:2               73:1, 4, 5, 7, 13, 17, 17,    Raheem's 135:5
 production 202:19              provided 241:24            21, 23 74:6 85:7               raise 26:20 84:5
  211:14                        provision 241:4             88:23 90:16 94:15              153:20 154:6 332:14
 productivity 240:25            Public 1:17 218:22          95:21, 25 97:23               raised 109:7 209:2
 products 240:22                 236:2 343:8                98:20, 24 99:24                227:8, 12 234:14
 professed 185:17               publications 83:22          102:9, 10, 13 116:20           319:14
 professional 303:13            publish 322:22              125:11 140:20                 raises 316:13
 professionally 113:1           pull 105:17 131:15          141:14 142:17, 20             raising 9:18 10:2
 professor 11:11                pulled 140:15               144:16 164:10                  22:22 26:2 48:16
 professors 11:9                pull-out 137:16             168:19 175:23                  153:15 205:10
 profit 325:7, 9                pulse 243:7 308:22          179:18 182:21, 23              217:25 331:18
 progress 315:24                 310:8                      185:23, 24 200:14             rally 336:12
 progression 318:15, 25         purpose 258:22              203:6, 7, 13 204:2            ran 22:23 323:8
 project 11:8 21:2              purposes 166:5 194:4        205:2, 15 207:7               range 10:23
  49:5 172:2 336:9              pursuant 1:14 43:18,        210:15 213:16 218:4,          rank 23:19
 projects 9:14 10:23            24                         7 219:8, 21 222:14             ranked 23:16
  13:6 24:14 163:16             push 228:22                 235:22 242:3 245:14,          rattled 78:1
  219:12                        pushed 320:10              15 248:16 251:18               reach 10:11 16:20
 promise 326:16                 pussy 33:5 85:21            262:2 265:1 270:6,             282:16
 Promote 10:21 26:21             112:17 121:10             12 274:7, 23 280:10,           react 311:17
  48:25 84:4                     148:11, 22 154:4          14, 17, 21 281:23              read 42:15 43:15
                                 287:23 289:1               285:24 293:25                  45:23, 25 49:15, 25
                                             Everest Court Reporting LLC                                        Page: 116
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 118 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  50:9, 19, 20 51:3             recall 15:2 17:9             343:9                         relayed 244:17
  73:8, 16, 24 77:17             18:8, 8 39:23 48:11        recorded 3:5 68:9              release 64:17 259:8
  104:3 115:3, 13, 13,           49:14, 20, 23 50:7, 10     records 106:16 113:3           releases 83:19
 24 116:1 117:5, 7, 7,           51:1, 2 56:18, 19, 23       241:15                         218:21 291:7
 9 182:14 186:15                 57:2 58:12 76:8            recount 43:15                  relegate 40:4
  195:3 197:3, 21                78:24 79:4 99:1, 5         recounting 27:15               relegated 9:5 11:2
  206:6 221:19, 22               101:2, 3 115:21            recovered 223:24                186:6
  246:23 267:11 309:1            118:4, 9 123:18            redundant 332:10               relevant 197:22, 23
  324:25 331:11 332:1            179:1 203:20 213:21        refer 145:15                   relive 323:7
  341:4                          336:25 337:12, 13, 14      reference 146:8                remain 13:3 173:5
 reader 71:20                   recalled 39:22               209:6, 12 210:8               remained 13:10
 reading 10:15 45:10            receipt 129:5               referencing 146:5               183:7 321:19
  51:2 71:22 197:16             receival 10:5               referred 113:11                remember 4:17
  233:6 261:24 316:16           receive 177:5                145:16 245:11                  11:19 14:7, 12 15:3
  327:22, 25                    received 89:5 101:11        referring 35:2 42:18            17:11 18:7 19:9
 reads 221:20                    106:14 111:21 183:1         110:10 137:13 147:5            21:8 25:14 27:5, 8, 9
 ready 303:23                    185:21 198:3 215:5          170:25 193:16 221:8            28:25 29:2, 3, 7
 real 180:25 277:25              221:1, 11 222:3             223:21 235:17, 23              32:12 37:3 42:20
 reality 153:2 333:20            312:19                      305:25 306:1, 6, 7             43:16 45:10, 16
 realize 85:22 114:21           receiving 216:9              323:12                         46:17 48:11 51:25
  198:6 290:5                   Recess 51:14 139:3          refused 168:8, 9                55:20 57:17, 24 62:2
 realized 86:13                  181:12 196:13 213:2        regard 79:17 96:5               65:3, 4, 17 76:15
 really 5:22 86:15               232:23 303:21 339:8         99:8 139:10 142:15             79:10 81:3 84:18
  117:3 137:18 141:5            recognize 213:7              186:12 193:2 326:19            85:11 95:24 99:5
  150:14 165:8 169:21           recollection 46:12          regarding 61:3 141:2            100:25 116:7 120:18
  170:1, 19 176:4                52:3 130:6                  163:1 182:11 203:15            124:5, 6, 6 125:12, 15
  190:3 194:20 212:12           recommendation              Registered 1:16                 126:19 127:7, 8
  221:15 268:4, 10               326:4                       343:7                          128:9 129:2, 7, 8
  273:5 286:16 312:9,           reconnect 212:15, 20        regular 174:1 340:25            130:22 131:24 132:8,
 10 316:24, 25 317:1,           record 3:2, 17 4:20,         341:1, 2                      11, 13, 14, 15 133:1, 8,
 3 321:20 322:13                25 5:8, 23 6:1 7:4          rehired 158:14                 15, 18, 21, 25 135:16,
  331:20                         47:3, 4, 6 51:8, 10, 13,   reinstated 178:22              20, 21, 22, 23 136:19,
 realtime 58:10 64:6,           16 68:3 69:1, 2, 11,        reiterate 143:9                22 137:14, 21 138:6
 15 243:17 263:22               22 70:1, 4, 5, 7, 9, 11,    relate 48:21 193:4              140:1, 2 141:13, 17
 reason 25:10 26:16,            12, 22, 24 73:24 92:5,      related 10:4 16:6               143:1 144:3, 14, 20
 17 32:4, 15 34:20              23 93:3, 7, 11 95:14         26:25 27:21 28:19              145:24, 24, 24 146:4,
  37:12 39:18 44:10,             138:25 139:5, 17            34:21 37:24 67:12             4, 8 147:11, 12, 19
 16 45:17, 18, 19, 20,           141:20 142:8 144:18         152:18 336:10, 15              148:3 149:22 151:9
 24 73:20 82:23                  166:4, 5 171:23            relates 74:14 227:5             152:11, 21, 22 153:23
  83:11 121:21 145:2             181:6, 11, 14 192:21       Relations 18:25                 154:1, 17, 19, 19
  150:1 180:15 197:1             196:11 203:12               19:12 30:14 218:22             155:2 156:1, 25
  207:15 211:6 225:1             208:17, 18 212:8, 20       relationship 189:11,            157:2, 6 159:14, 20
  247:5 249:23, 25               213:1, 1, 4 221:20         13, 14 252:6 266:6              165:8 167:21, 23
  271:3 282:15, 21, 23           232:20, 22, 25 233:7        276:15                         169:16 171:4, 12
  287:9 290:20 305:17            236:2 253:25 254:10        relationships 10:7              172:5, 6, 11 173:22,
  331:4                          274:22 303:14, 15, 19       48:24                         23 174:9, 16, 17
 reasons 26:23, 25               324:17, 18 333:23          relative 293:21                 176:16 179:2 193:10
  40:1 164:15 185:11             334:9, 12 335:3            relax 92:17                     194:22 200:5 202:11
  197:1 205:24                   339:7, 14, 19 340:1, 2     relay 49:4, 4 160:7             215:6 216:9, 14, 14
                                                                                            217:23 218:24, 25
                                              Everest Court Reporting LLC                                        Page: 117
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 119 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  219:5, 25 220:18               30:11 59:13, 17 68:2,      207:2, 5                      23 293:3, 23 297:18,
  221:15 222:4 225:11,          9, 11, 25 70:18 71:12      respond 40:16 101:23           23 298:16, 18, 23
 22 226:2 235:3, 4               89:13 91:16 100:3         responded 152:12                299:2, 13, 16 302:14,
  243:18 248:22, 23              139:14, 15, 22 144:15     response 4:18 81:10            19, 23 303:10
  262:14, 16 263:5               166:3 221:18, 24           96:17 143:25 157:20           Right 7:1 12:14, 22
  265:9 272:16, 18               228:16, 17 229:2           160:12 244:7 248:21            18:12 21:16 34:1, 4
  284:24 285:2, 6, 15,           235:21 240:1 255:14       responses 90:14                 35:23 42:17 43:1, 6
 19, 21 286:1, 1, 5, 7           263:9 266:17 274:16,       152:13                         44:25 49:24 51:18
  287:7, 7, 24 291:24,          19 278:13 282:1            responsibilities 13:14,         52:2 55:19, 24 56:11,
 25 295:20 306:24                298:21 302:12 303:2       18 26:20                       14 58:3 62:22 64:6
  323:14 324:6 340:9             318:10 324:23             responsibility 83:13            68:5, 16 69:15 76:7
 remembered 119:7, 8             329:22 331:10, 12          188:4 206:22 281:14            85:10, 21 91:5 92:8
  145:23 201:25                  333:22 334:2, 7, 24        284:1                          93:8 94:6, 18 95:8
 remembering 150:24              335:22 339:9, 24          responsible 9:17                96:20 104:16 109:20,
 remind 37:19                    340:22 341:3 342:15        15:18 41:11 79:23             25 117:6, 16 118:15,
 remote 1:13                     343:5, 8                   144:6 147:16 161:15           17 123:6, 13 124:18,
 remotely 271:11                Reporting 2:18 3:12,        177:9 229:24 242:22           21, 22 125:2, 7 128:4
  330:20                        15 85:4, 9 97:4             294:19 314:18                  129:25 130:10, 14, 18
 remove 120:9 302:9              200:11 204:20 282:2       responsive 89:18                131:18 132:1 137:14
 removed 45:6 208:10             291:3 312:13              rest 24:24 226:24               138:19 142:9 143:10
  290:25                        reports 86:21 87:1          298:5                          148:19 152:10 155:8
 removing 170:14                 101:10, 11 204:12         restaurant 61:16                157:15 163:2 164:18
 renewals 153:22                 205:17 207:21             restructure 297:5               171:15 174:15 175:8
 rent 41:2 112:2                represent 70:20            result 231:25                   178:18 180:23 181:8,
  183:10 191:14                  175:12, 17 181:25         resume 113:12                  16 182:15 186:13
  321:25                         197:25 213:9 324:7         190:19                         187:11 189:17 190:6
 repair 171:19                  representation 36:17       resumes 86:11                   193:22 194:2 195:8
 Repeat 35:19 44:20             represented 325:17         retained 342:13                 196:5, 6 201:6 202:9,
  270:12, 14                    representing 29:13         retaliation 194:13             22 204:14 205:21
 repeatedly 180:13               145:4                     retire 136:15                   207:9, 21, 23 208:11,
 rephrase 6:7, 13, 15           reputation 294:20          return 167:12, 15              21 209:3 210:4, 5, 20
  73:3 300:10, 11                315:22                     171:4, 22 177:21               213:6 215:20, 23
 replaced 25:20                 requires 248:6              179:9                          217:14, 20 219:18
 report 20:8 24:25              reread 83:23               returned 67:2 177:20            223:22 227:21
  41:11 46:9 72:3               resented 168:13             179:19 254:7                   229:15 230:13
  81:7 91:17 101:14,            reside 194:4               returning 166:15                231:12, 14 232:12, 15
 20 102:5 110:19                resignation 313:23         returns 172:18                  233:15 234:5 235:25
  152:2 155:21, 23              resigned 27:3, 18          revoke 242:11                   236:21 238:15
  168:8 193:14 204:16            82:18, 19                 Rico 189:20                     242:19 244:4, 8, 11,
  205:1, 13 207:25, 25          resigning 168:21           rid 121:14                     14 245:18 246:1, 22
  208:12 210:14                 resolve 70:1, 3            riddle 299:6                    250:10 252:1, 25
  283:22 291:1 299:22           resolved 325:2             ridiculous 33:9, 19             253:18 256:11 257:7,
  313:16                        resolving 8:23              45:11 170:4 194:23,           16, 23 260:14 262:23
 reported 27:21 28:18           resounding 97:17           24 267:20, 22                   265:5 272:9, 15, 24
  41:13 68:11 96:4, 7           resources 209:9            RIESER 2:12 269:18,             282:2 283:8 285:20
  97:25 183:3 189:8             respect 86:15 122:4        19, 22 270:1, 10                289:25 292:13, 17, 22
  193:12 199:5 204:23            197:12 331:7, 13           273:24 274:10                  293:8 303:25 304:3
  314:19                        Respectable 207:6           275:10 276:8 277:3             306:2, 9, 10 309:21
 Reporter 1:17 3:13,            respectful 206:24           278:7 283:10 285:22            310:5 316:11 318:9,
 18 5:10 29:10, 14                                          286:2 292:7, 14, 20,          12 322:1 331:21
                                             Everest Court Reporting LLC                                        Page: 118
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 120 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  332:5, 7, 8 337:11            room 52:12, 20, 25          Sanchez 212:9                   228:5 243:25 259:19
  338:19                         53:17 54:5 55:7, 16        sanctions 72:9, 16              284:13 307:1, 12
 riled 37:8                      72:22 74:2 129:14          sat 40:23 79:7                  321:3, 16 331:7
 rise 85:25 112:18               136:11, 15, 20 137:10,      154:21 156:14 162:8            332:6
  121:21                        13 160:1 187:2, 10,         Saturday 129:20, 24            scapegoat 184:9
 risen 121:9                    12, 17 256:6                 130:4, 17, 22 131:18          scared 263:15 286:5
 risk 112:6                     rooms 53:15 55:11           save 73:7 249:23               scenario 143:7
 risky 143:19                    128:21 129:12, 13, 14       291:21, 23                     208:13 254:14
 Robinson 313:11                 216:20, 25                 saved 63:25 208:19,            scheduled 55:20
  336:8, 15, 18, 18             Rosy 199:4, 5, 24           23 342:10, 11                  scheduling 218:5
  337:16 338:21                 round 217:25                savior 123:9                    291:7
 rocker 159:7                   roundabout 146:7            saw 15:6 30:20                 school 55:13 113:14
 role 9:15 13:3 16:17           route 239:11                 31:14, 17 33:20, 23            114:2, 4 124:20
  22:18 25:23 28:14             routinely 102:15             61:6 63:22, 22 64:3            142:1 143:3 187:4, 4
 Rolodex 236:13                  206:17 272:11, 12           75:3 77:15 97:16              Schwandt 1:16 3:14
 ROMAN 2:18 4:8                 Ruined 316:1                 107:11, 13, 13, 20, 25         343:7, 21
  13:13 14:3, 21, 24            rule 5:1 166:20              108:5 169:17 170:7            Scott 22:8, 9, 11
  17:18 19:3 22:15              rules 4:11 165:7, 9          178:17 186:1 190:16           screamed 206:11
  23:19 28:20 30:1, 6,           166:17, 17, 21 178:1        197:6 200:25 217:16           screaming 26:14
 16, 20 31:1, 4, 10, 15,        ruling 329:4                 237:10 243:1 255:18            320:5
 22 34:23 36:8, 11              rumor 65:15 74:21            295:5 321:13 323:12           screen 37:5 42:15, 25
  37:25 50:2, 22 51:21           224:7, 9 278:19            saying 6:7 28:5                 43:15 63:22 64:2, 9
  60:21 65:1, 11 67:5,           283:2                       38:13 39:12 40:2               76:22 96:15 104:24
 8 68:23 69:9 70:14,            rumors 32:2 283:5            43:25 46:3 48:12               107:4, 14, 20 108:1, 5
 20, 20, 24 72:21 74:1,         run 16:24, 25 166:2          68:9 70:22 81:3                114:11 115:14 116:5
 14 79:12 80:14                  180:25                      84:18 85:17 87:15              181:20, 21 201:9
  81:19, 23, 25 82:8            running 199:12               104:4, 17 109:11              scroll 182:8 194:20
  86:23 87:16 88:9              runs 17:1                    110:10 111:1 118:24            213:7 214:7 233:20
  96:6 105:7 110:13                                          119:14 124:6 125:15            234:19 307:9
  127:14 134:5 136:5            <S>                          126:17 143:15, 18             scrolling 198:18
  139:11, 19 140:6, 12          safe 233:11, 17              144:8 151:1 161:5              200:13
  142:24 145:10                  242:14, 21                  172:1, 7 182:21, 24           scrutiny 304:20
  149:17 152:10                 safety 170:8 250:14          193:11 198:25                 seal 343:16
  157:22 158:16 163:1            253:22 254:1 300:2,         201:11, 20 203:21             search 193:21
  165:6 172:18 182:11           4 322:12                     205:16 207:16 208:8           searching 193:25
  185:5 194:9 196:24            saga 170:18                  214:8, 10, 11 215:17          second 8:25 37:16
  225:24 227:20 228:3           sake 112:5, 6                222:3 223:3 226:8,             51:11 58:17 62:5
  229:4, 5 233:13               sales 228:10 229:20         19, 21, 23 227:4                71:7, 7 85:6 138:13
  236:15 237:4 262:20            239:11 240:21               231:4 240:17 242:7,            213:6 229:18 290:17
  264:21, 24 269:15             Salesforce 228:4, 5, 7      9, 19 244:18 254:25             306:3 335:21
  270:16 271:22 275:9,           230:1, 4 233:25             257:13 258:8 272:7            seconds 181:1
 15 285:19 304:2                 237:13 239:18               273:12 277:13, 24             secret 235:19, 19, 24
  326:10 327:21                  242:16 262:13, 17           283:25, 25 289:23             secretary 14:22, 24
  328:11, 16                     271:25 272:5 277:21         292:10 293:15, 19              15:8, 11
 Roman's 14:13 82:7             Sam 127:20 135:4             296:18, 25 321:6              sector 190:20
  97:20 141:2 205:20            Samantha 21:5, 23            322:10 327:24                 secure 240:24 250:24
  239:24 240:3 278:5             127:22 199:18              says 4:22 41:7                 security 156:9, 12
  279:7 285:12                  sample 261:9, 12, 12         101:24 194:3, 8                177:17 235:15, 18
 Romantic 189:14                San 58:19                    197:23 206:6 210:20            249:14 250:12, 14
                                                             215:23 216:2 223:23
                                              Everest Court Reporting LLC                                        Page: 119
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 121 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  253:20 255:17 256:3,           292:1 295:8 326:5          200:20, 22 203:15             showed 37:4 64:9
 4 322:12                        328:10, 10 341:1           204:7, 13, 16, 20              77:11 106:9 107:3, 4
 see 20:18 30:16                sentence 300:8              205:9, 20 223:7                115:23 132:11 201:9
  70:1 115:12 136:7             serious 96:13 193:19        232:12, 15 268:2               209:16 211:17
  137:12 138:10 139:9            205:11 255:22 294:8        276:14 278:5 279:7,            239:21
  150:21 155:5, 20              seriously 177:1            13 280:23 281:5                showing 202:24
  161:3 163:4 164:4              322:13                     296:16 299:10, 11, 11          211:7 214:16 216:12
  181:22 183:16 184:1           server 40:12 243:4, 5      sexually 31:5, 10, 15           245:21 251:13 272:3
  190:9 193:22 198:19           service 194:5               36:8, 11 79:12 82:7            295:21
  202:3, 22 206:8, 8            session 4:15                84:9, 11, 23, 24 88:9,        shown 46:22 76:21
  208:22 212:9 213:15           sessions 130:1             17 89:2 110:13, 17              114:10 115:2, 15
  215:23 217:10                 set 45:10 153:12            186:18, 25 200:23, 25          201:13
  221:16 225:18                  167:20 171:2 178:2         201:3, 5 292:5, 10            shows 239:4 244:24
  226:24 233:8, 20               179:23 180:9, 12, 20      SGold@DiscrimLaw.n             shrugs 5:21
  246:19 252:5 255:25            257:7 320:22 324:16,      et 2:15 196:4                  shut 132:23 136:21
  260:7 263:23 277:16,          18 343:16                  Shabbat 129:20                 shutting 235:6
 17, 18, 20, 22 288:8, 9        SETH 2:2 4:4 50:7          share 52:12 53:17,             sibling 147:20
  308:4 316:14 321:22            54:20 60:13, 14 70:1,     23 54:12 55:6, 6, 16           Sid 71:8 196:2
  330:15                        6 89:11, 15, 20 91:9,       129:11 133:11                  323:23
 seeing 155:2 199:22            19, 23, 23, 24 92:4         181:20, 21 187:9, 12,         side 164:5 264:8, 12,
  202:14 335:13                  93:13, 17, 17 94:21,      16 188:22 248:8                15 265:2, 22 320:13
 seek 291:16                    25 99:18 100:6, 7, 11       252:21                        SIDNEY 2:12, 13
 seeking 159:7 312:22            165:25 166:8 203:9        shared 188:23 189:1             69:14 195:11
 seen 14:19 19:6                 228:25 270:11             sharing 52:20 105:25           Sidney's 98:24
  31:1, 4, 6, 8, 10 33:14        274:10 283:13              187:2                         Sid's 340:8
  49:25 197:15 242:6             292:23, 23 302:14         sheet 237:15                   sign 80:3 173:13
  325:16 337:22                  303:6, 12 333:24          shellshocked 149:23             174:10 175:18, 25
 sell 240:22                     339:11                    shit 248:22 290:6               176:14 241:21
 selling 200:3                  Seth@dereksmithlaw.c        315:22 318:7                   244:21, 25 245:4, 6
 semester 114:3                 om 2:5                     shitty 288:11                   287:3, 5 341:4
 send 48:4 81:15, 15,           SethDCarson@gmail          short 28:4 51:19               signature 285:4
 16 116:3 190:11                 257:11                     93:10 329:17                  signed 67:2, 12 72:23
  204:3 208:2 212:22            setting 235:1              shortage 321:5                  74:3, 13 156:4
  230:16 244:1 245:25           settled 324:22 325:1       shortly 114:5 339:1             173:16, 20 174:6, 20
  256:13, 13, 14 257:12,        Seven 7:14 302:16,         shot 76:22 107:4, 14,           175:20 176:18, 19
 13 259:23 261:10               18, 22, 24 334:15          20 108:2, 5 114:11              224:22 244:2, 25
  326:5                          339:10, 16                 115:14                         245:5, 8, 9, 16, 21, 22
 sending 86:11                  sex 30:1, 5 65:1, 11,      shots 37:5 63:22                246:1, 5, 15 284:14,
  202:11 203:20                 22 67:5, 9 72:23            64:2, 9 96:15 104:24          19, 25
  259:16 291:7                   74:3 102:17 225:24         201:9                         signing 173:22, 23
 sense 55:25 124:17              275:19                    show 40:18 106:16               174:21 175:1, 4
  180:5 215:2 312:24,           sexual 27:21 28:19          113:3 116:5 117:11,            286:7
 25 315:2                        37:24 60:7, 20 61:1       13 129:5 164:12                silly 212:3
 sent 37:5 39:4 49:10            67:12 74:14 81:19,         194:21 198:12 203:1           similar 8:13
  63:24 64:5, 10 76:23          22 85:4, 9, 10 86:22        208:22 209:13                 simple 88:22 91:7
  77:14, 15 83:22                87:1 89:1 96:5             211:23 227:6 238:1,            163:12 274:23
  107:6 187:2 201:10             97:20 98:1 99:10          23, 25, 25 242:1               simply 305:2
  203:7 205:6 214:19             104:12 152:2 155:15,       262:9, 11 263:6               simultaneously
  215:5 216:1, 4                25 156:6 157:21             269:8 277:7 304:1              305:11, 14
  220:22, 22 249:3               176:2 186:12, 21           307:8 322:20 337:7
                                             Everest Court Reporting LLC                                        Page: 120
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 122 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 single 103:1 120:16             317:6, 6                   221:22 222:15                 specifically 17:3 35:2
  241:9 243:17 307:2,           snarky 95:2, 17             228:16, 20 235:21              46:2 110:12 146:20
 5 316:8, 9 324:8               snippets 214:15             240:1 262:5 263:9              147:12 189:4 249:4
 Siri 268:16                    soap 150:23                 266:17 267:21                  268:23 271:21
 sister 112:20 151:21,          social 313:7                268:14 299:1 306:3,            335:17 337:18
 22, 25 152:5                   socialized 41:21           4 307:18 314:25                speculating 337:5
 sit 48:20 93:7                  112:12 288:2 315:5         318:10, 23, 24 321:18         spelling 22:8
  152:16, 18 308:25             socializing 227:17          324:23 329:23                 SPG 216:8
  317:24                        sold 240:19                 331:10 335:1                  spinning 131:8
 sits 15:23 16:3 37:17          solicitation 10:5          sort 9:21 22:8 24:20           spoke 19:8 29:11
 sitting 34:19 36:3              239:12                     46:24 89:2 132:10              222:23 225:14, 14, 19
  41:4 61:14 111:8              somebody 40:19              146:14, 25 147:12, 15,        spoken 165:12 326:2
  120:19 122:9 130:9             47:20 79:17 103:13        23, 25 149:23 150:21           sport 269:25
  140:3, 18 148:18               106:4 116:3 120:2          154:20 156:11                 sports 105:25
  207:10 238:6 276:12            123:3 127:10, 10           164:17 171:14                 spot 78:12 194:21
 situated 19:16                  128:17, 19 133:2           224:22                        spousal 98:6
 situation 55:15 66:10           135:18 137:19, 22         sound 5:18 33:25               spray 85:14 147:7
  99:8 155:9 188:16              143:6 144:5 153:12         34:2, 3 55:24 100:1            321:7
  212:2 308:23 309:3,            155:2 156:2 165:11         124:18 130:10, 14             spreading 283:5
 9, 10, 14, 17 333:20            177:3 186:4 191:6          316:22                        spreadsheet 247:20
 six 13:9 25:15, 17              199:1 205:13 231:18       sounds 99:3 125:2               258:24 259:4
  240:21 334:1, 5, 18            251:21 254:10              129:25 137:14                 stability 309:13
 size 321:11                     259:12 260:7 267:9,        212:17 266:11                 stable 38:25
 skeletons 268:1 269:6          10 269:16 271:18            267:19, 19, 22 281:9          Stacey 246:24, 25
 skip 144:23                     272:22 273:11 283:4,       330:24                        Stacy 147:15 149:13,
 skirt 28:4 135:13              5 313:14, 15 318:25        soup 199:14 241:10             13, 17 151:8, 12, 14
 Slack 215:13, 13, 16            319:1 320:11 333:1,       space 54:5                      152:9 154:18, 21
  237:13 239:20                 1, 2                       speak 20:19 78:13               155:12 239:10
  241:11                        somebody's 104:3            131:1 136:24 139:21            252:20 289:9
 Slack-related 307:16            258:3                      143:4 146:17 225:20           Stacy@gmail 257:18
 slammed 208:11                 someone's 207:4             326:17 328:7 330:16           Stacy's 152:22
 slamming 103:8                  257:9                     speaking 91:21                 staff 120:11, 24
 sleep 105:16 128:20            somewhat 171:17             92:22 94:4 175:11              126:13 127:17, 18
  136:9 201:21 275:9,           song 187:5                  334:25                         134:11 135:7 145:12
 14                             songs 187:3                special 9:14 13:6               148:21 149:3, 4
 sleeping 80:19 313:12          son's 40:22                 24:14 219:12 237:18            159:24 160:24 161:2,
 slept 63:20 128:14             soon 60:12 114:24          Specialist 2:18 3:1,           17, 19, 21 162:19
  130:3 138:2, 9 224:8,          205:10 320:19             13 47:2, 5 51:12, 15            164:11 219:3, 4, 7
 14 275:15, 18                  sooner 87:8                 70:10 100:7 139:4              220:15 234:1 298:2
 slow 89:13 106:19              sophomoric 95:8             181:10, 13 196:10             stage 153:18
 slower 331:11                  Sorry 12:2, 13, 14, 21      213:3 232:21, 24              stake 112:18
 small 55:7 205:8                13:16 17:17 24:6           303:22 334:11                 stamp 233:10
 smaller 215:22                  29:10 30:8 37:15, 16,     specific 11:1 17:10            stamped 64:12
 smart 309:2                    19 44:9, 20 46:24           45:16 46:12 53:3              stamps 214:21
 smiling 30:12 122:11            47:8 51:18 59:13, 14       60:14, 15 144:20              Standard 3:4
  183:24                         65:21 80:10 113:1          186:6 196:17 207:18           Starbucks 77:2, 4
 SMITH 2:2                       118:3 129:9 134:22         230:16 237:19                  106:18 108:3, 4
 smoke 302:20                    138:21 142:17              239:13, 13 302:10              114:7, 9, 13, 16
 smooth 4:9 169:8                144:15 166:11 190:2        336:25                         115:19 148:17
                                 196:1 203:10, 12                                          169:18
                                             Everest Court Reporting LLC                                        Page: 121
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 123 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 start 4:10 34:17                343:11                    stupid 83:21 184:14            supervisor 24:17
  36:2 86:3, 8 114:16           step 189:23 190:1           311:4 312:12 332:10            80:4 102:3 110:20
  129:18, 19 149:20             stepping 161:4             Suave 189:20                    188:25 189:6
  184:23 190:21                 sticking 152:23            subject 91:2 258:16            supplants 198:8
  261:22 298:25                 sticks 189:10              subjected 99:9                 support 80:1 85:23
 started 13:5 18:14             stipulation 43:22, 24       194:14                         231:23
  20:7, 12, 17 21:18, 20,        44:17                     Subjecting 200:20              supposed 46:4, 6
 21 22:14, 20 24:6              stole 229:5, 12            submitted 150:5                 47:13, 14 149:8
  74:22 85:13 86:11              230:21 231:10             subscribers 10:15               256:23 261:24
  113:9 114:5 116:24            stolen 229:16 231:17       subscriptions 241:18            262:20 284:10
  124:9 142:6, 12               stooge 320:10              subsequently 105:23            Sure 11:4 17:14
  163:8 164:23, 24              stop 35:11, 14 62:6         154:3                          22:9 23:22 26:10
  168:12 170:5 171:18            63:12, 15 92:18, 19,      subterranean 61:18              46:10, 25 48:3 49:12
  188:4, 12 199:2               24 93:4, 16, 16, 18        succeed 333:12                  58:13 59:25 60:18
  201:19 222:10 228:8,           94:7 251:24 270:10        successfully 26:21              66:17 70:25 71:24
 9 240:16 273:7                  283:13 292:23, 24         suck 269:16 270:16              82:9 83:24 97:5
  274:3, 8 288:12               stopped 13:13 139:7        sucking 102:16 103:6            106:15, 23 113:3
  290:16 320:2 334:14           store 243:5 258:20         sudden 32:18 39:11              119:6 125:2 127:20
  339:14, 20                    stored 237:3 249:5          41:6 42:3, 6 111:19            129:4 132:12 136:17
 starting 117:19                stories 305:9, 14           118:24 191:22 205:8            137:7 141:10, 21
  241:10                         306:18 320:15              228:8 291:17 305:7             151:9, 22 156:3
 starts 129:22 204:1            stormed 208:10              310:20 311:11 313:1            161:4 169:8 171:20
 state 7:3 9:12 19:16,          story 27:16 28:21           320:15                         173:7 175:22 179:3
 19, 20 42:3 89:12               67:15 78:3 264:8, 13,     suddenly 85:15                  189:3 193:11 199:13
  90:20 173:25 182:17           15 265:3, 23 306:20,        87:10 153:17 167:10            206:22 207:7 216:13
  239:14 279:21 300:7           21, 22                      183:15 184:9, 18               218:3 221:17 225:17
  329:12                        straight 143:2, 2           305:7 309:8 310:25             235:6, 20 236:1
 stated 13:5 73:18               160:10 324:18              311:25, 25 312:1, 1,           238:22 242:11
  249:4 320:19                  strange 46:18              13, 21, 25 314:21               243:15 244:12, 15, 24
 statement 68:4 70:4,           strategy 48:22              325:12                         245:2 249:6, 12, 19
 15 143:25 178:3                Street 2:3, 8, 13 7:16     suggest 92:9 261:16             250:3, 4 253:1 261:4,
  194:23 278:4                   20:10, 13 282:10          suggested 64:18                10 270:15 271:12, 15,
 statements 279:8, 14           stressed 64:23              317:19                        19, 20 275:4 282:18
 STATES 1:1 3:8                 strictly 331:17            suggesting 190:8                283:8 293:13 294:11
  88:1                          Strike 17:4 27:1            258:7                          295:19 297:7 298:9
 static 209:24 212:13            136:10 157:8              suggestion 6:11                 301:2 310:2 322:15
  228:18, 20                    struggles 104:2            suggestions 4:11                325:5, 6 335:11
 statistics 322:24              struggling 38:22           Suite 2:3, 9, 14 253:9          336:14 337:2, 20, 20
 stay 43:8 55:3 128:5,           188:10                     258:11                        surprised 76:13
 10, 14 188:17 332:4            strung 321:15              summary 221:3, 13               105:12 123:25
 stayed 54:13 128:21            stuck 136:6 266:2           222:7                         surprising 149:25
  134:4 220:2 272:21            studio 54:3                summer 113:14                  swear 3:18
 stays 53:19                    stuff 60:2 86:11           summoned 169:18                swiping 102:22
 steal 228:10 231:16             103:16 109:19 110:5,      Sunday 130:2, 12, 18,          switch 250:6 251:19
  234:4                         6 133:7 148:6              22                              252:3, 12, 15 253:8
 stealing 234:6                  149:21 151:17             super 251:17, 17               switched 312:7 329:9
 Stein 302:6                     161:13 188:10, 22          253:21                        switching 172:15
 Stenographer 73:8               202:3 211:22, 24          superior 240:14                 249:18
 stenographic 3:17               212:25 227:4 241:20                                      sworn 3:22 6:22
                                 262:3 302:7 335:11
                                             Everest Court Reporting LLC                                        Page: 122
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 124 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  63:12                          211:1 221:6 278:15          52:19, 24 56:4, 5, 7, 8,       142:18 167:17
 sympathizers 176:23             287:15 289:14              12, 16 63:19, 21                179:23 182:9 262:19
 synchronize 239:17              297:16, 17 301:5, 8         64:16, 25 65:22                288:21 292:19 293:5,
                                 323:19, 20 326:12           73:20 77:18, 18               25
 <T>                            talked 46:14 63:3            84:20 97:18, 24               testifies 30:24
 table 40:23 61:15               102:15 151:17 278:2         98:17, 21, 24 99:4, 17,       testify 40:5 45:20
  105:13 110:4 122:10            306:7 326:11               19 109:16 114:8, 14             75:19 98:16 117:17
  149:6 156:15 265:19           talking 5:10, 14 6:17        119:19 132:20                  122:18 129:6 244:20
  308:25                         51:19 65:3, 4 71:14         144:24 146:12                  335:14
 tabs 210:23                     79:8 80:17, 18 82:6,        152:14 160:13                 testifying 6:21 37:21
 tackle 163:17                  12 104:11, 15 118:12         164:12, 13 169:20              66:12 72:20 73:25
 tag 221:17                      122:23 132:2 139:8          172:8 176:16 184:11            74:10 78:5 106:21
 take 4:5 5:11 16:14,            145:2, 5 146:11             191:19 194:22, 23              158:15 275:15
 17 27:12 29:1 47:20             147:9 149:21 168:17         209:17 210:9, 13, 18           281:16, 24
  51:10 69:17 80:8               171:13 203:17 204:1         214:8 223:9, 11, 13,          testimony 6:19 36:18
  86:1, 23 91:6 92:9,            228:3 233:16, 21           14 227:10 229:19                37:2 38:10 49:24
 11, 12 93:15 94:19              234:2 240:18 242:10         231:19 232:8 248:19            57:12 74:7 86:20, 24
  95:10 112:15 116:4             256:18 259:6 265:12         251:22 253:19 255:6            87:17 97:12 98:3
  120:21 123:4, 5                297:8 306:19 309:16         256:25 260:3, 20               101:18 106:23
  126:2, 3 138:15, 18            310:3 327:20 328:15         264:5, 7 265:22                108:11 109:4 110:24
  139:2 148:1 159:8              331:5                       268:1 283:4 301:20,            112:9 115:25 117:10
  161:11, 14 177:1              talks 235:16 260:12         21 304:8, 11 307:22             137:11 144:13
  180:2, 4 188:3                tall 310:19                  308:23 312:9 314:15            157:24 192:10
  189:22, 25 194:18             tally 339:2                  317:13 324:3 325:24,           206:25 265:7 270:23
  195:1 196:7 220:5, 6          tank 177:8                  25 326:8, 14 338:20             283:7, 23 294:4
  227:2 232:5 264:13            targets 230:19               340:23                         298:15 299:5 305:15
  266:5 268:4 269:11            task 217:19                 telling 71:1, 24 75:4           310:5 318:9 322:5, 6
  277:20 278:3 284:7            tasks 81:14 83:7             76:16 78:15 93:14,            text 46:22 48:4, 7, 12
  287:22 289:7, 11, 12          taught 187:25 316:9         15 110:4 116:18                 49:14 50:1, 19, 20
  291:18 302:19                  327:3                       118:20, 21, 23 121:17          63:22 64:5 77:2
  303:14, 15, 19 318:18,        taxi 133:11                  172:7 191:12 201:2             104:24 106:14 116:3
 19, 19, 20 322:11              teach 11:11 187:24           205:4 209:8 219:22             159:5 165:10 178:9,
  339:1, 4                       188:8 190:22                222:11 224:25 226:2           11 202:11, 17 203:8
 take-down 320:24               teaching 188:4               239:2 242:7 246:9              213:17, 22 214:22
 taken 1:12 51:14               team 148:20 151:15           259:22, 23 261:7               245:20 291:25 295:8,
  74:23, 23 75:1 91:10           153:25 163:8 165:2          269:15 273:14 312:3           10, 14, 25 296:7, 24
  139:3 150:19 167:3             240:21 256:9 269:24        ten 195:2                       329:14
  181:12 196:13                 tears 155:7                 tenure 21:24                   texted 200:16 304:2,
  199:13 212:5, 10, 10          tech 237:22, 23             terminate 38:20, 21            6 305:23
  213:2 226:8 232:23             239:20 240:19              terminated 26:24               texting 64:15 327:19,
  282:5 303:21 317:9             241:17 243:4                27:1, 3, 19 198:20            21 328:15, 16, 21
  326:21 339:8 343:11           technologically 243:8        200:6                          329:19
 takes 299:15                   Telegram 213:18, 25         terrible 322:10                texts 49:16 328:9, 10
 talk 8:21 9:3 24:4              214:9 215:1, 8, 15, 16,    terrific 221:16                 329:5, 8
  42:9 47:11 80:21              19 248:24 307:11            terrorized 320:17              Thank 7:25 9:11
  85:3, 8 120:14                 317:15                     terrorizing 26:5                29:14 51:11 59:17
  125:21 137:3 154:14           telegramed 115:16            289:24                         98:23 282:13 331:12
  163:5 171:3, 15, 16           tell 6:7, 23 10:18          test 69:18                      340:18, 20
  188:21 208:25                  26:24 30:19 33:19          testified 3:23 106:8           Thanks 181:9 282:7
  209:18 210:11, 19              35:3, 6 40:15 45:17         118:15 123:20
                                              Everest Court Reporting LLC                                        Page: 123
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 125 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  284:13 285:17                  18:12 19:20, 23 27:7        169:16 222:14 228:8            32:3, 14 33:9 38:14,
 theirs 117:21                   33:25 34:2, 3, 5, 5, 12     263:18 273:16 311:3           16 41:22 42:5, 6
 Thelma 14:1, 6, 11              37:6 40:18 47:22           thinks 327:15                   43:16 44:6 47:16
  20:21 149:11, 16               51:20 53:22 54:18,         third 6:10, 11 14:5             51:3 54:17, 20, 22
  154:21                        21, 25 60:4 61:15            104:5                          57:13, 13, 15 58:17
 thereof 114:11                  66:13 71:17 77:23          thought 44:4 46:18              60:4 64:12 65:19
 thing 5:20 12:1                 78:13 83:10 91:4            70:20 84:19 145:1              66:21, 25 75:5, 6
  42:21 53:18 64:3               99:18 107:1 118:10,         146:9, 23 147:1, 23            76:20 78:6 84:22
  67:1 79:19 116:10             17 126:19 127:10, 13,        153:3 162:20 168:14            86:5, 19 88:4 92:22
  132:10 148:3 155:8            19 128:7, 13, 16, 17         170:22 186:2 188:3,            94:16 95:10, 16
  156:11 164:19                  131:24 132:9, 16           9 189:19, 22 192:12             104:18 105:4 106:9
  177:18 180:24 198:3            134:21, 25 135:5, 8         214:16 219:1 234:4,            107:10, 19 108:12
  200:1, 17 207:16               137:10, 16, 18 139:7       11 236:14 240:12, 12            109:5 110:7 111:17
  208:3, 3, 7 212:3              142:8 143:8 144:7           243:22 250:23                  114:20 116:13
  215:24, 25 222:20              145:18, 22 146:2            267:11 272:4 290:23            123:23 125:6 127:19,
  224:23 226:2 227:13            148:1 149:11, 18            301:1 308:8 312:23            23 132:23 133:18
  238:16 241:5, 7, 9             151:13, 23 152:1            328:13 332:18, 19              134:2 136:14 137:9
  243:17 267:8 273:8,            154:23 155:18 156:2,       thread 202:20, 22               138:15 139:18 140:3,
 17 279:10 294:12               10, 14, 16 159:18            212:22                        25 145:14 146:3
  296:22 304:1                   162:6 164:23 165:9,        threat 255:18                   153:18 155:16 158:5,
 things 4:9 16:10               10 166:22 167:3, 17         threaten 176:22                20 162:1, 16, 17
  28:8, 12 32:2 33:1, 3,         168:10, 12 171:13          threats 250:14 255:20           164:11 166:14, 19, 23
 11, 15, 20 38:13                172:14 173:22, 23          three 11:25 12:4                168:2, 4, 10 174:15
  39:12, 19, 22 40:4             175:16 176:7, 12            50:8, 12 107:23                176:18 177:7 182:10
  43:12 45:10, 17, 23            185:2 192:4 194:25          123:19 128:17, 25              183:20 191:9 193:18
  46:4 57:22 83:19               195:14 196:21, 25           129:3 137:18 157:2             194:18 195:11
  86:6 88:19 111:13,             198:14 200:4 211:9          246:23 304:12, 16              196:21 199:2, 3, 23
 19 116:24 121:19                212:2, 9 214:18             305:18, 24 306:8, 14           200:10 201:4, 14
  125:18 132:8 144:21            215:2, 12, 14 217:16,       325:10                         203:14 209:20
  151:5, 18 152:3               22 222:21 223:15            threw 40:20 122:7               210:21 214:2, 21
  163:11, 16 166:23              228:21 229:1 235:2          131:25 287:21                  217:10, 22 218:8, 16,
  170:5 178:10 181:3             236:17, 20, 23, 24         throw 184:20 314:14            17 219:9, 11, 16
  182:14, 21 183:13, 15          237:25 251:6 259:8          317:22                         227:2 234:2, 10
  185:11, 12 187:5               262:18 264:10 266:2        throwing 203:17                 241:22 253:24 255:8
  193:3 197:3, 17                269:20 271:16               207:4                          256:1, 6 258:6, 10
  201:25 202:1, 4                275:17 277:25 279:4,       thrown 110:6 207:9              260:23 263:19
  207:14 209:15                 5, 11 280:21 283:20         Tiffany 20:19 24:4, 5,          266:11 269:4 273:21
  216:20 222:11                  286:25 290:17              23 25:2, 20 27:12               275:4 277:14 278:15
  231:25 235:6 242:2             292:11 298:13 299:6,        30:1, 7 79:19 81:12            288:1, 9 292:12, 16,
  243:10, 15 261:20             7, 19, 24 300:6, 15          208:2 219:14 229:24           18, 19 293:5, 7, 9
  262:9 265:16 273:5,            316:24 319:11, 11           234:24 267:23                  294:1 296:13 305:8
 6 277:14 286:4, 5               323:14, 15 326:22           321:14                         308:8 312:6, 19
  304:19 306:15, 16              335:12 336:10 339:3        tight 262:1                     320:22 321:3 322:17
  310:9, 9 311:6                thinking 45:12              time 3:3, 4 5:11 8:2            332:19 333:23 336:7
  313:11 314:23                  103:23 114:22               11:20 12:19 13:1, 12,          338:14, 15, 17 339:2,
  316:17 319:12, 13              116:16 138:6 143:1         17 14:5, 8, 11, 14             19 340:17
  320:1 321:2, 18                147:13 151:2 152:11,        15:1 18:9, 10, 10, 16         timeline 144:11, 20
  322:9 327:3                   19 153:23 155:8              19:9, 11 21:10 22:2,          timeline-wise 31:25
 think 4:18 6:15                 163:22 164:18              14 23:20 24:12, 23             times 5:17 50:9, 13
  12:16 14:19 15:6                                           25:18 28:11 29:1               55:3 90:16, 24 91:11
                                              Everest Court Reporting LLC                                        Page: 124
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 126 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  95:4 97:11 123:19              190:15 191:11 201:5,      traumatized 310:15,             290:4 336:13
  190:11 194:8 295:16,          7 205:23 208:25            16 313:15                      trips 48:16
 19                              209:3 210:10, 16          travel 10:3 48:16              Trish 119:17 147:7
 timing 143:10 210:4,            222:20 224:13, 15, 16      82:22, 23 113:22              trouble 71:13
 5                               226:15, 16 227:18          153:15 217:17 218:4,          true 38:7 39:23
 tips 315:12, 13                 244:13 249:1 251:4        9, 10                           40:9 42:12, 13 158:3
 tiptoed 206:19                  258:20 263:11             traveled 217:23                 182:12, 15 193:7
 Tir 85:22 157:19                264:16 265:2 267:22        336:11                         196:24, 25 197:2, 4
  288:24                         287:20 289:13             traveling 217:22                224:18 265:17
 title 15:8 23:10                295:16 301:13              254:9, 11 256:5                343:10
  218:23 219:5, 16, 20,          310:13 317:25              313:9                         trust 33:6 85:20
 24 220:14, 18                   319:21, 24 325:14         Tricia 32:9 39:3                112:17, 22 148:12, 22
 titles 219:1                    333:1                      40:25 64:1, 1 78:21            154:4 163:24 164:2,
 today 3:13, 16 4:5, 9          Tommy 313:10                79:7 83:1 84:15, 19           3 209:8, 9 210:12, 20
  5:1, 17 6:12, 13, 20,          336:8, 15, 18, 18          102:21 103:15                  269:9 287:23 288:25
 24 8:21 9:3 15:24               337:16 338:21              105:12 109:13 111:7            330:5
  16:8 19:24 22:11              tomorrow 284:16             117:24 120:15                 trusts 121:11
  29:13 33:12 34:19             tone 94:7                   122:11 123:15, 24             truth 6:24 190:7
  36:3 37:1 39:16               top 217:6 290:21            126:16 128:19                  256:25 257:3 268:11
  40:5 60:5 71:1                topics 11:7                 137:22, 23, 24 140:10          281:19 297:17
  87:17 91:21 93:9              total 339:19                149:10 155:4 167:1             332:12, 13
  117:14 140:4, 18              totally 68:24 94:3          169:21 178:13, 13             truthful 318:25
  158:15 182:9, 12              tough 57:21 152:9           182:11 183:9 191:15           truthfully 6:25
  185:2 198:10 207:10            269:7                      201:11, 17 220:3              try 4:19 5:7, 8, 15, 16,
  238:6 268:20, 22              toxic 43:12 326:23          223:13 246:24, 25             20 6:15 12:18 85:3,
  276:12 283:7 294:1,           track 16:2 199:2, 3         252:20 259:10                 8 123:12 131:13
 4 297:15, 17 339:20             200:10                     272:22 287:3 288:13            171:19 185:8 212:19
 Today's 3:2                    trail 259:21, 25            290:23 311:6 313:10            213:24 235:2 269:3
 told 21:25 27:9 29:2            260:2, 6, 11, 18           315:6 319:16 321:24            289:7, 10, 12 322:15,
  30:24 31:21 32:1, 6           train 260:21                322:23 336:11, 14             16
  33:16 37:9 38:19              trained 112:12             trick 219:21 248:16            trying 6:1 28:25
  39:6 47:18 56:14               154:10                     296:19, 20                     37:15 43:8, 11 45:24
  59:3 61:4, 12 62:1, 3,        training 156:1, 7          tried 120:9 121:21,             56:19 58:1, 2, 5, 16
 4, 6, 8, 9, 11 64:17            161:23 271:15, 18         21 155:11 164:2, 3              89:12 90:17 112:22
  65:13, 24 66:16 75:2,         traitor 151:11 152:24       165:4 168:7 178:19             123:3, 5 131:14
 23, 23 76:1, 2, 2, 4, 6,       transcript 340:24           179:2, 3 188:17                143:9 147:17, 24
 12, 23 77:5 80:10, 12           343:11                     249:12 264:13 268:3            153:3 155:1 163:8
  81:19, 24 84:8, 10            transgender 102:21          285:9, 10 291:21               169:23 188:1 190:4
  95:20 96:8 97:14              transition 169:8            316:7, 11, 12 321:20           192:10, 18, 25 197:19
  98:15, 22, 25 105:12           229:25 237:24              330:22                         200:1 228:1 235:2,
  106:4 108:15, 17, 18          transitioned 215:11        tries 318:19                   24 243:14, 18 248:18
  111:4 112:16 113:11           transitioning 247:19,      trip 46:5, 7, 15 47:11,         249:9 251:22 257:3
  115:3, 22 120:25              22, 25                     14, 15 48:6 49:17               261:20 262:3 267:9
  121:22 123:11, 18             transvestite 102:20         50:3, 23 51:20, 22             269:5, 7, 8 291:18
  124:3, 15 135:24              trapped 183:20              52:21 53:3, 5, 7, 24           296:21 299:4 323:5
  142:14 145:14                 trash 103:5                 55:17, 19 57:10                324:16 325:19
  149:10 157:5 159:22           traumatic 87:11             58:10, 11, 13 60:5, 21         326:15 328:3, 6
  169:15 170:12                  286:4 305:9 312:3          61:3 63:3 193:16              Ts 195:20
  178:20, 23 184:13              325:9                      201:22 216:6 217:24           Tuesday 1:15 3:3
  187:6, 7, 19, 21
                                             Everest Court Reporting LLC                                        Page: 125
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 127 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  130:19                        uncrossing 28:5            6, 8 252:13, 18 253:9,         view 154:9 180:16
 Turkish 259:16                 undermine 168:7            12 256:15, 16 258:17,           191:5
 turmoil 234:11                 undermined 169:19          21 259:9 301:11                violation 249:11
 turn 234:16                    underneath 46:14            323:4                         vis-à-vis 331:8, 14
 turned 52:11 111:19             61:17 63:2 267:5          user 234:23                    visit 157:23
  188:1 234:13 317:9            underpaid 320:8            uses 46:19                     visual 139:16
 Tweet 255:19                   understand 6:6, 14,        Usually 129:19, 21, 22         visually 33:14
 tweeted 236:2, 8               19 14:18 31:25              137:6 243:3 308:22            vividly 120:18
  255:10                         97:22 106:20 116:8         310:8                         VOICE 51:6 67:18
 twice 14:4 17:16                140:18 170:19             usurp 159:7                     68:3, 12 69:17 70:21
  326:13                         172:21 179:14             utilize 252:13 257:22          volition 160:18
 two 5:10 9:2 15:25              186:16 191:25 192:1        258:9                         volunteered 161:10
  24:17 30:15 41:7               197:9, 17 198:2           utter 318:3                    vote 169:10, 12
  42:8 53:15 68:18               199:15 236:13                                            voted 169:14, 14
  71:1, 4 86:22 107:23           238:20 245:11 272:9       <V>                             170:20, 21, 21
  128:24 129:2 135:17            284:10, 12 293:14, 18     vacation 38:16 58:17
  164:7 174:17 195:20            299:4 301:17 307:19        210:21 322:17                 <W>
  214:20 216:15                  309:2 330:9               valid 73:19                    wage 321:1
  225:12 226:20                 understanding 22:12        vanishing 300:21               Wait 60:14 62:5
  229:14 248:23 285:6            43:4                      Various 19:22 21:2              68:4 71:6, 7, 7 89:6,
  331:19                        understood 180:22          Vasilly 327:6                  6 93:22 290:17
 two-faced 170:6                 221:2, 12 238:21          vegan 200:2, 3                  298:24 303:13
 two-year-old 120:19            underway 172:2             vehicle 214:1                  waiting 150:21 263:6
 tying 322:4                    un-friend 315:18           Vendetta 145:21                waived 98:15
 type 5:10 8:17 60:2            un-friended 42:7           vendor 237:24                  wake 131:12
  132:10 133:11                  167:10 182:17              238:24 241:4, 25              walk 16:22 133:13
  136:23 148:6 187:5            unhappy 109:14              251:2 252:7 262:11            walked 133:10
  189:21 243:6 255:8             310:21                    vendors 48:24 151:4             246:17
  266:14, 19 287:12             unilateral 120:11           241:17 313:12                 walking 77:8 107:8
                                UNITED 1:1 3:8             verbal 5:21 270:4               108:19 115:4 133:10
 <U>                            universities 11:9          verbally 185:19                wall 184:20
 U.S 10:21, 25                   83:18                      190:10                        walls 295:5 298:9
 UA 216:7                       university 326:25          version 109:9, 10              WALTON 2:5 34:7,
 Uber 106:15 133:9,             unnecessary 330:23         versus 3:7 4:7                 8, 14 52:8, 14, 22
 14, 16                          331:3                      147:22 185:4                   53:1 60:13 62:5, 11,
 Ubers 133:1                    unpleasantries 307:17      vicinity 55:22 260:23          15, 17, 24 63:9, 14
 uh-uhs 5:22                    unrelated 168:1            victim 314:1, 4, 5, 6           68:20 69:4, 21, 25
 ultimate 320:12                unsubscribing 231:25       victimized 291:20               70:6, 16 71:3, 6, 10
 ultimately 10:8                untimely 254:11            Video 2:18 3:1, 5, 12           88:11, 12 89:3, 4, 6, 8,
 ultrasound 39:5                Unwanted 186:23             47:2, 5 51:12, 15             11, 15, 19, 25 90:4, 7,
 umpteenth 94:16                update 220:17               70:10 100:7 139:4             14, 21 91:1, 3, 9, 15,
 unable 82:21                   updated 197:14              181:10, 13 196:10             19, 23 92:4, 7, 12, 17,
 unauthorized 258:8             upset 163:20, 21, 22        213:3 232:21, 24              24 93:4, 13, 17, 20, 24
 unborn 316:5                    224:17 308:5               253:25 254:6, 11               94:5, 14, 19, 21, 25
 uncollected 153:21             upsetting 273:17            267:19 303:22                  95:7, 12, 15, 16, 20
 uncomfortable 55:15            upside-down 191:22          334:11                         97:21 98:2 99:18
  87:6 110:19 143:19            us, 77:24                  videoconferencing               100:1, 6, 11 106:22,
  161:5 183:4 200:7             use 12:18 49:6              1:13                          24 138:16 166:10
  223:8, 15                      58:17 101:19 173:3        videos 171:24 187:3             203:9 211:5, 10, 16
                                 247:10, 13, 15 251:5,                                     212:5, 17 228:23
                                             Everest Court Reporting LLC                                        Page: 126
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 128 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  231:2 232:16 258:12,          3 183:10, 18 188:7         website 11:15 15:5              209:17 214:4, 13
 13, 25 265:6, 10                189:16 190:21              17:13 146:21 148:5             216:18 217:13, 16
  266:7, 22 274:14               191:14 196:16              151:3 158:11 173:10,           219:11 223:3 226:11,
  275:20 276:16, 20              201:21 203:10 208:9       11 220:17 237:14               19 228:15 230:6, 23
  279:17, 20 280:1, 5,           220:4, 6, 7 230:16         324:11, 25 335:6               231:7 234:11 238:16
 11 281:1, 9, 13, 17, 18,        243:13 250:20             week 41:16 211:23               244:7 246:8 257:6
 22 283:12, 16 285:13            260:25 261:2 264:5         252:10, 10 255:5               259:19 260:5 263:13
  297:12, 19 298:17              268:4 269:16 290:20,       320:20                         270:7 285:25 289:4,
  299:25 300:5 303:6,           25 291:1 292:4, 6          weekend 105:16, 17             15 290:11 291:12
 12, 18 314:8 323:19,            296:5, 5, 14, 15           130:13                         295:2 296:1 301:12
 23 331:25 332:6, 9              301:17, 23, 24 308:3,     weekly 41:21                    302:19 306:13 308:2
  333:4, 21 334:20, 25          4, 13, 14 310:1 314:2      weeks 17:25 18:2                309:22 310:4 311:21
  335:1, 2 337:25                317:5, 10 321:25           33:16 167:9, 9                 312:5, 23 320:25
  338:25 339:6, 11, 16,          322:16 327:19              290:14                         322:4 323:17 325:4
 22, 25 340:5, 8, 11, 20         328:17 329:10, 12         weight 321:12                   330:2 332:6
 want 7:7 25:4 34:9              330:7, 11, 12, 17, 25     weird 146:4 169:24             wellbeing 322:11
  42:24 77:6, 6 80:6            wanting 291:4               209:15 264:1, 2               well-being 112:5, 9
  86:15 90:19 92:5              wants 121:14 189:22         267:16                         153:7 155:10
  97:6 101:16 102:5              301:19, 22 312:8          welfare 322:12                 went 41:15, 15 47:24
  106:20, 22 107:8              wash 154:22                Well 16:10 23:21                52:21, 25 56:6 57:8
  108:18 110:18 115:4           Washington 126:5            26:1, 24 31:24 32:13,          58:18 59:7 61:23
  116:14 117:24                 wasting 54:20, 22          16 35:23 36:20 40:3,            76:20 106:18 110:4
  120:23 144:23 160:4,           92:22                     17 42:4, 11 43:17               113:14 122:12 131:7,
 11, 18 169:21 170:2            Watch 11:8, 13, 14          44:24 46:2 54:3               9, 17 132:5, 7, 13, 18,
  171:16 172:8 177:22            72:2 206:23 228:25         57:24 67:14 69:13             18 136:20 139:19
  179:17 180:24 181:3            230:17, 18                 84:20 85:17 86:12              148:15 166:23 184:8
  184:22 187:13, 16             watched 41:19               87:12, 19 91:9 93:24           190:20 191:6 204:8
  189:4 190:2, 3, 11, 13        way 5:8 6:16 9:11           96:21 97:3 103:24              272:9, 19 282:9
  192:6, 15 193:20               24:18 33:13, 18, 18,       104:15, 19, 21 105:15          288:24 309:19 312:3,
  194:17, 19 195:4              21 55:5 56:20 57:5          106:19 107:3, 21              7 315:5 326:24
  196:7 199:6, 24                67:11 77:2, 21 80:6        109:1, 15 113:9                327:9 335:10, 24
  200:14 212:21                  83:16 90:18 94:11          114:1, 20 117:13               336:2, 4, 6, 12, 14
  221:21, 25 227:3               96:10 98:18 99:7, 20       118:14 119:18                 we're 333:12, 13
  239:16 251:8 254:20,           100:17 101:9, 25           121:13, 22, 25 122:13         Westrop 127:21
 22 255:12 259:21, 25            103:20 106:15 115:9        124:3 125:13 133:4            Whatsapp 213:18
  260:11 261:3, 4, 10            129:6 136:7 146:7          135:25 140:9, 23               215:2
  264:4 268:23 270:13            153:3 154:6, 7 155:3,      141:6 147:13 151:15           WHEREOF 343:15
  283:8, 15 287:3               21 158:10 162:15            152:1 153:4 154:5             white 103:5 163:14
  291:13 295:1 297:1,            163:23 167:13 178:5        155:13 157:12, 25             wide 10:23
 3, 4, 4, 6, 25 298:3            180:21 182:7 183:5         159:1, 12 160:14              wife 7:23 38:18
  301:20 315:16                  191:20 192:3 208:2         163:18, 21, 23 164:23          42:1 43:11 47:17
  316:25 317:1, 11, 24           214:10 215:17 231:7        167:17 168:10                  53:6 55:1 97:18, 24
  318:18 321:21                  258:8 261:20 273:5         169:16, 20 175:9, 12,          98:12, 17, 22, 25 99:6,
  329:21, 24 332:1               278:24 279:3 283:16       20 177:11 179:5                17, 20 137:3 172:12
  334:12, 21 335:14              289:17, 19 290:24, 24      182:16 183:15 185:1,           206:14 254:4, 5
  339:5                          305:2, 4, 13 317:8        24 186:1, 18, 24                288:6 304:8, 11, 14
 wanted 41:2 86:1                321:17 330:12              187:16 189:9 190:23            306:13 307:22
  105:6 123:8 137:3             ways 29:19                  196:21 197:5, 20               308:18 309:24 310:1,
  141:19 142:7, 10              wearing 9:21 253:15,        198:11 201:15 204:8           3 316:6
  144:9 164:17 166:1,           16                          205:4, 19 207:8, 11
                                             Everest Court Reporting LLC                                        Page: 127
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 129 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 WILLIAM 2:12                   word 46:18, 19 62:2        workload 82:22                  322:21
  269:19                         118:17 119:4, 7            83:16, 17 167:4
 willing 316:19                  241:10 301:10              199:8 200:8                   <Y>
 window 216:8 254:19            wording 259:7              workplace 101:21               Yeah 6:5 11:23 12:3,
 Winfield 251:7                 words 77:23 101:19          194:13                        9, 15, 16, 21, 22, 25
 wings 41:18                     115:7 148:10 177:22       works 310:17 338:7,             18:19, 23 21:17 25:4,
 wipes 243:7                     186:1 276:24 327:8        11                             14 30:25 34:3 35:13
 wisdom 327:8                   work 8:18, 20 19:3, 5      workshop 156:10                 36:15 37:8, 12 38:1,
 wish 122:13                     20:13 21:8 24:22          worldwide 240:21               5, 11 39:15 43:22
 witness 3:19, 21                32:17 38:16, 23 39:9      worried 42:1 66:5               44:2, 4 53:21 55:25
  29:17 34:17 59:18              42:2 48:16, 19 58:17       80:12, 16 114:21, 22           56:2, 2, 9 59:7 68:14
  67:22 69:3, 5, 7, 7            77:2 78:13 83:25           143:12 175:5 177:2             82:5 96:19 98:14
  72:25 75:2 89:5, 16            84:2 106:15 107:9          224:18 234:6 327:24            103:16 111:2, 4, 9, 13
  100:5 138:22 144:17            111:23 143:22             worry 116:14 119:2              113:23 119:17
  181:8 195:1, 2, 12, 16,        159:15 161:12 163:8        123:21 124:4, 14               122:24 124:9, 24
 19, 24 209:23 212:12            168:9 169:22 173:4         125:16 142:21 153:5,           127:4, 17 128:7, 12
  274:12, 15, 17 276:23          176:22 178:8 183:8,       6 163:6 340:1                   129:24 130:15, 19
  277:4 279:7, 14, 23           19 188:17 194:6            worse 206:15                    131:7 132:2, 7 133:1
  280:4 281:24 282:3             199:24 200:7 206:1,       worst 325:11                    134:4, 4, 8, 10, 13, 25
  283:18 285:17                 18 217:1, 10 235:24        worthless 231:21                135:12, 14, 15, 18, 22,
  292:24 298:19 299:1            236:7 240:6, 19, 23       wow 138:7                      25, 25 136:13, 17
  302:25 323:22                  247:21 248:1 268:25       wrapped 310:9                   137:19, 19 138:15
  327:25 332:12 333:6            272:21 291:15 297:6       wreck 188:13                    141:9, 12 142:2
  341:4 343:15                   306:1, 7, 10, 17          write 30:11 87:7                145:4, 12, 13, 22
 witnessed 33:23                 307:16 308:15              88:18 190:19 208:1,            146:1, 6, 10, 13 150:7
 witnesses 280:24                309:18 310:22             5, 5 221:25 233:11              156:13, 14 157:12
 woke 136:17 138:4, 4,           321:19, 21 327:14          256:12 295:15 307:4            159:20 161:1 162:15
 5, 7 184:17                     330:11 331:21              321:16 322:19                  164:9 165:24 166:19
 wolf 319:6, 7, 8, 8             333:15 337:9, 15, 18      writer 220:1                    167:19 171:6, 6, 7
 Wolson 35:11 69:16              338:13                    writing 9:17 26:10              180:1, 2 182:18, 18,
 woman 28:1 55:17               worked 8:14 20:16           28:13 79:21 80:7              18 184:18 185:14, 14
  88:8, 16, 25 96:2              21:7 22:1, 3 31:11         81:11, 17, 20 96:18            186:1, 8 187:13
  292:5 295:2                    58:22 127:22 145:8         116:9 131:2 208:15             188:9 189:18 191:5
 women 84:10 97:25               149:5 152:15 155:6,        284:6 298:5 301:15             192:24 193:24, 24
  99:9 102:14 108:13            16 156:7 217:6              333:16                         200:16 202:5, 10
  152:2 159:2, 23                229:19 231:19             written 33:20 37:10             204:5, 8 207:12
  160:5 179:4 204:20,            255:19 282:9 294:21        107:6 108:17 115:14            212:21 214:3, 22, 23
 22 205:21, 22 206:7,            327:8 333:3                116:7 247:4 248:24             215:10 217:18 218:1
 12, 20, 24 269:8               worker 188:2                250:4 294:24 296:8,            222:14 224:4 225:4
  272:2 273:9 287:11            working 8:1 13:13          9 322:9 323:13                  226:19 227:22
  289:17, 18 293:15              20:12, 17 21:14, 16,       324:20                         228:12 229:11, 14, 23
  294:2 296:2, 5, 15            18, 22 26:11 66:18         wrong 78:15 81:8                230:12, 14, 20 231:12
  298:11, 15 300:3               158:8, 17, 20 159:4        116:15, 17 162:1               234:2, 21 235:19
  322:13 324:9 326:8             167:3, 5 173:11            167:18 184:8 193:4             236:19 238:1, 19
  330:9                          198:10, 25 228:7           208:6, 12 251:13               242:20, 21 244:3, 8,
 women's 37:23                   274:4, 8 275:2             271:11 287:14                 23 245:13, 13 248:10
  100:18 101:9 299:10            297:24 331:6 336:9        wrote 78:16 169:18              252:2, 9 255:2
 won 128:19, 19                  338:21                     208:12 273:3 296:3             257:17 260:14 261:5,
  324:12                                                    304:19 316:15                 6 262:24 265:15
 wondering 115:1                                                                           267:12 268:18 269:6
                                             Everest Court Reporting LLC                                        Page: 128
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 130 of 145
Deposition of Matthew Bennett                                        Lisa Barbounis v. Middle Eastern Forum, et. al.

  278:12, 20 284:2, 21,
 24 288:23 290:5
  293:3, 13 295:13
  296:13 305:11, 16
  306:3, 11, 15, 23, 25
  308:13 314:6 316:16
  317:11 320:9 328:5,
 14, 19, 20 332:3, 18,
 19, 21 336:2 339:6, 23
 year 7:22 13:9 25:6
  42:22 75:15 126:3, 4
  142:1, 4 153:20
  183:14 261:1 325:11
 yearly 125:25
 years 11:25 12:4
  19:7 159:19, 21
  162:23 216:15
  248:23 274:1 285:6
  333:3
 yelled 206:16
 yelling 103:9
 yellow 76:22 106:7,
 10 107:5, 11 108:1, 2,
 6 109:24 114:10
 Yep 5:19 100:13
  124:13 126:1, 9
  130:5 134:6 171:10
  194:7, 7 208:24
  242:20 245:24
  257:14, 19, 19 292:2, 2
 yesterday 221:5
  222:18
 Yo 51:6
 York 7:17, 17, 20 8:1,
 3 19:22 43:10
 you, 288:25
 young 9:16 143:2
 YouTube 187:2

 <Z>
 Zapiers 262:4, 6, 7
 Z-A-P-I-E-R-S 262:7
 Zero 97:10 312:4
 Zionist 8:9
 zip 7:17
 ZOA 167:6 183:9
  191:16, 16, 17 243:2
  321:21
 Zoom 5:11, 12
 zooming 116:9
                                       Everest Court Reporting LLC                                        Page: 129
                                215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 131 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  WORD LIST                     <3>                        9 (1)                          adjourned (1)
                                3 (11)                     90 (1)                         administrative (3)
 <1>                            3:00 (1)                   9th (1)                        adopting (1)
 1 (4)                          30 (1)                                                    adult (2)
 1:35 (1)                       33 (6)                     <A>                            advance (1)
 10 (4)                         343 (1)                    a.m (3)                        advances (1)
 10:40 (1)                      355 (1)                    AA (1)                         advantage (1)
 10th (1)                       365 (1)                    abetted (1)                    advice (2)
 11 (3)                         37C (1)                    abetting (1)                   affair (2)
 11:11 (2)                      3rd (1)                    ability (13)                   affairs (2)
 11:15 (3)                                                 able (23)                      affect (1)
 12 (1)                         <4>                        above-captioned (1)            afraid (5)
 129 (1)                        4 (3)                      abroad (1)                     aftermath (1)
 13th (1)                       40 (2)                     absence (2)                    after-party (1)
 15 (3)                         47th (1)                   Absolutely (2)                 after-the-fact (1)
 16 (2)                         4th (31)                   absurd (2)                     again, (1)
 1650 (1)                                                  abuse (1)                      age (5)
 16th (5)                       <5>                        abused (7)                     ages (1)
 17 (1)                         5 (1)                      abuser (1)                     aggressive (2)
 17th (1)                       501 (3)                    abusive (4)                    aggressively (1)
 18 (6)                         515 (1)                    academic (1)                   aggressor (1)
 1835 (2)                       55-year-old (1)            accepted (2)                   ago (10)
 18th (1)                       5th (32)                   access (10)                    agree (6)
 19 (3)                                                    accommodations (3)             agreed (4)
 19103 (3)                      <6>                        accomplish (1)                 agreement (13)
 1st (2)                        6 (1)                      accomplishment (1)             agreements (3)
                                6:00 (1)                   accord (1)                     Ah (1)
 <2>                            60 (1)                     account (21)                   ahead (22)
 2 (3)                          6000 (1)                   accounts (10)                  aided (1)
 2:00 (1)                       6002 (2)                   accurate (5)                   aiding (1)
 2:15 (2)                       60-page (2)                accusations (5)                aim (1)
 2:19-cv-05030 (2)              64 (1)                     accuse (2)                     aiming (3)
 20 (5)                         65 (1)                     accused (2)                    AIPAC (39)
 2000 (1)                       6th (3)                    accusing (6)                   air (1)
 2015 (6)                                                  achieve (1)                    Airbnb (14)
 2016 (2)                       <7>                        act (2)                        Airbnbs (1)
 2017 (2)                       7 (1)                      acted (3)                      airing (1)
 2018 (71)                      7:39 (1)                   acting (14)                    airline (1)
 2019 (13)                      70-page (1)                Action (11)                    aisle (1)
 2020 (4)                       7th (1)                    actions (2)                    Akeem (3)
 215.391.4790 (1)                                          activities (1)                 al (2)
 215.569.1999 (1)               <8>                        activity (2)                   alarm (2)
 215.665.5547 (1)               8 (1)                      actual (3)                     alarming (2)
 236 (1)                        8:36 (1)                   add (3)                        all-around (1)
 26 (2)                         80 (1)                     added (2)                      allegation (6)
 2800 (1)                       82 (1)                     adding (1)                     allegations (48)
 2950 (1)                       8th (1)                    address (12)                   allege (1)
 2nd (5)                                                   addresses (2)                  alleged (15)
                                <9>                        adds (1)                       allegiant (1)


                                             Everest Court Reporting LLC                                          Page: 1
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 132 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 alleging (5)                   area (2)                   audio (1)                      beers (2)
 allow (2)                      areas (1)                  audit (16)                     began (16)
 allowed (7)                    arguably (2)               August (1)                     beginning (14)
 allowing (1)                   argue (2)                  Australia (1)                  begins (1)
 alright (3)                    arguing (2)                authoritative (1)              begun (1)
 alternative (1)                argument (1)               authority (1)                  behavior (4)
 amazing (1)                    argumentative (19)         authorized (1)                 believe (173)
 America (1)                    arguments (1)              avoid (1)                      believed (27)
 American (1)                   arm (2)                    aware (24)                     believing (1)
 amount (2)                     arms (2)                   awareness (1)                  belittled (1)
 ample (1)                      arrangement (2)            awhile (2)                     beneath (2)
 analysis (1)                   article (4)                                               benefited (1)
 anger (2)                      Asana (4)                  <B>                            BENNETT (20)
 angry (3)                      ashamed (2)                baby (8)                       B-E-N-N-E-T-T (1)
 ANN (2)                        Aside (1)                  babysat (2)                    Bennett.MEF@gmail.c
 announce (1)                   asked (91)                 baby-sat (1)                   om (1)
 announced (1)                  asking (35)                back (90)                      Bennett@MEF (1)
 annoying (1)                   asks (2)                   backed (5)                     Bennett@MEForum.or
 annual (2)                     aspects (1)                background (2)                 g (1)
 answer (76)                    ass (2)                    backing (1)                    BENSON (2)
 answered (17)                  assault (1)                backs (1)                      bent (1)
 answering (1)                  assaulted (2)              back-up (2)                    best (22)
 answers (2)                    asserted (1)               Backupify (1)                  bet (1)
 anybody (35)                   asserting (2)              back-ups (1)                   betrayed (2)
 anybody's (1)                  assigned (1)               bad (5)                        Better (13)
 anymore (5)                    assigning (1)              badgering (4)                  beyond (1)
 anyway (4)                     assignment (2)             baited (1)                     Biden (1)
 apart (3)                      assignments (1)            bandwagon (1)                  bids (1)
 Apartment (6)                  assistant (5)              bang (1)                       big (20)
 app (3)                        assisted (1)               banging (3)                    bigger (1)
 apparently (9)                 assisting (2)              banished (1)                   biggest (3)
 appear (2)                     associate (2)              bank (1)                       Bill (1)
 APPEARANCES (1)                associated (1)             banning (1)                    binary (1)
 appearing (1)                  ASSOCIATES (1)             bar (5)                        birth (4)
 appears (2)                    assume (2)                 BARBOUNIS (25)                 birthday (9)
 application (1)                Assumes (4)                barking (1)                    bit (3)
 applications (1)               assuming (1)               bars (1)                       blabbering (1)
 applied (2)                    assumption (1)             based (11)                     black (2)
 applies (1)                    Atlantic (1)               basically (9)                  blah (3)
 apply (1)                      attacked (1)               basis (5)                      blaming (2)
 applying (1)                   attend (7)                 basted (1)                     bleeding (1)
 appreciated (2)                attendance (1)             Bates (1)                      blew (3)
 appreciation (1)               attended (6)               bathroom (6)                   blink (1)
 approached (2)                 attending (1)              beans (1)                      bliss (1)
 appropriate (14)               attention (4)              beanstalk (1)                  block (1)
 approximately (1)              attorney (1)               beat (1)                       blocking (1)
 apps (4)                       attribute (1)              bed (3)                        blow (4)
 April (9)                      at-will (2)                bedroom (3)                    blue (4)
 Arch (3)                       audience (1)               bedrooms (2)                   Bluntly (1)


                                             Everest Court Reporting LLC                                          Page: 2
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 133 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 board (24)                     buy (6)                    CERTIFICATE (2)                coin (1)
 boiling (1)                                               certify (1)                    collaborate (1)
 bomb (2)                       <C>                        chair (1)                      colleague (1)
 bonuses (1)                    cabinet (1)                challenge (1)                  colleagues (2)
 book (3)                       cafeteria (4)              chance (1)                     college (2)
 booked (4)                     calculate (3)              change (5)                     come (32)
 booking (1)                    calendar (5)               changed (5)                    comes (2)
 boom (3)                       California (3)             changes (1)                    comfortable (1)
 boost (1)                      call (54)                  chaos (1)                      coming (10)
 booth (1)                      called (35)                characterizing (1)             command (1)
 born (2)                       calling (10)               cheated (1)                    comment (5)
 boss (10)                      calls (6)                  check (3)                      commentary (1)
 Boston (1)                     calm (2)                   checked (4)                    comments (5)
 botched (1)                    campaign (4)               chess (1)                      Committee (1)
 bother (5)                     campaigns (1)              chessboard (1)                 common (6)
 bothered (2)                   campus (4)                 Chester (1)                    Commonwealth (1)
 bothering (1)                  cancer (1)                 Chicago (2)                    communicate (1)
 bothersome (1)                 capable (2)                chief (3)                      communicating (2)
 bottom (5)                     capacity (2)               child (7)                      communication (6)
 bought (1)                     Cape (1)                   childhood (1)                  communications (1)
 bounds (2)                     car (1)                    choice (3)                     Community (3)
 Brady (5)                      card (3)                   choices (1)                    company (8)
 brain (1)                      care (10)                  choose (1)                     company's (1)
 breach (3)                     cared (2)                  circles (1)                    comparative (1)
 break (16)                     career (9)                 city (5)                       compelled (1)
 breaking (2)                   careful (2)                Civil (2)                      competency (2)
 breakout (1)                   carefully (1)              claim (2)                      competent (1)
 breaks (1)                     cares (1)                  claimed (4)                    competing (1)
 breath (1)                     caretaker (2)              claiming (2)                   complain (2)
 bridge (3)                     carried (1)                claims (1)                     complained (2)
 brief (1)                      carry (5)                  class (1)                      complaining (2)
 briefed (1)                    CARSON (168)               classifies (1)                 complains (1)
 bring (6)                      Case (43)                  clean (1)                      complaint (42)
 bringing (2)                   cases (2)                  clear (9)                      complaints (10)
 broke (3)                      cast (2)                   cleared (1)                    complete (1)
 brother (2)                    casting (1)                clicking (1)                   completely (9)
 brought (15)                   casual (3)                 client (4)                     complicated (1)
 Bruce (1)                      casually (1)               clients (4)                    complicit (3)
 buddy (1)                      catch (1)                  Cliff (3)                      component (3)
 buffer (1)                     Catriona (38)              cloak (2)                      components (1)
 build (3)                      Catriona@gmail (1)         close (9)                      compound (3)
 building (1)                   Catriona's (1)             closed (1)                     compounded (1)
 bulldozing (1)                 cause (1)                  closer (1)                     compromise (1)
 bullshit (1)                   caused (4)                 cloud (3)                      computer (3)
 Bumble (1)                     celebrated (1)             cocktails (2)                  conceive (2)
 bunch (2)                      celebrating (2)            code (1)                       concern (12)
 bundled (5)                    Center (3)                 coherent (1)                   concerned (18)
 bus (1)                        certain (11)               cohesive (1)                   concerning (3)
 business (12)                  certainly (5)              cohesiveness (1)               concerns (14)


                                             Everest Court Reporting LLC                                          Page: 3
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 134 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 concise (2)                    conversation (27)          cuts (1)                       defended (2)
 conclude (2)                   conversations (15)                                        defending (2)
 concluded (1)                  Cool (1)                   <D>                            defense (1)
 conclusion (8)                 Coordinate (1)             D.C (9)                        Define (1)
 concocted (1)                  coordinating (2)           D6004 (1)                      defined (1)
 condense (1)                   coordinator (1)            dad (2)                        definitely (17)
 conduct (6)                    cope (1)                   dagger (2)                     definition (1)
 conducted (1)                  copied (1)                 daily (4)                      defrauded (1)
 conference (23)                copy (6)                   damage (1)                     degree (2)
 conferences (1)                Cornerstone (3)            Dan (1)                        Delaney (10)
 confided (4)                   correct (85)               dance (2)                      Delany (1)
 confidence (1)                 correctly (2)              dancing (2)                    delete (2)
 confident (1)                  correspondence (2)         danger (1)                     deleted (3)
 confidential (2)               corresponding (2)          DANIEL (124)                   deliberate (2)
 confirm (1)                    cost (1)                   Daniel's (2)                   delinquent (1)
 confirmed (1)                  couch (22)                 data (13)                      delivered (5)
 confronted (5)                 counsel (8)                database (11)                  demand (1)
 confused (2)                   count (1)                  databases (2)                  demanding (2)
 confusing (1)                  Counties (1)               dataset (2)                    demise (1)
 Congratulations (1)            country (2)                date (30)                      demonstrate (1)
 connect (1)                    County (1)                 dated (4)                      demonstrated (8)
 connected (2)                  couple (13)                dates (4)                      denials (1)
 connection (1)                 course (10)                dating (6)                     denied (7)
 connector (3)                  Court (62)                 daughter (8)                   denies (1)
 connectors (1)                 courtroom (1)              daughter's (1)                 deny (5)
 consenting (2)                 cover (4)                  Dave (22)                      denying (1)
 consequence (1)                COVID (1)                  DAVID (2)                      dep (1)
 consideration (3)              COZEN (2)                  day (70)                       department (3)
 considerations (2)             crappy (1)                 days (15)                      departments (1)
 considered (5)                 crazy (6)                  Day-to-day (3)                 departure (1)
 considering (2)                create (4)                 dead (2)                       depended (1)
 constantly (2)                 created (1)                deal (9)                       depending (2)
 contact (8)                    creating (1)               dealing (2)                    depends (4)
 contacted (1)                  credibility (1)            death (3)                      depiction (1)
 contacting (2)                 credible (3)               debate (1)                     deploy (1)
 contacts (5)                   credit (5)                 decapitated (1)                Deponent (2)
 Contactually (12)              cross (1)                  December (7)                   Deposition (13)
 Contactually, (1)              crossing (1)               decide (2)                     DEREK (1)
 content (7)                    crumbling (1)              decided (4)                    describe (2)
 context (10)                   crush (1)                  decisions (1)                  describing (1)
 Continental (2)                crushed (3)                deck (1)                       description (5)
 continue (7)                   cry (2)                    decree (1)                     desired (2)
 continued (1)                  crying (2)                 dedicated (1)                  desk (8)
 continuing (2)                 Cuba (3)                   deem (1)                       destroy (2)
 contracts (1)                  current (2)                deep (1)                       destroying (2)
 contributions (2)              currently (1)              deeply (2)                     details (19)
 contributors (2)               cursive (1)                defend (3)                     deteriorating (1)
 control (9)                    custodian (2)              defendant (8)                  determine (1)
 controls (3)                   cut (4)                    Defendants (4)                 Developing (2)


                                             Everest Court Reporting LLC                                          Page: 4
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 135 of 145
Deposition of Matthew Bennett                                             Lisa Barbounis v. Middle Eastern Forum, et. al.

 development (22)               distributed (1)            (1)                           enjoying (1)
 device (5)                     distribution (1)                                         ensure (1)
 devices (1)                    DISTRICT (4)              <E>                            entails (1)
 dick (7)                       disturbed (3)             eager (1)                      enter (2)
 dicks (1)                      division (1)              Eagles (1)                     entertained (1)
 difference (2)                 doc (5)                   earlier (5)                    entire (12)
 differences (1)                docketed (1)              early (3)                      environment (3)
 different (29)                 Docs (6)                  earn (3)                       escorted (1)
 differently (2)                doctor (1)                easier (5)                     Especially (3)
 difficult (2)                  document (31)             easily (1)                     ESQ (5)
 difficulty (1)                 documents (11)            East (57)                      estimating (1)
 dig (1)                        dog (2)                   EASTERN (5)                    estimation (1)
 digest (1)                     doing (34)                eaten (1)                      et (2)
 digital (1)                    dollars (10)              eating (1)                     ETA (1)
 dinner (3)                     domestic (1)              education (1)                  etcetera (22)
 dinners (1)                    domestically (1)          effect (1)                     ethic (1)
 direct (17)                    done, (1)                 efficiency (1)                 Europe (3)
 directed (1)                   donor (6)                 eight (1)                      evening (3)
 directing (1)                  donors (7)                either (26)                    event (7)
 directive (1)                  door (5)                  EJ (2)                         events (10)
 directly (8)                   doors (3)                 Eleanor (13)                   eventual (1)
 director (50)                  dope (1)                  electromagnetic (1)            eventually (1)
 directors (3)                  dork (18)                 electronic (3)                 Everest (3)
 director's (4)                 dork, (1)                 else's (2)                     everybody (66)
 directs (1)                    double (2)                e-mail (39)                    everybody's (7)
 disagree (1)                   doubt (3)                 e-mailed (2)                   everyone's (1)
 disalarmed (1)                 download (1)              e-mailing (1)                  evidence (10)
 disappeared (1)                downstairs (4)            e-mails (15)                   evil (3)
 disappointed (9)               downstairs, (1)           Eman (8)                       exact (5)
 disappointment (6)             downtime (1)              embarrass (1)                  exactly (18)
 disarray (1)                   dozens (2)                embarrassed (1)                exaggerated (2)
 disbelieve (1)                 Dpipes@gmail (1)          emergency (1)                  exaggerating (3)
 disconnect (1)                 Dr (3)                    emotional (12)                 EXAMINATION (5)
 discovery (2)                  draft (1)                 emotionally (7)                examined (1)
 discriminated (5)              drama (4)                 emotions (1)                   example (2)
 discrimination (4)             dramatically (1)          employed (7)                   exception (1)
 discuss (6)                    drink (3)                 employee (21)                  exchanged (2)
 discussed (1)                  drinking (9)              employees (6)                  exchanges (1)
 Discussion (12)                drive (1)                 employee's (1)                 excited (1)
 discussions (1)                drop (2)                  employer (1)                   exciting (1)
 disease (1)                    dropped (1)               employment (32)                Excuse (11)
 dislike (1)                    drowning (1)              encounter (3)                  execute (3)
 dismiss (1)                    due (2)                   ended (9)                      executive (1)
 dismissed (3)                  duly (1)                  ends (1)                       ex-employee (1)
 dissidents (1)                 dumb (1)                  enemy (2)                      exhibit (14)
 distill (1)                    dumbed-down (1)           engage (1)                     exhibits (4)
 distinction (1)                duration (1)              engagement (1)                 exists (4)
 distinctions (1)               duties (1)                engages (1)                    expect (2)
 distress (1)                   dwalton@cozen.com         English (1)                    expected (2)


                                            Everest Court Reporting LLC                                          Page: 5
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 136 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 expense (2)                    fearful (1)                focused (3)                    gain (2)
 expenses (1)                   February (7)               follow (2)                     Gambill (1)
 experience (2)                 Federation (10)            followed (2)                   game (5)
 experienced (1)                Federations (1)            following (10)                 gap (2)
 expert (4)                     feel (25)                  follows (1)                    Gary (2)
 explain (5)                    feeling (1)                followup (1)                   gather (1)
 explained (2)                  feelings (3)               follow-up (2)                  gathered (3)
 Explicitly (1)                 feels (1)                  food (3)                       gathering (1)
 exploded (1)                   fell (3)                   foot (6)                       gauge (1)
 exploding (1)                  fellows (4)                football (1)                   gay (1)
 explosive (1)                  felt (25)                  force (1)                      general (4)
 express (5)                    female (10)                forced (2)                     generally (1)
 expressed (9)                  field (1)                  foregoing (1)                  generic (1)
 expressing (2)                 fifty (1)                  foreign (1)                    genetic (1)
 expression (1)                 fight (1)                  forever (3)                    genocide (1)
 extent (3)                     figure (3)                 forget (2)                     geo (1)
 external (1)                   file (4)                   form (30)                      geographic (1)
 extra (3)                      filed (9)                  formal (1)                     getting (8)
 extraction (1)                 files (1)                  format (1)                     giant (1)
 extremely (2)                  filled (1)                 forth (2)                      gifted (2)
 eye (7)                        filling (1)                FORUM (52)                     girl (2)
 eyes (1)                       filter (1)                 Forum's (2)                    girls (1)
                                final (7)                  forward (7)                    gist (1)
 <F>                            finally (5)                found (9)                      give (30)
 face (6)                       financial (1)              foundation (2)                 given (10)
 Facebook (4)                   financially (1)            France (1)                     gives (1)
 faced (4)                      find (13)                  Francisco (1)                  giving (6)
 facilitate (2)                 finding (1)                Frank (5)                      glad (3)
 fact (19)                      fine (34)                  Frankly (2)                    gmail (24)
 facts (8)                      finger (2)                 fraud (2)                      gmail, (1)
 failed (1)                     finish (14)                free (1)                       gmail.com (2)
 failures (1)                   finished (5)               Friday (1)                     go (121)
 fair (11)                      Fink (2)                   friend (13)                    go-ahead (2)
 fairly (1)                     fire (1)                   friends (23)                   goal (2)
 faith (1)                      fired (7)                  friendship (2)                 go-between (1)
 Falafel (1)                    first (66)                 friendships (1)                God (5)
 fall (4)                       firsthand (1)              front (16)                     goes (4)
 falling (3)                    fit (1)                    fuck (1)                       going (177)
 false (2)                      five (12)                  fucking (1)                    GOLD (69)
 fame (1)                       five-minute (1)            full (5)                       Goldie's (1)
 familiar (1)                   flag (2)                   full-time (12)                 Good (30)
 family (6)                     flee (1)                   fun (1)                        goodbye (2)
 far (13)                       flights (4)                fund (8)                       Goodrobb (1)
 fast (2)                       flipped (2)                funds (1)                      Google (42)
 faster (1)                     floor (3)                  funny (4)                      gossip (1)
 fate (2)                       Florida (1)                further (1)                    got-cha (1)
 fault (2)                      flows (1)                  future (6)                     gotten (1)
 favor (2)                      fluent (1)                                                governance (1)
 fear (5)                       fly (1)                    <G>                            governors (16)


                                             Everest Court Reporting LLC                                          Page: 6
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 137 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 graduated (2)                  harasser (1)               homeowner (1)                  implies (1)
 graduation (1)                 harasser's (1)             honest (7)                     imply (1)
 granted (1)                    harassing (5)              honesty (1)                    implying (2)
 grantees (2)                   harassment (51)            hope (1)                       importance (1)
 graphic (1)                    hard (8)                   hoping (1)                     important (5)
 graphically (1)                harder (1)                 hopping (1)                    impossible (1)
 grata (1)                      hash (1)                   horn (1)                       improve (2)
 great (3)                      hated (1)                  horrible (7)                   inability (1)
 greatest (1)                   hating (1)                 horrific (1)                   inappropriate (18)
 GREGG (312)                    hats (1)                   horse (3)                      inappropriately (4)
 Gregg's (16)                   head (5)                   hosted (1)                     incident (2)
 grievances (1)                 headphones (1)             hotel (16)                     include (2)
 gripe (1)                      heads-up (1)               hotels (1)                     included (4)
 gripes (5)                     health (1)                 hour (7)                       includes (1)
 Groman@gmail (1)               hear (28)                  hours (13)                     including (2)
 ground (1)                     heard (18)                 house (11)                     inclusive (1)
 GROUP (9)                      hearing (4)                housed (2)                     income (1)
 guess (67)                     hears (1)                  HR (3)                         incompetency (3)
 guessed (1)                    heart (1)                  Huh (1)                        incompetent (2)
 guessing (4)                   heavier (1)                human (1)                      Incorrect (4)
 guidelines (1)                 heaviest (1)               hundreds (3)                   incorrectly (1)
 guilty (2)                     heavy (2)                  hung (4)                       increase (1)
 guy (11)                       Hebrew (1)                 hurt (7)                       increased (4)
 guys (35)                      held (9)                   hurtful (1)                    independent (2)
                                hell (1)                   hurting (1)                    indicated (1)
 <H>                            Hello (2)                  husband (5)                    indicating (1)
 hack (1)                       help (11)                  Hyatt (1)                      individual (1)
 hacked (3)                     helpful (3)                hypothetical (4)               individuals (1)
 hacks (1)                      helping (1)                hypotheticals (2)              infinite (1)
 half (2)                       hereunto (1)                                              influence (5)
 Halloween (2)                  hesitant (1)               <I>                            inform (2)
 hand (5)                       hey (16)                   idea (11)                      information (25)
 handbook (1)                   Hi (1)                     ideas (2)                      informed (3)
 handed (2)                     hide (3)                   identification (1)             infrastructure (2)
 handle (1)                     hierarchy (1)              identify (2)                   ingrained (1)
 handled (4)                    high (2)                   idiot (3)                      in-house (1)
 handling (1)                   higher (5)                 ignored (1)                    initial (1)
 hands (4)                      high-level (2)             ignoring (1)                   initially (2)
 hang (3)                       highlighted (2)            IHG (1)                        initiative (1)
 hanging (2)                    highly (3)                 illegitimate (1)               initiatives (1)
 happen (25)                    hints (1)                  illogically (1)                inject (1)
 happen, (2)                    hire (6)                   imagine (5)                    inner-workings (1)
 happened (76)                  hired (15)                 imagining (1)                  in-person (1)
 happened, (1)                  hit (5)                    immediately (2)                insecure (1)
 happening (6)                  hold (15)                  impacted (2)                   inside (5)
 happenings (2)                 holding (1)                imparted (1)                   insinuate (1)
 happy (21)                     holds (1)                  implement (3)                  insinuating (2)
 harass (6)                     holiday (3)                implication (5)                instance (3)
 harassed (18)                  home (8)                   implications (1)               instinct (2)


                                             Everest Court Reporting LLC                                          Page: 7
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 138 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 instruct (2)                                              knowing (6)                    level (6)
 instructed (2)                 <J>                        knowledge (26)                 leveled (1)
 instructing (1)                janitor (1)                known (5)                      levels (1)
 instruction (1)                January (12)               knows (2)                      leverage (1)
 intellectual (2)               Jason (1)                                                 liaison (1)
 intend (1)                     JCPA (1)                   <L>                            liar (1)
 intent (1)                     JCRC (2)                   lacks (1)                      Liberty (1)
 interacting (3)                JENNIFER (3)               Lane (1)                       Libre (3)
 interaction (1)                jeopardize (1)             language (1)                   licensed (1)
 interactions (5)               jeopardized (1)            lap (3)                        lie (4)
 interest (7)                   jeopardy (2)               Lara (16)                      lied (2)
 interested (2)                 jerk-off (1)               Lara's (4)                     lies (8)
 interests (3)                  Jersey (2)                 large (1)                      life (38)
 interject (1)                  Jewish (12)                late (2)                       lifted (3)
 intern (10)                    Jihadist (1)               laugh (2)                      light (1)
 interned (1)                   JNS (1)                    laughing (2)                   liked (2)
 internship (10)                job (42)                   launched (1)                   limit (6)
 interrupt (13)                 jobs (8)                   Laura (11)                     limited (2)
 interrupted (2)                Joe (1)                    Laura's (1)                    line (13)
 interrupting (3)               join (1)                   LAW (7)                        lines (1)
 interview (6)                  joke (1)                   lawsuit (7)                    link (1)
 interviewed (6)                judge (8)                  lawsuits (3)                   linked (2)
 intimate (6)                   judicial (1)               lawyer (6)                     LISA (142)
 intimidated (1)                Judy (1)                   lawyers (6)                    LisaBarbounis@gmail
 intimidating (1)               July (3)                   lay (1)                         (1)
 introduced (5)                 jump (2)                   lead (2)                       Lisa's (14)
 intuitive (1)                  jumping (1)                leader (5)                     list (20)
 investigate (1)                June (8)                   leadership (2)                 listed (5)
 investigation (6)              jury (1)                   leadership-type (1)            Listen (4)
 investigations (1)             juvenile (1)               leading (1)                    listening (2)
 invitation-only (1)                                       leads (5)                      listing (1)
 invitations (1)                <K>                        Leah (37)                      lists (1)
 invite (4)                     Kassam (5)                 L-E-A-H (1)                    little (8)
 invited (8)                    keel (1)                   Leah's (1)                     live (2)
 inviting (1)                   keep (27)                  learn (5)                      lived (1)
 involved (9)                   keeping (2)                learned (11)                   livelihood (2)
 iPad (3)                       keeps (1)                  learning (2)                   lives (7)
 Iran (3)                       kept (8)                   leave (14)                     living (1)
 irresponsible (1)              Kevlar (1)                 leaving (4)                    lobbing (2)
 ISIS (6)                       key (2)                    Lee (9)                        local (5)
 Islamic (2)                    kid (3)                    Lee's (2)                      locate (1)
 Islamism (1)                   kidnaped (1)               left (50)                      located (1)
 Islamist (1)                   kind (9)                   legal (4)                      location (4)
 Israel (50)                    kinds (2)                  legitimate (1)                 locations (1)
 Israeli (1)                    kitchen (2)                legs (1)                       logical (7)
 issue (5)                      knew (35)                  LEIGH (2)                      logically (1)
 issues (6)                     knife (2)                  letter (31)                    login (2)
 it, (1)                        knock (1)                  letters (1)                    logins (1)
 its (2)                        know (576)                 letting (3)                    logistically (1)


                                             Everest Court Reporting LLC                                          Page: 8
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 139 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 logistics (1)                  manner (2)                 mention (3)                    modicum (1)
 London (3)                     mapping (1)                mentioned (22)                 mom (2)
 long (20)                      Marc (2)                   mentioning (3)                 moment (7)
 longer (15)                    March (20)                 mentions (1)                   moments (1)
 long-winded (1)                Mark (4)                   mentor (1)                     Monday (3)
 look (46)                      marker (1)                 mentored (1)                   money (19)
 looked (6)                     Market (6)                 Mercer (1)                     moneys (2)
 looking (8)                    marketing (3)              mere (3)                       monster (1)
 looks (10)                     Marnie (93)                Merit (2)                      month (5)
 losing (2)                     Marnie, (4)                Merville (19)                  monthly (1)
 lost (8)                       Marnie's (4)               M-E-R-V-I-L-L-E (1)            months (37)
 lot (12)                       marriage (2)               Merville's (1)                 morning (7)
 loud (1)                       Marseille (1)              mess (1)                       mortgage (2)
 love (1)                       master's (1)               message (46)                   mother's (2)
 lower (1)                      match (1)                  messages (28)                  mouth (3)
 lowest (2)                     material (1)               Messing (1)                    Move (15)
 loyal (2)                      M-A-T-P (1)                met (5)                        moved (4)
 lunch (10)                     Matt (65)                  metadata (1)                   movie (3)
 lurch (1)                      MattBennett@gmail          Meyer (9)                      moving (4)
 luring (2)                      (1)                       Meyer's (1)                    multiple (7)
 LUU (2)                        matter (20)                microcosm (1)                  mute (3)
 lying (8)                      matters (1)                microphone (1)                 muted (1)
                                MATTHEW (7)                Microsoft (3)
 <M>                            M-A-T-T-H-E-W (1)          MIDDLE (63)                    <N>
 mad (2)                        M-A-T-T-P-B-E-N-N-E        Midtown (2)                    name (20)
 magazine (4)                   -T-T (1)                   migrated (1)                   named (5)
 magic (1)                      Mattpbennett@gmail.c       migrating (1)                  names (2)
 mail (2)                       om (1)                     migration (2)                  narrative (3)
 Mailchimp (7)                  McNulty (20)               million (2)                    national (2)
 mailed (1)                     McNulty's (2)              millions (9)                   natural (7)
 mailer (1)                     mean (203)                 mind (11)                      nature (8)
 mailing (1)                    meaning (3)                minds (1)                      NDA (21)
 main (4)                       means (5)                  mine (4)                       NDAs (13)
 maintained (1)                 meant (2)                  mini-script (1)                near (2)
 maintaining (1)                measure (1)                minute (4)                     nearby (1)
 major (1)                      media (1)                  minutes (16)                   nearing (1)
 making (14)                    medium (1)                 misconduct (11)                necessarily (2)
 malicious (2)                  meet (4)                   misleading (1)                 need (28)
 man (6)                        meeting (107)              missed (1)                     needed (25)
 manage (1)                     meetings (14)              missing (1)                    needs (7)
 management (2)                 MEF (54)                   mission (3)                    negatively (1)
 manager (6)                    MEFO (1)                   misspelled (2)                 negligent (1)
 managing (6)                   MEForum (1)                Misstates (2)                  neither (2)
 Manalapan (2)                  member (2)                 mistaken (4)                   nervous (2)
 Mandeles (3)                   members (2)                mistakes (1)                   never (78)
 maneuvered (1)                 memo (1)                   mistook (1)                    New (21)
 Manhattan (1)                  memory (1)                 Mm-hmm (1)                     newborn (2)
 manipulated (5)                menial (1)                 mm-hmms (1)                    news (3)
 manipulating (4)               mental (3)                 moderated (1)                  newsletters (1)


                                             Everest Court Reporting LLC                                          Page: 9
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 140 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 nice (1)                       o'clock (2)                outside (1)                    PENNSYLVANIA (8)
 night (13)                     O'CONNER (1)               outstanding (1)                Pentagon (1)
 nightclub (1)                  O'Connor (1)               overall (1)                    people (103)
 nights (4)                     October (7)                oversaw (1)                    people's (5)
 nighttime (1)                  odd (4)                    overseas (2)                   pepper (3)
 nitpicking (1)                 offended (1)               overstepped (2)                percent (4)
 No, (1)                        offer (3)                  overstepping (1)               percentage (1)
 Nods (1)                       offered (1)                                               perception (1)
 nOg (3)                        office (90)                <P>                            perfectly (1)
 noise (1)                      officer (1)                P.C (1)                        performing (1)
 non (2)                        offices (2)                p.m (1)                        permission (3)
 nondisclosure (11)             official (6)               packet (3)                     permitted (5)
 no-no (1)                      officially (1)             page (3)                       person (42)
 nonprofit (1)                  Oh (53)                    pages (2)                      persona (1)
 Nonresponsive (5)              okay (74)                  paid (10)                      personal (42)
 nonsense (2)                   old (9)                    pale (1)                       personally (5)
 nonsensical (1)                on-boarding (1)            Palestinian (2)                personnel (2)
 normal (5)                     once (5)                   pandemic (1)                   Phil (1)
 Notary (2)                     Onchek (1)                 paper (38)                     Philadelphia (11)
 note (5)                       ones (4)                   papers (2)                     Phillip (1)
 noted (2)                      one's (1)                  paperwork (3)                  phone (43)
 notes (3)                      ongoing (4)                parallel (1)                   photo (1)
 notice (1)                     ongoings (1)               Paramount (1)                  phrase (2)
 notified (1)                   online (2)                 paranoid (5)                   physically (5)
 November (91)                  open (1)                   parenting (2)                  pick (2)
 Ns (1)                         opened (1)                 parents (3)                    picture (10)
 nuance (1)                     opening (2)                part (14)                      piece (20)
 nuisance (1)                   opera (1)                  parted (1)                     pillow (2)
 number (17)                    operational (2)            partially (1)                  pink (2)
 numbers (1)                    operationally (1)          participants (1)               PIPES (57)
 numerous (1)                   operations (1)             participate (1)                Pittsburgh (3)
 nut (4)                        opinion (2)                particular (1)                 pizza (1)
 nuts (3)                       opponent (1)               parties (4)                    pizzas (2)
                                opportunity (9)            party (14)                     Place (44)
 <O>                            orchestrate (1)            pass (1)                       places (3)
 oath (2)                       orchestrated (1)           passed (1)                     Plaintiff (4)
 Object (5)                     order (6)                  passing (3)                    plaintiffs (1)
 objecting (1)                  ordered (2)                passwords (2)                  planned (1)
 objection (89)                 Organization (80)          Patel (2)                      plate (1)
 objections (7)                 organizations (4)          Patricia (29)                  platform (3)
 objectives (1)                 organize (4)               Patricia's (2)                 platforms (1)
 O'Brien (1)                    organized (1)              Paul (1)                       play (1)
 obsessed (3)                   organizing (4)             pausing (1)                    played (3)
 obtain (1)                     original (5)               pawn (5)                       player (2)
 obtaining (1)                  originally (2)             pay (7)                        playing (1)
 obvious (4)                    other's (1)                paying (2)                     please (21)
 obviously (26)                 outed (1)                  PDF (1)                        plenaries (1)
 Occasionally (1)               Outlook (6)                peace (2)                      PLLC (1)
 occurred (4)                   output (1)                 penned (1)                     pocket (2)


                                             Everest Court Reporting LLC                                         Page: 10
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 141 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 point (83)                     problematic (1)             pulse (3)                      reason (37)
 points (1)                     problems (2)                purpose (1)                    reasons (7)
 poked (1)                      proceeded (1)               purposes (2)                   recall (36)
 poker (3)                      Proceedings (1)             pursuant (3)                   recalled (1)
 policy (10)                    process (3)                 push (1)                       receipt (1)
 politely (1)                   prodded (1)                 pushed (1)                     receival (1)
 Political (2)                  produce (1)                 pussy (9)                      receive (1)
 politics (2)                   produced (6)                put (46)                       received (12)
 poof (1)                       product (2)                 putting (3)                    receiving (1)
 popped (1)                     production (2)                                             Recess (8)
 portfolio (4)                  productivity (1)            <Q>                            recognize (1)
 portfolios (1)                 products (1)                question (122)                 recollection (3)
 position (21)                  professed (1)               questioned (1)                 recommendation (1)
 positions (2)                  professional (1)            questioning (5)                reconnect (2)
 possible (12)                  professionally (1)          questions (16)                 record (82)
 possibly (5)                   professor (1)               quick (2)                      recorded (2)
 postcard (1)                   professors (1)              quickly (1)                    records (3)
 postcards (2)                  profit (2)                  Quid (5)                       recount (1)
 potential (1)                  progress (1)                quietly (1)                    recounting (1)
 power (2)                      progression (2)             quite (1)                      recovered (1)
 precise (1)                    project (5)                 quo (5)                        redundant (1)
 prefer (4)                     projects (6)                quote (2)                      refer (1)
 preferred (1)                  promise (1)                                                reference (4)
 pregnancy (2)                  Promote (4)                 <R>                            referencing (1)
 pregnant (5)                   promoted (2)                Raheem (8)                     referred (3)
 prepare (1)                    promotion (1)               Raheem's (1)                   referring (16)
 prepared (2)                   promotions (1)              raise (5)                      refused (2)
 presence (1)                   prompt (1)                  raised (6)                     regard (8)
 PRESENT (11)                   prompted (1)                raises (1)                     regarding (5)
 president (7)                  proof (3)                   raising (9)                    Registered (2)
 press (3)                      proofread (1)               rally (1)                      regular (4)
 pretend (4)                    proper (4)                  ran (2)                        rehired (1)
 pretty (14)                    properly (3)                range (1)                      reinstated (1)
 prevent (3)                    proponent (1)               rank (1)                       reiterate (1)
 prevented (2)                  proprietary (9)             ranked (1)                     relate (2)
 preventing (1)                 Prosser (5)                 rattled (1)                    related (11)
 prevents (1)                   protect (8)                 reach (3)                      relates (2)
 previous (2)                   protocols (2)               react (1)                      Relations (4)
 previously (3)                 proud (1)                   read (39)                      relationship (6)
 pride (1)                      prove (3)                   reader (1)                     relationships (2)
 prior (4)                      provide (4)                 reading (10)                   relative (1)
 priority (2)                   provided (1)                reads (1)                      relax (1)
 privacy (2)                    provision (1)               ready (1)                      relay (3)
 private (3)                    Public (4)                  real (2)                       relayed (1)
 privilege (4)                  publications (1)            reality (2)                    release (2)
 privileged (1)                 publish (1)                 realize (4)                    releases (3)
 pro (5)                        pull (2)                    realized (1)                   relegate (1)
 probably (44)                  pulled (1)                  really (28)                    relegated (3)
 problem (21)                   pull-out (1)                realtime (5)                   relevant (2)


                                              Everest Court Reporting LLC                                         Page: 11
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 142 of 145
Deposition of Matthew Bennett                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 relive (1)                     responsibility (5)          running (1)                    seeing (4)
 remain (2)                     responsible (12)            runs (1)                       seek (1)
 remained (3)                   responsive (1)                                             seeking (2)
 remember (179)                 rest (3)                    <S>                            seen (13)
 remembered (4)                 restaurant (1)              safe (4)                       sell (1)
 remembering (1)                restructure (1)             safety (7)                     selling (1)
 remind (1)                     result (1)                  saga (1)                       semester (1)
 remote (1)                     resume (2)                  sake (2)                       send (20)
 remotely (2)                   resumes (1)                 sales (4)                      sending (5)
 remove (2)                     retained (1)                Salesforce (14)                sense (7)
 removed (3)                    retaliation (1)             Sam (2)                        sent (28)
 removing (1)                   retire (1)                  Samantha (4)                   sentence (1)
 renewals (1)                   return (6)                  sample (3)                     serious (5)
 rent (5)                       returned (4)                San (1)                        seriously (2)
 repair (1)                     returning (1)               Sanchez (1)                    server (3)
 Repeat (4)                     returns (1)                 sanctions (2)                  service (1)
 repeatedly (1)                 revoke (1)                  sat (5)                        session (1)
 rephrase (6)                   Rico (1)                    Saturday (6)                   sessions (1)
 replaced (1)                   rid (1)                     save (4)                       set (14)
 report (27)                    riddle (1)                  saved (5)                      SETH (40)
 reported (13)                  ridiculous (8)              savior (1)                     Seth@dereksmithlaw.c
 Reporter (57)                  RIESER (33)                 saw (33)                       om (1)
 Reporting (11)                 Right (163)                 saying (76)                    SethDCarson@gmail
 reports (7)                    riled (1)                   says (21)                       (1)
 represent (7)                  rise (3)                    scapegoat (1)                  setting (1)
 representation (1)             risen (1)                   scared (2)                     settled (2)
 represented (1)                risk (1)                    scenario (3)                   Seven (8)
 representing (2)               risky (1)                   scheduled (1)                  sex (12)
 reputation (2)                 Robinson (7)                scheduling (2)                 sexual (52)
 requires (1)                   rocker (1)                  school (9)                     sexually (24)
 reread (1)                     role (6)                    Schwandt (4)                   SGold@DiscrimLaw.n
 resented (1)                   Rolodex (1)                 Scott (3)                      et (2)
 reside (1)                     ROMAN (95)                  screamed (1)                   Shabbat (1)
 resignation (1)                Roman's (10)                screaming (2)                  share (17)
 resigned (4)                   Romantic (1)                screen (21)                    shared (2)
 resigning (1)                  room (21)                   scroll (7)                     sharing (3)
 resolve (2)                    rooms (8)                   scrolling (2)                  sheet (1)
 resolved (1)                   Rosy (3)                    scrutiny (1)                   shellshocked (1)
 resolving (1)                  round (1)                   seal (1)                       shit (4)
 resounding (1)                 roundabout (1)              search (1)                     shitty (1)
 resources (1)                  route (1)                   searching (1)                  short (4)
 respect (5)                    routinely (4)               second (14)                    shortage (1)
 Respectable (1)                Ruined (1)                  seconds (1)                    shortly (2)
 respectful (3)                 rule (2)                    secret (3)                     shot (8)
 respond (2)                    rules (7)                   secretary (4)                  shots (7)
 responded (1)                  ruling (1)                  sector (1)                     show (29)
 response (8)                   rumor (6)                   secure (2)                     showed (12)
 responses (2)                  rumors (2)                  security (13)                  showing (8)
 responsibilities (3)           run (4)                     see (50)                       shown (6)


                                              Everest Court Reporting LLC                                         Page: 12
                                       215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 143 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 shows (2)                      snippets (1)               stage (1)                      struggling (2)
 shrugs (1)                     soap (1)                   stake (1)                      strung (1)
 shut (2)                       social (1)                 stamp (1)                      stuck (2)
 shutting (1)                   socialized (4)             stamped (1)                    studio (1)
 sibling (1)                    socializing (1)            stamps (1)                     stuff (22)
 Sid (3)                        sold (1)                   Standard (1)                   stupid (5)
 side (7)                       solicitation (2)           Starbucks (12)                 Suave (1)
 SIDNEY (4)                     somebody (48)              start (13)                     subject (2)
 Sidney's (1)                   somebody's (2)             started (43)                   subjected (2)
 Sid's (1)                      someone's (2)              starting (2)                   Subjecting (1)
 sign (14)                      somewhat (1)               starts (2)                     submitted (1)
 signature (1)                  song (1)                   state (14)                     subscribers (1)
 signed (28)                    songs (1)                  stated (4)                     subscriptions (1)
 signing (6)                    son's (1)                  statement (7)                  subsequently (2)
 silly (1)                      soon (4)                   statements (2)                 subterranean (1)
 similar (1)                    sooner (1)                 STATES (3)                     succeed (1)
 simple (4)                     sophomoric (1)             static (4)                     successfully (1)
 simply (1)                     Sorry (57)                 statistics (1)                 suck (2)
 simultaneously (2)             sort (19)                  stay (7)                       sucking (2)
 single (9)                     sound (10)                 stayed (5)                     sudden (16)
 Siri (1)                       sounds (11)                stays (1)                      suddenly (19)
 sister (5)                     soup (2)                   steal (3)                      suggest (2)
 sit (6)                        space (1)                  stealing (1)                   suggested (2)
 sits (3)                       speak (11)                 Stein (1)                      suggesting (2)
 sitting (14)                   speaking (5)               Stenographer (1)               suggestion (1)
 situated (1)                   special (5)                stenographic (2)               suggestions (1)
 situation (13)                 Specialist (18)            step (2)                       Suite (5)
 six (7)                        specific (17)              stepping (1)                   summary (3)
 size (1)                       specifically (12)          sticking (1)                   summer (1)
 skeletons (2)                  speculating (1)            sticks (1)                     summoned (1)
 skip (1)                       spelling (1)               stipulation (3)                Sunday (4)
 skirt (2)                      SPG (1)                    stole (4)                      super (3)
 Slack (6)                      spinning (1)               stolen (2)                     superior (1)
 Slack-related (1)              spoke (6)                  stooge (1)                     supervisor (6)
 slammed (1)                    spoken (2)                 stop (18)                      supplants (1)
 slamming (1)                   sport (1)                  stopped (2)                    support (3)
 sleep (6)                      sports (1)                 store (2)                      supposed (9)
 sleeping (2)                   spot (2)                   stored (2)                     Sure (89)
 slept (9)                      spousal (1)                stories (4)                    surprised (3)
 slow (2)                       spray (3)                  stormed (1)                    surprising (1)
 slower (1)                     spreading (1)              story (12)                     swear (1)
 small (2)                      spreadsheet (3)            straight (4)                   swiping (1)
 smaller (1)                    stability (1)              strange (1)                    switch (6)
 smart (1)                      stable (1)                 strategy (1)                   switched (2)
 smiling (3)                    Stacey (2)                 Street (7)                     switching (2)
 SMITH (1)                      Stacy (14)                 stressed (1)                   sworn (3)
 smoke (1)                      Stacy@gmail (1)            strictly (1)                   sympathizers (1)
 smooth (4)                     Stacy's (1)                Strike (4)                     synchronize (1)
 snarky (2)                     staff (25)                 struggles (1)


                                             Everest Court Reporting LLC                                         Page: 13
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 144 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 <T>                            Thank (10)                 training (5)                   Uber (4)
 table (9)                      Thanks (4)                 traitor (2)                    Ubers (1)
 tabs (1)                       theirs (1)                 transcript (2)                 uh-uhs (1)
 tackle (1)                     Thelma (7)                 transgender (1)                ultimate (1)
 tag (1)                        thereof (1)                transition (3)                 ultimately (1)
 take (69)                      thing (41)                 transitioned (1)               ultrasound (1)
 take-down (1)                  things (86)                transitioning (3)              umpteenth (1)
 taken (24)                     think (149)                transvestite (1)               unable (1)
 takes (1)                      thinking (20)              trapped (1)                    unauthorized (1)
 talk (33)                      thinks (1)                 trash (1)                      unborn (1)
 talked (7)                     third (4)                  traumatic (5)                  uncollected (1)
 talking (43)                   thought (37)               traumatized (3)                uncomfortable (9)
 talks (2)                      thread (3)                 travel (10)                    uncrossing (1)
 tall (1)                       threat (1)                 traveled (2)                   undermine (1)
 tally (1)                      threaten (1)               traveling (5)                  undermined (1)
 tank (1)                       threats (2)                Tricia (55)                    underneath (4)
 targets (1)                    three (19)                 trick (4)                      underpaid (1)
 task (1)                       threw (4)                  tried (23)                     understand (32)
 tasks (2)                      throw (3)                  tries (1)                      understanding (2)
 taught (3)                     throwing (2)               trip (33)                      understood (4)
 taxi (1)                       thrown (2)                 trips (1)                      underway (1)
 teach (4)                      Tiffany (17)               Trish (2)                      un-friend (1)
 teaching (1)                   tight (1)                  trouble (1)                    un-friended (3)
 team (8)                       time (179)                 true (16)                      unhappy (2)
 tears (1)                      timeline (2)               trust (18)                     unilateral (1)
 tech (6)                       timeline-wise (1)          trusts (1)                     UNITED (2)
 technologically (1)            times (14)                 truth (9)                      universities (2)
 Telegram (11)                  timing (3)                 truthful (1)                   university (1)
 telegramed (1)                 tips (2)                   truthfully (1)                 unnecessary (2)
 tell (94)                      tiptoed (1)                try (23)                       unpleasantries (1)
 telling (31)                   Tir (3)                    trying (55)                    unrelated (1)
 ten (1)                        title (9)                  Ts (1)                         unsubscribing (1)
 tenure (1)                     titles (1)                 Tuesday (3)                    untimely (1)
 terminate (2)                  today (47)                 Turkish (1)                    Unwanted (1)
 terminated (6)                 Today's (1)                turmoil (1)                    update (1)
 terrible (1)                   told (115)                 turn (1)                       updated (1)
 terrific (1)                   Tommy (7)                  turned (5)                     upset (5)
 terrorized (1)                 tomorrow (1)               Tweet (1)                      upsetting (1)
 terrorizing (2)                tone (1)                   tweeted (3)                    upside-down (1)
 test (1)                       top (2)                    twice (3)                      us, (1)
 testified (13)                 topics (1)                 two (27)                       use (22)
 testifies (1)                  total (1)                  two-faced (1)                  user (1)
 testify (9)                    totally (2)                two-year-old (1)               uses (1)
 testifying (12)                tough (3)                  tying (1)                      Usually (7)
 testimony (37)                 toxic (2)                  type (14)                      usurp (1)
 text (33)                      track (4)                                                 utilize (3)
 texted (4)                     trail (6)                  <U>                            utter (1)
 texting (7)                    train (1)                  U.S (2)
 texts (5)                      trained (2)                UA (1)                         <V>


                                             Everest Court Reporting LLC                                         Page: 14
                                      215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 127-11 Filed 04/20/21 Page 145 of 145
Deposition of Matthew Bennett                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 vacation (4)                   wash (1)                   work (70)
 valid (1)                      Washington (1)             worked (22)
 vanishing (1)                  wasting (3)                worker (1)
 Various (2)                    Watch (8)                  working (27)
 Vasilly (1)                    watched (1)                workload (6)
 vegan (2)                      way (66)                   workplace (2)
 vehicle (1)                    ways (1)                   works (3)
 Vendetta (1)                   wearing (3)                workshop (1)
 vendor (7)                     website (14)               worldwide (1)
 vendors (4)                    week (6)                   worried (12)
 verbal (2)                     weekend (3)                worry (11)
 verbally (2)                   weekly (1)                 worse (1)
 version (2)                    weeks (6)                  worst (1)
 versus (4)                     weight (1)                 worthless (1)
 vicinity (2)                   weird (6)                  wow (1)
 victim (4)                     welfare (1)                wrapped (1)
 victimized (1)                 Well (145)                 wreck (1)
 Video (23)                     wellbeing (1)              write (14)
 videoconferencing (1)          well-being (4)             writer (1)
 videos (2)                     went (48)                  writing (16)
 view (3)                       we're (2)                  written (15)
 violation (1)                  Westrop (1)                wrong (13)
 vis-à-vis (2)                  Whatsapp (2)               wrote (8)
 visit (1)                      WHEREOF (1)
 visual (1)                     white (2)                  <Y>
 visually (1)                   wide (1)                   Yeah (204)
 vividly (1)                    wife (32)                  year (13)
 VOICE (6)                      WILLIAM (2)                yearly (1)
 volition (1)                   willing (1)                years (11)
 volunteered (1)                window (2)                 yelled (1)
 vote (2)                       Winfield (1)               yelling (1)
 voted (5)                      wings (1)                  yellow (10)
                                wipes (1)                  Yep (18)
 <W>                            wisdom (1)                 yesterday (2)
 wage (1)                       wish (1)                   Yo (1)
 Wait (12)                      witness (49)               York (7)
 waiting (2)                    witnessed (1)              you, (1)
 waived (1)                     witnesses (1)              young (2)
 wake (1)                       woke (6)                   YouTube (1)
 walk (2)                       wolf (4)
 walked (2)                     Wolson (2)                 <Z>
 walking (5)                    woman (8)                  Zapiers (3)
 wall (1)                       women (36)                 Z-A-P-I-E-R-S (1)
 walls (2)                      women's (4)                Zero (2)
 WALTON (140)                   won (3)                    Zionist (1)
 want (97)                      wondering (1)              zip (1)
 wanted (64)                    word (8)                   ZOA (7)
 wanting (1)                    wording (1)                Zoom (2)
 wants (5)                      words (8)                  zooming (1)


                                             Everest Court Reporting LLC                                         Page: 15
                                      215-341-3616 transcripts@everestdepo.com
